           Case 5:20-mc-01134-DAE Document 1 Filed 09/23/20 Page 1 of 332
                                                                                  FILED
                                                                                      SEP 2 3 2020
                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS                           CLERK. US. DISTRICT CLERK
                                                                                 WESTERN   ST)QTJF TEXAS
                                SAN ANTONIO DIVISION
                                                                                                   D PUTY

WAPP TECH LIMITED PARTNERSHIP
and WAPP TECH CORP.                                   I     SA2OMCi14
V.
                                                      § W.Ii1'exas No.:

                                                      § Original   Number: 4:18-cv-00501-ALM
                                                                                               DAE
WELLS FARGO, N.A.                                     §


 USAA'S MOTION TO QUASH, MEMORANDUM IN SUPPORT, AND OBJECTIONS

       On September 10, 2020, United Services Automobile Association ("USAA") received a

subpoena ("Subpoena") from WAPP Tech Limited Partnership ("WAPP") in WAPP's patent suit

against Wells Fargo. The Subpoena demands that Texas-based USAA produce in California

expert reports, related expert documents, transcripts of expert testimony, copies of motions to

exclude experts, and transcripts of jury instructions from USAA     v. Wells Fargo,   2:18-CV-0366-

JRG and USAA     v. Wells Fargo,   2:1 8-CV-00245-JRG (the "Prior Lawsuits"), both before Judge

Rodney Gilstrap of the Eastern District of Texas. The Subpoena gives 14 days to comply.

       The Subpoena wrongly seeks to compel production more than 100 miles from USAA's

headquarters in San Antonio. More critically, it subjects USAA to undue burden -- the overbroad

subpoena demands USAA produce USAA own documents unrelated to WAPP's claims, and

makes USAA pay for production equally available from Wells Fargo or on PACER. The

Subpoena also improperly requires USAA to produce documents (a) placed under seal by Judge

Gilstrap, (b) restricted from use by Judge Gilstrap' s protective order, or (c) otherwise privileged.

The Subpoena also improperly orders USAA to disclose trade secrets.

       On this record, the Court must quash. In addition, USAA has filed objections to all the

Subpoena's Requests, and, unless and until WAPP obtains an order compelling production, such

objections obviate the need for further response by USAA.



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                                    FACTUAL BACKGROUND

      United Services Automobile Association ("USAA") has its office at 9800 Fredericksburg

Road, San Antonio, Texas aiid uses Corporation Service Company of Austin, Texas as its agent.

Ex. 1, Corporate Agent Information. On September 10, 2020, USAA's agent received
                                                                                 from

WAPP a Subpoena, commanding USAA to provide the following documents:

       Request for Production 1: Any and all expert reports filed andlor served by and/or on
       behalf of Plaintiff and Defendant in the cases United Services Automobile Association v.
       Wells Fargo Bank, NA., 2:1 8-cv-00366-JRG and/or United Services Automobile
       Association v. Wells Fargo Ban/c NA., 2:18-cv-00245-JRG filed in the Eastern District
       of Texas (Marshall) [hereinafter, the "Prior Lawsuits".

       Request for Production 2: Any and all documents relied upon and/or referenced in or
       otherwise related to expert reports filed and/or served by and/or on behalf of Plaintiff and
       Defendant in the Prior Lawsuits.

       Request for Production 3: All transcripts and documents, including demonstrative
       exhibits, used or referred to by any expert witness in any deposition and/or trial testimony
       or used during the cross-examination of any expert witness in the Prior Lawsuits.

       Request for Production 4: All transcripts of the court's jury instructions and the verdict
       forms filled out and returned by the jury in the Prior Lawsuits.

       Request for Production 5: Any and all motions to exclude or limit any expert's testimony
       in whole or in part, including supporting briefs, documents, and opposition and
       responsive pleadings filed in the Prior Lawsuits.

Id. The Subpoena demands USAA produce the documents to an address in California, more than

 100 miles from San Antonio. Id. The Subpoena gives USAA 14 days to comply. Id.

        In WAPP's suit against Wells Fargo, WAPP alleges Wells Fargo built a testing system

 and thereby infringed WAPP's network simulation patents. Ex. 3, Complaint. In the Prior

 Lawsuits mentioned by the Subpoena, USAA had sued Wells Fargo for infringing on USAA's

 patents for remote deposit technology. Ex. 4, Suit 0245 Complaint; Ex. 5, Suit 0366 Complaint.

 Judge Gilstrap sealed or placed under protective order most of the information now sought by

 WAPP's. Id.; see Ex.   7,   Protective Orders.


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                                             STANDARDS

                                                                                        to any
       The federal rules limit discovery to "any non-privileged matter that is relevant
                                                                                      Civ. P. 26(b)(1);
partys claim or defense and proportional to the needs of the case."         FED. R.


               Waffle House, Inc., 227 F.R.D. 467, 470-71 (N.D. Tex. 2005). However,
                                                                                     Rule
Merrill   v.

                                                                                 its own, that:
26(b)(2)(C) imposes limitations on discovery if the Court finds, on motion or on

               The discovery is cumulative or duplicative, or can be gained from another
               more convenient, less burdensome, or less expensive source;

               The party seeking discovery has had an extensive opportunity to retrieve
               the information; or

               The burden or expense of the proposed discovery outweighs any likely
               benefit, taking into account the circumstances of the case.
                                                                *6 (W.D. Tex. 2015).
Maint. Engineers, Inc. v. G 2-VEnterprises, 2015 WL 13063568 at
                                                                                       to
          A party may obtain discovery from a non-party by serving a subpoena pursuant
                                                                                 encompassed
Federal Rule 45. Courts apply the same relevance and proportionality limitations
                                                                                       any undue
by Rule 26 to motions for protective order in the context of Rule 45 to avoid imposing
                                                                                   Thomas, 327
burden or expense on the person or entity subject to the subpoena. See MetroPCS v.

 F.R.D.   600, 609-11    (N.D.   Tex. 2018). Simply put, discovery beyond relevant matters creates an

 undue burden. Id.

          A subpoena can compel production at a place within 100 miles of where the person

 resides, works, or regularly transacts business.         FED. R. Civ. PRO.     45(c)(2)(A). A person

                                                                                       stays
 commanded to produce documents may serve a written objection to the production, which
                                                                                    requires
 the objected-to production until a court for the district court where the subpoena

 compliance enters an order compelling production.          FED. R. Civ.   PRo. 45(d)(2)(B). On timely

                                                                                         that:
 motion, the district court where compliance is required must quash or modify a subpoena

                (i) fails to allow a reasonable time to comply;



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            (ii) requires a person to comply beyond the geographical limits specified
            in Rule 45(c);

            (iii) requires disclosure of privileged or other protected matter, if no
            exception or waiver applies; or

            (iv) subjects a person to undue burden.

FED. R. Civ. P.       45(d)(3)(A) (emphasis added). "Unreasonable" or "oppressive" subpoenas

qualify as unduly burdensome, particularly considering the expense and inconvenience to the

non-party. Wiwa    v.   Royal Dutch Petroleum Co., 392 F.3d 812, 818 (5th Cir. 2004).

       Additionally, "[tb protect a person subject to or affected by a subpoena," the court for

the district where the subpoena requires compliance may, on motion, quash or modify the

subpoena    if it compels "disclosing a trade secret or other confidential research, development, or
commercial information...."         FED. R. Civ.    P. 45(d)(3)(B)(l). The court may, instead   of quashing

or modifying a subpoena, order appearance or production under specified conditions if the

serving party shows substantial need and ensures reasonable compensation to the party making

disclosure. Id. However, the court should not permit discovery, even when relevant, if the party

seeking discovery       falls   to show need or if the potential harm caused by production outweighs the

benefit. See Orchestrate HR, Inc.         v.   Trombetta, 2014 WL 772859 at *4 (N.D. Tex. 2014).

                                                    ANALYSIS

I. THE SUBPOENA NAMES AN IMPROPER PLACE FOR PRODUCTION.

       A federal court must quash or modify a subpoena requiring production more than 100

miles from the location where the person served resides, has employment, or regularly conducts

business.   FED. R.     Civ.     PRO.   45(c)(2)(A). Here, the Subpoena improperly compels USAA to

produce documents in California, which is more than 100 miles from USAA's headquarters in

San Antonio. See Ex. 2, Subpoena. The Court accordingly must quash.
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II. THE COURT MUST QUASH. THE SUBPOENA CAUSES USAA UNDUE BURDEN.

          The Court has no option but to quash or modify the Subpoena because (A) The overbroad

Subpoena lacks particularization, (B) the Subpoena demands information from USAA not

relevant to WAPP's claims or defenses, (C) the Subpoena forces USAA, a non-party, to the

unnecessary expense of producing Wells Fargo documents, when WAPP could obtain them from

Wells Fargo itself, and (D) it compels USAA produce publically available documents. The

Subpoena epitomizes undue burden, violating the obligation of Rule 45(d)(l).

      A. USAA suffers undue burden by responding to an overbroad subpoena. (RFP 1-3, 5).

          A Court "may find that a subpoena presents an undue burden when the subpoena is

facially overbroad." Wiwa, 392 F.3d at 818 (emphasis added).

          Courts have found that a non-party subpoena for documents facially overbroad where the

subpoena "seek[s] all documents concerning the parties to [the underlying] action, regardless of

whether those documents relate to that action and regardless of date" or "[t]he requests are not

particularized." In re O'Hare, Misc. 2012 WL 1377891 at *2 (S.D.Tex. 2012); Andra Group, LP

v.   JDA Software Group, Inc., 312 F.R.D. 444, 450 (N.D. Tex. 2015). In evaluating undue burden

and facial overbreadth, the Court must consider (1) relevance, (2) the need for the requested

documents, (3) the breadth of the document requests, (4) the time period, (5) the particularity

with which the party describes its the request, and (6) the burden imposed, including the expense

and inconvenience to the parties. Wiwa at 818 (different order in original).

         Here, WAPP requests           i expert witnesses' reports, supporting documents, expert
testimony, and limine motions testimony in two different lawsuits. Ex. 2, Subpoena. WAPP has

access to the names of the experts used by USAA and Wells Fargo, but it does not attempt to

particularize its requests. See Ex.   6,   Prior Suit Docket Sheets. The Subpoena constitutes a fishing



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expedition -- WAPP wants to peruse the experts of the Prior Lawsuits to see what it might find,

without bothering to tailor its requests in any way. The Court should not allow such broad and

unstructured discovery. MetroPCS, 327 F.R.D. at           609-11    (discovery must be limited to relevant

documents; it cannot be used to "develop new claims or defenses that are not already identified

in the pleadings.") As the unparticularized subpoena is unduly burden, the Court should quash.

      B.   It is unduly burdensome to make USAA produce USAA-specific information
           unrelated to WAPP's claims in this lawsuit. (RFP 1-5).

           The lawsuit in which WAPP served its Subpoena alleges WAPP holds three patents that

allow simulation of networks to test and evaluate mobile applications                -   U.S. Patent No.

9,971,678       (the "678 Patent"), U.S. Patent No.     9,298,864    (the "864 Patent"), and U.S. Patent

No.   8,924,192       (the "192 Patent"). Ex. 3, Complaint ¶ 35        ¶ 38. WAPP further alleges Wells
Fargo violated these patents by creating a system to test Wells Fargo's phone banking

applications. Id. ¶ 26. In other words, WAPP alleges Wells Fargo built a testing system in

violation of WAPP's network simulation patents. Id. ¶ 26- ¶ 30.

           The Subpoena WAPP sent USAA demands USAA produce expert reports, documents

related to expert reports, expert testimony, and motions to exclude experts and its responses to

those motions from the Prior Lawsuits. Conversely, the Prior Lawsuits by USAA alleged Wells

Fargo violated USAA's patents by creating a remote deposit application for use on mobile

phones.     See Exhibit 4,    Complaint '0245;   See Exhibit   5, Complaint '0366.

           None of the information sought from USAA has any relevance to WAPP's claim that

Wells Fargo built a test system infringing WAPP's network simulation patents.                See FED.   R.

EvID. 401       -   402.   The reports of USAA's experts concerning Wells Fargo's infringement of

remote deposit patents do not provide any insight into whether Wells Fargo infringed WAPP's

network testing patents. Likewise, USAA's experts' testimony, or the motions or responses filed
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by USAA regarding its own experts, have no bearing on WAPP's claim against Wells Fargo.

Simply put, USAA expert materials or USAA filings have no connection to WAPP's lawsuit

against Wells Fargo -- the things WAPP seeks to discover from USAA through a subpoena do

not make WAPP's claims of infringement more likely or less likely. Id.

        Forcing non-party USAA to respond to a subpoena seeking information that has no

bearing on the claims or defenses in the present suit creates an undue burden and constitutes an

imperinissible fishing expedition. Wiwa, 392 F.3d at 818; Merrill, 227 F.R.D. at 470-71;

MetroPCS, 327 F.R.D. 600, 609-11. The Court accordingly should quash the Subpoena, to the

extent Requests for Production 1- 5 seek information regarding USAA's own experts or filings

performed by USAA in the Prior Lawsuits.

   C.    is unduly burdensome to make USAA produce Wells Fargo information when
        It
        WAPP could obtain the information from Wells Fargo. (RFP 1-5).

        It is also unduly burdensome to make non-party USAA produce information equally

available to WAPP from Wells Fargo, the defendant in this case.                 FED.   R. Civ. PRo. 26(b)(2)

(Court may enter protective order when discovery available from a less burdensome source);

Wiwa, 392 F.3d at 818 (Court may consider burden to non-party in determining validity).

        Here, Requests for Production     1   5   also seek information about Wells Fargo's witnesses

and filings in the Prior Lawsuits. Ex. 2, Subpoena. Serving the Subpoena on USAA, a non-party,

to obtain information available from defendant Wells Fargo creates undue burden. Wiwa, 392

F.3d at 818. The burden is particularly keen here, because the items WAPP seeks are subject to

a protective order from Judge Gilstrap. See Ex.      7,    Protective Orders.

        A subpoena can only compel production of documents within a person's "possession,

custody, or control" -- and control means "the legal right to obtain the documents on demand."

Power Integrations, Inc.   v.   Fairchild Semiconductor Intern., Inc., 233 F.R.D. 143, 145 (D. Del.


                                                     'Ii
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2005)(emphasis added); accord Gerling International Ins. Co.            v.   Commissioner of Internal

Revenue, 839 F.2d 131, 140 (3rdCir 1988); Searock         v.   Stripling, 736 F.2d 650, 653 (11th

Cir.1984). Here, USAA has no control over the Wells Fargo documents, which lie under the

shield of Judge Gilstrap's Protective Order, unless Wells Fargo releases them. Ex.       7,   Protective

Order. If WAPP truly wants Wells Fargo documents, it should seek them from Wells Fargo

not USAA, a non-party.

   D. Requiring production of public documents is unduly burdensome. (RFP 3-5).

       Additionally, the Subpoena creates undue burden, in that Requests for Production               3


through   5   seek to compel USAA to produce what appear to be publically available documents.

       The PACER system makes the information sought in Requests for Production                   3 - 5


publically available, to the extent Judge Gilstrap records from the Prior Lawsuits under seal.

See, Ex. 6, Docket Sheets from    Prior Suits. So, for example, if WAPP wanted the verdict form

and the transcript of jury instructions in Prior Lawsuit USAA      v.   Wells Fargo Bank, 2:1 8-CV-

0366-JRG, it could go to PACER, look up that case, and then download document 263 (the

verdict form) and document 275 (Transcript). Id.

       Making USAA produce public records available to WAPP causes undue burden.

Mendoza v. PGT Trucking Inc., 2019 WL 6048006 at *4 (W.D. Tex. 2019) (no reason to produce

publically-available information). If WAPP wants publically available information requested, it

can have its team of over a dozen lawyers obtain the records on its behalf for virtually no cost,

rather than making USAA pay undersigned counsel to undertake the task. See id. The Court

must quash, to the extent the Subpoena seeks the production of public records. Id.
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IV. THE SUBPOENA IMPROPERLY REQUIRES DISCLOSURE OF PRIVILEGED OR
    PROTECTED MATTERS, AND THEREFORE, THE COURT MUST QUASH.

   A. The Subpoena improperly seeks disclosure of documents under seal. (RFP 3 - 5).

       To the extent the PACER system does not provide the information sought in Requests for

Production   3     5   publically, the lack of access reflects that Judge Gilstrap chose to place certain

matters under seal. See          FED.   R.   Civ. PRO.   5.2. It is utterly unfair for WAPP to demand that

USAA risk sanctions from Judge Gilstrap to produce sealed documents.

       The proper procedure for WAPP to obtain documents that Judge Gilstrap placed under

seal would be to petition Judge Gilstrap, in the Prior Lawsuits, to modify his sealing order. See In

re US Motion to Modj5' Sealing Orders, 2004 WL 5584146, at *3 (E.D. Tex. 2004). Principles

of comity set out by the Fifth Circuit mandate this result:

             When a court is confronted with an action that would involve it in a
             serious interference with or usurpation of the continuing power of a court
             [to supervise and modify its injunctionsj, considerations of comity and
             orderly administration of justice demand that the non-rendering court
             should decline jurisdiction and remand the parties for their relief to the
             rendering court, so long as it is apparent that remedy is available there.

Mann Mfg., Inc.         v.   Hortex, Inc., 439 F.2d 403 (5th Cir. 1971). Accordingly, the Court must

quash Requests         3 - 5   of the Subpoena, to the extent that these Requests seeks items under seal

and protected from disclosure.          FED.   R.   Civ. PRo.   45(d)(3)(A)(iii).

   B. The Subpoena improperly seeks disclosures of Wells Fargo documents in violation
      of Judge Gilstrap's confidentiality order (RFP 1-3).

       In addition, the Subpoena improperly seeks Wells Fargo documents subject to

confidentiality orders entered by Judge Gilstrap. The Protective Orders state:

             1   .(a) Protected Material designated under the terms                 of this Protective
             Order shall be used by a Receiving Party solely for this case, and shall not
             be used directly or indirectly for any other purpose whatsoever.
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               6.(a) Basic Principles. All Protected Material shall be used solely for this
               case or any related appellate proceeding, and not for any other purpose
               whatsoever, including without limitation any other litigation, patent
               prosecution or acquisition, patent reexamination or reissue proceedings, or
               any business or competitive purpose or function. Protected Material shall
               not be distributed, disclosed or made available to anyone except as
               expressly provided in this Order

Ex.   7,   Protective Order. If WAPP wants this information, it should request it from Wells Fargo.

      C. The Subpoena seeks improper disclosure of privileged documents (RFP 1-3, 5)

            The Court should also quash the portion of the Subpoena requiring USAA to produce

privileged documents in response to Request for Production 2.

            Request for Production 2 requires USAA to produce documents "related to" expert

reports created by USAA's experts and filed in the Prior Lawsuit. The Request apparently

includes prior drafts of the final reports (to the extent such exist) and attorney-expert

communications (to the extent such exist). See Ex 2, Subpoena. Draft reports and attorney-expert

communications constitute trial preparation documents that qualify as work product. See                     FED.     R.

Civ. PRo. 26(b)(4)(B). It would be utterly unfair to require USAA to acknowledge the existence

of privileged trial preparation documents or force disclosure of such documents. See FED. R. Civ.

PRO. 26(b)(4)(B). The Court accordingly must quash, per Rule 45(d)(3)(A).'

V. THE SUBPOENA SEEKS UNNECESSARY DISCLOSIJRE OF USAA TRADE
   SECRETS AND CONFIDENTIAL INFORMATION (RFP 1-3, 5).

            In addition to the reasons set forth above which compel the Court to quash the Subpoena,

the Court also should quash because the Subpoena requires USAA to disclose trade secrets and




1
  Likewise, it should be noted that some expert reports refer to hearings before the Patent Trial and Appeal Board
("PTAB"). See, e.g., Ex. 8 (Redacted) Response by USAA to Strike USAA Expert Weinstein. The PTAB has the
power to seal documents and its proceedings, allowing only narrow usage. The expert reports used for litigation
between USAA and Wells Fargo may have matters that were ordered sealed by PTAB; these items may be
responsive to Requests 1, 2, 3 and 5, but nevertheless would be confidential, and The Court should quash.



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other confidential research, development, or commercial information.        FED. R.        Civ. PRO.


45(d)(3)(B)(i).

       When seeking to quash a subpoena for disclosure of trade secret or other confidential

information, the subpoenaed party bears the initial burden to show the information qualifies as a

trade secret and that disclosure might cause harm. Exxon Chem. Patents, Inc.   v.   Lubrizol Corp.,

131 F.R.D. 668, 671 (S.D.Tex.1990).    If the moving party meets its burden of proof, the party

seeking discovery then to show the relevance and necessity of the requested information. Id. The

Court then balances the need for the trade secrets against the claim of injury resulting from

disclosure. See id. Even if relevant, courts will not permit discovery if the subpoenaing party

fails to show need or if the potential harm caused by production outweighs the benefit

Trombetta, 2014 WL 772859 at *4

       Here, Judge Gilstrap has already found that USAA's expert witness reports, the

documents supporting USAA's expert witness reports, the deposition testimony of USAA's

expert witnesses, and the filings made by USAA to contain trade secrets. See Ex.      7,   Protective

Order. Moreover, the expert reports, supporting documents, testimony of USAA's experts and

motion to exclude and responses concern items such as:

       What it would cost to create a system replacing USAA FSB's technology without using
       mobile phones, as well as business efforts of USAA to license its mobile deposit
       products. Ex. 8, USAA 's Redacted Response to Motion to Strike Weinstein.

       The potential methods of fraud involving multiple deposits under the USAA Remote
       Deposit technology and the damages associated with that fraud. See Ex. 9, USAA
       Redacted Response to Motion to Strike Calman.

       Source code for USAA's implementation of its patents. See Ex. 10, USAA 's Redacted
       Response to Strike Thomas Conte.




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 This information plainly constitutes confidential trade secrets. Forcing USAA to disclose this

 information causes USAA immeasurable harm, as Judge Gilstrap recognized.                 See Ex.   7,

 Protective Orders. The Court accordingly should quash.     FED.   R. Civ. PRO. 45(d)(3)(C).

 VI. USAA OBJECTS TO THE SUBPOENA PER RULE 45(d)(2)(B).

         In addition to the foregoing, USAA files along with its motion objections to the

 Subpoena and all of its Requests for Production. See Ex. 11, Objections. USAA specifically

 states it is withholding the following documents per its objection:

        The expert reports of any expert listed on the docket sheets set out in Exhibit 6 of this
        Motion, and any documents replied upon by the experts in creating their reports, to the
        extent such are in USAA's possession, as well as any draft report of USAA's experts or
        communications by counsel with USAA's experts.

        Any deposition (and exhibits or demonstratives thereto) of any expert listed on the docket
        sheets set out in Exhibit 6 of this Motion.

        Trial testimony of any expert listed on the docket sheets set out in Exhibit 6 of this
        Motion (though such could be obtained, to the extent not under seal, through PACER).

        Motions to Strike or in limine, and responses, replies, and sur-replies thereto, concerning
        any expert listed on the docket sheets set out in Exhibit 6 of this Motion (though such
        could be obtained, to the extent not under seal, through PACER).

        The verdict form and the jury instructions given in the trials as described by Exhibit 6 of
        this Motion (though such could be obtained, if not under seal, through PACER).

Pursuant to the Federal Rules, the filing of these objections terminates the need for USAA to

respond unless and until WAPP moves to compel and obtains, after notice to USAA, an order

compelling production on terms as the Court may set. FED. R. Civ. PRO. 45(d)(2)(B) - (C).



       For the foregoing reasons, USAA requests that the Court quash the Subpoena in its

entirely, and order that WAPP seek relief from Judge Rodney Gilstrap if it wishes to set aside

any of his orders that sealed any portion of the record in the Prior Lawsuits.




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                                                 Respectfully submitted,

                                                 LINDOW STEPHENS TREAT LLP


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                               CERTIFICATE OF SERVICE

       A true and correct copy of the foregoing was served on the following counsel by

electronic mail on September 23, 2020.



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                                                        THEODORE SCHULTZ




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         EXHIBIT                            1
9/23/2020               Case 5:20-mc-01134-DAE Document     1Application
                                                  TDI Reports   Filed 09/23/20 Page 15 of 332




            TDI Reports Application
            Agents for service of process Report run: 09/23/2020 10:55:5 1
                                        Company                Address Line   Address
            Organization      Status                 Agent                              City   State   ZIP
                                        Type                   1              Line 2
            United Services                                    CORPORATION 211 B
                                                                                                       78701-
            Automobile      Active      Reciprocal             SERVICE     7TH ST       AUSTIN TX
                                                                                                       3218
            Association                                        COMPANY     STE 620




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 United Services Automobile Association
 9800 FREDERICKSBURG    RD
 SAN ANTONIO, 7)( 78288-0001
 Domicile State: Texas  NAIC ID: 25941 Status Date: 06-19-1922
 Active Company Type(s): Reciprocal




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         EXHIBIT                            2
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 AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                            for the
                                                              Eastern District of Texas

     WAPP TECH LIMITED PARTNERSHIP, ET AL.
                                                                               )
                                Plaintiff                                      )
                                   V.                                          )        Civil Action No. 4:18-cv-00501-ALM
                     WELLS FARGO, N.A.                                         )

                                                                               )
                              Defendant                                        )



                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CiVIL ACTION

 To:                         United Services Automobile Association through Corporation Service Company at
                                           211 East 7th Street, Suite 620, Austin, Texas 78701
                                                        (Name ofperson to whom this subpoena is directed)

       Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:See attachment, including Requests identified in Schedule A



  Place: RuyakCherian LLP, 1936 University Aye, Suite 350                                Date and Time:
         Berkeley, CA 94704
                                                                                                             09/24/2020 9:00 am
         OR mutually agreed-upon location

        Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                                Date and Time:



        The following provisions of Fed. R. Civ. P. 45 are attached Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:         09/10/2020

                                   CLERK OF COURT

                                                                                                                     Is! Robert Harkins
                                            Signature of Clerk or Deputy Clerk                                        Attorney's signature


The name, address, e-mail address, and telephone number of the attorney representing (name ofparly)
Wapp Tech Limited Partnership and Wapp Tech Corp.                       , who issues or requests this subpoena, are:

Robert Harkins, 1936 University Avenue, Suite 350, Berkeley, CA 94704, bobh@ruyakcherian.com (510) 944-0187
                                        Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No.           4:18-cv-00501-ALM


                                                         PROOF OF SERVICE
                         (This section should not be filed with the court unless required by FeL R. Civ. P. 45.)

            I received this subpoena for (name of individual and title,         f any)
on (date)

            r     I   served the subpoena by delivering a copy to the named person as follows:


                                                                                          on (date)                                    ;    or

                1 I   returned the subpoena unexecuted because:



            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of
            $


My fees are $                                     for travel and $                              for services, for a total of $                   0.00


            I declare under penalty      of perjury that this information is true.


Date:
                                                                                                   Server r signature



                                                                                                Printed name and title




                                                                                                   Server's address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert's opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Spec(,ing Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (I) is a party or a party's officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
  (B) inspection of premises at the premises to be inspected.                         (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specfied
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanctionwhich may include              person responding need not produce the same electronically stored
lost earnings and reasonable attorney's feeson a party or attorney who             information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electromcally stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required A person commanded to produce                       of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources ifthe
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premisesor to             (A) Information Withheld A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
      (i) At any time, on notice to the commanded person, the serving party        tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced If information produced in response to a
      (ii) These acts may be required only as directed in the order, and the       subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party's officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required On timely motion, the court for the district where            until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (I) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted To protect a person subject to or affected by a               The court for the district where compliance is requiredand also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing courtmay hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
     (i) disclosing a trade secret or other confidential research,                 subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                  ATTACHMENT


                                   SCHEDULE A


                                   DEFINITIONS
      The following terms shall have the meanings set forth below unless
otherwise indicated:


             A.     The terms "You" or "Your" refer to United Services Automobile
      Association, and its related entities, parents, subsidiaries, affiliates, divisions,
      predecessors, successors or assignees, and their respective officers, directors,
      employees and agents (collectively "USAA"). The terms "You" or "Your"
      also refer to any representative of each such person or entity, or to any person
      acting on each such person or entity's behalf.
             B.     The terms "case", "cases", "action", "actions", and "litigation"
      refer to United Services Automobile Association       v.   Wells Fargo Bank, NA.,
      2:1 8-cv-00366-JRG and/or United Services Automobile Association v. Wells
      Fargo Bank, NA., 2:18-cv-00245-JRG filed in the Eastern District of Texas
      (Marshall).
             C.     "Defendant" refers to Wells Fargo Bank, N.A. and its
      predecessors, successors, assigns, parents, subsidiaries and divisions,
      affiliates, partners, and all past and present directors, officers, employees,
      agents, and representatives (including consultants and attorneys) of any of
      the foregoing, and all persons acting or purporting to act on each of their
      behalf.
            D.      "USAA" and "Plaintiff' refers to United Services Automobile
      Association and its predecessors, successors, assigns, parents, subsidiaries



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and divisions, affiliates, partners, and all past and present directors, officers,
employees, agents, and representatives (including consultants and attorneys)
of any of the foregoing, and all persons acting or purporting to act on their
behalf.
      E.      "All Documents" or "all documents" means any and all
documents that might reasonably be located through a search of all locations
reasonably likely to contain documents called for by these Requests for
Production.
       F.     "Any" means "any and all."
       G.     The term "document" or "documents" is to be given meaning
in the broadest sense, as contemplated by Fed. R. Civ. P. 34(a)(1)(A), and
shall include any kind of written, recorded, printed, or graphic matter,
whether produced, reproduced or stored on paper, cards, film, audio or video
tapes, electronic facsimile, computer storage device, or any other media, or
any kind or description, whether sent or received or neither, including
without limitation: originals, copies (with or without notes or changes
therein) and drafts including without limitation: papers, books, letters,
electronic mail messages, electronic files or data, photographs, objects,
tangible things, correspondence, telegrams, cables, telex messages,
memoranda, notes, notations, work papers, transcripts, minutes, reports and
recordings of telephone or other conversations, or of interviews,
conferences, or other meetings, affidavits, statements, summaries, opinions,
reports, studies, analyses, evaluations, contracts, agreements, journals,
newspaper accounts, statistical records, desk calendars, appointment books,
diaries, lists, tabulations, summaries, sound recordings, computer printouts,
data processing input and output, microfilms, all other records kept by
electronic, photographic or mechanical means, and things similar to the


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foregoing however denominated by you, in the possession, custody or
control of you, of any officer, agent, employee, representative, counsel, or
other person acting or purporting to act for or on behalf of you or in concert
with you. For purposes of the foregoing, "drafts" means any earlier,
preliminary, preparatory, or tentative version of all or part of a document,
whether or not such draft was superseded by a later draft and whether or not
the terms of the draft are the same as or different from the terms of the final
document; and the term "copies" means all copies of any documents that are
not identical in every respect to the documents being produced.
      H.      The term "including" means "including but not limited to."
      I.     The terms "person" means the plural as well as the singular
and shall include any natural person (alive or deceased), any firm,
corporation, proprietorship, joint venture, trust or estate, business,
association, partnership, or other form of legal entity, unless the context
indicates otherwise.
       J.    The term "possession" means all information or documents
actually within your knowledge, possession, custody or control, including
any employee, consultant, aide or other representative (including without
limitation attorneys and accountants) and any other person acting or
purporting to act on your behalf or in concert with you, and includes any
temporary placing of possession, custody or control in any third party by
any of the foregoing persons.
       K.     The terms "related to" and "relating to" means constitute,
contain, embody, comprise, reflect, identify, state, refer to, deal with,
comment on, respond to, describe, analyze, or in any way pertain to.
       L.     The terms "and" and "or" are to be construed either
disjunctively or conjunctively, whichever is appropriate in each instance so


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      as to bring within the scope of each of the Deposition Topics any
      information that might otherwise be considered beyond that scope.
               M.    The singular form of a word is to be interpreted as plural and
      the plural form of a word shall be interpreted as singular, whichever is
      appropriate, so as to bring within the scope of the Deposition Topics any
      information or documents that might otherwise be considered beyond their
      scope.
               N.    Wherever possible or necessary to render a given Deposition
      Topic more inclusive than it otherwise might be, any verb tense should be
      construed to include other tenses; and any reference to one gender should
      be construed to include the other.
               0.    Any pronoun shall be construed to refer to the masculine,
      feminine, or neuter gender as in each case is most appropriate and inclusive.

                                  INSTRUCTIONS
      1.       These requests shall apply to all documents in your possession,
custody, or control at the present time, or coming into your possession, custody, or
control prior to the date of the production and/or in the possession of any person
who is within your control.
      2.       Electronically stored information shall be produced in the form or
forms in which it is ordinarily maintained or in a form or forms that are
reasonably usable.
      3.       If you withhold any document or any portion thereof on a claim of
privilege, provide a privilege log pursuant to Fed. R. Civ. P. 26.
      4.       If you contend that a portion of a Document contains information that
is immune from discovery, then produce the Document with the allegedly immune
portion redacted therefrom and describe the redacted portion in a privilege log
pursuant to the instructions in paragraph 3 above.



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        5.      The words "any," "all," or "each" shall be construed as "any, all, and
each" inclusively.
                             REQUESTS FOR PRODUCTION
REQUEST FOR PRODUCTION NO.1:
       Any and all expert reports filed and/or served by and/or on behalf of
Plaintiff and Defendant in the cases United Services Automobile Association         v.

Wells Fargo Bank, NA., 2:18-cv-00366-JRG and/or United Services Automobile
Association    v.   Wells   Fargo Bank, NA., 2:1 8-cv-00245-JRG filed in the Eastern
District of Texas (Marshall).
REQUEST FOR PRODUCTION NO.2:
      Any and all documents relied upon and/or referenced in or otherwise related
to expert reports filed and/or served by and/or on behalf of Plaintiff and
Defendant in the cases United Services Automobile Association         v.   Wells Fargo
Bank, NA., 2:18-cv-00366-JRG and/or United Services Automobile Association v.
   Fargo Bank, NA., 2:1 8-cv-00245-.JRG.
Wells
REQUEST FOR PRODUCTION NO.3:
      All transcripts and documents, including demonstrative exhibits, used
and/or referred to by any expert witness in any deposition and/or trial testimony or
used during the cross-examination of any expert witness in the cases United
Services Automobile Association         v.   Wells Fargo Bank, NA., 2:1 8-cv-00366-JRG
and/or United Services Automobile Association v. Wells Fargo Bank, NA., 2:18-
cv-00245-JRG.
REQUEST FOR PRODUCTION NO.4:
    All transcripts of the court's jury instructions and the verdict forms filled
out and returned by the jury in the cases United Services Automobile Association
v. Wells Fargo      Bank, NA., 2:18-cv-00366-JRG and/or United Services
Automobile Association v. Wells Fargo Bank, NA., 2:1 8-cv-00245-JRG.




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REQUEST FOR PRODUCTION NO.5:
    Any and all motions to exclude or limit any expert's testimony in whole or
in part, including supporting briefs, documents, and opposition and responsive
pleadings filed in the cases United Services Automobile Association v. Wells
Fargo Bank, NA., 2:1 8-cv-00366-JRG and/or United Services Automobile
Association v. Wells Fargo Bank, NA., 2:1 8-cv-00245-JRG.


 Dated: September 10, 2020                        By: /s/ Robert Harkins
                                                  Robert Harkins
                                                  RIJYAKCHERIAN LLP
                                                  1936 University Aye, Suite 350
                                                  Berkeley, CA 94702
                                                  Telephone: (510) 944-0187
                                                  bobh@ruyakcherian.com

                                                  Attorneyfor Plaintiffs
                                                  Wapp Tech Limited
                                                  Partnership and Wapp Tech
                                                   Corp.




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        EXHIBIT                            3
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                                  UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF TEXAS
                                        SHERMAN DIVISION


  WAPP TECH LIIvIITED
  PARTNERSHIP and
  WAPP TECH CORP.,                                        Civil Action No.: 4:18-cv-501


                             Plaintiffs                   JURY TRIAL DEMANDED


   I,,




  WELLS FARGO & CO.

                             Defendant


                                PLAINTIFFS' ORIGINAL COMPLAINT

          Plaintiffs Wapp Tech Limited Partnership and Wapp Tech Corp. ("Plaintiffs") file this

 Complaint against Defendant Wells Fargo & Co. ("Defendant" or "Wells Fargo") seeking

 damages and other relief for patent infringement, and allege with knowledge of their own acts,

 and on information and belief as to all other matters, as follows:

                                          NATURE OF TILE ACTION

         1.      This is an action for patent infringement arising under the Patent Laws of the United

States, 35 U.S.C.   §   1,   et seq.

         2.      Plaintiffs seek damages for Defendant's infringement of the Patents-in-Suit, as

defined below.

         3.      The Patents-in-Suit and their underlying patent applications have been cited by over

30 issued United States patents and published patent applications.            Moreover, the World

Intellectual Property Association (hereafter "WIPO") has also cited Plaintiffs' Patent Portfolio,
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see details below, giving it the highest prior art designation, in rejecting Hewlett-Packard

Company's ("HPE" or "HP") patent application filing related to mobile application development.

                                            PARTIES

       4.      Plaintiff Wapp Tech Limited Partnership is a Delaware limited partnership

organized and existing under the laws of the State of Delaware, and its registered agent for service

of process in Delaware is Corporations & Companies, Inc. (CorpCo), 910 Foulk Road, Suite 201

Wilmington, Delaware 19803.

       5.      Plaintiff Wapp Tech Corp. ("WTC") is a body corporate organized and existing

under the laws of the Province of Alberta, Canada, and its registered agent for service of process

in Delaware is Corporations & Companies, Inc. (CorpCo), 910 Foulk Road, Suite 201 Wilmington,

Delaware 19803.

       6.      Defendant Wells Fargo & Co. is a corporation organized under the laws of the state

of Delaware and maintains its principal place of business in San Francisco, California.

       7.      Defendant does business in Texas, directly or through intermediaries, and offers

products or services to customers and potential customers located in Texas, including in the

Eastern District of Texas.

                                JuRISDICTION AND VENUE

       8.      On information and belief, Defendant is registered to do business in the State of

Texas, with a Texas Taxpayer Number of 23040778238.

       9.      On information and belief, Defendant conducts business operations throughout the

State of Texas, and within the Eastern District of Texas. Defendant has multiple locations through

the State of Texas, and within the Eastern District of Texas, including banking facilities located

at:



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                 4000 Legacy Drive, Piano, TX 75024

                 2912 Legacy Drive, Piano, TX 75024

                 1421 N. Central Expressway, Piano, TX 75094

                 2400 B. Piano Parkway, Piano, TX 75074

             .   3300 Preston Road, Piano, TX 75093

             .   5968 Preston Park Boulevard, Piano, TX 75093

             .   5936 W. Park Boulevard, Piano, TX 75093

                 212 Coit Road, Piano, TX 75075

             .   1500 Custer Road, Piano, TX 75075

       10.       This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.   §§


1331 and 1338(a). Venue is proper under 28 U.S.C. §        1391(a) & (c), and 1400(b).

                                         INTRODUCTION

       11.       The inspiration for the pioneering patented innovations described herein originates

from application development work associated with the 2006 FIFA World Cup sponsored by

Adobe and Nokia. The FIFA World Cup is the largest single-event sporting competition in the

world with fans simultaneously accessing the World Cup app from millions of mobile devices

around the globe. Through its development work associated with this international sporting event,

the principal inventor of the Patents-in-Suit developed and created its patented performance

engineering platform. Application performance engineering enables software design and testing

before it is pubiished to a consumer by simulating real-world conditions for app developers while

in the development phase, including device and network virtualization, virtual user modeling and

the ability to virtuaiiy perform stress and load tests based on modeling human interaction (hereafter

"Performance Engineering Innovations")


                                                   3
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       12.       Licensed products incorporating the Performance Engineering Innovations have

won numerous industry awards for mobile application development, including multiple JOLT

Awards and other industry leading awards for market breakout products.

       13.       Patents related to the Performance Engineering Innovations have been licensed by

a Fortune 500 leader in enterprise software in a multi-million-dollar license.

       14.       In addition, patents in the Plaintiffs' Patent Portfolio, defined below, have been

cited against a number of industry-leading companies as prior art by the United States Patent and

Trademark Office (hereafter "USPTO") and WIPO. These companies include:

              Hewlett-Packard
              Apple
              Samsung
              Microsoft
              Google
              Vodafone
              Intuit
              Avaya
              Intel
              Amazon
              HTC
              Nextbit Systems
       CA
              Facebook
              Barco
              Razor
              Adobe

                                     MICRO FOCUS & HPE

        15.      Certain Micro Focus software products that are used by Defendant are alleged

herein to infringe the Patents-in-Suit.

        16.      On information and belief, Micro Focus and HPE completed a spin-out merger of

a software group on September 1, 2017. Following the spin-out merger, the term "Micro Focus"

replaced the term "HPE" in the names of various software products.               For example, HPE
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LoadRunner became Micro Focus LoadRunner, HPE Performance Center became Micro Focus

Performance Center, etc.

        17.     On information and belief, functionality of relevant software products remained

consistent following the spin-out merger. Consequently, where HPE documentation is cited

below, it is to be understood that, on information and belief, the referenced functionality also exists

in the corresponding Micro Focus software products.

        18.     HPE filed Patent Application Ser. No. PCT/US2012/024087 with WIPO on

February 7, 2012.

        19.     HPE filed Patent Application Ser. No. PCT/US2012/024087 with WIPO in an

apparent attempt to protect its soon to be released HP 2012 Software Suite.

        20.     On October 31, 2012, WIPO rejected all of the claims in HPE's Patent Application

Ser. No. PCT/US2012/024087 as being anticipated solely by U.S. Patent No. 7,813,910 ("the '910

Patent," which is a part of Plaintiffs' Patent Portfolio and a parent of the Patents-in-Suit) after

conducting a patent search, and in the process awarded the '910 Patent the highest prior art

designation (hereafter "WIPO Patent Rejection").             See    Exhibit H (Written Opinion of the

International    Searching     Authority     for    International     Patent   Application      Ser.    No.

PCT/IJS2O 12/024087, rejecting all claims over the '910 Patent (which WIPO designated as

reference "Dl .")).

        21.     On June 12, 2014, WIPO sent an additional supplementary notice to HPE under

Rule 47.1(c)) stating that under Article 22(1) that the communication of the international

application will be affected across all 185 member states, including the United States Patent and

Trademark Office.'


1https://patentscope.wipo.int/search/docservicepdpct/idOOOOOO25 1431 1211B308/W020 131 19205.pdf?psAuth=mlvl
niZixkvHdFvRyOgxrg3ldDA3uV2jaWvelbtORTsgg (accessed June 27, 2018).

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        22.      Based on the global WIPO Patent Rejection of HPE's patent application filing in

October of 2012, and the repeated and supplemental notices from WIPO under Article 22(1)

regarding HPE 's rejected WIPO patent application, HPE has had actual notice of Plaintiffs' Patent

Portfolio and continued to make, use, sell, and offer to sell the Mobile Product Offerings.

         23.      Notwithstanding the aforementioned WTPO Patent Rejection of HPE's patent

application based on the '910 Patent, the initial and supplemental WIPO notices and its actual

knowledge of Plaintiffs' prior patent rights in the mobile performance engineering space, HPE

proceeded with commercialization and sales of the HIP LoadRunner and HP Performance Center

11.50 offerings in 2012, and with the follow up launch of HP LoadRunner and HP Performance

Center 12.0 offerings for "Mobile and Cloud-based Application Testing" in March of 2014,

including the subsequent release of HP StormRunner Load in September of 2014 as part of the HP

Performance Testing       Suite2   and the follow up release of HP Mobile Center in October of 20 14,

among other additional mobile product offerings (hereafter "Micro Focus Software                    Suite").4



         24.      On information and belief, Defendant has been and continues to be a customer of

HPE and/or Micro Focus.

         25.      Defendant has been and continues to use LoadRunner. B2B Signals, "HPE

LoadRumier Product Install Base," available at http://www.b2bsignals.comlcustomer-list/hpe-

loadrunner! (last accessed July 16, 2018), attached hereto as Exhibit I.



2
   PALO ALTO, Calif. In a Press Release dated September 15, 2014 the Defendant stated the following: "HP today
 expanded the HP Performance Testing Suite with a new software solution focused on helping Agile development
 teams accelerate application quality and delivery via a simple, intuitive and scalable cloud-based platform.
 HP StonnRunner Load joins HP's existing performance testing solutions, which include HP LoadRunner and HP
 Performance Center. The modern enterprise faces a perfect storm of changes that are driving the need for a completely
 new approach to application delivery and testing. Businesses must develop applications that can instantly operate
 across a wide variety of platforms including thousands, or millions, of mobile devices." Source:
 http://www8.hp.comlus/en/hp-news/press-release.html?id=l 791 344#.WyqigFVKguU (accessed June 27, 2018)
   http://www8.hp.comlca/en/hp-news/press-release.htn-il?id=1825600#.WyOUm1VKguU(accessed June 27, 2018)
           https://web.archive.org/web/20 1412051 74207/http:/!www8.hp.comlus/en/software-solutions/mobile-testing/
 (accessed June 27, 2018)
            Case 5:20-mc-01134-DAE
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          26.     Defendant has been making and/or using (including for testing purposes) and

continues to make and/or use (including for testing purposes) systems for testing an application

for a mobile device, the system for testing ("Accused System") including and not limited to the

Micro Focus Software Suite and LoadRunner.            See   attached Claim Chart for the '678 Patent at

Exhibit 4, citing Exhibits     AG;    attached Claim Chart for the '864 Patent at Exhibit 5, citing

Exhibits    AG; attached Claim Chart for the '192 Patent at Exhibit 6, citing Exhibits AG.
                                  TECHNOLOGY BACKGROU1D

                                    NETWORK VIRTUALIZATION

          27.     On information and belief, to simulate mobile networks from any geographic

location worldwide for mobile application testing (hereafter "Network Virtualization"),

Defendant's use of the Accused System enables performance engineers "to virtualize real-world

network conditions, analyze test results to detect and remediate performance bottlenecks before

deployment and gain custom performance optimization                   recommendations."5    Regarding

predecessor versions of Micro Focus software product(s), HPE stated that "integrating [Network

Virtualization] with your continuous integration testing process takes your automated CI

[continuous integration] tests way beyond traditional functional testing and load testing, delivering

to your developers timely actionable analytics and optimization recommendations."6 Additionally,

HPE stated that "[Network Virtualization] is a vital tool for performance engineers.. . [and] is fully

integrated with HPE LoadRunner, HPE Performance Center and HPE StormRunner Load.. . [and]

HPE Mobile       Center."7




    https://www.youtube.comlwatch?v=lUznCBjocYw (accessed June 25, 2018).
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                                        NETWORK PROFILES

        28.     On information and belief, as part of the Micro Focus Software Suite, Micro Focus

provides a library of real-world mobile and broadband network conditions (hereafter "Network

Profiles"), enabling its customers (including Defendant) to have access to a library of real-world

data points of point-to-point network conditions recorded around the world.                  Micro Focus

"provides a library of real-world mobile and broadband network conditions."8 Further, "Network

Virtualization for Mobile allows tests to be managed and results analyzed from any laptop or Wi-

Fi-connected mobile device. The software can import real-world mobile network profiles captured

by Micro Focus Network Capture or provided by the Micro Focus Network Virtualization Library

of mobile and broadband network conditions."9 Network Profiles and cloud-enabled technology

has been described as bridging "the gap between development and deployment by enabling your

mobile application development team to fully and accurately assess the behavior and impact of the

network on mobile apps before they are introduced to end users. By virtualizing real-world mobile

network conditions within testing environments, your test results are more reliably predictive of

how an application will behave for end users."10

                       VuGEN AN) THE VIRTUAL EVENT GENERATOR

        29.     On information and belief, to simulate virtual users to load test mobile applications

(hereafter "Virtual Users" or "Vuser") within the Micro Focus Software Suite, Micro Focus has

offered and continues to offer a virtual event generator (hereafter "Virtual Event Generator"). The

Virtual Event Generator is the "primary tool for creating testing scripts that emulate the behavior




8
 Micro Focus Network Virtualization for Mobile Data Sheet, Page 1 https://www.microfocus.comlmedialdata-
sheet/network virtualization_for mobile_ds.pdf (accessed June 27, 2018).
9


'°Id.
          Case 5:20-mc-01134-DAE Document 1 Filed 09/23/20 Page 36 of 332
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of real users on your system."1 A Virtual User is defined as scripts that replace "real users with

virtual users. . . to emulate the actions of a human     user"12   for load testing. On information and

belief, from a single workstation, Micro Focus has offered and continues to offer a controller to

distribute "each Vuser in the scenario to a load generator. The load generator is the machine that

executes the Vuser script, enabling the Vuser to emulate the actions of a human user."13 The Vuser

operates as a single thread process, enabling a single server or computer to emulate the actions of

several 100 users to create load against a mobile application.

        30.      In March of 2014, HPE migrated its long-standing license model from a standard

license to a cloud-based monetization        model'4   wherein customers (including Defendant) of an

HPE Software Suite (and, subsequently, the Micro Focus Software Suite) would be charged on a

per Virtual User basis over a 24-hour time period.15 The Micro Focus Software Suite has been

offered for sale and is offered for sale based on a cloud-based monetization model.

                    TRUCLIENT AND SCRIPTED USER EVENT MODELING

         31.     On information and belief, to create Virtual Users to interact with scripted events

to model human interaction with a native mobile application (hereafter "Scripted User Event

Modeling") within the Micro Focus Software Suite, Micro Focus has offered and continues to offer

TruClient as a native mobile protocol that provided a way "to record and replay native mobile

 applications on both Android and iOS devices" to enable "the developer or DevOps engineer to



    Micro Focus LoadRunner Help Center, https://admhelp.microfocus.comllr/enIl2.56-
 12.57/help/WebHelp/Content/VuGen/tocs/tocMainVuGen.htm (accessed June 27, 2018)
 12
    Micro Focus LoadRunner Help Center, https://admhelp.microfocus.comllr/en/12.56-
 12.57/helplWebHelp/Content/Controller/c_terms_lr.htm (accessed June 27, 2018)
 ' Micro Focus LoadRunner Help Center, Id.
 14
    http:I/www8 .hp.com/us/enlhp-news/press-release.html?id=l 601 722#.WzQUBd\TKguV (accessed June 27, 2018)
 15
    https://software.microfocus.comlen-uslproductslloadrunner-load-testing/pricing;
 https://software.microfocus.comlen-us/products!performance-center!pricing;https:!/software.microfocus.comlen-
 us/products/stormrunner-load-agile-cloud-testing/pricing (accessed June 27, 2018)
        Case 5:20-mc-01134-DAE
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record user interactions on the mobile application and create a TruClient                  script"16   (hereafter

"Scripted User Event Modeling") to simulate "multiple virtual users (Vusers)" during the load

test's    execution.17   Additionally, "the script can be enhanced using standard TruClient

functionality including parameterization, transactions and JavaScript coding."18 Together with the

[Micro Focus] Virtual User Suite of Products, this "protocol is meant for end-user performance

testing. . . [and] completes the LoadRunner mobile perfonnance testing suite."9

                                           STORMRUNNER LOAD

          32.     On information and belief, Micro Focus's StorniRunner product provides the

ability to create a "real-world scenario by generating load from global cloud regions to emulate

real networks during load      tests."20    "StormRuimer Load initializes on demand load generation

machines in the private or public cloud"2' to dynamically "Scale from                1   tester to 2,000,000 or

more geographically        distributed"22     Virtual Users (hereafter "Cloud-based Load Server

Modeling"). StormRunner provides a cloud-based performance testing solution that enables Agile

development teams to ensure app scalability up to millions of distributed mobile users.23

                 MICRO FOCUS MOBILE CENTER AND DEVELOPMENT SERVER

           33.    On information and belief, Defendant has used and continues to use Micro Focus

Mobile Center, "a standalone server that provides mobile device access to different test

applications. [Micro Focus] Mobile Center supports a distributed architecture where different test




TruClient-Native-Mobile/ba-p/269441#WygO6FVKguV

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'9

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  https://software.microfocus.comlen-us/products/stormrunner-load-agile-cloud-testing/overview (accessed June 27,
20 18)
21
     Id
22

23




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clients can all interact with the same Mobile Center server instance."24 On information and belief,

Defendant has used and continues to use Micro Focus Mobile Center to gain an "accurate picture

of the end-to-end mobile performance" by combining "virtual users and real devices" to run

"elastic, and realistic tests from multiple geographies across various real-world network

conditions"25   and "mediates between the testing-tool client calls to mobile devices" by providing

"a user interface within the testing tool for recording and running tests on real mobile           devices"26


(hereafter "Cloud-based Mobile Center").

        34.      On information and belief, "Mobile Center is a core component of [the] mobile app

development lifecycle" and is integrated with "Application Lifecycle Management (ALM),

AppPulse Mobile, Business Process Monitoring, Business Process Testing, Fortify On Demand,

LoadRunner, Network Virtualization (NV), Performance Center, Sprinter, StormRunner Load,

UFT and UFT Pro"27 (hereafter "Micro Focus Mobile Center Suite of Products").28

                                     FACTUAL ALLEGATIONS

                                           PATENTS-N-SUIT

        35.      Plaintiffs are the owner of all right, title and interest in and to U.S. Patent No.

9,971,678 (the "678 Patent", attached as Exhibit 1), entitled "Systems including device and

network simulation for mobile application development," issued on May 15, 2018.




24
   http://mobilecenterhelp.saas.hpe.coni'docs/enI2.20/mobilecenter help/ContenttHPMC architecture.htm (accessed
June 27,2018)
25
   https://software.microfocus.comien-us/products/mobile-testing/overview (accessed June 27, 2018)
26
   http://mobilecenterhelp.saas.hpe.comldocs!enI2.20/mobilecenter help/Content/HPMC architecture.htm (accessed
June 27, 2018)

mobile-testing/ba-p/i 593254#.Wyg_71'VKguU (accessed June 27, 2018)
28https:!/w.yoube.coJwatch?6QyrwGSGq.c (accessed June 27, 2018) and
https:/!www.youtube.comlwatch?v=FkJkIe1HrM (accessed June 27, 2018)


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        36.        Plaintiffs are the owner of all right, title and interest in and to U.S. Patent No.

9,298,864 (the "864 Patent", attached as Exhibit 2), entitled "System Including Network

Simulation for Mobile Application Development," issued on March 29, 2016.

        37.        Plaintiffs are the owner of all right, title and interest in and to U.S. Patent No.

8,924,192 (the "192 Patent", attached as Exhibit 3), entitled "Systems including network

simulation for mobile application development and online marketplaces for mobile application

distribution, revenue sharing, content distribution, or combinations thereof," issued on December

30, 2014.

        38.         Together, the foregoing patents are referred to as the "Patents-in-Suit". Plaintiffs

are the assignee of the Patents-in-Suit and have all substantial rights to sue for infringement and

collect past and future damages for the infringement thereof.

         39.        The foregoing patents, and any related patents in the family, are herein referred to

collectively and individually as the "Plaintiffs' Patent Portfolio" respectively.

              DAMAGES, PLAINTIFFS' PORTFOLIO, AND THE APP ECONOMY

         40.        Mobile apps and the tools to develop and test mobile apps have become paramount

to the U.S. economy. According to a 2012 white paper released by renowned Dr. Michael Mandel

titled the 'App Economy', the App Developer community represented the second largest IT

segment in the United States in 2012 with over 466,000 jobs created in the U.S. economy alone,

up from nearly zero in 2008 when the App Store was initially launched (hereafter "App

 Economy")?9

         41.         Plaintiffs' goal has been to democratize app development for a new generation of

 developers by mitigating performance risks and reducing application development cycles from


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 u-si (accessed   June 27, 2018)

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months down to minutes by virtue of new performance engineering modeling. At the time of

Plaintiffs' provisional patent filing in June of 2005, Apple had not launched the iPhone (June of

2007), there was no App Store (July of 2008), Google's Android platform had not been released

(September of 2008), the Samsung Galaxy family of devices had not been released (June of 2009)

and the mobile app ecosystem that we know today was still in its infancy.

       42.       In Dr. Mandel's App Economy white paper, the renowned economist contributes

two driving innovations behind the App Economy: (a) the ease of app development; and (b) the

ease of app delivery. With respect to the former, Plaintiffs' Patent Portfolio describes many of the

core innovations in modem application development that accelerate the development of

applications and enhances the mobile device consumer experience on the client side.

       43.       In alignment with Dr. Mandel's thesis concerning the importance of facilitating

application development, the Plaintiffs' patented technologies, with a focus on accelerating

application development for performance engineers, helped to enable a new generation of app

developers to lay the foundation for the emerging App Economy (hereafter "App Developers").

       44.       App Developers play an integral role in the app ecosystem, and Plaintiffs' patented

innovations, with a focus on accelerating application development for performance engineers, have

ushered in a new generation of smart developer tools and contributed significantly to the growth

of the App Economy.

        45.      Application performance and access to data in the cloud are paramount to the user

experience for a new generation of data hungry applications. Supporting this premise is a quote

from HPE's Paul Whiten, Applications Business Unit Lead, stating that "We now live in a mobile

and app-centric world, and the ability to deliver a consistent and enjoyable app experience has




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never been more important."3° If a mobile application fails, 48% of users are less likely to ever

use the app again. 34% of users will simply switch to a competitor's application and 31% of users

will tell friends about their poor experience, which eliminates future              customers.31     A change in

latency from 2ms (broadband) to 400ms (3G network) can cause a mobile page load to go from                           1



second to 30 seconds.32 Google reported that a mere 0.5 to 1.0-second increase in page load time

resulted in a 20% decrease in traffic and revenue. The average U.S. retail mobile site loaded in

6.9 seconds in July of 2016, and according to the most recent data presented by Google, 40% of

consumers will leave a page that takes longer than three seconds to             load.33



          46.      According to HPE's studies, "over 70% of the performance of a mobile app is

dependent on the       network,"34   and in another study HPE further stated that "80% of the costs

associated with application development occur in remediating failed or underperforming

applications after deployment, when the ineffective application has already had a negative impact

on the end user or customer experience."35

          47.      In 2018, 52.2 percent of all website traffic worldwide was generated through a

mobile     device.36   In the United States, not even Black Friday was immune from the influence of

mobile as nearly 40% of sales on the traditional brick and mortar shopping day came from a mobile

device. With 30% of all online shopping happening on mobile phones and with 89% of executives




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     http://www8.hp.com/calen/hp-news/press-release.html?id=1 825600#.WOzl-tVKguV (accessed July 16, 2018)
 ' https:fiwww.marketingcharts.comldigital-27846 (accessed June 27, 2018)
32
   https://www.slideshare.net/xbosofl/mobile-network-performance-testing (accessed June 27, 2018)
   https://www.thinkwithgoogle.comlmarketing-resources/experience-designlmobile-page-speed-load-time/
(accessed June 27, 2018)
34Exhibit A
   http://media.shunra.comldatasheets/Shunra-NetworkCatcher.pdf (accessed June 27, 2018)
36
   https:I/www.statista.comlstatisticsf24 l462tglobal-mobile-phone-website-traffic-share/ (accessed June 27, 2018)


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believing that customer experience will be their primary mode of competition, the consumer

experience via a company's mobile app has never been so prevalent.37

           48.      In a recent study released by Micro Focus, over 50 percent of respondents indicated

the need to remediate at least four application production incidents per month and the average days

required to resolve a production incident was six.
                                                   38
                                                      Micro Focus further stated that the average

remediation cost per incident was $88,000 USD and the highest reported cost was $500,000 USD

per incident.        Micro Focus stated that "it is important to note that this is the remediation cost

alone; it is not an accounting of the total impact on the          business."40   A single security breach of a

customer's financial banking information via a mobile app can cause a massive client exodus.

           49.      Millennials, in particular, are much less forgiving concerning their application

experience and will unapologetically delete an app just because the logo is not appealing.41 It is

safe to assume that a customer's bank finances are much more important to them then a logo.

These facts suggests a shrinking margin of error for performance issues especially when it is

considered that 67% of Millennials now use mobile banking as their primary engagement with

their bank compared to 18% for those consumers aged 60 or over.42 In a recent study in the UK,

Millennials now trust their App more than a teller at a brick and mortar bank, and 27% of

Millennials are now completely reliant on a mobile Banking               App.43   In the next 3-4 years, 33% of

Millennials may choose to completely abandon traditional brick and mortar Banking in lieu of a



 ' https://www.outerboxdesign.cornlweb-design-articles/mobile-ecommerce-statistics (accessed June 27, 2018)
   Micro Focus The Value of Proactive Application Performance, http://files.asset.microfocus.com/4aa6-
 64091en/4aa6-6409.pdf (accessed June 27, 2018)
39

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 '



 201 7-US-Mobile-App-Report (accessed June 27, 2018)
 42
      https://www.federalreserve.gov/consumerscommunities/mobilefinance.htm
      https://www.salesforce.comlblog/201 6/03/stats-about-millennials-mobile-banking.html (accessed June 27, 2018)


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mobile app.44 With over 50% of the United States workforce projected to be made up of'App First

Millennials' by 2020, it is clear why Micro Focus entered into the spin-out merger with HPE to

move into the Mobile-first product model. The vast majority of Micro Focus's downstream clients

(including Defendant) have also initiated a 'Mobile-First' strategy to 'mobilize' their customer

base to engage a new era of app users and as a result, have relied on the mobile testing products

offered by Micro Focus.

        50.       Defendant reported more than 22 million mobile active users in its most recent

quarterly earnings statement attached hereto as Exhibit                J.46   Mobile banking users, therefore

represent close to a third of its 70 million customers globally.47 With this many users and with up

to 90 percent of financial transactions now taking place online or through mobile banking, it is

safe to assume that many users access the Defendant's bank app simultaneously (i.e., to check

balances, make deposits or use a digital wallet) making stress testing crucial to application

performance and to maintain user           trust.48   For banks, maintenance of trust is especially critical

since a recent UK study determined that millennials now trust their banking application more than

a teller at a brick and mortar bank, and 27% of Millennials are now completely reliant on a mobile

banking App.49




at-all-in-5-years-we-think-differentl (accessed June 27, 2018)
   https://www.forbes.comlworkforce-2020/ (accessed June 27, 2018)
4
          Fargo Quarterly Earnings Statement (2nd Qtr, 2018),
https://www08.wellsfargomedia.comlassets/pdf/about/investor-relations/earnings/secoiid-quarter-201 8-eamings.pdf
(accessed July 16, 2018)
   https://en.wikipedia.org/wiki/Wells Fargo, (accessed July 16, 2018)
   Millennials Help Accelerate Banking Evolution, https://www.businessnbmagazine.comlarticle/millennials-help-
accelerate-bankingamp39s-evolution, (accessed July 16, 2018), see also
https://www.forbes.conilsites/forbestechcouncil/2017/05/16/mobile-banking-exploring-trends-for-market-
leadership/#23643afe6962 (accessed July 16, 2018)
   https://www.salesforce.comi'blog/201 6/03/stats-about-n-iillennials-mobile-banlcirig.html, (accessed July 16, 2018)


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                                ROYALTY DEMAND BY PLAiNTIFFS

          51.    Banks, by the sheer volume and number of active daily users, would appear to have

a significant need for virtual user and network virtualization testing now and in the future.         With

72% of millennials now active users of mobile               banking,5°   bringing with them their particular

sensitivity around application performance, ensuring proper performance through testing to

maintain trust is critical.

          52.    Further, with mobile phone sales expected to reach 2.1 billion units by 2019, or

approximately one-third of the world's population,5' the pace of the growth in the number of

mobile banking users driving this already unprecedented mobile demand will likely continue.

          53.    In light of the collective facts herein, specifically the network virtualization testing,

the large number of simultaneous active daily users necessitating the virtual user testing that we

believe Defendant is executing in violation of Plaintiffs Patent Portfolio, the high growth of

overall financial transactions on mobile applications, the high percentage of millennials using

mobile applications, and the steady growth of mobile phone sales, using a reasonable royalty rate,

the patent royalties owed by Defendant to Plaintiffs are significant.

                                                    COUNT I

                          (Infringement of United States Patent No. 9,971,678)

          54.     Plaintiffs incorporate the paragraphs above herein by reference.

          55.     On May 15, 2018, the United States Patent and Trademark Office ("USPTO") duly

and legally issued United States Patent No. 9,971,678 (the "678 Patent") entitled "Systems

Including Device and Network Simulation for Mobile Application Development" on an



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at-all-in-5-years-we-think-different/ (accessed July 16, 2018)
51
     Id
                                                          17
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application filed Dec. 23, 2014, United States Patent Application Ser. No. 14/58 1,475. The '678

Patent is a continuation of United States Patent Application Ser. No. 13/673,692, filed Nov. 9,

2012 and issued as United States Pat. No. 8,924,192, on Dec. 30, 2014, which is a continuation of

United States Patent Application Ser. No. 12/759,543, filed April 13, 2010 and issued as United

States Pat. No. 8,332,203, on Dec. 11, 2012, which is a continuation of United States Patent

Application Ser. No. 11/449,958, filed Jun. 9, 2006 and issued as United States Pat. No. 7,813,910,

on Oct. 12, 2010, which application claims priority to United States Patent Application Ser. No.

60/689,10 1 filed Jun. 10, 2005.

         56.     The '678 Patent is presumed valid and enforceable.

         57.     Plaintiffs are the sole owner of the '678 Patent.

         58.     Defendant without authorization has been and is directly infringing at least Claim

1   of the '678 Patent, including making and/or using (including for testing purposes) and continues

to make and/or use (including for testing purposes) the Accused System. See attached Claim Chart

for the '678 Patent at Exhibit 4, citing Exhibits AG.

         59.     The '678 Patent describes systems that address technical problems related to

 simulating network systems to determine performance of the mobile device.         See, e.g.,   '678 Patent

 at col. 10, lines 34-44 [simulated network environment] to col. 13, line 47 [includes Figures            8


 through 13].

          60.    The '678 Patent describes systems that enable a performance engineer to view

 application performance data to mitigate performance risks.     See, e.g.,   '678 Patent at col. 7, lines

 29-40 and col. 8, lines 45-56 [profile data 110 is stored or displayed to identify performance of the

 application].
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          61.      The '678 Patent describes systems that include providing a network model library

of real-world mobile network characteristics, see, e.g., '678 Patent at col. 2, lines 5-9 [geographical

markets], col. 11, lines 49-59 and col. 12, lines 3-25 [Figure 9 and geographical map] to enable a

user to import the network profiles,       see, e.g.,   '678 Patent at col. 12, lines 50-53 [import network

profiles] into the testing environment, see,      e.g.,   '678 Patent at col. 10, lines 59-66 to col. 11, lines

1-14 [download network profiles].

          62.       Technological improvements described and claimed in the '678 Patent were not

conventional, well-known, or routine at the time of their respective inventions but involved novel

and non-obvious approaches to problems and shortcomings prevalent in the art at the time.                 See,



e.g.,   '678 Patent at col. 2, lines 5-9, col. 11, lines 60-67 and col. 12, line 2.

          63.       The written description of the '678 Patent supports each of the elements of the

claims, allowing a person of ordinary skill in the technical art ("POSITA") to understand what the

elements cover and how the non-conventional and non-routine combination of claim elements

differ markedly from and improved upon what may have been considered conventional, generic,

or routine.      See, e.g.,   '678 Patent at col. 10, lines 34-44 [simulated network environment] to col.

13, line 47 [includes Figures 8 through 13].

           64.      The '678 Patent represents a substantial technical improvement in the area of

simulating network systems to determine performance of the mobile device. As demonstrated by

its frequent citation, Plaintiff's Performance Engineering Innovations have been cited over thirty

times against a number of industry-leading companies as prior art by the United States Patent and

 Trademark Office and the World Intellectual Property Organization, including citations against

 Apple, Intel, Google, Adobe and Amazon.                See   https ://patents.google.com/patentTLJS9971678/en




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(last accessed June 28, 2018). A larger listing of companies whose patents have cited Plaintiffs'

Patent Portfolio is provided above in ¶ 15.

        65.     Viewed in light of the specification of the '678 Patent, the claims are not directed

to basic tools of scientific and technological work, nor are they directed to a fundamental economic

practice.

        66.     The '678 Patent claims are not directed to the use of an abstract mathematical

formula on any general-purpose computer, or a purely conventional computer implementation of

a mathematical formula, or generalized steps to be performed on a computer using conventional

activity.

        67.      The '678 Patent claims are not directed to a method of organizing human activity

or to a fundamental economic practice long prevalent in our system of commerce.

        68.      The '678 Patent does not take a well-known or established business method or

process and apply it to a general-purpose computer.

        69.      As noted by United States Patents, foreign patent documents, and other publications

cited by the '678 Patent, the '678 Patent does not preempt the field of its invention or preclude use

of other methods and systems of simulating network systems to determine performance of the

mobile device.

        70.      As a result of Defendant's infringement of the '678 Patent, Plaintiffs have suffered

and will continue to suffer damages.

        71.      Defendant will continue to infringe unless this Court enjoins Defendant and its

agents, servants, employees, representatives, and all others acting in active concert with Defendant

from infringing the '678 Patent.

                                              COUNT II



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                        (Infringement of United States Patent No. 9,298,864)

         72.     Plaintiffs incorporate the paragraphs above herein by reference.

         73.     On March 29, 2016, the United States Patent and Trademark Office ("USPTO")

duly and legally issued United States Patent No. 9,298,864 (the       "864 Patent") entitled "System

Including Network Simulation for Mobile Application Development" on an application filed Nov.

19, 2013, United States Patent Application Ser. No. 14/084,321. The '864 Patent is a divisional

of United States Application Ser. No. 12/705,913, filed Feb. 15, 2010 (now United States Pat. No.

8,589,140), which claims priority to United States Application Ser. No. 61/152,934, filed Feb. 16,

2009, and is a continuation-in-part of United States Application Ser. No. 11/449,958, filed Jun. 9,

2006 (now U.S. Pat. No. 7,813,910), which claims priority to United States Application Ser. No.

60/689,10 1, filed Jun. 10, 2005.

          74.     The '864 Patent is presumed valid and enforceable.

          75.     Plaintiffs are the sole owner of the '864 Patent.

          76.     Defendant without authorization has been and is directly infringing at least Claim

 1   of the '864 Patent, including making and/or using (including for testing purposes) and continues

to make and/or use (including for testing purposes) the Accused System.      See attached     Claim Chart

 for the '864 Patent at Exhibit 5, citing Exhibits   AG.

          77.     The '864 Patent describes systems that address technical problems related to

 simulating network systems to determine performance of the mobile device.       See, e.g.,   '864 Patent

 at col. 9, line 60 through col. 10, line 3 [simulated network environment] to col. 13, line 4 [includes

 Figures 8 through 13].

           78.    The '864 Patent describes systems that simulate virtual users to load test mobile

 applications by using an event generator to create scripts to emulate and model human behavior to


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determine performance of either the network or the mobile application.                            See, e.g., '864     Patent at

col. 10, lines    57-65    [event generator + scripted effects], col 11, lines                    7-17   [event generator +

bandwidth], col. 11, lines         51-67      [scripted events + human interaction]. The                 '864   Patent further

describes systems that enable the performance engineer to simulate real-world scenarios by

generating load from multiple geographies to emulate real networks during load tests.                                 See, e.g.,


'864   Patent at col. 11, lines     51-67      [scripted events + consumer events + performance], Figures 9,

10, 11, 12 and    13, col. 12,    lines   8-11    [storage   134]   and col.   12,   lines   18-22   [geographic locations].

          79.      The   '864    Patent describes systems that enable the performance engineer to interact

with the virtual users by providing scripts to record and replay user interactions on the mobile

device to emulate real networks during load tests.                   See, e.g., '864         Patent at col. 11, lines     5 1-67


[scripted events + consumer events + performance], Figures                     12    [Load Server] and      13, col. 12,      lines

8-11   [storage   134]   and col.   12,   lines   18-22    [geographic locations].

          80.      The   '864    Patent describes systems that include a developer server that provides a

library of mobile devices to enable the performance engineer to combine virtual users and real

devices to run tests from multiple geographies across real-world network conditions.                                  See, e.g.,


'864   Patent at col.      2,   lines   3-7    [mobile devices in geographical markets], col.                    3,   lines    4-7


[development server + Internet], col.             9,   line 60 to col. 10, line 3 [developer server + mobile device,

figures   8-13], col. 11,   lines   18-27      [developer server + networks worldwide], and col.                   12,   lines   8-


11   [storage   134].


          81.      The    '864   Patent describes systems that enable a performance engineer to view

application performance data to mitigate performance risks.                      See, e.g., '864      Patent at col.     6,   lines

46-5 7   [profile data 110 is stored or displayed to identify performance of the application].




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          82.      Technological improvements described and claimed in the '864 Patent were not

conventional, well-known, or routine at the time of their respective inventions but involved novel

and non-obvious approaches to problems and shortcomings prevalent in the art at the time.              See,


e.g.,   '864 Patent at col. 2, lines 3-7 and col. 11, lines 18-27.

          83.      The written description of the '864 Patent supports each of the elements of the

claims, allowing a person of ordinary skill in the technical art ("POSITA") to understand what the

elements cover and how the non-conventional and non-routine combination of claim elements

differ markedly from and improved upon what may have been considered conventional, generic,

or routine.      See, e.g.,   '864 Patent at col. col. 9, line 60 to col. 10, line   3   [simulated network

environment] to col. 13, line 3 [includes Figures 8 through 13].

          84.      The '864 Patent represents a substantial technical improvement in the area of

mobile performance engineering. As demonstrated by its frequent citation, Plaintiff's Performance

Engineering Innovations have been cited over thirty times against a number of industry-leading

companies as prior art by the United States Patent and Trademark Office and the World Intellectual

Property Organization, including citations against Apple, Intel, Adobe, Facebook, Ca, Amazon,

Vodafone and Telecom Italia S.p.A.         See https://patents.google.comlpatent/US9298864B2/en (last


accessed June 26, 2018). A larger listing of companies whose patents have cited Plaintiffs' Patent

Portfolio is provided above in ¶ 15.

          85.      Viewed in light of the specification of the '864 Patent, the claims are not directed

to basic tools of scientific and technological work, nor are they directed to a fundamental economic

practice.

           86.     The '864 Patent claims are      not directed   to the use of an abstract mathematical

formula on any general-purpose computer, or a purely conventional computer implementation of



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a mathematical formula, or generalized steps to be performed on a computer using conventional

activity.

        87.         The '864 Patent claims are   not directed to   a method of organizing human activity

or to a fundamental economic practice long prevalent in our system of commerce.

        88.         The '864 Patent   does not   take a well-known or established business method or

process and apply it to a general-purpose computer.

        89.         As noted by United States Patents, foreign patent documents, and other publications

cited by the '864 Patent, the '864 Patent does not preempt the field of its invention or preclude use

of other methods and systems of simulating network systems in the area of mobile performance

engineering.

            90.      As a result of Defendant's infringement of the '864 Patent, Plaintiffs have suffered

and will continue to suffer damages.

            91.      Defendant will continue to infringe unless this Court enjoins Defendant and its

agents, servants, employees, representatives, and all others acting in active concert with Defendant

from infringing the '864 Patent.

                                                 COUNT      Il
                            (Infringement of United States Patent No. 8,924,192)

            92.      Plaintiffs incorporate the paragraphs above herein by reference.

            93.      On Dec. 30, 2014 the United States Patent and Trademark Office ("USPTO") duly

 and legally issued United States Patent No. 8,924,192 ("the' 192 Patent") entitled "Systems

 Including Network Simulation for Mobile Application Development and Online Marketplaces for

 Mobile Application Distribution, Revenue Sharing, Content Distribution, or Combinations

 thereof' on an application filed Nov. 9, 2012, United States Patent Application Ser. No.


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13/673,692. The '192 Patent is a continuation of United States Patent Application Ser. No.

12/759,543, filed Apr. 13, 2010, which is a continuation of United States Patent Application Ser.

No. 11/449,958, filed Jun. 9, 2006, and issued as United States Pat. No. 7,813,910, on Oct. 12,

2012, which application claims priority to United States Patent Application Ser. No. 60/689,101

filed Jun. 10, 2005.

        94.       The '192 Patent is presumed valid and enforceable.

        95.       Plaintiffs are the sole owner of the '192 Patent.

        96.       Defendant Defendant without authorization has been and is directly infringing at

least Claim   1   of the '192 Patent, including making andlor using (including for testing purposes)

and continues to make and/or use (including for testing purposes) the Accused System.                       See


attached Claim Chart for the '192 Patent at Exhibit 6, citing Exhibits AG.

        97.        The '192 Patent describes systems that address technical problems related to

simulating network systems to determine performance of the mobile device.               See, e.g.,   '192 Patent

 at col. 10, lines 15-25 [simulated network environment] to col. 13, line 23 [includes Figures 8

through 13].

        98.        The '192 Patent describes systems that enable a performance engineer to view

 application performance data to mitigate performance risks.          See, e.g.,   '192 Patent at col. 7, lines

 14-25 and col. 8, lines 27-3 8 [profile data 110 is stored or displayed to identif' performance of the

 application].

        99.        The '192 Patent describes systems that include providing a network model library

 of real-world mobile network characteristics, see, e.g., '192 Patent at col. 2, lines 4-8 [geographical

 markets], col. 11, lines 28-3 8 and col. 11, line 49 to col. 12, line 2 [Figure 9] to enable a user to

 import the network profiles, see,   e.g.,   '192 Patent at col. 12, lines 28-31 [import network profiles]


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into the testing environment,         see, e.g.,   '192 Patent at col. 10, lines 40-47 to col. 10, lines 5 1-62

[download network profiles].

          100.       Technological improvements described and claimed in the '192 Patent were not

conventional, well-known, or routine at the time of their respective inventions but involved novel

and non-obvious approaches to problems and shortcomings prevalent in the art at the time.                  See,



e.g.,   '192 Patent at col. 2, lines 4-8 and col. 11, lines 39-48.

          101.       The written description of the '192 Patent supports each of the elements of the

claims, allowing a person of ordinary skill in the technical art ("POSITA") to understand what the

elements cover and how the non-conventional and non-routine combination of claim elements

differ markedly from and improved upon what may have been considered conventional, generic,

or routine.       See, e.g.,   '192 Patent at col. 10, lines 15-25 [simulated network environment] to col.

13, line 23 [includes Figures 8 through 13].

           102.      The '192 Patent represents a substantial technical improvement in the area of

simulating network systems to determine performance of the mobile device. As demonstrated by

its frequent citation, Plaintiff's Performance Engineering Innovations have been cited over thirty

times against a number of industry-leading companies as prior art by the United States Patent and

Trademark Office and the World Intellectual Property Organization, including citations against

 Google,              Apple,           Adobe,            Amazon,          and         Intel.                See


 https://patents.google.comlpatent/US8924192B1/en (last accessed June 26, 2018). A larger listing

 of companies whose patents have cited Plaintiffs' Patent Portfolio is provided above in ¶ 15.

           103.       Viewed in light of the specification of the '192 Patent, the claims are      not directed


 to basic tools of scientific and technological work, nor are they directed to a fundamental economic

 practice.
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        104.       The '192 Patent claims are not directed to the use of an abstract mathematical

formula on any general-purpose computer, or a purely conventional computer implementation of

a mathematical formula, or generalized steps to be performed on a computer using conventional

activity.

        105.       The '192 Patent claims are not directed to a method of organizing human activity

or to a fundamental economic practice long prevalent in our system of commerce.

        106.       The '192 Patent does not take a well-known or established business method or

process and apply it to a general-purpose computer.

            107.   As noted by United States Patents, foreign patent documents, and other publications

cited by the '192 Patent, the '192 Patent does not preempt the field of its invention or preclude use

of other methods and systems of simulating network systems to determine performance of the

mobile device.

            108.   As a result of Defendant's infringement of the '192 Patent, Plaintiffs have suffered

and will continue to suffer damages.

            109.   Defendant will continue to infringe unless this Court enjoins Defendant and its

agents, servants, employees, representatives, and all others acting in active concert with Defendant

from infringing the '192 Patent.

                                        RELIEF REQUESTED

            WHEREFORE, Plaintiffs respectfully request that the Court:

            A.     Enter judgment that Defendant has infringed and continues to infringe one or more

 claims of the '678 Patent literally or under the doctrine of equivalents;

            B.      Enter judgment that Defendant has infringed and continues to infringe one or more

 claims of the '864 Patent literally or under the doctrine of equivalents;


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       C.      Enter judgment that Defendant has infringed and continues to infringe one or more

claims of the '192 Patent literally or under the doctrine of equivalents;

       D.      Award Plaintiffs past damages, to be paid by Defendant, in an amount no less than

a reasonable royalty and adequate to compensate Plaintiffs for such damages, together with pre-

judgment and post-judgment interest for Defendant's infringement of the '678 Patent, the '864

Patent and the '192 Patent through the date that such judgment is entered in accordance with 35

U.S.C. §284, and increase such award by up to three times the amount found or assessed in

accordance with 35 U.S.C. §284;

        E.      Enjoin Defendant from continuing to infringe the '678 Patent, the '864 Patent, and

the '192 Patent;

        F.      Declare this case exceptional under 35 U.S.C. §285; and

        G.      Award Plaintiffs their costs, disbursements, attorneys' fees, and such further and

additional relief as is deemed appropriate by this Court.

                                         JURY DEMANI

        Pursuant to Federal Rule of Civil Procedure 3 8(b), Plaintiffs hereby demand a trial by jury

on all issues so triable.
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Dated: July 16, 2018                     Respectfully Submitted,

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                                         WAPP TECH LIMITED PARTNERSHIP AN])
                                         WAPP TECH CORP.
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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION


  UNITED SERVICES AUTOMOBILE
  ASSOCIATION
  a Texas reciprocal inter-insurance exchange,

                  Plaintiff,

          V.



   WELLS FARGO BANK, N.A.,                               Civil Action No. 2:16-C V-245
   a national banking association,
                                                         JURY TRIAL DEMANDED
                  Defendant.



                                                     )

                                                     )


                                              COMPLAINT




          Plaintiff United Services Automobile Association ("USAA"), by its undersigned counsel,
   for its Complaint against defendant Wells Fargo Bank, N.A. ("Wells Fargo"), states as follows,

   with knowledge as to its own acts, and on information and belief as to the acts of others:
                  This lawsuit is brought to address Wells Fargo's large-scale use of USAA's

   patented technologies that relate to remote check deposit for mobile banking systems. These

   patented technologies enable USAA to connect members of the military and their families across

   the globe to financial services. USAA developed these technologies seeking to deliver on its

   mission to improve the financial security of its members. In its decades of serving the military

   community, USAA has worked to innovate in serving the needs of its members, including a

   lifestyle that can make getting to a bank branch difficult, particularly if they are out to sea or

   deployed outside the United States. USAA's innovations and investments are protected by

   multiple patents issued by the United States Patent & Trademark Office. Wells Fargo has
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  nonetheless chosen to use USAA's patented technologies without pennission and to use them for

  its own commercial gain. This lawsuit is designed to address Wells Fargo's misconduct. USAA

  intends to defend the significant investments it has made in these technologies for the benefit of its

  members.

  II.      THE PARTIES
          2.       Plaintiff USAA is a reciprocal interinsurance exchange and unincorporated
   association organized under the laws of the State of Texas having its principal place of business at

   9800 Fredericksburg Road, San Antonio, Texas 78288. The USAA family of companies is

   dedicated to the financial well-being of members of the military and their families through the

   provision of insurance, banking, investment, and retirement products and services. USAA does
   business in this judicial district, and through its website at www.usaa.com and USAA Mobile

   smartphone applications.

           3.      On information and belief, Wells Fargo is a national banking association organized

   under the laws of the United States of America. Wells Fargo does business throughout the United

   States, including in this judicial district.

   ifi.    JuRISDICTION AND VENUE
           4.      Subject matter jurisdiction is based on 28 U.S.C.   §   1338, in that this action arises

   under federal statute, the patent laws of the United States (35 U.S.C.    § § 1, et seq.).

           5.      The Court has personal jurisdiction over Wells Fargo because it has substantial,

   systematic and continuous contacts with this judicial district. Wells Fargo has a regular and

   established place of business in the State of Texas and in the Eastern District of Texas, including

   operating hundreds of bank branches and ATMs in Texas and numerous bank branches and ATMs

   in this judicial district, and conducts business with customers residing in this judicial district both

   through its bank branches and ATMs and its online and mobile banking services. Wells Fargo has

   committed acts of patent infringement and, as detailed below, contributed to or induced acts of

   patent infringement by others in this judicial district and elsewhere in Texas. Wells Fargo is




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  registered to do business in Texas and maintains an agent authorized to receive service of process

   within Texas.

               6.     Venue is proper under 28 U.S.C.   §   1400(b) because Wells Fargo has committed

   acts of infringement and maintains a regular and established place of business in this judicial

   district.

   IV.         FACTUAL ALLEGATIONS
                          USAA's Pioneering Remote Check Deposit Innovations
               7.     This is an action for infringement of patents awarded to research and development

   teams at USAA for their years of work developing and improving technologies that, among other

   things, allow banking customers to easily and conveniently deposit paper checks into their

   accounts from their smartphones       wherever they might be in the world.

               8.     USAA has been serving present and former members of the U.S. military and their

   families since 1922 and has become one of America's leading insurance and financial services

   companies. USAA offers its members a wide range of insurance, banking and investment

   products and services designed to help them meet their financial security needs. Headquartered in

   San Antonio, Texas, with offices in several states and Europe, USAA employs more than 33,000

   people to provide for the financial wellbeing of over 12 million members.

               9.     Unlike traditional banks, which typically maintain a network of brick-and-mortar

   bank branches or ATMs for customers to use, USAA typically interacts with its members

   remotely, either by mail, telephone, or with increasing frequency through its usaa.com website or

   USAA's mobile application. USAA's online and mobile presence is critical to its members'          well-

   being, as USAA's military members are often stationed in distant locations around the world with

   limited access to traditional banking services.

                10.   This limited access resulted in USAA's members being unable to deposit checks

    and other financial instruments in a timely manner and compelled USAA employees to invent a

   new way to provide financial security to its members. Driven by its mission, USAA began

    investing substantial research and development resources into developing and implementing




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  systems and methods that would provide USAA's members with a real-time capability to deposit a

  financial instrument from just about anywhere. These pioneering systems and methods resulted in

  the launch of a consumer remote deposit capture system under the name Deposit@Home®.
  Deposit@Home® was the first system that allowed consumer banking customers to deposit

  individual checks immediately, in real-time and remotely using consumer imaging devices.

         11.     After the successful launch of Deposit@Home®, USAA launched its

  Deposit@Mobile® system through the USAA Mobile application for mobile phones. For the first
  time, Deposit@Mobile® allowed customers to deposit checks anytime, anywhere by taking

  photographs with a mobile phone's digital camera.

         12.     USAA has continued to innovate and improve its Deposit@Mobile® product,

  developing and implementing technological features that improve the user's mobile deposit

  experience, including features designed to help injured veterans and others with visual disabilities

  use the pioneering service. To date, USAA has invested many millions of dollars and thousands

  of employee-hours in the development and implementation of its mobile deposit technologies.
  USAA has not licensed its competitors such as Wells Fargo to use these patented technologies.

                                      The USAA Patents-in-Suit
         13.     USAA is the assignee of all right, title, and interest in U.S. Patent Nos. 8,699,779
  (the "779 Patent"), 9,336,517 (the "517 Patent"), 9,818,090 (the "090 Patent"), and 8,977,571

  (the "571 Patent") (collectively referred to as the "USAA Patents" in this Complaint). The

  USAA Patents arose from years of research and development of remote check deposit

  technologies by engineers in USAA's Innovation Lab.

                                       The '779 and '517 Patents

         14.     The '779 Patent and the '517 Patent, entitled "Systems and methods for alignment

  of check during mobile deposit," were invented by Bharat Prasad, Minya Liang, and Reynaldo

  Medina. The patents are, generally speaking, directed to improved computing systems that enable

  commercially-viable remote check deposit systems, including those used today by Wells Fargo,

  for example, by deploying an "alignment guide," a check monitoring system that monitors specific
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  features of the check, such as alignment, an automatic image capture system that works in concert

  with the alignment monitoring system, and a transmission system. The addition of these structures

  to remote check deposit systems dramatically increases the efficiency and performance of remote

  check deposit computing systems. Below is a figure from the patents.

                             r----------------------------                             -,

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                                 Name                             Date________
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                                 City.State
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                                                                      Dollars


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                                  235

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          15.    The '779 Patent and '517 Patent describe systems and methods for providing an

  "alignment guide." The systems and methods taught by the '779 and '517 Patents solve discrete,

  technological problems associated with computing systems used as part of capturing images of

  checks for deposit on mobile devices, representing new, novel and useful improvements over the

  existing andlor patentably distinct means and methods. For example, an alignment guide may be

  "provided in the field of view of a camera associated with a mobile device used to capture an

  image of a check." The alignment guide may be "adjustable at the mobile device." As another

  example, "an image may be captured when the image of the check is detected to be within the

  alignment guide" and the "image capture may be performed automatically." The systems and

  methods taught by the '779 and '517 Patents provide improved functionality over conventional

  techniques used in prior art systems, resulting in an improved user interface for the customer's

  mobile device, including, for example, improving the quality of captured check images through

  the use of a displayed alignment guide, improving the efficiency of systems used for remote check

  depositing, and making remote check deposit systems commercially viable by reducing error rates



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  and improving security. The patents' improvements to mobile check depositing systems are

  further described in their specifications.

                                          The '090 and '571 Patents

          16.     The '090 Patent and the '571 Patent, entitled "Systems and methods for image and

  criterion monitoring during mobile deposit," were invented by Michael Patrick Bueche, Jr., Bharat

  Prasad, Minya Liang, Reynaldo Medina, and Charles Lee Oakes III. The patents are, generally

  speaking, directed to improved computing systems that enable commercially-viable remote check

   deposit systems, including those used today by Wells Fargo, for example, by deploying a check

  monitoring system that monitors specific features of the check with respect to a monitoring

   criterion, a feedback system that instructs the user regarding how to satisfy the monitoring

   criterion, and an automatic capture system that works in concert with the monitoring system to

   automatically capture a check image when the monitoring criterion is satisfied. The addition of

   these systems to remote check deposit systems dramatically increases the efficiency and

   performance of remote check deposit systems. Below is a figure from the patents.



                            Name                                  Date________
                            Street
                            City, State
                                                                        $ Amount
                            Pay to the
                            order of
                                                                        Dollars




                              MICR line

                                             247
                                                       Feedback Indicator 235



                                          Ff6.3
           17.    The '090 Patent and '571 Patent describe systems and methods for "monitor[ing],

   prior to the image of the check being captured" an "image of a check that is in the field of view of

   a camera." The systems and methods taught by the '090 and '571 Patents solve discrete,

   technological problems associated with computer systems used as part of capturing images of
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  checks for deposit using mobile devices, representing new, novel and useful improvements over

  the existing and/or patentably distinct means and methods. For example, "when the image of the

  check in the field of view passes monitoring criteria, an image may be taken by the camera and

  provided from the mobile device to a financial institution." The image capture "may be performed

   automatically as soon as the image of the check is determined to pass the monitoring criteria." As

   another example, "feedback may be provided to the user of the camera regarding the image of the

   check in the field of view." The systems and methods taught by the '090 and '571 Patents provide

   improved functionality over conventional techniques used in prior art systems, resulting in an

   improved user interface for the customer's mobile device, including, for example, improving the

   quality of captured check images through the use of image monitoring and feedback indicators.

   The patents' improvements to mobile check depositing systems are further described in their

   specifications.

                                        Wells Fargo's Infringement

           18.       Wells Fargo is one of the largest banks in the world with a substantial presence in

   mobile banking, including over 21 million active mobile banking users as of February 2018.

           19.       Wells Fargo's remote deposit capture systems, including but not limited to Wells

   Fargo Mobile® Deposit, infringe the LJSAA Patents. In this Complaint, Wells Fargo's remote
   deposit capture systems, including but not limited to the Wells Fargo Mobile® Deposit system,

   and any other infringing instrumentalities that include similar functionality, are referred to

   generally as "Wells Fargo Mobile Deposit."

           20.       Wells Fargo's use of the USAA Patents is not licensed or authorized by USAA in

   any way. USAA has not licensed any of the USAA patents to Wells Fargo.
           21.       On information and belief, Wells Fargo released its Wells Fargo Mobile Deposit

   product to customers years after USAA had already implemented and released its

   Deposit@Mobile® service to widespread adoption. At the time, the head of Wells Fargo's retail




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  mobile channel in its Internet services group remarked that mobile deposit was "the service our

  mobile customers request most often" with "a lot of demand." Exhibit 5.
         22.           Wells Fargo Mobile Deposit allows Wells Fargo customers to deposit checks using

  their mobile devices, such as smartphones. Through its website, for example, Wells Fargo

  encourages its customers to avoid "a trip to the branch" by depositing checks using Wells Fargo

  Mobile Deposit, touting the system's convenience, simplicity, and ease of use:

            Wells Fargo Mobile                           Deposit                                                                                            Pdin            00U


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          23.           Wells Fargo also promotes Wells Fargo Mobile Deposit with video advertisements,

   including, for instance, to bank customers while they are waiting for service at bank branches.

   Wells Fargo further promotes Wells Fargo Mobile Deposit to customers using Wells Fargo ATMs.

          24.            Wells Fargo Mobile Deposit is incorporated into the "Wells Fargo Mobile" iPhone

   and Android applications, where it is highlighted as a major feature in the applications'

   descriptions. According to the Google Play Store, Wells Fargo Mobile has been downloaded over

   10 million times on Android devices. Exhibit 6. Wells Fargo Mobile for iPhone is similarly

   popular, ranking #8 on the iTunes App Store's Finance category (and fourth among bank

   applications). Exhibit 7.
          25.            Wells Fargo Mobile Deposit allows customers to deposit checks remotely by

   identifying an account for deposit, entering the dollar amount of the deposit, and taking
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  photographs of the front and back sides of the check for deposit, all using the customer's mobile

  device 'as instructed by Wells Fargo, as shown, for example, by the sequence of screenshots

  below from Wells Fargo's website:

               Get Mobile Deposit    Enter Deposit        Take Photos      Submit Deposit         After Deposit


                                             1. Choose which account you'd like to deposit the check to. if you have set up
                                                                                                                            a default account, It will be pre-selected.

                                             if you want to create or change your default account, select the account iron,   the Deposit to drop-down and check the
                                             box, Make ssieaed account my default.

                                                                  of your deposit   Vow- mobile deposit daily arid monthly limits are shown above   the Amount field
                                             2 Enter the amount




    Get Mobile Deposit        Enter Deposit         Take Photos           Submit Deposit            After Deposit


                                                                           1. Endorse your check.

                                                                           2. Place the check on a dark surface with good lighting (avoid reflective surfaces).
                                                                                                                                                              fitting
                                      .,,ou.0 .,,     "                    3. Position your mobile device's camera directly over the check (not at an angle),
                                                                           all four corners into the guides provided. Select the Take Photo icon for the front then
                                                                           back of the check.

                                                                           4, The app will take the photo automatically, or you can select the camera icon to take
     _______
                          °"""         "4y j
                                                                           the picture manually at any time.




     Get Mobile DeposIt        Enter Deposit        Take Photos          Submit Deposit              After Deposit


                                       1. Make sure your deposit amount is correct,

                                        2. Check    that photos are uploaded.

                                        3 Select Deposit.




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           26.          Wells Fargo has taken advantage of USAA's pioneering efforts in mobile deposit

   technologies by incorporating without permission                      USAA's technological innovations into its

   Wells Fargo Mobile Deposit system. For example, Wells Fargo Mobile Deposit includes features

   that were invented, developed, and released to customers years earlier by USAA, such as check

    alignment guides and feedback indicators to assist the customer in orienting the camera and taking

    high-quality, legible photographs, as illustrated, for example, by the images below comparing

    figures from USAA's patents with an image from the Wells Fargo Mobile Deposit system:

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           27.             As another example, while Well Fargo's customers are following the on-screen

    guides and instructions to position the camera correctly over the check, Wells Fargo Mobile

    Deposit will automatically capture a photo of the check when the image is adequate a feature

    that USAA developed years before Wells Fargo began offering mobile deposit to its customers.

           28.             USAA recognizes that the advent of mobile check deposit has revolutionized the

    consumer banking experience, with considerable benefits for both banks and customers. But it is




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    improper for Wells Fargo to use, without permission, patented technologies that USAA has spent

    immense resources to invent, develop, implement, and perfect. In view of the foregoing, before

    involving this Court in this matter, USAA approached Wells Fargo, for example in August 2017,

    and engaged in good faith negotiations regarding "USAA's Remote Deposit Capture (RDC)

    patents." Wells Fargo, however, has not obtained a license to any of the USAA Patents and

    continues to profit by providing its infringing mobile deposit service to millions of Wells Fargo

    customers without USAA's permission and without any compensation to USAA.

    V.     FIRST CLAIM FOR RELIEF               '779 PATENT

           29.     USAA re-alleges and incorporates by reference the allegations of the preceding

    paragraphs of this Complaint as if fully set forth herein.

            30.    The '779 Patent, entitled "Systems and methods for alignment of check during

    mobile deposit," was duly and legally issued on April 15, 2014. A true and correct copy of the

    '779 Patent is attached as Exhibit   1.

            31.    The '779 Patent has been in full force and effect since its issuance. USAA owns by

    assignment the entire right, title and interest in and to the '779 Patent, including the exclusive right

    to seek damages for past, current and future infringement thereof. USAA is informed and
    believes, and on this basis alleges, that Wells Fargo, agents of Wells Fargo, and/or third parties

    acting under Wells Fargo's direction and control, including Wells Fargo's customers and partners,

    have committed and continue to commit acts of direct infringement of one or more claims of the

    '779 Patent, including, for example, Claim 10, literally and/or under the doctrine of equivalents,
    by making, using, selling, offering to sell and/or importing into the United States, Wells Fargo
    Mobile Deposit. For example, on information and belief, Wells Fargo Mobile Deposit: is a system

    for depositing checks, comprising a sofiware application installed on a mobile device, such as a

    customer's smartphone, having a camera, display, and processor configured to run the software
    application; projects an alignment guide in the display of the mobile device, which displays a field

    of view of the camera; monitors an image of a check that is within the camera's field of view;
    determines whether the image of the check aligns with the alignment guide; automatically captures




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   the image of the check when it is determined to align with the alignment guide; and transmits the

   captured image of the check from the camera to a depository via a communication pathway

   between the mobile device and the depository. As another example, on information and belief,

   Wells Fargo Mobile Deposit comprises a software application installed on a mobile device, such

    as a customer's smartphone, comprising instructions being executed by a processor of the mobile

    device to: deposit a check; project an alignment guide in the display of the mobile device, which

    displays a field of view of the camera; determine whether the image of the check aligns with the

    alignment guide; automatically capture the image of the check when the image of the check is

    determined to align with the alignment guide; and transmit the image of the check from the mobile

    device to a deposit system.

           32.        For example, Wells Fargo Mobile Deposit comprises a system accessible through

    Android or iPhone smartphones:
             Wells Fargo Mobile® Deposit                                                                                             Print   Strong   0 0 fl


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                                                               Point, tap, deposit


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           33.         The Wells Fargo Mobile Deposit system uses the capabilities of the customer's

    smartphone to provide remote check depositing functionality:




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            34.         Wells Fargo Mobile Deposit receives, from the user, an indication of the amount of

    the check and the account into which the check is to be deposited:




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           35.     Wells Fargo Mobile Deposit uses the smartphone's camera to capture images of the

    check for deposit:




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                                  -




           36.     As illustrated in the above image, Wells Fargo Mobile Deposit projects an

    alignment guide in the field of view of the camera to assist the user in capturing images of the

    check. Wells Fargo Mobile Deposit also provides instructions to users, including, for example, to

    "Center check and hold steady."




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           37.             Wells Fargo Mobile Deposit includes guidelines for taking photos that work best,

    including, for example, to "Place your check on a dark-colored, plain surface that's well lit,"

    "Position your camera directly over the check (not at an angle)," and "Fit all 4 corners in the

    guides of your mobile device's camera screen."

           38.              Wells Fargo Mobile Deposit automatically captures the image of the check when it

    is properly aligned, as described, for example, in the instructions on Wells Fargo's website (red

    underlining added for emphasis):

           Get   Mtthile   Dapost   Enter   Deps1t       Take photos   Submil Oepoelt                After   Depoot


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                                                                       2. Plach     the ctfecf on a dark athlete witfI        ood       httrt   (SCDO1 reffeteve sutfaces).


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                                     '"                                the pictere rnsnucIl1j at ar4y time.




            39.             Wells Fargo has had actual knowledge of its infringement of the '779 Patent since

    at least the time of service of this Complaint, and continues to infringe the '779 Patent

    notwithstanding that knowledge. USAA is further informed and believes that Wells Fargo has had

    actual knowledge of its infringement of the '779 Patent since before the time of service of this

    Complaint, including for the reasons that, for example: USAA put Wells Fargo on notice of the

    need to license its remote deposit capture (RDC) patents; USAA's Deposit@Home® and

    Deposit@Mobile® products were well-known and publicized; USAA has received acclaim for its
    pioneering technological developments in mobile deposit; USAA has marked its products with
    notices regarding the '779 Patent; USAA and Wells Fargo are competitors in the same industry
    and, in particular, offer competing mobile deposit products, giving Wells Fargo reason to

    investigate USAA's patents on the technologies; and USAA has approached Wells Fargo

    regarding licensing of USAA's mobile deposit patents. To the extent that Wells Fargo lacked

    knowledge of its infringement of the '779 Patent before the time of service of this Complaint, it

     remained willfully blind by affirmatively avoiding investigating USAA's patents or inspecting




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   USAA's mobile check deposit application, as evidenced by, for example, Wells Fargo's notice of
   a need to license USAA's remote deposit capture (RDC) patents       of which the '779 Patent is an
   integral part, and, on information and belief, Wells Fargo's knowledge of USAA's

   Deposit@Home® and Deposit@Mobile® products.
           40.    Wells Fargo actively encourages, directs, and controls third parties, including its

   customers and partners, to use Wells Fargo Mobile Deposit in an infringing manner, including

   through Wells Fargo's website, advertisements, documentationlinstructional material, customer

   support, application and feature descriptions, and in-application instructions. On information and

   belief, for example, Wells Fargo contracts with Google and Apple to distribute its Wells Fargo

   Mobile applications to Android and iPhone users, respectively.

           41.    USAA is informed and believes, and on this basis alleges, that from at least the
   time of service of this Complaint, Wells Fargo is inducing infringement of the '779 Patent,

   literally and/or under the doctrine of equivalents, in violation of 35 U.S.C.    §   27 1(b), by knowingly

   encouraging or aiding third parties to make, use, sell or offer to sell Wells Fargo Mobile Deposit

   in the United States, or to import Wells Fargo Mobile Deposit into the United States, andlor in

   violation of 35 U.S.C.   §   271(f)(1), by supplying or causing to be supplied Wells Fargo Mobile

   Deposit in or from the United States, without license or authority from USAA, with knowledge of

   or willful blindness to the fact that Wells Fargo's actions will induce others, including but not

   limited to its customers, partners, and/or end users, to directly infringe the '779 Patent. USAA is
   further informed and believes, and on this basis alleges, that Wells Fargo has intentionally aided

   and encouraged third parties (including Wells Fargo's customers, partners, and/or end users) to

   use Wells Fargo Mobile Deposit in the United States in a manner that it knows would infringe or

   have a high probability of infringing the '779 Patent, with the specific intent that those performing

   the acts infringe the '779 Patent.

          42.     USAA is informed and believes, and on this basis alleges, that from at least the

   time of service of this Complaint, Wells Fargo is contributorily infringing the '779 Patent, literally

   and/or under the doctrine of equivalents, in violation of 35 U.S.C.   §   271(c), by selling, offering to



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   sell, and/or importing into the United States, and/or in violation of 35 U.S.C.   §   271(f)(2), by
   supplying or causing to be supplied in or from the United States, Wells Fargo Mobile Deposit for

   use in infringing the '779 Patent, constituting a material part of the invention, knowing Wells

   Fargo Mobile Deposit to be especially made or especially adapted for use in infringing the '779

   Patent. USAA is further informed and believes, and on this basis alleges, that Wells Fargo Mobile

   Deposit is not a staple article or commodity of commerce suitable for substantial non-infringing

   use.

          43.     USAA is informed and believes, and on this basis alleges, that these third parties

   have infringed and will infringe the '779 Patent by using Wells Fargo Mobile Deposit in violation

   of35 U.S.C. § 271(a).
          44.     As a result of Wells Fargo's infringement of the '779 Patent, USAA has been

   damaged. In addition, Wells Fargo's infringing acts and practices have caused and are causing

   immediate and irreparable harm to USAA. USAA is entitled to recover for damages sustained as

   a result of Wells Fargo's wrongful acts in an amount yet to be determined and to receive such

   other and further relief, including equitable relief, as this Court deems just and proper.

          45.     USAA is further informed, and on this basis alleges, that Wells Fargo's

   infringement of the '779 Patent has been and continues to be deliberate and willful, and, therefore,

   this is an exceptional case warranting an award of enhanced damages for up to three times the

   actual damages awarded and attorney's fees to USAA pursuant to 35 U.S.C.          §   284-285. As
   noted above, Wells Fargo has had knowledge of the '779 Patent and its infringement thereof, and

   yet has deliberately continued to infringe in a wanton, malicious, and egregious maimer, with

   reckless disregard for USAA's patent rights. Thus, Wells Fargo's infringing actions have been

   and continue to be consciously wrongful.

          To the extent 35 U.S.C.   §   287 is determined to be applicable, USAA is informed and

   believes its requirements have been satisfied with respect to the '779 Patent.




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   VI.     SECOND CLAIM FOR RELIEF                 '517 PATENT

           46.     USAA re-alleges and incorporates by reference the allegations of the preceding

   paragraphs of this Complaint as if fully set forth herein.
           47.     The '517 Patent, entitled "Systems and methods for alignment of check during

   mobile deposit," was duly and legally issued on May 10, 2016. A true and correct copy of the

    '517 Patent is attached as Exhibit 2.
           48.     The '517 Patent has been in full force and effect since its issuance. USAA owns by

    assignment the entire right, title and interest in and to the '517 Patent, including the exclusive right

   to seek damages for past, current and future infringement thereof.

           49.     USAA is informed and believes, and on this basis alleges, that Wells Fargo, agents

    of Wells Fargo, and/or third parties acting under Wells Fargo's direction and control, including
    Wells FargO's customers and partners, have committed and continue to commit acts of direct

    infringement of one or more claims of the '517 Patent, including, for example, Claim 10, literally

    and/or under the doctrine of equivalents, by making, using, selling, offering to sell and/or

    importing into the United States, Wells Fargo Mobile Deposit. For example, on information and

    belief, Wells Fargo Mobile Deposit: is a system for depositing checks, comprising a software

    application installed on a mobile device, such as a customer's smartphone having a processor and

    an information capture component, such as a camera; generates an alignment guide adapted to

    align with an instrument, such as a check, from which the mobile device is adapted to capture

    infonnation; monitors at least one feature of the instrument detected by the information capture

    component and determines whether the at least one feature aligns with the alignment guide;

    automatically captures information of the instrument when the at least one feature aligns with the

    alignment guide; and transmits the captured information to a server via a communication pathway

    between the mobile device and the server. As another example, on information and belief, Wells

    Fargo Mobile Deposit comprises a software application installed on a mobile device, such as a

    customer's smartphone, comprising instructions being executed by a processor of the mobile
    device to: monitor at least one feature of an instrument, such as a check, that is within a field of
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    view of the mobile device's camera and capture information of the instrument; determine whether

    the at least one feature aligns with an alignment guide adapted to align with the instrument;

    automatically capture the information of the instrument when the at least one feature is determined

    to align with the alignment guide; and transmit the captured information from the mobile device to

    a server.

            50.            For example, Wells Fargo Mobile Deposit comprises a system accessible through

    Android or iPhone smartphones:
                Wells Fargo Mobile® Deposit                                                                                                      ptult           0a




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           51.           As discussed previously, the Wells Fargo Mobile Deposit system uses the

    capabilities of the customer's smartphone to provide remote check depositing functionality:



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            52.           Wells Fargo Mobile Deposit receives, from the user, an indication of the amount of

    the check and the account into which the check is to be deposited:




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           53.     Wells Fargo Mobile Deposit uses the smartphone' s camera to capture images of the

    check for deposit:




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           54.     As illustrated in the above image, Wells Fargo Mobile Deposit projects an

    alignment guide in the field of view of the camera to assist the user in capturing images of the

    check. Wells Fargo Mobile Deposit also provides instructions to users, including, for example, to

    "Center check and hold steady."
            55.    Wells Fargo Mobile Deposit includes guidelines for taking photos that work best,

    including, for example, to "Place your check on a dark-colored, plain surface that's well lit,"



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   "Position your camera directly over the check (not at an angle)," and "Fit all 4 corners in the

   guides of your mobile device's camera screen."

           56.         Wells Fargo Mobile Deposit automatically captures the image of the check when it

   is properly aligned, as described, for example, in the instructions on Wells Fargo's website (red

   underlining added for emphasis):

           Got Mobil   epostt   ErDepostt       Take Pholos

                                                              1. EflOoree your check.

                                                              t.   Place   the macIc on   a da   sutlaco wIth )O0ci flghtin (avOid rftective sthtacOs).

                                     ,    .,,                 3. F'osltlon your moble devtce's camera dtrectty over the check (not at an     e). fttttng
                                                              all thur corners Into the uidQa provIded. Select the Take Photo Icon fec 11w front then
                          n'                                  back ol the check,

                                     j0                       4. The aa wIlt take the pIiI eutomatically, at -you can select the camera Icon to take
                                                              the plciure manually at ary time.




           57.         Wells Fargo has had actual knowledge of its infringement of the '517 Patent since

    at least the time of service of this Complaint, and continues to infringe the '517 Patent

    notwithstanding that knowledge. USAA is further informed and believes that Wells Fargo has had

    actual knowledge of its infringement of the '517 Patent since before the time of service of this

    Complaint, including for the reasons that, for example: USAA put Wells Fargo on notice of the

    need to license its remote deposit capture (RDC) patents; USAA's Deposit@Home® and

    Deposit@Mobile® products were well-known and publicized; USAA has received acclaim for its
    pioneering technological developments in mobile deposit; USAA has marked its products with

    notices regarding the '517 Patent; USAA and Wells Fargo are competitors in the same industry

    and, in particular, offer competing mobile deposit products, giving Wells Fargo reason to

    investigate USAA's patents on the technologies; and USA.A has approached Wells Fargo

    regarding licensing of USA.A's mobile deposit patents. To the extent that Wells Fargo lacked

    knowledge of its infringement of the '517 Patent before the time of service of this Complaint, it

    remained willfully blind by affirmatively avoiding investigating USAA's patents or inspecting

    USAA's mobile check deposit application, as evidenced by, for example, Wells Fargo's notice of
    a need to license USAA' s remote deposit capture (RDC) patents                                            of which the '517 Patent is an


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   integral part, and, on information and belief, Wells Fargo's knowledge of USAA's

   Deposit@Home® and Deposit@Mobile® products.
           58.     Wells Fargo actively encourages, directs, and controls third parties, including its

    customers and partners, to use Wells Fargo Mobile Deposit in an infringing manner, including

    through Wells Fargo's website, advertisements, documentationlinstructional material, customer

    support, application and feature descriptions, and in-application instructions. On information and

    belief, for example, Wells Fargo contracts with Google and Apple to distribute its Wells Fargo

    Mobile applications to Android and iPhone users, respectively.

           59.     USAA is informed and believes, and on this basis alleges, that from at least the

    time of service of this Complaint Wells Fargo is inducing infringement of the '517 Patent, literally

    and/or under the doctrine of equivalents, in violation of 35 U.S.C.   §   271(b), by knowingly

    encouraging or aiding third parties to make, use, sell or offer to sell Wells Fargo Mobile Deposit

    in the United States, or to import Wells Fargo Mobile Deposit into the United States, and/or in

    violation of 35 U.S.C.   §   271(f)(1), by supplying or causing to be supplied Wells Fargo Mobile

    Deposit in or from the United States, without license or authority from USAA, with knowledge of

    or willful blindness to the fact that Wells Fargo's actions will induce others, including but not

    limited to its customers, partners, and/or end users, to directly infringe the '517 Patent. USAA is

    further informed and believes, and on this basis alleges, that Wells Fargo has intentionally aided

    and encouraged third parties (including Wells Fargo's customers, partners, and/or end users) to

    use Wells Fargo Mobile Deposit in the United States in a manner that it knows would infringe or

    have a high probability of infringing the '517 Patent, with the specific intent that those performing

    the acts infringe the '517 Patent.
           60.     USAA is informed and believes, and on this basis alleges, that from at least the

    time of service of this Complaint Wells Fargo is contributorily infringing the '517 Patent, literally
    and/or under the doctrine of equivalents, in violation of 35 U.S.C.   §   271(c), by selling, offering to

    sell, and/or importing into the United States, and/or in violation of 35 U.S.C.    §   271(f)(2), by

    supplying or causing to be supplied in or from the United States, Wells Fargo Mobile Deposit for




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   use in infringing the '517 Patent, constituting a material part of the invention, knowing Wells

   Fargo Mobile Deposit to be especially made or especially adapted for use in infringing the '517

   Patent. USAA is further informed and believes, and on this basis alleges, that Wells Fargo Mobile

   Deposit is not a staple article or commodity of commerce suitable for substantial non-infringing

   use.

           61.        USAA is informed and believes, and on this basis alleges, that these third parties

   have infringed and will infringe the '517 Patent by using Wells Fargo Mobile Deposit in violation

   of 35 U.S.C.   §   271(a).

           62.        As a result of Wells Fargo's infringement of the '517 Patent, USAA has been

    damaged. In addition, Wells Fargo's infringing acts and practices have caused and are causing

    immediate and irreparable harm to USAA. USAA is entitled to recover for damages sustained as

    a result of Wells Fargo's wrongful acts in an amount yet to be determined and to receive such

    other and further relief, including equitable relief, as this Court deems just and proper.

           63.        USAA is further informed, and on this basis alleges, that Wells Fargo's

    infringement of the '517 Patent has been and continues to be deliberate and willful, and, therefore,

    this is an exceptional case warranting an award of enhanced damages for up to three times the

    actual damages awarded and attorney's fees to USAA pursuant to 35 U.S.C.          §   284-285. As

    noted above, Wells Fargo has had knowledge of the '517 Patent and its infringement thereof, and

    yet has deliberately continued to infringe in a wanton, malicious, and egregious manner, with

    reckless disregard for USAA's patent rights. Thus, Wells Fargo's infringing actions have been

    and continue to be consciously wrongful.

            64.       To the extent 35 U.S.C.   §   287 is determined to be applicable, USAA is informed

    and believes its requirements have been satisfied with respect to the '517 Patent.

    VII.    THIRD CLAIM FOR RELIEF                    '090 PATENT

            65.       USAA re-alleges and incorporates by reference the allegations of the preceding

    paragraphs of this Complaint as if fully set forth herein.




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           66.    The '090 Patent, entitled "Systems and methods for image monitoring of check

   during mobile deposit," was duly and legally issued on November 14, 2017. A true and correct

   copy of the '090 Patent is attached as Exhibit 3.

           67.    The '090 Patent has been in full force and effect since its issuance. USAA owns by

   assignment the entire right, title and interest in and to the '090 Patent, including the exclusive right

   to seek damages for past, current and future infringement thereof. USAA is informed and

   believes, and on this basis alleges, that Wells Fargo, agents of Wells Fargo, and/or third parties

   acting under Wells Fargo's direction and control, including Wells Fargo's customers and partners,

   have committed and continue to commit acts of direct infringement of one or more claims of the

    '090 Patent, including, for example, Claim 11, literally and/or under the doctrine of equivalents,
   by making, using, selling, offering to sell and/or importing into the United States, Wells Fargo

   Mobile Deposit. For example, on information and belief, Wells Fargo Mobile Deposit: is a system

    comprising a software application installed on a mobile device, such as a customer's smartphone

   having a processor, an image capture device, such as a camera, and a presentation device, such as

    a display; monitors a target document, such as a check, in the field   of view of the image capture

    device with respect to a monitoring criterion; controls the presentation device to present feedback

    information describing an instruction for satisfying the monitoring criterion; determines whether

    the monitoring criterion is satisfied based on the target document in the field of view of the image

    capture device; and controls the image capture device to capture an image depicting the target

    document when the monitoring criterion is determined to be satisfied. As another example, Wells

    Fargo Mobile Deposit comprises a software application installed on a mobile device, such as a

    customer's smartphone, comprising instructions that, when executed by a processor of the mobile
    device, cause the processor to perform certain steps for capturing an image of a check, including:

    monitoring a target document, such as a check, in the field of view of an image capture device,

    such as the device's camera, with respect to a monitoring criterion; controlling a presentation

    device, such as the device's display, to present feedback information describing an instruction for

    satisfying the monitoring criterion; determining whether the monitoring criterion is satisfied based




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    on the target document in the field of view of the image capture device; and, when the monitoring

    criterion is deemed to be satisfied, controlling the image capture device to capture an image

    depicting the target document in the field of view of the image capture device.

           68.         For example, Wells Fargo Mobile Deposit comprises a system accessible through

    Android or iPhone smartphones:
             Wells Fargo Mobile® Deposit                                                                                                                 oo n




                                                                Point., tap,                    deposit




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            69.         As discussed above, the Wells Fargo Mobile Deposit system uses the capabilities of

    the customer's smartphone to provide remote check depositing functionality:


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             70.          Wells Fargo Mobile Deposit receives, from the user, an indication of the amount of

     the check and the account into which the check is to be deposited:




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           71.     Wells Fargo Mobile Deposit uses the smartphone' s camera to capture images of the

    check for deposit:




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            72.    As illustrated in the above image, Wells Fargo Mobile Deposit projects an

    alignment guide in the field of view of the camera to assist the user in capturing images of the

    check. Wells Fargo Mobile Deposit also provides instructions to users, including, for example, to

    "Center check and hold steady."
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           73.          Wells Fargo Mobile Deposit includes guidelines for taking photos that work best,

   including, for example, to "Place your check on a dark-colored, plain surface that's well lit,"

   "Position your camera directly over the check (not at an angle)," and "Fit all 4 corners in the

   guides of your mobile device's camera screen."

           74.          Wells Fargo Mobile Deposit monitors the image of the check in the field of view of

   the camera and provides visual feedback to the customer, including, for example, indicating

   whether the customer should "Get closer" (e.g., move the device closer to the check) or "Hold

   steady" (e.g., hold the device in position).
           75.          Wells Fargo Mobile Deposit automatically captures the image of the check when

   the image is satisfactory, as described, for example, in the instructions on Wells Fargo's website

   (red underlining added for emphasis):

           G lMthfltDqoutt    Enter Deposit       TkerPhn10   SutarntDcsitpftecDepoet

                                                              i.   Endorse your   check.

                                                                   Piece the check tea a dark senate with Otld Ilfltiag (avoid reflective surfaces).

                                    ..,       .               a. Position your mobile devicVs camera directly over the check tact at an angle). frttmç
                                                              all four corners hits the guuias pravtded. Select the Take Pheta tcea for th frost thea
                  ma.
                          ,                       ie-         hack l th check

                  -                                           4. The aPI) will take Ihe eliot, eulornaticdty, or yes can select the camera Icca to take
                                                               he pidure manually at any lime,




           76.          Wells Fargo has had actual knowledge of its infringement of the '090 Patent since

   at least the time of service of this Complaint, and continues to infringe the '090 Patent

   notwithstanding that knowledge. USAA is further informed and believes that Wells Fargo has had
   actual knowledge of its infringement of the '090 Patent since before the time of service of this

   Complaint, including for the reasons that, for example: USAA put Wells Fargo on notice of the

   need to license its remote deposit capture (RDC) patents; USAA's Deposit@Home® and

   Deposit@Mobile® products were well-known and publicized; USAA has received acclaim for its
   pioneering technological developments in mobile deposit; USAA has marked its products with

   notices regarding the '090 Patent; USAA and Wells Fargo are competitors in the same industry

    and, in particular, offer competing mobile deposit products, giving Wells Fargo reason to
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    investigate USAA's patents on the technologies; and USAA has approached Wells Fargo

    regarding licensing of USAA's mobile deposit patents. To the extent that Wells Fargo lacked

    knowledge of its infringement of the '090 Patent before the time of service of this Complaint, it

    remained willfully blind by affirmatively avoiding investigating USAA's patents or inspecting

    USAA's mobile check deposit application, as evidenced by, for example, Wells Fargo's notice of
    a need to license USAA' s remote deposit capture (RDC) patents of which the '090 Patent is an

    integral part, and, on information and belief, Wells Fargo's knowledge of USAA's

    Deposit@Home® and Deposit@Mobile® products.
            77.    Wells Fargo actively encourages, directs, and controls third parties, including its

    customers and partners, to use Wells Fargo Mobile Deposit in an infringing manner, including

    through Wells Fargo's website, advertisements, documentationlinstructional material, customer

    support, application and feature descriptions, and in-application instructions. On information and

    belief, for example, Wells Fargo contracts with Google and Apple to distribute its Wells Fargo

    Mobile applications to Android and iPhone users, respectively.
            78.    USAA is informed and believes, and on this basis alleges, that from at least the

    time of service of this complaint, Wells Fargo is inducing infringement of the '090 Patent, literally

    and/or under the doctrine of equivalents, in violation of 35 U.S.C.   §   271(b), by knowingly

    encouraging or aiding third parties to make, use, sell or offer to sell Wells Fargo Mobile Deposit

    in the United States, or to import Wells Fargo Mobile Deposit into the United States, and/or in

    violation of 35 U.S.C.   §   271(f)(1), by supplying or causing to be supplied Wells Fargo Mobile

    Deposit in or from the United States, without license or authority from USAA, with knowledge of

     or willful blindness to the fact that Wells Fargo's actions will induce others, including but not

    limited to its customers, partners, and/or end users, to directly infringe the '090 Patent. USAA is

     further informed and believes, and on this basis alleges, that Wells Fargo has intentionally aided

     and encouraged third parties (including Wells Fargo's customers, partners, and/or end users) to

     use Wells Fargo Mobile Deposit in the United States in a manner that it knows would infringe or




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   have a high probability of infringing the '090 Patent, with the specific intent that those performing

    the acts infringe the '090 Patent.

            79.    USAA is informed and believes, and on this basis alleges, that from at least the

    time of service of this complaint, Wells Fargo is contributorily infringing the '090 Patent, literally

    and/or under the doctrine of equivalents, in violation of 35 U.S.C.   §   27 1(c), by selling, offering to

    sell, and/or importing into the United States, and/or in violation of 35 U.S.C.     §   271(f)(2), by

    supplying or causing to be supplied in or from the United States, Wells Fargo Mobile Deposit for

    use in infringing the '090 Patent, constituting a material part of the invention, knowing Wells

    Fargo Mobile Deposit to be especially made or especially adapted for use in infringing the '090

    Patent. USAA is further informed and believes, and on this basis alleges, that Wells Fargo Mobile

    Deposit is not a staple article or commodity of commerce suitable for substantial non-infringing

    use.

             80.    USAA is informed and believes, and on this basis alleges, that these third parties

    have infringed and will infringe the '090 Patent by using Wells Fargo Mobile Deposit in violation

    of 35 U.S.C. § 271(a).
             81.    As a result of Wells Fargo's infringement of the '090 Patent, USAA has been

    damaged. In addition, Wells Fargo's infringing acts and practices have caused and are causing

    immediate and irreparable harm to USAA. USAA is entitled to recover for damages sustained as

    a result of Wells Fargo's wrongful acts in an amount yet to be determined and to receive such

    other and further relief, including equitable relief, as this Court deems just and proper.

             82.    USAA is further informed, and on this basis alleges, that Wells Fargo's

     infringement of the '090 Patent has been and continues to be deliberate and willful, and, therefore,

     this is an exceptional case warranting an award of enhanced damages for up to three times the

     actual damages awarded and attorney's fees to USAA pursuant to 35 U.S.C.           §    284-285. As

     noted above, Wells Fargo has had knowledge of the '090 Patent and its infringement thereof, and

     yet has deliberately continued to infringe in a wanton, malicious, and egregious manner, with




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   reckless disregard for USAA's patent rights. Thus, Wells Fargo's infringing actions have been

   and continue to be consciously wrongful.

           83.     To the extent 35 U.S.C.   §   287 is determined to be applicable, USAA is informed

    and believes its requirements have been satisfied with respect to the '090 Patent.

    VIII. FOURTH CLAIM FOR RELIEF '571 PATENT
           84.     USAA re-alleges and incorporates by reference the allegations of the preceding

    paragraphs of this complaint as if fully set forth herein.
            85.    The '571 Patent, entitled "systems and methods for image monitoring of check

    during mobile deposit," was duly and legally issued on March 10, 2015. A true and correct copy

    of the '571 Patent is attached as Exhibit 4.
            86.    The '571 Patent has been in full force and effect since its issuance. USAA owns by

    assignment the entire right, title and interest in and to the '571 Patent, including the exclusive right

    to seek damages for past, current and future infringement thereof. USAA is informed and

    believes, and on this basis alleges, that Wells Fargo, agents of Wells Fargo, and/or third parties

    acting under Wells Fargo's direction and control, including Wells Fargo's customers and partners,

    have committed and continue to commit acts of direct infringement of one or more claims of the

    '571 Patent, including, for example, Claim     1,   literally and/or under the doctrine of equivalents, by

    making, using, selling, offering to sell and/or importing into the United States, Wells Fargo

    Mobile Deposit. For example, on information and belief, Wells Fargo Mobile Deposit comprises

    a software application installed on a mobile device, such as a customer's smartphone, comprising

    instructions that, when executed by a processor, cause the processor to: monitor an image of the

    check in a field of view of a camera of a mobile device with respect to a monitoring criterion using

    an image monitoring and capture module of the mobile device; capture the image of the check

    with the camera when the image of the check passes the monitoring criterion; and provide the

    image of the check from the camera to a depository via a communication pathway between the

    mobile device and the depository. As another example, Wells Fargo Mobile Deposit comprises a

    software application installed on a mobile device, such as a customer's smartphone, comprising



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   instructions that, when executed by a processor, cause the processor to: initialize a software object

   on a mobile device operated by a user, the software object configured to communicate with a

   camera; monitor an image of the check in a field of view of the camera with respect to a

   monitoring criterion using an image monitoring and capture module associated with the camera;

   capture the image of the check using the camera when the image of the check in the field of view

   passes the monitoring criterion; and transmit the image of the check from the mobile device to a

   deposit system configured to clear the check and deposit funds of the check into a deposit account

   of the user. As another example, Wells Fargo Mobile Deposit is part of a system comprising: a
   subsystem that receives at a server a request for access to a deposit system from a mobile device; a

   subsystem that receives, at the server from the mobile device, an image of the check in a field of

   view of a camera associated with the mobile device; a subsystem that monitors, at a computing

   device of the server, the image with respect to a monitoring criterion; a subsystem that provides

   instructions from the server to the mobile device to create a digital image of the check when the

   image passes the monitoring criterion; a subsystem that receives the digital image at the server

   from the mobile device; a subsystem that processes the digital image at a check processing module

   of the server; and a subsystem that deposits funds of the check into an account associated with the
   deposit system using the processed digital image and a check clearance module of the server.
           87.    For example, Wells Fargo Mobile Deposit comprises a system accessible through

   Android or iPhone smartphones:




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            Wills Fargo Mobile® Deposit                                                                                                                         00 0




                                                                     Point, tap, deposit

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                                                            ::: Checkscj
            Itis handy                                Its a snap                               Itts convenient                          It!s simple
            Deosit a WacO     recrip into your        Talon  photos Pt the trout end bock of   There ore rio additional bOnkinO tees    Since thobile deposit is part at the
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          88.            As discussed above, the Wells Fargo Mobile Deposit system uses the capabilities of

   the customer's smartphone to provide remote check depositing functionality:




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           89.    Wells Fargo Mobile Deposit receives, from the user, an indication of the amount of

    the check and the account into which the check is to be deposited:




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            90.    Wells Fargo Mobile Deposit uses the smartphone' s camera to capture images of the

    check for deposit:




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           91.     As illustrated in the above image, Wells Fargo Mobile Deposit projects an

   alignment guide in the field of view of the camera to assist the user in capturing images of the

   check. Wells Fargo Mobile Deposit also provides instructions to users, including, for example, to

   "Center check and hold steady."
           92.     Wells Fargo Mobile Deposit includes guidelines for taking photos that work best,

   including, for example, to "Place your check on a dark-colored, plain surface that's well lit,"
   "Position your camera directly over the check (not at an angle)," and "Fit all 4 corners in the
    guides of your mobile device's camera screen."

           93.     Wells Fargo Mobile Deposit monitors the image of the check in the field of view of

    the camera and provides visual feedback to the customer, including, for example, indicating

    whether the customer should "Get closer" (e.g., move the device closer to the check) or "Hold

    steady" (e.g., hold the device in position).

           94.     Wells Fargo Mobile Deposit automatically captures the image of the check when

    the image is satisfactory, as described, for example, in the instructions on Wells Fargo's website

    (red underlining added for emphasis):




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           95.       Wells Fargo has had actual knowledge of its infringement of the '571 Patent since

    at least the time of service of this Complaint, and continues to infringe the '571 Patent

   notwithstanding that knowledge. USAA is further informed and believes that Wells Fargo has had
    actual knowledge of its infringement of the '571 Patent since before the time of service of this

    Complaint, including for the reasons that, for example: USAA put Wells Fargo on notice of the

    need to license its remote deposit capture (RDC) patents; USAA' s Deposit@Home® and

    Deposit@Mobile® products were well-known and publicized; USAA has received acclaim for its
    pioneering technological developments in mobile deposit; USAA has marked its products with

    notices regarding the '571 Patent; USAA and Wells Fargo are competitors in the same industry

    and, in particular, offer competing mobile deposit products, giving Wells Fargo reason to

    investigate USAA's patents on the technologies; and USAA has approached Wells Fargo

    regarding licensing of USAA's mobile deposit patents. To the extent that Wells Fargo lacked

    knowledge of its infringement of the '571 Patent before the time of service of this Complaint, it

    remained willfully blind by affirmatively avoiding investigating USAA's patents or inspecting

    USAA's mobile check deposit application, as evidenced by, for example, Wells Fargo's notice of
    a need to license USAA's remote deposit capture (RDC) patents of which the '571 Patent is an

    integral part, and, on information and belief, Wells Fargo's knowledge of USAA's

    Deposit@Home® and Deposit@Mobile® products.
           96.       Wells Fargo actively encourages, directs, and controls third parties, including its

    customers and partners, to use Wells Fargo Mobile Deposit in an infringing manner, including

    through Wells Fargo's website, advertisements, documentationlinstructional material, customer




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   support, application and feature descriptions, and in-application instructions. On information and

   belief, for example, Wells Fargo contracts with Google and Apple to distribute its Wells Fargo

   Mobile applications to Android and iPhone users, respectively.

            97.    USAA is informed and believes, and on this basis alleges, that from at least the

    time of service of this complaint, Wells Fargo is inducing infringement of the '571 Patent, literally

    and/or under the doctrine of equivalents, in violation of 35 U.S.C.   §   27 1(b), by knowingly

    encouraging or aiding third parties to make, use, sell or offer to sell Wells Fargo Mobile Deposit

    in the United States, or to import Wells Fargo Mobile Deposit into the United States, and/or in

    violation of 35 U.S.C.   §   271(f)(l), by supplying or causing to be supplied Wells Fargo Mobile

    Deposit in or from the United States, without license or authority from USAA, with knowledge of

    or willful blindness to the fact that Wells Fargo's actions will induce others, including but not

    limited to its customers, partners, and/or end users, to directly infringe the '571 Patent. USAA is

    further informed and believes, and on this basis alleges, that Wells Fargo has intentionally aided
    and encouraged third parties (including Wells Fargo's customers, partners, and/or end users) to

    use Wells Fargo Mobile Deposit in the United States in a manner that it knows would infringe or
    have a high probability of infringing the '571 Patent, with the specific intent that those performing
    the acts infringe the '571 Patent.
            98.     USAA is informed and believes, and on this basis alleges, that from at least the

    time of service of this complaint, Wells Fargo is contributorily infringing the '571 Patent, literally
    and/or under the doctrine of equivalents, in violation of 35 U.S.C.   §   271(c), by selling, offering to

    sell, and/or importing into the United States, and/or in violation of 35 U.S.C.    §   271(f)(2), by

     supplying or causing to be supplied in or from the United States, Wells Fargo Mobile Deposit for

    use in infringing the '571 Patent, constituting a material part of the invention, knowing Wells

     Fargo Mobile Deposit to be especially made or especially adapted for use in infringing the '571

     Patent. USAA is further informed and believes, and on this basis alleges, that Wells Fargo Mobile

     Deposit is not a staple article or commodity of commerce suitable for substantial non-infringing

     use.
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           99.       USAA is informed and believes, and on this basis alleges, that these third parties

   have infringed and will infringe the '571 Patent by using Wells Fargo Mobile Deposit in violation

   of 35 U.S.C. § 271(a).
              100.   As a result of Wells Fargo's infringement of the '571 Patent, USAA has been

   damaged. In addition, Wells Fargo's infringing acts and practices have caused and are causing

   immediate and irreparable harm to USAA. USAA is entitled to recover for damages sustained as

    a result of Wells Fargo's wrongful acts in an amount yet to be determined and to receive such

    other and further relief, including equitable relief, as this court deems just and proper.

              101.   USAA is further informed, and on this basis alleges, that Wells Fargo's

    infringement of the '571 Patent has been and continues to be deliberate and willful, and, therefore,

   this is an exceptional case warranting an award of enhanced damages for up to three times the

    actual damages awarded and attorney's fees to USAA pursuant to 35             u.s.c. §   284-285. As

   noted above, Wells Fargo has had knowledge of the '571 Patent and its infringement thereof, and
   yet has deliberately continued to infringe in a wanton, malicious, and egregious manner, with

   reckless disregard for USAA's patent rights. Thus, Wells Fargo's infringing actions have been

    and continue to be consciously wrongful.

              102.   To the extent 35 U.S.C.   §   287 is determined to be applicable, USAA is informed

    and believes its requirements have been satisfied with respect to the '571 Patent.

   IX.     PRAYER FOR RELIEF
           WHEREFORE, USAA prays for judgment against Wells Fargo as follows:
           A.        That Wells Fargo has infringed, and continues to infringe, each of the USAA

   Patents;

           B.        That each claim of each of the USAA Patents is valid and enforceable;

           C.        That Wells Fargo pay damages adequate to compensate USAA for Wells Fargo's

    infringement, together with interest and costs under 35 U.S.C.     §   284;

           D.        That Wells Fargo be ordered to pay pre-judgment and post-judgment interest on the

    damages assessed;




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           E.      That Wells Fargo be ordered to play supplemental damages to USAA, including

   interest, with an accounting, as needed;

           F.      That Wells Fargo's infringement is willful and that the damages awarded to USAA

   should be enhanced up to three times the actual damages awarded;

           G.      That USAA be awarded damages for its costs, disbursements, expert witness fees,

   and attorneys' fees and costs incurred in prosecution this action, with interest, including damages

   for an exceptional case pursuant to 35 U.S.C.   §   285 and as otherwise provided by law; and

           H.      That USAA be awarded such other and further relief, including equitable relief, as

   this Court deems just and proper.

   X.      DEMAND FOR JURY TRIAL
           103.    Pursuant to Federal Rule of Civil Procedure 38(b), USAA hereby demands a trial

   by jury on all issues triable to a jury.
   Dated: June 7, 2018                             Respectfully submitted,

                                                   PARKER, BUNT & AINS WORTH, P.C.
                                                   Is! Robert Christopher Bunt

                                                   Robert C. Bunt
                                                   Lead Attorney
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   Tel. (310) 277-1010
   Fax (310) 203-7199
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                           Ii THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION


   UNITED SERVICES AUTOMOBILE                      )
   ASSOCIATION                                     )
   a Texas reciprocal inter-insurance exchange,    )
                                                   )

                  Plaintiff,                       )
                                                   )

          v.                                       )
                                                   )

   WELLS FARGO BANK, N.A.,                         )    Civil Action No. 2: 18-cv-00366
   a national banking association,                 )
                                                   )    JURY TRIAL DEMANDED
                  Defendant.                       )
                                                   )

                                                   )

                                                   )

                                                   )

                                                    )


                                             COMPLAINT




          Plaintiff United Services Automobile Association ("USAA"), by its undersigned counsel,
   for its Complaint against defendant Wells Fargo Bank, N.A. ("Wells Fargo"), states as follows,

   with knowledge as to its own acts, and on information and belief as to the acts of others:

   I.     THE PARTIES
          1.      Plaintiff USAA is a reciprocal interinsurance exchange and unincorporated
   association organized under the laws of the State of Texas having its principal place of business at

   9800 Fredericksburg Road, San Antonio, Texas 78288. The USAA family of companies is

   dedicated to the financial well-being of members of the military and their families through the

   provision of insurance, banking, investment, and retirement products and services. USAA does

   business in this judicial district, and through its website at www.usaa.com and USAA Mobile

   smartphone applications.
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           2.       On information and belief, Wells Fargo is a national banking association organized

  under the laws of the United States of America. Wells Fargo does business throughout the United

  States, including in this judicial district.

  II.       JURISDICTION AND VENUE
            3.      Subject matter jurisdiction is based on 28 U.S.C.   §   1338, in that this action arises

  under federal statute, the patent laws of the United States (35 U.S.C.      §   1,   et seq.).


            4.      The Court has personal jurisdiction over Wells Fargo because it has substantial,

  systematic and continuous contacts with this judicial district. Wells Fargo has a regular and

   established place of business in the State of Texas and in the Eastern District of Texas, including

   operating hundreds of bank branches and ATMs in Texas and numerous bank branches and ATMs

   in this judicial district, and conducts business with customers residing in this judicial district both

   through its bank branches and ATMs and its online and mobile banking services. Wells Fargo has
   committed acts of patent infringement and, as detailed below, contributed to or induced acts of
   patent infringement by others in this judicial district and elsewhere in Texas. Wells Fargo is
   registered to do business in Texas and maintains an agent authorized to receive service of process
   within Texas.

            5.      Venue is proper under 28 U.S.C.   §   1400(b) because Wells Fargo has committed

   acts of infringement and maintains a regular and established place of business in this judicial

   district.

   III.        ONGOiNG LITIGATION
               6.   There another patent infringement case pending against Wells Fargo, Case No.

   2:18-cv-00245-JRG, which was filed on June 7, 2018. The two suits involve distinct patent

   families with distinct specifications and distinct priority dates. Indeed, two of the patents asserted

   in the instant complaint did not even issue until after the earlier case was filed.




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  IV.     FACTUAL ALLEGATIONS
                                       The USAA Patents-in-Suit

          7.      USAA is the assignee of all right, title, and interest in U.S. Patent Nos. 9,224,136

  (the "136 Patent"), 8,392,332 (the "332 Patent"), 10,013,681 (the "681 Patent"), 8,708,227 (the

  "227 Patent"), and 10,013,605 (the "605 Patent") (collectively referred to as the "USAA Patents"
  in this Complaint). The USAA Patents arose from years of research and development of remote

  check deposit technologies by engineers in USAA's Innovation Lab.
                                    The '136, '332, and '681 Patents

                  The '136 Patent, '332 Patent, and '681 Patent, entitled "Systems and methods for

  remote deposit of checks," were invented by Charles Lee Oakes III, Randy Ray Morlen, Bharat

  Prasad, and Troy Bartlette Huth. The patents are, generally speaking, directed to improved

  computing systems that enable commercially-viable remote check deposit systems, including

  those used today by Wells Fargo, for example, by determining and validating the routing number

   on a check, converting the file format of a check image, generating a log file containing useful

   information about the check or its image, andlor assisting the user in taking a high-quality check

   image, for example by instructing the user regarding the proper distance away from the check to

   hold the camera. The addition of these systems to remote check deposit systems dramatically

   increases the efficiency and performance of remote check deposit systems. Below is a figure from

   the patents.




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          9.      The '136, '332, and '681 Patents describe systems and methods for "remotely

   redeeming a negotiable instrument." The systems and methods taught by the '136, '332, and '681

   Patents solve discrete, technological problems associated with computing systems used as part of

   capturing images of checks for deposit on mobile devices, representing new, novel and useful

   improvements over the existing and/or patentably distinct means and methods. For example, a

   "log file" may be generated comprising information such as the check image and information

   identifying the user's device and camera. As another example, information from the check, such

   as the routing number or check amount, may be determined using optical character recognition

   and validated. As another example, a "graphical illustration" may be displayed to assist the user in

   capturing high-quality check images, or the user may be provided with instructions, for example

   regarding the proper distance to hold the camera from the check. The systems and methods taught

   by the '136, '332, and '681 Patents provide improved functionality over conventional techniques

   used in prior art systems, resulting in an improved user interface for the customer's mobile device,

   including, for example, improving the quality of captured check images by using the mobile

   device's display and camera systems to provide instructions to the user while the user is




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   attempting to capture check images, including to help the user place the camera at the proper

   distance away from the check to capture valid check images for depositing, improving the

   efficiency of the banking computer systems and the mobile electronic devices used for remote

   check depositing, and helping to make remote check deposit systems commercially viable by

  reducing error rates and improving security, for example through validation of check information
   and error detection prior to depositing, and logging of information related to the check, such as an

   image of the check in a particular file format, or identification information regarding the user or

  the mobile device. The patents' improvements to mobile check depositing systems are further

   described in their specifications.

                                        The '227 and '605 Patents

           10.    The '227 Patent, entitled "Systems and methods for remote deposit of checks," and

  the '605 Patent, entitled "Digital camera processing system," were invented by Charles Lee Oakes,

   III, Randy Ray Morlen, Michael Frank Morris, Reynaldo Medina, III, Greg Alan Harpel, Gabriel

   Glenn Gavia, Bharat Prasad, Frank Kyle Major, and Jeffrey Neal Pollack. The patents are,

   generally speaking, directed to improved computing systems that enable commercially-viable

  remote check deposit systems, including those used today by Wells Fargo, for example, by

   determining and validating check information, including, for example, the written check amount

   or the routing number, converting the file format of a check image, generating a log file containing

  useful information about the check or its image, and/or assisting the user in taking a high-quality

   check image, for example by instructing the user regarding positioning or orientation of the check

   with respect to the camera. The addition of these systems to remote check deposit systems

   dramatically increases the efficiency and performance of remote check deposit systems. Below is

   a figure from the patents.




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          11.          The '227 Patent and '605 Patent describe systems and methods for "remote deposit

   of checks." The systems and methods taught by the '227 and '605 Patents solve discrete,

   technological problems associated with computer systems used as part of capturing images of

   checks for deposit using mobile devices, representing new, novel and useful improvements over

   the existing and/or patentably distinct means and methods. For example, a "log file" may be

   generated comprising information such as a bi-tonal image of the check. As another example,

   information from the check, such as the routing number or check amount, may be determined

   using optical character recognition and validated. As another example, instructions may be

   provided to the user in order to assist the user in capturing high-quality check images, or the user

   may be provided with instructions, for example regarding the proper positioning or orientation of

   the check with respect to the camera. The systems and methods taught by the '227 and '605

   Patents provide improved functionality over conventional techniques used in prior art systems,
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  resulting in an improved user interface for the customer's mobile device, including, for example,

  improving the quality of captured check images by using the mobile device's display and camera

  systems to assist the user in capturing check images with the proper orientation for processing,

  improving the efficiency of the banking computer systems and mobile electronic devices used for

  remote check depositing, and helping to make remote check deposit systems commercially viable

  by reducing error rates and rejected deposits, for example through confirmation of various check

  information, and by improving the customer experience, for example by providing a novel user

  interface for mobile check deposit that aids the user in taking check images and successfully

  depositing checks remotely. The patents' improvements to mobile check depositing systems are

  further described in their specifications.

                                      Wells Fargo's Infringement
          12.    Wells Fargo is one of the largest banks in the world with a substantial presence in
  mobile banking, including over 21 million active mobile banking users as of February 2018.

          13.    Wells Fargo's remote deposit capture systems, including but not limited to Wells

  Fargo Mobile® Deposit, infringe the USAA Patents. In this Complaint, Wells        Fargo's remote
  deposit capture systems, including but not limited to the   Wells Fargo Mobile®   Deposit system,
  and any other infringing instrumentalities that include similar functionality, are referred to

  generally as "Wells Fargo Mobile Deposit."

          14.    Wells Fargo's use of the USAA Patents is not licensed or authorized by USAA in

  any way. USAA has not licensed any of the USAA patents to Wells Fargo.

          15.    On information and belief, Wells Fargo released its Wells Fargo Mobile Deposit

  product to customers years after USAA had already implemented and released its

  Deposit@Mobile® service to widespread adoption. At the time, the head of Wells Fargo's retail
  mobile channel in its Internet services group remarked that mobile deposit was "the service our

  mobile customers request most often" with "a lot of demand." Exhibit 6.




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          16.         Wells Fargo Mobile Deposit allows Wells Fargo customers to deposit checks using

  their mobile devices, such as smartphones. Through its website, for example, Wells Fargo

  encourages its customers to avoid "a trip to the branch" by depositing checks using Wells Fargo

  Mobile Deposit, touting the system's convenience, simplicity, and ease of use:

            Wells Fargo Mobile® Deposit                                                                                                              Vsint    Sh*re




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                                                                 Point, tap, deposit



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            It's handy                           Its a snap                                  Its convenient                                   It's simple
            Deposit a chech ditecty thts sottr   Tahe photos or the troi,t ap batk ci        There ore no addtiopaI            bahe    fees   Sh,ce mnb5e deeottt is psit Of the
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          17.         Wells Fargo also promotes Wells Fargo Mobile Deposit with video advertisements,

   including, for instance, to bank customers while they are waiting for service at bank branches.

  Wells Fargo further promotes Wells Fargo Mobile Deposit to customers using Wells Fargo ATMs.

          18.         Wells Fargo Mobile Deposit is incorporated into the "Wells Fargo Mobile" iPhone

   and Android applications, where it is highlighted as a maj or feature in the applications'

   descriptions. According to the Google Play Store, Wells Fargo Mobile has been downloaded over

   10 million times on Android devices. Exhibit 7. Wells Fargo Mobile for iPhone is similarly

   popular, ranking #8 on the iTunes App Store's Finance category (and fourth among bank

   applications). Exhibit 8.

           19.         Wells Fargo Mobile Deposit allows customers to deposit checks remotely by

   identifiing an account for deposit, entering the dollar amount of the deposit, and taking

   photographs of the front and back sides of the check for deposit, all using the customer's mobile
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  device as instructed by Wells Fargo, as shown, for example, by the sequence of screenshots below

  from Wells Fargo's website:

                Get Mobile Deposit       Enter Deposit              lake Photos     Submit Deposit     After Deposit


                                                  1. Choose which account you'd like to deposit the check to. If you have set up a default account, it will be pm-selected.
                                                  If you want to create or change your default account, select the account from the Deposit to drop-down and check the

                                                  box, Make selected account my default.

                                                  2. Eater the amount of your deposit. Your mobile deposit daily and monthly limits are shown above the Amount field.
                           tilde Dqeea




    Get Mobile Deposit            Enter Deposit             Take Photos            Submit Deposit       After Deposit


                                                                                   1. Endorse your check.

                                                                                   2. Place the check on a dark surface with good lighting (avoid reflective surfaces).

                                                  e'                               3. Position your mobile device's camera directly over the check (not at an angle), fitting
                                                                                   all four corners into the guides provided. Select the Take Photo icon for the front then
                Oo..ew*   u..                                                      back of the check.

                                                       ,.                          4. The app will take the photo automatically, or you can select the camera icon to take
                ae5O'eeaa,w u'u.                                -                  the picture manually at any time.




    Get MObile Deposit            Enter Deposit             Take Photos           Submit Deposit        After Deposit


                                          1. Make sure your deposit amount is correct.




    fl
                                          2. Check that photos are uploaded.
                M
                                          3. Select Deposit.


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           20.     Wells Fargo has taken advantage of USAA's pioneering efforts in mobile deposit

   technologies by incorporating without permission USAA's technological innovations into its

   Wells Fargo Mobile Deposit system. For example, Wells Fargo Mobile Deposit includes features

   that were invented, developed, and released to customers years earlier by USAA, such as graphical

    illustrations and instructions to assist the customer in orienting the camera and taking high-quality,

   legible photographs, as illustrated, for example, by the screenshot below from Wells Fargo's

   website:




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           21.     As another example, Wells Fargo Mobile Deposit will recognize the routing

   number from the check image and validate the number, including, for example, instructing the
   customer to retake the check image if the routing number is not visible.

           22.     USAA recognizes that the advent of mobile check deposit has revolutionized the
   consumer banking experience, with considerable benefits for both banks and customers. But it is

   improper for Wells Fargo to use, without permission, patented technologies that USAA has spent

   immense resources to invent, develop, implement, and perfect. In view of the foregoing, before

   involving this Court in this matter, USAA approached Wells Fargo, for example in August 2017,
   and engaged in good faith negotiations regarding "USAA's Remote Deposit Capture (RDC)

   patents." Wells Fargo, however, has not obtained a license to any of the USAA Patents and

   continues to profit by providing its infringing mobile deposit service to millions of Wells Fargo

   customers without USAA's permission and without any compensation to USAA.




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    V.     FIRST CLAIM FOR RELIEF '136 PATENT
           23.       USAA re-alleges and incorporates by reference the allegations of the preceding

    paragraphs of this Complaint as if fully set forth herein.
              24.    The '136 Patent, entitled "Systems and methods for remote deposit of checks," was

    duly and legally issued on December 29, 2015. A true and correct copy of the '136 Patent
                                                                                             is

    attached as Exhibit   1.

              25.    The '136 Patent has been in full force and effect since its issuance. TJSAA owns by

    assignment the entire right, title and interest in and to the '136 Patent, including the exclusive
                                                                                                       right

    to seek damages for past, current and future infringement thereof. USAA is informed and

    believes, and on this basis alleges, that Wells Fargo, agents of Wells Fargo, and/or third parties

    acting under Wells Fargo's direction and control, including Wells Fargo's customers and partners,

    have committed and continue to commit acts of direct infringement of one or more claims of the
    '136 Patent, including, for example, Claim 1, literally and/or under the doctrine of equivalents, by
    making, using, selling, offering to sell and/or importing into the United States, Wells Fargo

    Mobile Deposit. For example, on information and belief, Wells Fargo Mobile Deposit: is a system

    comprising a sofiware application installed on a mobile device, such as a customer's smartphone,

    having a memory and a processor configured to run the software application; receives an account
     identification number, check amount indication, and a check image captured by a camera;

     validates the routing number for the check image; and initiates a check deposit for the check

     image.

               26.    For example, Wells Fargo Mobile Deposit comprises a system accessible through

     Android or iPhone smartphones:




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             Wells Fargo Mobile® Deposit                                                                                                    Pset    Share   (J    00




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           27.           The Wells Fargo Mobile Deposit system uses the capabilities of the customer's

    smartphone to provide remote check depositing functionality:




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           28.    Wells Fargo Mobile Deposit receives, from the user, an indication of the amount of

    the check and the account into which the check is to be deposited:




           29.     Wells Fargo Mobile Deposit uses the smartphone's camera to capture images of the

    check for deposit:




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           30.     Wells Fargo Mobile Deposit determines a routing number for the check image

    using optical character recognition and initiates a check deposit for the check image after, among

    other things, validating the routing number:




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            31.     Wells Fargo has had actual knowledge of its infringement of the '136 Patent since

     at least the time of service of this Complaint, and continues to infringe the '136 Patent

     notwithstanding that knowledge. USAA is further infonned and believes that Wells Fargo has had

     actual knowledge of its infringement of the '136 Patent since before the time of service of this




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   Complaint, including for the reasons that, for example: USAA put Wells Fargo on notice of the

   need to license its remote deposit capture (RDC) patents; USAA's Deposit@Home® and

   Deposit@Mobile® products were well-known and publicized; USAA has received acclaim for its
   pioneering technological developments in mobile deposit; USAA has marked its products with

   notices regarding the '136 Patent; USAA and Wells Fargo are competitors in the same industry

    and, in particular, offer competing mobile deposit products, giving Wells Fargo reason to

    investigate USAA's patents on the technologies; and USAA has approached Wells Fargo

    regarding licensing of USAA's mobile deposit patents. To the extent that Wells Fargo lacked

    knowledge of its infringement of the '136 Patent before the time of service of this Complaint, it

    remained willfully blind by affirmatively avoiding investigating USAA's patents or inspecting

    USAA's mobile check deposit application, as evidenced by, for example, Wells Fargo's notice of
    a need to license USAA's remote deposit capture (RDC) patents of which the '136 Patent is an

    integral part, and, on information and belief, Wells Fargo's knowledge of USAA's

    Deposit@Home® and Deposit@Mobile® products.
           32.     Wells Fargo actively encourages, directs, and controls third parties, including its

    customers and partners, to use Wells Fargo Mobile Deposit in an infringing manner, including

    through Wells Fargo's website, advertisements, documentation/instructional material, customer

    support, application and feature descriptions, and in-application instructions. On information and

    belief, for example, Wells Fargo contracts with Google and Apple to distribute its Wells Fargo

    Mobile applications to Android and iPhone users, respectively.

            33.    USAA is infonned and believes, and on this basis alleges, that from at least the

    time of service of this Complaint, Wells Fargo is inducing infringement of the '136 Patent,

    literally and/or under the doctrine of equivalents, in violation of 35 U.S.C.   271(b), by knowingly

    encouraging or aiding third parties to make, use, sell or offer to sell Wells Fargo Mobile Deposit

    in the United States, or to import Wells Fargo Mobile Deposit into the United States, and/or in

    violation of 35 U.S.C. § 271(f)(1), by supplying or causing to be supplied Wells Fargo Mobile
    Deposit in or from the United States, without license or authority from USAA, with knowledge of




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   or willful blindness to the fact that Wells Fargo's actions will induce others, including but not

   limited to its customers, partners, and/or end users, to directly infringe the '136 Patent. USAA is

   further informed and believes, and on this basis alleges, that Wells Fargo has intentionally aided
    and encouraged third parties (including Wells Fargo's customers, partners, and/or end users) to

    use Wells Fargo Mobile Deposit in the United States in a manner that it knows would infringe or
    have a high probability of infringing the '136 Patent, with the specific intent that those performing

    the acts infringe the '136 Patent.

            34.    USAA is informed and believes, and on this basis alleges, that from at least the

    time of service of this Complaint, Wells Fargo is contributorily infringing the '136 Patent, literally

    and/or under the doctrine of equivalents, in violation of 35 U.S.C.   §   271(c), by selling, offering to

    sell, and/or importing into the United States, and/or in violation of 35 U.S.C.    §   271(f)(2), by

    supplying or causing to be supplied in or from the United States, Wells Fargo Mobile Deposit for

    use in infringing the '136 Patent, constituting a material part of the invention, knowing Wells

    Fargo Mobile Deposit to be especially made or especially adapted for use in infringing the '136

    Patent. USAA is further informed and believes, and on this basis alleges, that Wells Fargo Mobile

    Deposit is not a staple article or commodity of commerce suitable for substantial non-infringing
    use.

            35.     USAA is informed and believes, and on this basis alleges, that these third parties

    have infringed and will infringe the '136 Patent by using Wells Fargo Mobile Deposit in violation

    of 35 U.S.C. § 271(a).
            36.     As a result of Wells Fargo's infringement of the '136 Patent, USAA has been

     damaged. In addition, Wells Fargo's infringing acts and practices have caused and are causing

     immediate and irreparable harm to USAA. USAA is entitled to recover for damages sustained as

     a result of Wells Fargo's wrongful acts in an amount yet to be determined and to receive such

     other and further relief, including equitable relief, as this Court deems just and proper.

             37.    USAA is further informed, and on this basis alleges, that Wells Fargo's

     infringement of the '136 Patent has been and continues to be deliberate and willful, and, therefore,



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   this is an exceptional case warranting an award of enhanced damages for up to three times the

    actual damages awarded and attorney's fees to USAA pursuant to 35 U.S.C.         §   284-285. As

    noted above, Wells Fargo has had knowledge of the '136 Patent and its infringement thereof, and

    yet has deliberately continued to infringe in a wanton, malicious, and egregious manner, with

    reckless disregard for USAA's patent rights. Thus, Wells Fargo's infringing actions have been

    and continue to be consciously wrongful.

           To the extent 35 U.S.C.   §   287 is determined to be applicable, USAA is informed and

    believes its requirements have been satisfied with respect to the '136 Patent.

    VI.    SECOND CLAIM FOR RELIEF                  '332 PATENT

            38.     USAA re-alleges and incorporates by reference the allegations of the preceding

    paragraphs of this Complaint as if fully set forth herein.
            39.     The '332 Patent, entitled "Systems and methods for remote deposit of checks," was

    duly and legally issued on March 5, 2013. A true and correct copy of the '332 Patent is attached

    as Exhibit 2.

            40.     The '332 Patent has been in full force and effect since its issuance. USAA owns by

    assignment the entire right, title and interest in and to the '332 Patent, including the exclusive right

    to seek damages for past, current and future infringement thereof.

            41.     USAA is informed and believes, and on this basis alleges, that Wells Fargo, agents

    of Wells Fargo, and/or third parties acting under Wells Fargo's direction and control, including
    Wells Fargo's customers and partners, have committed and continue to commit acts of direct

    infringement of one or more claims of the '332 Patent, including, for example, Claim 1, literally

     and1or under the doctrine of equivalents, by making, using, selling, offering to sell and/or

     importing into the United States, Wells Fargo Mobile Deposit. For example, on information and

     belief, Wells Fargo Mobile Deposit: implements a method for processing a check deposit,

     comprising, through a processor: receiving a customer identification of an account for deposition;

     receiving a first image of a front side of a check in a first file format from a customer's mobile

     device; creating a second image of the front side of the check by converting the first image into a




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   second file format; and generating a log file comprising the second image and an identification of

   the customer's mobile device and its camera. As another example, on information and belief,

   Wells Fargo Mobile Deposit is a system comprising a software application installed on a mobile

    device, such as a customer's smartphone, comprising instructions being executed by a processor of

    the mobile device to: receive a customer identification of an account for deposition; receive a first

    image of a front side of a check in a first file format from a customer's mobile device; create a

    second image of the front side of the check by converting the first image into a second file format;

    and generate a log file comprising the second image and an identification of the customer's mobile

    device and its camera.
           42.          For example, Wells Fargo Mobile Deposit comprises a system accessible through

    Android or iPhone smartphones:
             Wells Fargo Mobile® Deposit                                                                                                  Prior      Sham    00 D




                                                                  Point, tap, deposit


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           43.         As discussed previously, the Wells Fargo Mobile Deposit system uses the

    capabilities of the customer's smartphone to provide remote check depositing functionality:



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           44.         Wells Fargo Mobile Deposit receives, from the user, an indication of the amount of

    the check and the account into which the check is to be deposited:




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           45.     Wells Fargo Mobile Deposit uses the smartphone's camera to capture images of the

    check for deposit:




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            46.     Wells Fargo Mobile Deposit initiates a check deposit for the check image:




           47.     Wells Fargo Mobile Deposit, as part of the deposit process, creates a second image

    of the check images in a second file format, such as, for example, a bi-tonal Tag Image File
    Format (TIFF) format and generates a log file for the deposit comprising, among other things, the

    created second image and an identification of the customer's mobile device and its camera.

           48.     Wells Fargo has had actual knowledge of its infringement of the '332 Patent since

    at least the time of service of this Complaint, and continues to infringe the '332 Patent

    notwithstanding that knowledge. USAA is further informed and believes that Wells Fargo has had

    actual knowledge of its infringement of the '332 Patent since before the time of service of this

    Complaint, including for the reasons that, for example: USAA put Wells Fargo on notice of the

    need to license its remote deposit capture (RDC) patents; USAA's Deposit@Home® and

    Deposit@Mobile® products were well-known and publicized; USAA has received acclaim for its
    pioneering technological developments in mobile deposit; USAA has marked its products with
    notices regarding the '332 Patent; USAA and Wells Fargo are competitors in the same industry

    and, in particular, offer competing mobile deposit products, giving Wells Fargo reason to

    investigate USAA's patents on the technologies; and USAA has approached Wells Fargo


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   regarding licensing of USAA's mobile deposit patents. To the extent that Wells Fargo lacked

   knowledge of its infringement of the '332 Patent before the time of service of this Complaint, it

   remained willfully blind by affirmatively avoiding investigating USAA's patents or inspecting

   USAA's mobile check deposit application, as evidenced by, for example, Wells Fargo's notice of
   a need to license USAA's remote deposit capture (RDC) patents of which the '332 Patent is an

   integral part, and, on information and belief, Wells Fargo's knowledge of USAA's

   Deposit@Home® and Deposit@Mobile® products.
           49.     Wells Fargo actively encourages, directs, and controls third parties, including its

    customers and partners, to use Wells Fargo Mobile Deposit in an infringing manner, including

    through Wells Fargo's website, advertisements, documentationlinstructional material, customer

    support, application and feature descriptions, and in-application instructions. On information and

    belief, for example, Wells Fargo contracts with Google and Apple to distribute its Wells Fargo

    Mobile applications to Android and iPhone users, respectively.
           50.     USAA is informed and believes, and on this basis alleges, that from at least the

    time of service of this Complaint Wells Fargo is inducing infringement of the '332 Patent, literally

    andlor under the doctrine of equivalents, in violation of 35 U.S.C.   §   27 1(b), by knowingly

    encouraging or aiding third parties to make, use, sell or offer to sell Wells Fargo Mobile Deposit

    in the United States, or to import Wells Fargo Mobile Deposit into the United States, and/or in

    violation of 35 U.S.C.   §   271(f)(1), by supplying or causing to be supplied Wells Fargo Mobile

    Deposit in or from the United States, without license or authority from USAA, with knowledge of

    or willful blindness to the fact that Wells Fargo's actions will induce others, including but not

    limited to its customers, partners, andlor end users, to directly infringe the '332 Patent. USAA is

    further informed and believes, and on this basis alleges, that Wells Fargo has intentionally aided

    and encouraged third parties (including Wells Fargo's customers, partners, and/or end users) to

    use Wells Fargo Mobile Deposit in the United States in a manner that it knows would infringe or

    have a high probability of infringing the '332 Patent, with the specific intent that those performing

    the acts infringe the '332 Patent.



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            51.       USAA is informed and believes, and on this basis alleges, that from at least the
                                                                                         Patent, literally
    time of service of this Complaint Wells Fargo is contributorily infringing the '332
                                                                                              offering to
    and/or under the doctrine of equivalents, in violation of 35 U.S.C. § 271(c), by selling,

    sell, and/or importing into the United States, and/or in violation of 35 U.S.C.   §   271(f)(2), by
                                                                                                     for
    supplying or causing to be supplied in or from the United States, Wells Fargo Mobile Deposit
                                                                                              Wells
    use in infringing the '332 Patent, constituting a material part of the invention, knowing
                                                                                              the '332
    Fargo Mobile Deposit to be especially made or especially adapted for use in infringing
                                                                                            Fargo Mobile
    Patent. USAA is further informed and believes, and on this basis alleges, that Wells

    Deposit is not a staple article or commodity of commerce suitable for substantial non-infringing

    use.

            52.       USAA is informed and believes, and on this basis alleges, that these third parties

    have infringed and will infringe the '332 Patent by using Wells Fargo Mobile Deposit in violation
    of 35 U.S.C. § 271(a).
                53.   As a result of Wells Fargo's infringement of the '332 Patent, USAA has been
                                                                                           causing
     damaged. In addition, Wells Fargo's infringing acts and practices have caused and are
                                                                                      sustained as
     inimediate and irreparable harm to USAA. USAA is entitled to recover for damages

     a result   of Wells Fargo's wrongful acts in an amount yet to be determined and to receive such
     other and further relief, including equitable relief, as this Court deems just and proper.
                54.    USAA is further informed, and on this basis alleges, that Wells Fargo's

     infringement of the '332 Patent has been and continues to be deliberate and willful, and, therefore,
                                                                                           times the
     this is an exceptional case warranting an award of enhanced damages for up to three
                                                                                                 As
     actual damages awarded and attorney's fees to USAA pursuant to 35 U.S.C. § 284-285.
                                                                                                     and
     noted above, Wells Fargo has had knowledge of the '332 Patent and its infringement thereof,

     yet has deliberately continued to infringe in a wanton, malicious, and egregious manner, with
                                                                                          have been
     reckless disregard for USAA's patent rights. Thus, Wells Fargo's infringing actions

     and continue to be consciously wrongful.




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            55.    To the extent 35 U.S.C.   §   287 is determined to be applicable, USAA is informed

   and believes its requirements have been satisfied with respect to the '332 Patent.

   VII.     THIRD CLAIM FOR RELIEF                 '681 PATENT

            56.    USAA re-alleges and incorporates by reference the allegations of the preceding

   paragraphs of this Complaint as if fully set forth herein.
            57.    The '681 Patent, entitled "System and method for mobile check deposit," was duly

    and legally issued on July 3, 2018. A true and correct copy of the '681 Patent is attached as

    Exhibit 3.

            58.    The '681 Patent has been in full force and effect since its issuance. USAA owns by

    assignment the entire right, title and interest in and to the '681 Patent, including the exclusive right

    to seek damages for past, current and future infringement thereof. USAA is informed and

    believes, and on this basis alleges, that Wells Fargo, agents of Wells Fargo, andlor third parties

    acting under Wells Fargo's direction and control, including Wells Fargo's customers and partners,

    have committed and continue to commit acts of direct infringement of one or more claims of the

    '681 Patent, including, for example, Claim 1, literally and/or under the doctrine of equivalents, by

    making, using, selling, offering to sell and/or importing into the United States, Wells Fargo

    Mobile Deposit. For example, on information and belief, Wells Fargo Mobile Deposit: is a system

    for allowing a customer to deposit a check using the customer's own mobile device with a digital

    camera, the system configured to ask the customer to log in using a user name and password and

    including: a software application downloaded and installed on a mobile device, such as a

    customer's smartphone having a digital camera and camera software, where the software
    application causes the customer's mobile device to: instruct the customer to have the digital

    camera take photos of front and back sides of a check; display a graphical illustration to assist the

    customer in doing so, with the illustration assisting the customer in placing the digital camera a

    proper distance away from the check for taking the photos; present the photos of the check to the
    customer; confirm that the mobile check deposit can go forward after detennining an amount of

    the check and reading a Magnetic Image Character Recognition (MICR) line using optical



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   character recognition; and transmit a copy of the check photos using a network and submit the

   check for mobile deposit in the bank.

          59.            For example, Wells Fargo Mobile Deposit comprises a system accessible through

   Android or iPhone smartphones:
             Wells Fargo Mobile® Deposit                                                                                                                   Share   00 i




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                                                                                          Mobile Deposit FAQs



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          60.     As discussed above, the Wells Fargo Mobile Deposit system uses the capabilities of

   the customer's smartphone to provide remote check depositing functionality:




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           61.    Wells Fargo Mobile Deposit receives, from the user, an indication of the amount of

    the check and the account into which the check is to be deposited:




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           62.     Wells Fargo Mobile Deposit uses the smartphone's camera to capture images of the

   check for deposit:




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           63.     As illustrated in the above image, Wells Fargo Mobile Deposit projects a graphical

    illustration in the field of view of the camera to assist the user in capturing images of the check,

    including, for example, with respect to the orientation and positioning of the check relative to the

    camera. Wells Fargo Mobile Deposit also provides graphical feedback to the customer, including,

    for example, indicating whether the customer should "Get closer" (e.g., move the device closer to

    the check) or "Hold steady" (e.g., hold the device in position).

            64.    Wells Fargo Mobile Deposit presents the photos of the check to the customer after

    the photos are taken:




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           65.     Wells Fargo Mobile Deposit includes guidelines for taking photos that work best,

    including, for example, to "Place your check on a darkcolored, plain surface that's well lit,"

    "Position your camera directly over the check (not at an angle)," and "Fit all 4 corners in the
    guides of your mobile device's camera screen."

           66.     Wells Fargo Mobile Deposit submits the check for deposit after presenting the

    photos of the check to the user, which includes transmitting a copy of the photos over a wireless
    network:
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           67.     Wells Fargo has had actual knowledge of its infringement of the '681 Patent since

    at least the time of service of this Complaint, and continues to infringe the '681 Patent

    notwithstanding that knowledge. USAA is further informed and believes that Wells Fargo has had
    actual knowledge of its infringement of the '681 Patent since before the time of service of this

    Complaint, including for the reasons that, for example: USAA put Wells Fargo on notice of the

    need to license its remote deposit capture (RDC) patents; USAA's Deposit@Home® and

    Deposit@Mobile® products were well-known and publicized; USAA has received acclaim for its
    pioneering technological developments in mobile deposit; USAA has marked its products with

    notices regarding the '681 Patent; USAA and Wells Fargo are competitors in the same industry

    and, in particular, offer competing mobile deposit products, giving Wells Fargo reason to

    investigate USAA's patents on the technologies; and USAA has approached Wells Fargo

    regarding licensing of USAA's mobile deposit patents. To the extent that Wells Fargo lacked

    knowledge of its infringement of the '681 Patent before the time of service of this Complaint, it

    remained willfully blind by affirmatively avoiding investigating USAA's patents or inspecting

    USAA's mobile check deposit application, as evidenced by, for example, Wells Fargo's notice of



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   a need to license USAA's remote deposit capture (RDC) patents of which the '681 Patent is an

   integral part, and, on information and belief, Wells Fargo's knowledge of USAA's

    Deposit@Home® and Deposit@Mobile® products.
           68.     Wells Fargo actively encourages, directs, and controls third parties, including its

    customers and partners, to use Wells Fargo Mobile Deposit in an infringing manner, including

    through Wells Fargo's website, advertisements, documentationlinstructional material, customer

    support, application and feature descriptions, and inapplication instructions. On information and

    belief, for example, Wells Fargo contracts with Google and Apple to distribute its Wells Fargo

    Mobile applications to Android and iPhone users, respectively.

           69.     USAA is informed and believes, and on this basis alleges, that from at least the

    time of service of this complaint, Wells Fargo is inducing infringement of the '681 Patent, literally

    andlor under the doctrine of equivalents, in violation of 35 U.S.C. § 271(b), by knowingly

    encouraging or aiding third parties to make, use, sell or offer to sell Wells Fargo Mobile Deposit
    in the United States, or to import Wells Fargo Mobile Deposit into the United States, and/or in

    violation of 35 U.S.C.   §   271(f)(1), by supplying or causing to be supplied Wells Fargo Mobile

    Deposit in or from the United States, without license or authority from USAA, with knowledge of

    or willful blindness to the fact that Wells Fargo's actions will induce others, including but not
    limited to its customers, partners, andlor end users, to directly infringe the '681 Patent. USAA is

    further informed and believes, and on this basis alleges, that Wells Fargo has intentionally aided

    and encouraged third parties (including Wells Fargo's customers, partners, andlor end users) to

    use Wells Fargo Mobile Deposit in the United States in a manner that it knows would infringe or
    have a high probability of infringing the '681 Patent, with the specific intent that those performing

    the acts infringe the '681 Patent.

            70.     USAA is informed and believes, and on this basis alleges, that from at least the

    time of service of this complaint, Wells Fargo is contributorily infringing the '681 Patent, literally

     and/or under the doctrine of equivalents, in violation of 35 U. S.C.   §   271(c), by selling, offering to

     sell, and/or importing into the United States, and/or in violation of 35 U.S.C.     §   271(f)(2), by



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    supplying or causing to be supplied in or from the United States, Wells Fargo Mobile Deposit for

   use in infringing the '681 Patent, constituting a material part of the invention, knowing Wells

    Fargo Mobile Deposit to be especially made or especially adapted for use in infringing the '681

    Patent. USAA is further informed and believes, and on this basis alleges, that Wells Fargo Mobile

    Deposit is not a staple article or commodity of commerce suitable for substantial non-infringing

    use.

           71.     USAA is informed and believes, and on this basis alleges, that these third parties

    have infringed and will infringe the '681 Patent by using Wells Fargo Mobile Deposit in violation

    of 35 U.S.C. § 271(a).
           72.     As a result of Wells Fargo's infringement of the '681 Patent, USAA has been

    damaged. In addition, Wells Fargo's infringing acts and practices have caused and are causing

    immediate and irreparable harm to USAA. USAA is entitled to recover for damages sustained as

    a result of Wells Fargo's wrongful acts in an amount yet to be determined and to receive such

    other and further relief, including equitable relief, as this Court deems just and proper.
           73.     USAA is further informed, and on this basis alleges, that Wells Fargo's

    infringement of the '681 Patent has been and continues to be deliberate and willful, and, therefore,

    this is an exceptional case warranting an award of enhanced damages for up to three times the

    actual damages awarded and attorney's fees to USAA pursuant to 35 U.S.C.        §   284-285. As

    noted above, Wells Fargo has had knowledge of the '681 Patent and its infringement thereof, and

    yet has deliberately continued to infringe in a wanton, malicious, and egregious manner, with

    reckless disregard for USAA's patent rights. Thus, Wells Fargo's infringing actions have been

    and continue to be consciously wrongful.

            74.    To the extent 35 U.S.C. § 287 is determined to be applicable, USAA is informed

    and believes its requirements have been satisfied with respect to the '681 Patent.

    VIII. FOURTH CLAIM FOR RELIEF '227 PATENT
            75.    USAA re-alleges and incorporates by reference the allegations of the preceding

    paragraphs of this Complaint as if fully set forth herein.




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            76.     The '227 Patent, entitled "Systems and methods for remote deposit of checks," was

    duly and legally issued on April 24, 2014. A true and correct copy of the '227 Patent is attached

    as Exhibit 4.

            77.     The '227 Patent has been in full force and effect since its issuance. USAA owns by

    assignment the entire right, title and interest in and to the '227 Patent, including the exclusive right

   to seek damages for past, current and future infringement thereof. USAA is informed and

   believes, and on this basis alleges, that Wells Fargo, agents of Wells Fargo, andlor third parties

    acting under Wells Fargo's direction and control, including Wells Fargo's customers and partners,

   have committed and continue to commit acts of direct infringement of one or more claims of the

    '227 Patent, including, for example, Claim 5, literally and/or under the doctrine of equivalents, by
   making, using, selling, offering to sell and/or importing into the United States, Wells Fargo

   Mobile Deposit. For example, on information and belief, Wells Fargo Mobile Deposit implements

    a method for facilitating deposit of a check, comprising a processor: providing a software

    application for installation on a mobile device, such as a customer's smartphone; receiving an

    identification of an account for deposit of a check and an amount of the check; providing

    instructions instructing the customer to position the check with respect to the mobile device

    camera to produce an initial image including an image of the front side of the check, identify

    selected points of the initial image to enable cropping of the image beyond a boundary of the front

    side of the check, and approve a cropped portion of the initial image, the cropped portion

    including the image of the front side of the check; receiving the image of the front side of the

    check from the customer's mobile device; performing optical character recognition on the check

    image; analyzing the image of the check to determine whether it meets at least one criterion;

    determining whether there is an error, comprising validating a routing number associated with the

    check, determining whether the check was previously deposited, and comparing the amount of the

    check to an amount determined by optical character recognition; and initiating the deposit of the

    check into the bank account.




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           78.          For example, Wells Fargo Mobile Deposit comprises a system accessible through

   Android or iPhone smartphones:
             Wells Fargo               Mobile® Deposit                                                                                           Print    Share   00
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           79.           As discussed above, the Wells Fargo Mobile Deposit system uses the capabilities of

    the customer's smartphone to provide remote check depositing functionality:



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           80.    Wells Fargo Mobile Deposit receives, from the user, an indication of the amount of

    the check and the account into which the check is to be deposited:




            81.    Wells Fargo Mobile Deposit uses the smartphone 'S camera to capture images of the

    check for deposit:




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            82.          As illustrated in the above image, Wells Fargo Mobile Deposit projects a graphical

    illustration in the field of view of the camera to assist the user in capturing images of the check,

    including, for example, with respect to the orientation and positioning of the check relative to the

    camera. Wells Fargo Mobile Deposit also provides graphical feedback to the customer, including,

    for example, indicating whether the customer should "Get closer" (e.g., move the device closer to

    the check) or "Hold steady" (e.g., hold the device in position).

            83.          Wells Fargo Mobile Deposit includes guidelines for taking photos that work best,

    including, for example, to "Place your check on a dark-colored, plain surface that's well lit,"

    "Position your camera directly over the check (not at an angle)," and "Fit all 4 corners in the

    guides of your mobile device's camera screen."

            84.          Wells Fargo Mobile Deposit automatically captures the image of the check when

    the image meets certain criteria, as described, for example, in the instructions on Wells Fargo's

    website (red underlining added for emphasis):

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           85.    Wells Fargo Mobile Deposit presents cropped portions of the check images to the

    customer for approval:




           86.     Wells Fargo Mobile Deposit determines a routing number for the check image and

    an amount of the check using optical character recognition and initiates a check deposit for the

    check image after, among other things, validating the routing number and comparing the amount

    of the check to the amount indicated by the customer and determining whether there is an error:




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           87.     Wells Fargo has had actual knowledge of its infringement of the '227 Patent since

    at least the time of service of this Complaint, and continues to infringe the '227 Patent

    notwithstanding that knowledge. USAA is further informed and believes that Wells Fargo has had

    actual knowledge of its infringement of the '227 Patent since before the time of service of this

    Complaint, including for the reasons that, for example: USAA put Wells Fargo on notice of the

    need to license its remote deposit capture (RDC) patents; USAA's Deposit@Home® and

    Deposit@Mobile® products were well-known and publicized; USAA has received acclaim for its
    pioneering technological developments in mobile deposit; USAA has marked its products with
    notices regarding the '227 Patent; USAA and Wells Fargo are competitors in the same industry
    and, in particular, offer competing mobile deposit products, giving Wells Fargo reason to

    investigate USAA's patents on the technologies; and USAA has approached Wells Fargo

    regarding licensing of USAA's mobile deposit patents. To the extent that Wells Fargo lacked

    knowledge of its infringement of the '227 Patent before the time of service of this Complaint, it

    remained willfully blind by affirmatively avoiding investigating USAA's patents or inspecting
    USAA's mobile check deposit application, as evidenced by, for example, Wells Fargo's notice of



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    a need to license USAA's remote deposit capture (RDC) patents       of which the '227 Patent is an
    integral part, and, on information and belief, Wells Fargo's knowledge of USAA's

    Deposit@Home® and Deposit@Mobile® products.
           88.     Wells Fargo actively encourages, directs, and controls third parties, including its

    customers and partners, to use Wells Fargo Mobile Deposit in an infringing manner, including

    through Wells Fargo's website, advertisements, documentationlinstructional material, customer
    support, application and feature descriptions, and in-application instructions. On information and

    belief', for example, Wells Fargo contracts with Google and Apple to distribute its Wells Fargo

    Mobile applications to Android and iPhone users, respectively.

            89.    USAA is informed and believes, and on this basis alleges, that from at least the

    time of service of this complaint, Wells Fargo is inducing infringement of the '227 Patent, literally

    andlor under the doctrine of equivalents, in violation of 35 U.S.C.   §   27 1(b), by knowingly

    encouraging or aiding third parties to make, use, sell or offer to sell Wells Fargo Mobile Deposit

    in the United States, or to import Wells Fargo Mobile Deposit into the United States, and/or in

    violation of 35 U.S.C.   §   271(f)(l), by supplying or causing to be supplied Wells Fargo Mobile
    Deposit in or from the United States, without license or authority from USAA, with knowledge of

    or willful blindness to the fact that Wells Fargo's actions will induce others, including but not

    limited to its customers, partners, and/or end users, to directly infringe the '227 Patent. USAA is

    further informed and believes, and on this basis alleges, that Wells Fargo has intentionally aided

    and encouraged third parties (including Wells Fargo's customers, partners, and/or end users) to

    use Wells Fargo Mobile Deposit in the United States in a manner that it knows would infringe or

    have a high probability of infringing the '227 Patent, with the specific intent that those performing

    the acts infringe the '227 Patent.

           90.     USAA is informed and believes, and on this basis alleges, that from at least the

    time of service of this complaint, Wells Fargo is contributorily infringing the '227 Patent, literally

    and/or under the doctrine of equivalents, in violation of 35 U.S.C.   §   27 1(c), by selling, offering to

    sell, and/or importing into the United States, and/or in violation of 35 U.S.C.     §   27l(f)(2), by
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   supplying or causing to be supplied in or from the United States, Wells Fargo Mobile Deposit for

   use in infringing the '227 Patent, constituting a material part of the invention, knowing Wells

   Fargo Mobile Deposit to be especially made or especially adapted for use in infringing the '227

   Patent. USAA is further informed and believes, and on this basis alleges, that Wells Fargo Mobile

   Deposit is not a staple article or commodity of commerce suitable for substantial non-infringing

    use.

           91.         USAA is informed and believes, and on this basis alleges, that these third parties

    have infringed and will infringe the '227 Patent by using Wells Fargo Mobile Deposit in violation

    of 35 U.S.C.   §   271(a).

           92.         As a result of Wells Fargo's infringement of the '227 Patent, USAA has been

    damaged. In addition, Wells Fargo's infringing acts and practices have caused and are causing

    immediate and irreparable harm to USAA. USAA is entitled to recover for damages sustained as

    a result of Wells Fargo's wrongful acts in an amount yet to be determined and to receive such
    other and further relief, including equitable relief, as this Court deems just and proper.
            93.        USAA is further informed, and on this basis alleges, that Wells Fargo's

    infringement of the '227 Patent has been and continues to be deliberate and willful, and, therefore,

    this is an exceptional case warranting an award of enhanced damages for up to three times the

    actual damages awarded and attorney's fees to USAA pursuant to 35 U.S.C.          §   284-285. As

    noted above, Wells Fargo has had knowledge of the '227 Patent and its infringement thereof, and

    yet has deliberately continued to infringe in a wanton, malicious, and egregious manner, with
    reckless disregard for USAA's patent rights. Thus, Wells Fargo's infringing actions have been

    and continue to be consciously wrongful.
            94.        To the extent 35 U.S.C. § 287 is determined to be applicable, USAA is informed

    and believes its requirements have been satisfied with respect to the '227 Patent.

    IX.     FIFTH CLAIM FOR RELIEF                  '605 PATENT

            95.        USAA re-alleges and incorporates by reference the allegations of the preceding

    paragraphs of this Complaint as if fully set forth herein.




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           96.    The '605 Patent, entitled "Digital camera processing system," was duly and legally

   issued on July 3, 2018. A true and correct copy of the '605 Patent is attached as Exhibit 5.

           97.     The '605 Patent has been in full force and effect since its issuance. USAA owns by

   assignment the entire right, title and interest in and to the '605 Patent, including the exclusive right

   to seek damages for past, current and future infringement thereof. USAA is informed and

   believes, and on this basis alleges, that Wells Fargo, agents of Wells Fargo, and/or third parties

    acting under Wells Fargo's direction and control, including Wells Fargo's customers and partners,

   have committed and continue to commit acts of direct infringement of one or more claims of the

    '605 Patent, including, for example, Claim 12, literally and/or under the doctrine of equivalents,

    by making, using, selling, offering to sell and/or importing into the United States, Wells Fargo
    Mobile Deposit. For example, on information and belief, Wells Fargo Mobile Deposit is a system

    for allowing a customer to deposit a check using a customer's own handheld mobile device with a

    digital camera, such as a smartphone, where the system is configured to authenticate the customer
    and includes: a customer's handheld mobile device, such as a smartphone; camera software that

    controls the digital camera; a downloaded software application associated with the bank

    configured to control the camera software and control submitting a check for deposit by causing

    the mobile device to: instruct the customer to have the digital camera take photos of front and back

    sides of the check; use the mobile device's display to assist the customer in taking the photos;

    present the photos of the check to the customer; and transmit a copy of the photos using a wireless

    network and submit the check for mobile deposit in the bank, after the photos are presented to the
    customer and the customer is authenticated; the system further including a bank computer

    programmed to update an account balance to reflect the mobile deposited check, and further
    configured to: confirm that the mobile check deposit can go forward after performing optical

    character recognition on the check to determine the check amount and read a MICR line and

    initiate the mobile check deposit after confirming; and generate a log file for the mobile check

    deposit, including an image of the check submitted for mobile check deposit.




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             98.           For example, Wells Fargo Mobile Deposit comprises a system accessible through

    Android or iPhone smartphones:
                Wells Fargo Mobile® Deposit                                                                                                             en    Share   00       fl




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              99.           As discussed above, the Wells Fargo Mobile Deposit system uses the capabilities of

    the customer's smartphone to provide remote check depositing functionality:



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           100.    Wells Fargo Mobile Deposit authenticates the customer, including, for example,

    when the customer signs on to the Wells Fargo Mobile Deposit application:

                                                    i    Sign on to the WeIfs Fargo- Mobile- app.

                                                    2.   From the menu1                  se'ect          Deposit Checks.

                                                    3 Re-ad and             accent the Terms                  and Conditions.




            101.   Wells Fargo Mobile Deposit receives, from the customer, an indication of the

    amount of the check and the account into which the check is to be deposited:




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               102.          Wells Fargo Mobile Deposit uses the smartphone's camera to capture images of the

    check for deposit:
                                                       1. Sign the back of your check and write "For Mobile Deposit at Wells Fargo Bank Only"
                                                       below your signature (or if available, check the box that reads: "Check here if mobile
                                                       deposit").

                                                       2. Take a picture of the front and back of your endorsed check with your mobile device.
                                                       For photos that work best, follow these guidelines:
              0    -     -
                                                                                                                            lit.
                                                         a. Place your check on a dark-colored, plain surface that's well

                                                         b. Position your camera directly over the check (not at an anqie).

                                                         c. Fit all 4 corners in the guides of your mobile device's camera screen.

                                                       3. The app will take the photo automatically, or you can select the camera icon to take
     the picture manually at any time.



                  103.       As illustrated in the above image, Wells Fargo Mobile Deposit instructs the user to

    take photos of the front and back of the check and assists the user in doing so, for example, by

    projecting a graphical illustration in the field of view of the camera to assist the user in capturing

    images of the check, including, for example, with respect to the orientation and positioning of the

    check relative to the camera. Wells Fargo Mobile Deposit also provides graphical feedback to the

    customer, including, for example, indicating whether the customer should "Get closer" (e.g., move

    the device closer to the check) or "Hold steady" (e.g., hold the device in position).




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           104.   Wells Fargo Mobile Deposit includes guidelines for taking photos that work best,

   including, for example, to "Place your check on a darkcolored, plain surface that's well lit,"

   "Position your camera directly over the check (not at an angle)," and "Fit all 4 corners in the
   guides of your mobile device's camera screen."
           105.   Wells Fargo Mobile Deposit presents the check images to the customer before

   initiating the mobile check deposit:




           106.    Wells Fargo Mobile Deposit determines a routing number for the check image,

    including, for example, by reading a MICR line of the check, and an amount of the check using

    optical character recognition and initiates a check deposit for the check image after, among other

    things, validating the routing number and comparing the amount of the check to the amount

    indicated by the customer and confirming that the mobile check deposit can go forward:




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           107.    Wells Fargo Mobile Deposit, as part of the deposit process, generates a log file for

    the deposit comprising, among other things, at least one image of the check submitted for deposit.

           108.    Wells Fargo Mobile Deposit, using a bank computer, updates an account balance to

    reflect an amount of the check submitted for mobile deposit. According to Wells Fargo, "funds

    are available on the next business day after the day of your deposit, unless a hold is applied."




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                                 1. Voull get a confirmation screen and email when your deposft has been receFved.

                                 2. Write 'Mobile Deposir and the date on the check.

                                 3. Hold on to ft for at least 5 days. then destroy.




           109.   Wells Fargo has had actual knowledge of its infringement of the '605 Patent since

   at least the time of service of this Complaint, and continues to infringe the '605 Patent

   notwithstanding that knowledge. USAA is further informed and believes that Wells Fargo has had

   actual knowledge of its infringement of the '605 Patent since before the time of service of this

   Complaint, including for the reasons that, for example: USAA put Wells Fargo on notice of the

   need to license its remote deposit capture (RDC) patents; USAA's Deposit@Home® and

   Deposit@Mobile® products were well-known and publicized; USAA has received acclaim for its
   pioneering technological developments in mobile deposit; USAA has marked its products with

   notices regarding the '605 Patent; USAA and Wells Fargo are competitors in the same industry

    and, in particular, offer competing mobile deposit products, giving Wells Fargo reason to

    investigate USAA's patents on the technologies; and USAA has approached Wells Fargo

   regarding licensing of USAA's mobile deposit patents. To the extent that Wells Fargo lacked

   knowledge of its infringement of the '605 Patent before the time of service of this Complaint, it

   remained willfully blind by affirmatively avoiding investigating USAA's patents or inspecting
   USAA's mobile check deposit application, as evidenced by, for example, Wells Fargo's notice of
    a need to license USAA's remote deposit capture (RDC) patents of which the '605 Patent is an
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   integral part, and, on information and belief, Wells Fargo's knowledge of USAA's

   Deposit@Home® and Deposit@Mobile® products.
           110.    Wells Fargo actively encourages, directs, and controls third parties, including its

   customers and partners, to use Wells Fargo Mobile Deposit in an infringing manner, including

   through Wells Fargo's website, advertisements, documentation/instructional material, customer

   support, application and feature descriptions, and in-application instructions. On information and

   belief, for example, Wells Fargo contracts with Google and Apple to distribute its Wells Fargo

   Mobile applications to Android and iPhone users, respectively.

           111.    USAA is informed and believes, and on this basis alleges, that from at least the

   time of service of this complaint, Wells Fargo is inducing infringement of the '605 Patent, literally

   and/or under the doctrine of equivalents, in violation of 35 U.S.C. § 27 1(b), by knowingly

   encouraging or aiding third parties to make, use, sell or offer to sell Wells Fargo Mobile Deposit

   in the United States, or to import Wells Fargo Mobile Deposit into the United States, and/or in

   violation of 35 U.S.C.   §   271(f)(l), by supplying or causing to be supplied Wells Fargo Mobile
   Deposit in or from the United States, without license or authority from USAA, with knowledge of

   or willful blindness to the fact that Wells Fargo's actions will induce others, including but not

   limited to its customers, partners, and/or end users, to directly infringe the '605 Patent. USAA is

   further informed and believes, and on this basis alleges, that Wells Fargo has intentionally aided

   and encouraged third parties (including Wells Fargo's customers, partners, and/or end users) to

   use Wells Fargo Mobile Deposit in the United States in a manner that it knows would infringe or

   have a high probability of infringing the '605 Patent, with the specific intent that those performing

   the acts infringe the '605 Patent.

           112.   USAA is informed and believes, and on this basis alleges, that from at least the
   time of service of this complaint, Wells Fargo is contributorily infringing the '605 Patent, literally

   and/or under the doctrine of equivalents, in violation of 35 U.S.C.   §   27 1(c), by selling, offering to

   sell, and/or importing into the United States, and/or in violation of 35 U.S.C.    §   271(f)(2), by
   supplying or causing to be supplied in or from the United States, Wells Fargo Mobile Deposit for




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   use in infringing the '605 Patent, constituting a material part of the invention, knowing Wells

   Fargo Mobile Deposit to be especially made or especially adapted for use in infringing the '605

   Patent. USAA is further informed and believes, and on this basis alleges, that Wells Fargo Mobile

   Deposit is not a staple article or commodity of commerce suitable for substantial non-infringing

   use.

              113.   USAA is informed and believes, and on this basis alleges, that these third parties

   have infringed and will infringe the '605 Patent by using Wells Fargo Mobile Deposit in violation

   of 35 U.S.C. § 271(a).
              114.   As a result of Wells Fargo's infringement of the '605 Patent, USAA has been

   damaged. In addition, Wells Fargo's infringing acts and practices have caused and are causing

   immediate and irreparable harm to USAA. USAA is entitled to recover for damages sustained as

   a result of Wells Fargo's wrongful acts in an amount yet to be determined and to receive such

   other and further relief, including equitable relief, as this Court deems just and proper.

              115.   USAA is further informed, and on this basis alleges, that Wells Fargo's

   infringement of the '605 Patent has been and continues to be deliberate and willful, and, therefore,

   this is an exceptional case warranting an award of enhanced damages for up to three times the

   actual damages awarded and attorney's fees to USAA pursuant to 35 U.S.C.          §   284-285. As

   noted above, Wells Fargo has had knowledge of the '605 Patent and its infringement thereof, and

   yet has deliberately continued to infringe in a wanton, malicious, and egregious maimer, with

   reckless disregard for USAA's patent rights. Thus, Wells Fargo's infringing actions have been

   and continue to be consciously wrongful.

          116.       To the extent 35 U.S.C.   §   287 is determined to be applicable, USAA is informed

   and believes its requirements have been satisfied with respect to the '605 Patent.

   X.     PRAYER FOR RELIEF
          WHEREFORE, USAA prays for judgment against Wells Fargo as follows:
          A.         That Wells Fargo has infringed, and continues to infringe, each of the USAA
   Patents;
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           B.      That each claim of each of the USAA Patents is valid and enforceable;

           C.      That Wells Fargo pay damages adequate to compensate USAA for Wells Fargo's

   infringement, together with interest and costs under 35 U.S.C. § 284;

           D.      That Wells Fargo be ordered to pay pre-judgment and post-judgment interest on the

   damages assessed;

           B.      That Wells Fargo be ordered to play supplemental damages to USAA, including

   interest, with an accounting, as needed;

           F.      That Wells Fargo's infringement is willful and that the damages awarded to USAA

   should be enhanced up to three times the actual damages awarded;

           G.      That USAA be awarded damages for its costs, disbursements, expert witness fees,

   and attorneys' fees and costs incurred in prosecution this action, with interest, including damages

   for an exceptional case pursuant to 35 U.S.C.   §   285 and as otherwise provided by law; and

           H.      That USAA be awarded such other and further relief, including equitable relief', as

   this Court deems just and proper.

   XI.     DEMAND FOR JURY TRIAL
           117.    Pursuant to Federal Rule of Civil Procedure 38(b), USAA hereby demands a trial

   by jury on all issues triable to a jury.




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   Dated: August 17, 2018                       Respectfully submitted,

                                                PARKER, BUNT & AINS WORTH, P.C.

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                CASREF,CLOSED,JRG3 ,JURY,PATENT/TRADEMARK,PROTECTIVE-ORDER,STAYED

                                                U.S. District Court
                                   Eastern District of TEXAS ILIVE] (Marshall)
                                 CIVIL DOCKET FOR CASE #: 2:18-cv-00366-JRG


             United Services Automobile Association v. Wells Fargo Date Filed: 08/17/2018
             Bank, N.A.                                            Date Terminated: 01/13/2020
             Assigned to: District Judge Rodney Gilstrap           Jury Demand: Both
             Cause: 15:1126  Patent  Infringement                  Nature  of Suit: 830 Patent
                                                                   Jurisdiction: Federal Question

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              V.
              Counter Defendant
              United Services Automobile                              represented by Jason G Sheasby
              Association                                                            (See above for address)
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED

                                                                                     Anthony Q Rowles
                                                                                    (See above for address)
                                                                                    ATTORNEY TO BE NOTICED

                                                                                    Benjamin W Hattenbach
                                                                                    (See above for address)
                                                                                    TERMINATED: 07/29/2019
                                                                                    ATTORNEY TO BE NOTICED

                                                                                    Robert Christopher Bunt
                                                                                    (See above for address)
                                                                                    ATTORNEY TO BE NOTICED


              Date Filed              #     Docket Text
               08/17/2018              j. COMPLAINT against Wells Fargo Bank, N.A. (Filing fee $ 400
                                          receipt number 0540-6905271.), filed by United Services Automobile
                                          Association. (Attachments: # j. Civil Cover Sheet Civil Cover Sheet, #
                                            Exhibit Exhibit 1, # a Exhibit Exhibit 2, #4 Exhibit Exhibit 3, #
                                          Exhibit Exhibit 4, # Exhibit Exhibit 5, #2 Exhibit Exhibit 6, #
                                          Exhibit Exhibit 7, #2 Exhibit Exhibit 8)(Bunt, Robert) (Entered:
                                          08/17/2018)
              08/17/20 18              2    Notice of Filing of Patent/Trademark Form (AO 120). AO 120 mailed
                                            to the Director of the U.S. Patent and Trademark Office. (Bunt, Robert)
                                            (Entered: 08/17/2018)
              08/20/2018                    Case Assigned to District Judge Rodney Gilstrap. (nkl, ) (Entered:
                                            08/20/2018)
              08/20/2018                    In accordance with the provisions of 28 USC Section 636(c), you are
                                            hereby notified that a U.S. Magistrate Judge of this district court is
                                            available to conduct any or all proceedings in this case including a jury
                                            or non-jury trial and to order the entry of a final judgment. The form




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                                              Consent to Proceed Before Magistrate Judge is available on our
                                              website. All signed consent fonns, excluding pro se parties, should be
                                              filed electronically using the event Notice Regarding Consent to
                                              Proceed Before Magistrate Judge. (nkl,) (Entered: 08/20/2018)
               08/21/2018               3.    SUMMONS Issued as to Wells Fargo Bank, N.A.. (ch,      )   (Entered:
                                              08/21/2018)
               08/29/20 18             4      SUMMONS Returned Executed by United Services Automobile
                                              Association. Wells Fargo Bank, N.A. served on 8/24/20 18, answer due
                                              9/14/2018. (Bunt, Robert) (Entered: 08/29/2018)
               09/05/2018                     Defendant's Unopposed First Application for Extension of Time to
                                              Answer Complaint re Wells Fargo Bank, N.A..( Bittner, Michael)
                                              (Entered: 09/05/2018)
              09/05/2018                      NOTICE of Attorney Appearance by Thomas M Melsheimer on behalf
                                              of Wells Fargo Bank, N.A. (Melsheimer, Thomas) (Entered:
                                              09/05/2018)
              09/05/20 18                 .   NOTICE of Attorney Appearance by Michael Andrew Bittner on
                                              behalf of Wells Fargo Bank, N.A. (Bittner, Michael) (Entered:
                                              09/05/2018)
              09/05/20 18                     NOTICE of Attorney Appearance by Elizabeth Danielle Thompson
                                              Williams on behalf of Wells Fargo Bank, N.A. (Williams, Elizabeth
                                              Danielle) (Entered: 09/05/2018)
              09/05/20 18                     NOTICE of Attorney Appearance by Matthew R McCullough on
                                              behalf of Wells Fargo Bank, N.A. (McCullough, Matthew) (Entered:
                                              09/05/2018)
              09/05/2018             jj       NOTICE of Attorney Appearance by James Travis Underwood on
                                              behalf of Wells Fargo Bank, N.A. (Underwood, James) (Entered:
                                              09/05/2018)
              09/05/2018                      Defendant's Unopposed First Application for Extension of Time to
                                              Answer Complaint is granted pursuant to Local Rule CV-12 for Wells
                                              Fargo Bank, N.A. to 10/15/2018. 30 Days Granted for Deadline
                                              Extension.( nkl,) (Entered: 09/05/2018)
              10/15/2018             II       Defendant Wells Fargo Bank, NA. Answer, Affirmative Defenses, and
                                              Counterclaims to Plaintffs Complaint ANSWER to I Complaint,,
                                              COUNTERCLAIM against United Services Automobile Association
                                              by Wells Fargo Bank, N.A.. (Attachments: # j Exhibit 1, # Exhibit 2,
                                                                                                           ,




                                               3. Exhibit 3, #4 Exhibit 4, # Exhibit 5, # Exhibit 6, # 7 Exhibit 7,
                                              # Exhibit 8, # Exhibit 9, # jJ Exhibit 10, #fl Exhibit 11, #12
                                              Exhibit 12, #j3. Exhibit 13, #14 Exhibit 14, # j Exhibit 15, # 1
                                              Exhibit 16, #  flExhibit 17, # j Exhibit 18, # j9 Exhibit 19)
                                              (Melsheimer, Thomas) (Entered: 10/15/2018)
              10/15/2018             12 CORPORATE DISCLOSURE STATEMENT filed by Wells Fargo



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                                           Bank, N.A. (Meisheimer, Thomas) (Entered: 10/15/2018)
              10/16/2018             fl    NOTICE of Attorney Appearance - Pro Hac Vice by Jason G Sheasby
                                           on behalf of United Services Automobile Association. Filing fee $ 100,
                                           receipt number 0540-6985 180. (Sheasby, Jason) (Entered: 10/16/2018)
              10/16/2018             14    NOTICE of Attorney Appearance - Pro Hac Vice by Anthony Q
                                           Rowles on behalf of United Services Automobile Association. Filing
                                           fee $100, receipt number 0540-6985 195. (Rowles, Anthony) (Entered:
                                           10/16/2018)
              10/16/20 18            j.    NOTICE of Attorney Appearance - Pro Hac Vice by Benjamin W
                                           Hattenbach on behalf of United Services Automobile Association.
                                           Filing fee $ 100, receipt number 0540-6985200. (Hattenbach,
                                           Benjamin) (Entered: 10/16/2018)
              10/16/2018             Th    CORPORATE DISCLOSURE STATEMENT filed by United Services
                                           Automobile Association (Bunt, Robert) (Entered: 10/16/20 18)
              10/23/20 18            fl    NOTICE of Readiness for Scheduling Conference by United Services
                                           Automobile Association (Bunt, Robert) (Entered: 10/23/2018)
              10/23/2018             j     ORDER - Scheduling Conference set for 11/19/2018 01:30 PM before
                                           District Judge Rodney Gilstrap. Signed by District Judge Rodney
                                           Gilstrap on 10/23/2018. (nkl,) (Entered: 10/23/2018)
              11/01/2018                   Joint MOTION for Extension of Time to File Infringement
                                           Contentions, Answer to Counterclaims and Invalidity Contentions by
                                           United Services Automobile Association. (Attachments: # .1. Text of
                                           Proposed Order)(Bunt, Robert) (Entered: 11/01/2018)
              11/05/2018             2      ORDER granting 19 Motion for Extension of Time to File Infringement
                                            Contentions, Answer to Counterclaims and Invalidity Contentions.
                                            Signed by District Judge Rodney Gilstrap on 11/3/2018. (nkl,)
                                            (Entered: 11/05/2018)
              11/13/2018             21    ANSWER to II Answer to Complaint,,, Counterclaim,, by United
                                           Services Automobile Association.(Bunt, Robert) (Entered: 11 / 13/2018)
              11/13/20 18            22 NOTICE of Discovery Disclosure by United Services Automobile
                                        Association as to P.R. 3-] and 3-2 (Bunt, Robert) (Entered: 11/13/2018)
              11/15/2018             23.   NOTICE of Attorney Appearance by William Greg Fox, Jr on behalf of
                                           Wells Fargo Bank, N.A. (Fox, William) (Entered: 11/15/2018)
              11/19/2018                   NOTICE of Designation of Mediator, Honorable David Folsom, filed
                                           by United Services Automobile Association. (Bunt, Robert) (Entered:
                                           11/19/2018)
              11/19/20 18                   Minute Entry for proceedings held before Judge Rodney Gilstrap:
                                            Scheduling Conference held on 11 / 19/2018. Counsel for the parties
                                            appeared and were asked if they consented to a trial before the United
                                            States Magistrate Judge. The Court then gave Markman and Jury




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                                            Selection dates; deadlines for submitting Mediator names (3 days); and
                                            deadlines for submitting Agreed Scheduling and Discovery Orders (14
                                            days). (Court Reporter Shelly Holmes, CSR-TCRR.)(jml) (Entered:
                                            11/19/2018)
              11/21/2018             Z5 ORDER REFERRING CASE to Mediator. David Folsom is hereby
                                        appointed as mediator in the above referenced case. Signed by District
                                        Judge Rodney Gilstrap on 11/20/2018. (nkl,) (Entered: 11/21/2018)
              11/29/2018                    Agreed MOTION for Extension of Time to File Proposed Docket
                                            Control Order and Discovery Order by United Services Automobile
                                            Association. (Attachments: # I Text of Proposed Order)(Bunt, Robert)
                                            (Entered: 11/29/2018)
              12/03/2018                    Joint MOTION for Entry of Docket Control Order and Discovery
                                            Order by United Services Automobile Association. (Attachments: #     .


                                            Exhibit 1 - Agreed Docket Control Order, # Exhibit 2 - Agreed
                                                                                        ,




                                            Discovery Order)(Bunt, Robert) (Entered: 12/03/2018)
              12/04/2018             2      ORDER granting      Motion for Extension of Time to File Proposed
                                            Docket Control Order and Discovery Order. Signed by District Judge
                                            Rodney Gilstrap on 12/3/2018. (nkl,) (Entered: 12/04/2018)
              12/05/20 18                   DOCKET CONTROL ORDER granting               Joint MOTION for Entry
                                            of Docket Control Order and Discovery Order. Pretrial Conference set
                                            for 12/16/2019 09:00 AM before District Judge Rodney Gilstrap.,
                                            Amended Pleadings due by 4/12/20 19., Jury Selection set for 1/6/2020
                                            09:OOAM before District Judge Rodney Gilstrap., Mediation
                                            Completion due by 7/26/20 19., Markman Hearing set for 6/28/20 19
                                            0 1:30 PM before District Judge Rodney Gilstrap., Motions due by
                                             11/22/2019., Proposed Pretrial Order due by 12/2/2019. Signed by
                                            District Judge Rodney Gilstrap on 12/5/2018. (ch,) (Entered:
                                             12/05/2018)
              12/05/2018                    DISCOVERY ORDER granting 22 Joint Motion for Discovery Order.
                                            Signed by District Judge Rodney Gilstrap on 12/5/20 18. (ch,)
                                            (Entered: 12/05/2018)
              12/10/20 18            fl     Agreed MOTION for Entry of Protective Order by United Services
                                            Automobile Association. (Attachments: # j. Text of Proposed Order)
                                            (Bunt, Robert) (Entered: 12/10/2018)
              12/10/20 18            3      MOTION re        j
                                                            Order, Set Deadlines/Hearings Joint Agreed Motion for
                                            Entry of E-Discovery Order by Wells Fargo Bank, N.A.. (Attachments:
                                            #1 Exhibit 1)(Bittner, Michael) (Entered: 12/10/2018)
              12/12/2018             .33.   E-DISCOVERY AND ESI ORDER granting 32 Motion for Entry of E-
                                            Discovery Order. Signed by District Judge Rodney Gilstrap on
                                            12/12/2018. (nkl, ) (Entered: 12/12/2018)
              12/14/20 18            3      PROTECTIVE ORDER. Signed by District Judge Rodney Gilstrap on




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                                            12/13/2018. (nkl, ) (Entered: 12/14/2018)
              04/05/20 19            3     Claim Construction and Prehearing Statement by United Services
                                           Automobile Association. (Attachments: # I Exhibit A, #2 Exhibit B, #
                                           3. Exhibit C, #4 Exhibit D)(Bunt, Robert) (Entered: 04/05/20 19)

              04/12/20 19            3f    Defendant Wells Fargo Bank, NA. 's Amended Answer, Affirmative
                                           Defenses, and Counterclaims to PlaintfJ's Complaint ANSWER to I
                                           Complaint, COUNTERCLAIM against United Services Automobile
                                                           ,



                                           Association by Wells Fargo Bank, N.A.. (Attachments: # I Exhibit 1, #
                                           2 Exhibit 2, #3. Exhibit 3, #4 Exhibit 4, # Exhibit 5, # Exhibit 6, #
                                           I Exhibit 7, # Exhibit 8, #9 Exhibit 9, # j Exhibit 10, # U Exhibit
                                           11, # 12 Exhibit 12, #    Exhibit 13, #14. Exhibit 14, #
                                                                           jj
                                                                                                    j.Exhibit 15, #
                                           j(Melsheimer,_Thomas)_(Entered:_04/12/2019)
                                              Exhibit 16, #fl  Exhibit 17, #    Exhibit 18, #19. Exhibit 19)


              04/12/20 19                  In accordance with the provisions of 28 USC Section 636(c), you are
                                           hereby notified that a U.S. Magistrate Judge of this district court is
                                           available to conduct any or all proceedings in this case including a jury
                                           or non-jury trial and to order the entry of a final judgment. The form
                                           Consent to Proceed Before Magistrate Judg is available on our
                                           website. All signed consent forms, excluding pro se parties, should be
                                           filed electronically using the event Notice Regarding Consent to
                                           Proceed Before Magistrate Judge. (nkl,) (Entered: 04/12/2019)
              04/24/2019             31     ORDER - The Court hereby appoints Mr. Donald Tiller as the Courts
                                            technical advisor in this case. Signed by District Judge Rodney Gilstrap
                                            on 4/24/20 19. (nkl,) (Entered: 04/24/20 19)
              04/26/20 19            3.    ANSWER to 3. Answer to Complaint,,, Counterclaim,, by United
                                           Services Automobile Association.(Bunt, Robert) (Entered: 04/26/2019)
              05/03/20 19            3.9    ORDER OF LIMITED REFERRAL. Signed by District Judge Rodney
                                            Gilstrap on 5/3/2019. (nkl, ) (Entered: 05/03/2019)
              05/07/2019                   NOTICE of Hearing:Markman Hearing set for 6/28/2019 09:00 AM
                                           before Magistrate Judge Roy S. Payne. (bga, ) (Entered: 05/07/2019)
              05/16/20 19            4     NOTICE of Attorney Appearance by Jack Wesley Hill on behalf of
                                           Wells Fargo Bank, N.A. (Hill, Jack) (Entered: 05/16/2019)
              05/17/20 19            41.    CLAIM CONSTRUCTION BRIEF filed by United Services
                                            Automobile Association. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, #3.
                                            Exhibit 3, #4 Exhibit 4, # Exhibit 5, # Exhibit 6, #2 Exhibit 7, #
                                            Exhibit 8, #2 Exhibit 9, # jj Exhibit 10, # U Exhibit 11, #  fl
                                                                                                         Exhibit
                                            12, #13. Exhibit 13, #14 Exhibit 14, # j Exhibit 15, # j Exhibit 16)
                                            (Bunt, Robert) (Entered: 05/17/2019)
              05/17/2019             42 Unopposed MOTION for Extension of Time to File Submit Technical
                                        Tutorial by United Services Automobile Association. (Attachments: # I
                                        Text of Proposed Order)(Bunt, Robert) (Entered: 05/17/20 19)




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             05/22/2019             4.3.    Joint MOTION Joint Motion for Extension of Time to Complete
                                            Mediation by Wells Fargo Bank, N.A.. (Attachments: # I Text of
                                            Proposed Order)(Melsheimer, Thomas) (Entered: 05/22/2019)
             05/23/20 19            4.4     ORDER granting 43. Joint Motion for Extension of Time to Complete
                                            Mediation. The deadline to complete mediation is extended up to and
                                            including July 30, 2019. Signed by District Judge Rodney Gilstrap on
                                            5/23/19. (ljw, ) (Entered: 05/23/2019)
             05/24/20 19            4.5.    Unopposed MOTION for Leave to Amend Infringement Contentions
                                                                                                         I
                                            by United Services Automobile Association. (Attachments: # Text of
                                            Proposed Order)(iBunt, Robert) (Entered: 05/24/2019)
             05/28/2019                     NOTICE of Hearing:Markman Hearing RESET for 6/27/2019 01:00
                                            PM before Magistrate Judge Roy S. Payne. (bga, ) (Entered:
                                            05/28/2019)
             05/29/20 19             4      ORDER granting 45. Motion for Leave to Amend Infringement
                                            Contentions. Signed by District Judge Rodney Gilstrap on 5/29/20 19.
                                            (nkl,) (Entered: 05/29/2019)
             05/31/2019              41     CLAIM CONSTRUCTION BRIEF filed by Wells Fargo Bank, N.A..
                                            (Attachments: #1 Exhibit A, # Exhibit B, #3 Exhibit C, #4 Exhibit
                                            D, #5. Exhibit E, # Exhibit F)(Melsheimer, Thomas) (Entered:
                                            05/31/2019)
             06/07/20 19             4      REPLY to 4j Claim Construction Brief, flied by United Services
                                                                                     I
                                            Automobile Association. (Attachments: # Exhibit 1)(Bunt, Robert)
                                            (Entered: 06/07/2019)
             06/18/20 19             49     Unopposed MOTION for Leave to File to File PR 4-5(d) Joint Claim
                                            Construction Chart by United Services Automobile Association.
                                            (Attachments: # I Text of Proposed Order)(Bunt, Robert) (Entered:
                                            06/18/2019)
             06/18/20 19             5.     Joint Claim Construction Chart by United Services Automobile
                                            Association. (Attachments: # 1 Exhibit A)(Bunt, Robert) (Entered:
                                            06/18/2019)
              06/20/20 19            51 Unopposed MOTION to Amend/Correct UNOPPOSED MOTION TO
                                        FILE CORRECTED CLAIM CONSTRUCTIONBRIEF by Wells Fargo
                                        Bank, N.A.. (Attachments: #1 Exhibit A, # Text of Proposed Order)
                                        (Melsheimer, Thomas) (Entered: 06/20/20 19)
              06/22/20 19            5.     CLAIM CONSTRUCTION MOTIONS granting 41 Motion for
                                            Extension of Time to File; granting 49 Motion for Leave to File;
                                            granting 51 Motion to Amend/Correct. Signed by Magistrate Judge
                                            Roy S. Payne on 6/22/2019. (ch,) (Entered: 06/24/2019)
              06/24/20 19            5.3.   CLAIM CONSTRUCTION BRIEF filed by Wells Fargo Bank, N.A..
                                            (Attachments: # .j. Exhibit A, #2 Exhibit B, #3. Exhibit C, #4 Exhibit




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                                               D, #5. Exhibit E, #         Exhibit F)(Melsheimer, Thomas) (Entered:
                                               06/24/2019)
              06/27/20 19            54        Minute Entry for proceedings held before Magistrate Judge Roy S.
                                               Payne: Markman Hearing held on 6/27/20 19. (Court Reporter Shelly
                                               Holmes.)_(bga,_)_(Entered: 06/27/20 19)
              07/08/20 19            55.       ORDER to Pay Technical Advisor. Signed by Magistrate Judge Roy S.
                                               Payne on 7/8/2019. (nkl, ) (Entered: 07/08/2019)
              07/22/20 19            5.        Unopposed MOTION to Withdraw as Attorney as to Benjamin
                                               Hattenbach by United Services Automobile Association. (Attachments:
                                                j. Text of Proposed Order)(Bunt, Robert) (Entered: 07/22/20 19)

              07/29/20 19            51        CLAIM CONSTRUCTION MEMORANDUM OPINION AND
                                               ORDER. Signed by Magistrate Judge Roy S. Payne on 7/28/20 19. (nkl,
                                               ) (Entered: 07/29/2019)


              07/29/20 19            5.        ORDER granting 5. Motion to Withdraw as Attorney. Attorney
                                               Benjamin W Hattenbach terminated. Signed by District Judge Rodney
                                               Gilstrap on 7/26/2019. (nkl,) (Entered: 07/29/2019)
              07/30/20 19            5         REPORT of Mediation by David Folsom. Mediation result:
                                               suspended(Folsom, David) (Entered: 07/30/2019)
              08/12/2019                 Q     RESPONSE to 51 Memorandum & Opinion Wells Fargo Objections
                                               to Magistrate Judge Payne's Claim Construction Memorandum
                                               Opinion and Order filed by Wells Fargo Bank, NA.. (Melsheimer,
                                               Thomas) (Entered: 08/12/2019)
              08/12/20 19                j     OBJECTION TO CLAIM CONSTRUCTION [Dkt. No. 57] filed by
                                               United Services Automobile Association. (Bunt, Robert) (Entered:
                                               08/12/2019)
              08/16/20 19            62        Joint MOTION to AmendlCorrect         Order,,, Terminate Motions,,,
                                               Scheduling Order,, Docket Control Order by United Services
                                               Automobile Association. (Attachments: # j. Text of Proposed Order)
                                               (Bunt, Robert) (Entered: 08/16/20 19)
              08/20/20 19                      FIRST AMENDED DOCKET CONTROL ORDER granting
                                               Motion to Amend/Correct. Signed by District Judge Rodney Gilstrap
                                               on 8/19/2019. (nkl,) (Entered: 08/20/2019)
              08/23/20 19            64        Joint MOTION to Amend/Correct 63 Order on Motion to
                                               Amend/Correct by United Services Automobile Association.
                                               (Attachments: # I Text of Proposed Order)(Bunt, Robert) (Entered:
                                               08/23/2019)
              08/30/20 19                 5.   ORDER - The Court therefore OVERRULES the Parties objections and
                                               ADOPTS the Magistrate Judges Claim Construction Memorandum and
                                               Order.. Signed by District Judge Rodney Gilstrap on 8/30/20 19. (nkl,)
                                               (Entered: 08/30/2019)




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               09/25/2019                   Opposed SEALED MOTION For Leave to Amended Infringement
                                            Contentions by United Services Automobile Association.
                                            (Attachments: # I Affidavit Anthony Rowles, # 2 Exhibit 1, #3. Exhibit
                                            2, #4 Exhibit 3, # Exhibit 4, # Exhibit 5, # Exhibit 6, # a Exhibit
                                            7, #Exhibit 8, #jQ Exhibit 9, #flExhibit 10, #12 Exhibit 11, #fl
                                            Exhibit 12, #14 Exhibit 13, #  j.                             fl
                                                                              Exhibit 14, # j Exhibit 15, #
                                            Exhibit 16, # i.a Exhibit 17, # j Exhibit 18, # Exhibit 19, #21 Text
                                            of Proposed Order)(Bunt, Robert) (Entered: 09/25/2019)
               10/03/2019                   NOTICE by United Services Automobile Association OFACTIVITY
                                            IN RELATED CO VERED BUSINESS METHOD PATENT REVIEW
                                            PROCEEDINGS (Attachments: # Exhibit 1, #2, Exhibit 2, #3. Exhibit
                                            3)(Bunt, Robert) (Entered: 10/03/20 19)
               10/03/20 19                  NOTICE of Attorney Appearance - Pro Hac Vice by Andrew J.
                                            Strabone on behalf of United Services Automobile Association. Filing
                                            fee $100, receipt number 0540-7463424. (Strabone, Andrew) (Entered:
                                            10/03/2019)
               10/10/2019                   SEALED RESPONSE to Motion re          Opposed SEALED MOTION
                                            For Leave to Amended Infringement Contentions filed by Wells Fargo
                                            Bank, N.A.. (Attachments: #1 Affidavit, #2 Exhibit A, #3. Exhibit B,
                                            #4 Exhibit C, # 5 Exhibit D, # Exhibit E, # 2 Text of Proposed
                                            Order)(Melsheimer, Thomas) (Entered: 10/10/2019)
               10/15/20 19            1     NOTICE of Attorney Appearance by Michael Brett Johnson on behalf
                                            of Wells Fargo Bank, N.A. (Johnson, Michael) (Entered: 10/15/2019)
               10/17/20 19            21    SEALED REPLY to Response to Motion re         Opposed SEALED
                                            MOTION For Leave to Amended Infringement Contentions filed by
                                            United Services Automobile Association. (Attachments: # I Affidavit
                                            Anthony Q. Rowles, #2: Exhibit 1, #3. Exhibit 2)(Bunt, Robert)
                                            (Entered: 10/17/2019)
               10/21/2019            l      SECOND AMENDED DOCKET CONTROL ORDER re 64 Motion to
                                            Amend the Docket Control Order. Signed by District Judge Rodney
                                            Gilstrap on 10/21/2019. (nkl,) (Entered: 10/21/2019)
               10/25/20 19           23.    SUR-REPLY to Reply to Response to Motion re     Opposed SEALED
                                            MOTION For Leave to Amended Infringement Contentions
                                            DEFENDANT WELLS FARGO BANK, NA.S SUR-REPL YIN
                                            SUPPORT OF ITS OPPOSITION TO USAAS MOTION FOR LEAVE
                                            TO AMEND INFRINGEMENT CONTENTIONSfiled by Wells Fargo
                                            Bank, NA.. (Melsheimer, Thomas) (Entered: 10/25/2019)
              10/25/2019             24     SEALED MOTION DEFENDANT WELLS FARGO BANK, NA. 'S
                                            MOTION FOR SUMMARY JUDGMENT UNDER 35 U S.C. § 101 by
                                            Wells Fargo Bank, N.A.. (Attachments: # .j. Affidavit Declaration of
                                            Michael Bittner, #2 Exhibit A, #3. Exhibit A-i, #4 Exhibit B, #
                                            Exhibit C, # Exhibit D, #2 Exhibit E, # a Exhibit F, # Exhibit G, #




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                                           j(Entered:
                                               Exhibit H,     #fl Text of Proposed Order)(Melsheimer, Thomas)
                                                      10/25/2019)
              10/25/2019            2      DEFICIENT DOCUMENT

                                           SEALED MOTION DEFENDANT WELLS FARGO BANK, NA. S
                                           MOTION TO EXCLUDE AND/OR STRIKE EXPERT TESTIMONY
                                           PROVIDED BYMR. CALMANby Wells Fargo Bank, N.A..
                                           (Attachments: #1 Affidavit Declaration of Michael Bittner, # Exhibit
                                           A, #3. Exhibit B, #4 Exhibit C, # Exhibit D, # Exhibit E, #2
                                           Exhibit F, # 8 Exhibit G, #2 Exhibit H, # i Text of Proposed Order)
                                           (Melsheimer, Thomas) Modified on 10/28/20 19 (nkl,). (Entered:
                                            10/25/2019)
              10/25/20 19            2     DEFICIENT DOCUMENT

                                           SEALED MOTION DEFENDANT WELLS FARGO BANK, NA.S
                                           MOTION TO STRiKE PORTiONS OF THE CONTE REPORT by Wells
                                           Fargo Bank, N.A.. (Attachments: # I Affidavit Declaration of Michael
                                           Bittner, #2 Exhibit A, #3. Exhibit B, #4 Text of Proposed Order)
                                           (Meisheimer, Thomas) Modified on 10/28/20 19 (nkl,). (Entered:
                                           10/25/2019)
              10/25/2019             fl    SEALED MOTIONfor Summary Judgment of No Invalidity by United
                                           Services Automobile Association. (Attachments: # j. Affidavit Anthony
                                           Rowles, #2 Exhibit 1, #3. Exhibit 2, #4 Text of Proposed Order)(Bunt,
                                           Robert) (Entered: 10/25/20 19)
              10/25/2019             i     DEFICIENT DOCUMENT

                                           SEALED MOTION DEFENDANT WELLS FARGO BANK, NA.S
                                           MOTION TO STRIKE AND/OR EXCLUDE THE EXPERT
                                           TESTiMONY OFROY WEiNSTEiN by Wells Fargo Bank, N.A..
                                           (Attachments: # .i. Affidavit Declaration of Michael Bittner, #2 Exhibit
                                           A, #3. Exhibit A-i, #4 Exhibit B, # Text of Proposed Order)
                                           (Meisheimer, Thomas) Modified on 10/28/20 19 (nkl,). (Entered:
                                            10/25/2019)
              10/25/20 19            22     SEALED MOTION to Strike Portions of the Expert Report of
                                            Christopher Gerardi by United Services Automobile Association.
                                            (Attachments: #1 Exhibit A, #2 Affidavit Anthony Rowles, #3.
                                            Exhibit 1, #4 Exhibit 2, # Exhibit 3, # Exhibit 4, #2 Exhibit 5, #
                                            Exhibit 6, #2 Exhibit 7, # j Exhibit 8, # 11 Exhibit 9, # j Exhibit 10,
                                            #13. Exhibit ii, #j4 Text of Proposed Order)(Bunt, Robert) (Entered:
                                            10/25/2019)
              10/25/2019                    SEALED MOTION to Strike Portions of the Expert Report of William
                                            Saffici by United Services Automobile Association. (Attachments: # .1.
                                            Exhibit A, #2 Affidavit Anthony Rowles, #3. Exhibit 1, #4 Exhibit 2,




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                                             #5.Exhibit 3, # Exhibit 4, #2 Text of Proposed Order)(Bunt, Robert)
                                             (Entered: 10/25/2019)
              10/25/2019               .1.   MOTION to Strike /Exclude the Trial Testimony ofProferred Patent
                                             Law Expert Charles E. Van Horn by United Services Automobile
                                             Association. (Attachments: # I Affidavit Anthony Rowles, #2 Exhibit
                                             1, # Exhibit 2, #4 Exhibit 3, #5. Text of Proposed Order)(Bunt,
                                             Robert) (Entered: 10/25/2019)
              10/25/20 19            ..2 SEALED MOTION to Strike Portions of the Expert Report of John
                                         Villasenor by United Services Automobile Association. (Attachments:
                                         # I Exhibit A, #2 Affidavit Anthony Rowles, # Exhibit 1, #4 Exhibit
                                         2, #5. Exhibit 3, # Text of Proposed Order)(Bunt, Robert) (Entered:
                                             10/25/20 19)
              10/28/20 19                    NOTICE of Deficiency regarding the SEALED MOTION
                                             DEFENDANT WELLS FARGO BANK, N.A.S MOTION TO
                                             EXCLUDE AND/OR STRIKE EXPERT TESTIMONY PROVIDED
                                             BY MR. CALMAN, SEALED MOTION DEFENDANT WELLS
                                             FARGO BANK, N.A.S MOTION TO STRIKE PORTIONS OF THE
                                             CONTE REPORT, and SEALED MOTION DEFENDANT WELLS
                                             FARGO BANK, N.A.S MOTION TO STRIKE AND/OR EXCLUDE
                                             THE EXPERT TESTIMONY OF ROY WEINSTEIN submitted
                                             document 25. 2 and        j.
                                                                    does not contain a Certificate of Conference.
                                             Correction should be made by one business day. (nkl,) (Entered:
                                             10/28/2019)
               10/28/20 19                   SEALED MOTION Refile Motion to Exclude And/Or Strike Expert
                                             Testimony Provided by Mr Calman by Wells Fargo Bank, N.A..
                                             (Attachments: # I Affidavit, #2 Exhibit A, # a Exhibit B, #4 Exhibit
                                             C, #5. Exhibit D, # Exhibit E, #2 Exhibit F, # Exhibit G, #
                                             Exhibit H, # IQ Text of Proposed Order)(Melsheimer, Thomas)
                                             (Entered: 10/28/2019)
               10/28/20 19            84     SEALED MOTION Refile Motion to Strike Portions of the Conte
                                             Report by Wells Fargo Bank, N.A.. (Attachments: # I Affidavit, #2
                                             Exhibit A, # Exhibit B, #4 Text of Proposed Order)(Melsheimer,
                                             Thomas) (Entered: 10/28/20 19)
               10/28/20 19              5.   SEALED MOTION ReJlle Motion to Strike And/Or Exclude The Expert
                                             Testimony ofRoy Weinstein by Wells Fargo Bank, N.A.. (Attachments:
                                             # I Affidavit, #2 Exhibit A, # a Exhibit B, #4 Text of Proposed Order)
                                             (Meisheimer, Thomas) (Entered: 10/28/2019)
               10/29/2019                    NOTICE of Hearing: Pretrial Conference RESET for 12/17/2019 09:00
                                             AIvI in Ctrm 106 (Marshall) before District Judge Rodney Gilstrap.
                                             ***please note that the DATE and TIME for the hearing have
                                             changed. * * *aml) (Entered: 10/29/2019)
               11/03/20 19                   Joint MOTION to Amend/Correct 22 Order on Motion to
                                             Amend/Correct by United Services Automobile Association.



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                                            (Attachments: # j. Text of Proposed Order)(Bunt, Robert) (Entered:
                                            11/03/2019)
              11/08/2019               2    THIRD AMENDED DOCKET CONTROL ORDER granting
                                            Motion to Amend/Correct. Signed by District Judge Rodney Gilstrap
                                            on 11/7/2019. (nkl,) (Entered: 11/08/2019)
              11/12/2019                    SEALED RESPONSE to Motion re 82 SEALED MOTION to Strike
                                            Portions of the Expert Report ofJohn Villasenor filed by Wells Fargo
                                            Bank, N.A.. (Attachments: #1 Affidavit, # Exhibit A, #3. Exhibit B,
                                            #4 Exhibit C, # Text of Proposed Order)(Melsheimer, Thomas)
                                            (Entered: 11/12/2019)
              11/12/2019              89    SEALED RESPONSE to Motion re 81 MOTION to Strike /Exclude the
                                            Trial Testimony of Proferred Patent Law Expert Charles E. Van Horn
                                            filed by Wells Fargo Bank, N.A.. (Attachments: # .1 Affidavit, #2
                                            Exhibit A, #3. Exhibit B, #4 Exhibit C, # Text of Proposed Order)
                                            (Melsheimer, Thomas) (Entered: 11/12/2019)
              11/12/2019             90     SEALED RESPONSE to Motion re 80 SEALED MOTION to Strike
                                            Portions of the Expert Report of William Saffici filed by Wells Fargo
                                            Bank, N.A.. (Attachments: #1 Affidavit, #2 Exhibit A, #3. Exhibit B,
                                            #4 Text of Proposed Order)(Melsheimer, Thomas) (Entered:
                                            11/12/20 19)
              11/12/2019             91     SEALED RESPONSE to Motion re 79 SEALED MOTION to Strike
                                            Portions of the Expert Report of Christopher Gerardi filed by Wells
                                            Fargo Bank, N.A.. (Attachments: # Affidavit, #2 Exhibit A, #3.
                                                                               .1.


                                            Exhibit B, #4 Exhibit C, # Exhibit D, # Exhibit B, #2 Exhibit F, #
                                              Exhibit G, #9 Exhibit H, # j. Exhibit I, #fl Exhibit J, # j Exhibit
                                            K, # 13 Exhibit L)(Melsheimer, Thomas) (Entered: 11/12/2019)
              11/12/2019             92     SEALED RESPONSE to 24 SEALED MOTION DEFENDANT
                                            WELLS FARGO BANK, NA. 'S MOTION FOR SUMMARY
                                            JUDGMENT UNDER 35 US.C. § 101 filed by United Services
                                            Automobile Association. (Attachments: # 1 Affidavit Declaration of
                                            Anthony Rowles, #2 Exhibit 1, #3. Exhibit 2, #4 Exhibit 3, # Exhibit
                                            4, # Exhibit 5, #2 Exhibit 6, # Exhibit 7, #9 Exhibit 8, # IQ Exhibit
                                            9, # 11 Exhibit 10, #      U
                                                                   Exhibit 11, #13 Exhibit 12, #14 Exhibit 13, #
                                            j Exhibit 14, # j Exhibit 15, #17 Exhibit 16, # j Exhibit 17, #19
                                            Exhibit 18, # 2 Exhibit 19, #21 Exhibit 20, #22 Exhibit 21, #2.3
                                            Exhibit 22, #24 Exhibit 23, # 25 Exhibit 24, #   Exhibit 25, #22
                                            Exhibit 26, #28 Exhibit 27, #2.9 Exhibit 28, # 3 Exhibit 29, #31
                                            Exhibit 30, # 3 Exhibit 31, #3.3 Exhibit 32, #34 Text of Proposed
                                            Order)(Bunt, Robert) (Entered: 11 / 12/2019)
              11/12/2019             93     SEALED RESPONSE to 83 SEALED MOTION Refile Motion to
                                            Exclude And/Or Strike Expert Testimony Provided by Mr. Calman filed
                                            by United Services Automobile Association. (Attachments: # I
                                            Affidavit Anthony Q. Rowles, #2 Exhibit i, #3. Exhibit 2, #4 Exhibit




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                                            3, # Exhibit 4, # Exhibit 5, #1 Exhibit 6,     #   Text of Proposed
                                            Order)(Bunt, Robert) (Entered: 11 / 12/2019)
              11/12/2019             94     SEALED RESPONSE to Motion re        fl  SEALED MOTIONfor
                                            Summaiy Judgment of No Invalidity   filed by Wells Fargo Bank, N.A..
                                            (Attachments: # j. Affidavit, #2 Exhibit A, #3. Exhibit B, #4 Exhibit
                                            C, # Exhibit D, # Exhibit E, #2 Exhibit F, # Exhibit G, #9
                                                   5..


                                            Exhibit H, # jQ Text of Proposed Order)(Melsheimer, Thomas)
                                            (Entered: 11/12/2019)
              11/12/2019             9,     SEALED RESPONSE to 84 SEALED MOTION Refile Motion to
                                            Strike Portions ofthe Conte Report filed by United Services
                                            Automobile Association. (Attachments: # .j. Affidavit Anthony Q.
                                            Rowles, #2 Exhibit i, #3. Exhibit 2, #4 Exhibit 3, # Exhibit 4, #
                                            Exhibit 5, #2 Exhibit 6, # Exhibit 7, #9 Exhibit 8, # jj Exhibit 9, #
                                            11 Exhibit 10, #1.2 Exhibit 11, # j3. Exhibit 12, #j.4 Text of Proposed
                                            Order)(Bunt, Robert) (Entered: 11/12/2019)
              11/12/2019              96    SEALED RESPONSE 85 SEALED MOTION Refile Motion to Strike
                                            And/Or Exclude The Expert Testimony of Roy Weinstein filed by United
                                            Services Automobile Association. (Attachments: # I Affidavit Anthony
                                            Q. Rowles, #2 Exhibit i, #3. Exhibit 2, #4 Exhibit 3, #5.. Exhibit 4, #
                                            Exhibit 5, #2 Text of Proposed Order)(Bunt, Robert) (Entered:
                                            11/12/2019)
              11/13/2019              91    ORDER REFERRiNG CASE to Magistrate Judge Roy S. Payne.
                                            Signed by District Judge Rodney Gilstrap on 11/13/2019. (ch,)
                                            (Entered: 11/13/2019)
               11/13/2019             9     NOTICE of Attorney Appearance - Pro Hac Vice by Lisa Sharrock
                                            Glasser on behalf of United Services Automobile Association. Filing
                                            fee $100, receipt number 0540-7522150. (Glasser, Lisa) (Entered:
                                            11/13/20 19)
               11/13/2019             99    Joint MOTION to Amend/Correct      Order on Motion to
                                            Amend/Correct by United Services Automobile Association.
                                            (Attachments: #j Text of Proposed Order)(Bunt, Robert) (Entered:
                                             11/13/2019)
               11/13/2019                   SEALED MOTIONfor Leave to Serve Appendix of William L. Saffici
                                            by Wells Fargo Bank, N.A.. (Attachments: # I Affidavit, #2 Exhibit A,
                                            # 3. Exhibit B, # 4 Text of Proposed Order)(Melsheimer, Thomas)
                                            (Entered: 11/13/2019)
               11/15/2019           jQ      FOURTH AMENDED DOCKET CONTROL ORDER granting 92
                                            Motion to Amend/Correct. Signed by District Judge Rodney Gilstrap
                                            on 11/15/2019. (nld, ) (Entered: 11/15/2019)
               11/18/2019                   NOTICE of Hearing: Pretrial Conference RESET for 12/16/2019 09:00
                                            AM before Magistrate Judge Roy S. Payne. (bga, ) (Entered:
                                             11/18/20 19)




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              11/19/2019          LQ      SEALED REPLY to Response to Motion re 24: DEFENDANT
                                          WELLS FARGO BANK, N.A.S REPLY IN SUPPORT OF ITS
                                          MOTION FOR SUMMARY JUDGMENT UNDER 35 U.S.C. § 101
                                          (Meisheimer,_Thomas)_(Entered:_11/19/2019)

              11/19/2019          IQ       DEFENDANT WELLS FARGO BANK, N.A.'S REPLY IN SUPPORT
                                           OF MOTION TO EXCLUDE AND/OR STRIKE EXPERT
                                           TESTIMONY PROVIDED BY MR. CALMAN - SEALED REPLY to
                                           Response to Motion re    SEALED MOTION Refile Motion to
                                           Exclude And/Or Strike Expert Testimony Provided by Mi Ca/man filed
                                           by Wells Fargo Bank, N.A.. (Attachments: # j. Affidavit Declaration of
                                           Michael Bittner, # Exhibit A, # Exhibit B, #4 Exhibit C, #
                                           Exhibit D, # Exhibit E, #1 Exhibit F, # Exhibit G)(Melsheimer,
                                           Thomas)_(Entered:_11/19/2019)

              11/19/2019           .LQ4    REPLY IN SUPPORT OF DEFENDANT WELLS FARGO BANK,
                                           N.A.'S MOTION TO STRIKE PORTIONS OF THE CONTE REPORT
                                           - SEALED REPLY to Response to Motion re        4 SEALED MOTION
                                           Refile Motion to Strike Portions of the Conte Report filed by Wells
                                           Fargo Bank, N.A.. (Meisheimer, Thomas) (Entered:     11/19/2019)

              11/19/20 19          jQ      DEFENDANT WELLS FARGO BANK, N.A.'S REPLY IN SUPPORT
                                           OF MOTION TO STRIKE AND/OR EXCLUDE THE EXPERT
                                           TESTIMONY OF ROY WEINSTEIN - SEALED REPLY to Response
                                           to Motion re 85 SEALED MOTION Refile Motion to Strike And/Or
                                           Exclude The Expert Testimony ofRoy Weinstein filed by Wells Fargo
                                           Bank, N.A.. (Attachments: # j. Affidavit Declaration of Michael
                                           Bittner, # 2 Exhibit A)(Melsheimer, Thomas) (Entered: 11/19/2019)
              11 / 19/2019         jQ      SEALED REPLY to Response to Motion re 2 SEALED MOTION to
                                           Strike Portions of the Expert Report of Christopher Gerardi filed by
                                           United Services Automobile Association. (Attachments: # 1. Affidavit
                                           Anthony Rowles, #2 Exhibit 1, # Exhibit 2, #4 Exhibit 3, # ... Exhibit
                                           4, # Exhibit 5)(Bunt, Robert) (Entered: 11/19/2019)

              11/19/2019           jj      SEALED REPLY to Response to Motion re          SEALED MOTION to
                                           Strike Portions of the Expert Report ofJohn Villasenor filed by United
                                           Services Automobile Association. (Bunt, Robert) (Entered: 11/19/2019)
              11/19/2019            j      SEALED REPLY to Response to Motion re       fl SEALED MOTIONfor
                                                                                       United Services
                                           Summary Judgment of No Invalidity filed by
                                           Automobile Association. (Attachments: # 1 Affidavit of Anthony
                                           Rowles, #2 Exhibit 1 )(Bunt, Robert) (Entered: 11/19/2019)
               11/19/2019           1Q2     SEALED REPLY to Response to Motion re Q SEALED MOTION to
                                            Strike Portions of the Expert Report of William Saffici filed by United
                                            Services Automobile Association. (Attachments: #1 Affidavit Anthony
                                            Rowles, #2 Exhibit 1, # Exhibit 2)(Bunt, Robert) (Entered:
                                                                           .




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              11/19/2019           fl      REPLY to Response to Motion re j. MOTION to Strike /Exclude the
                                            Trial Testimony ofProferred Patent Law Expert Charles E. Van Horn
                                           filed by United Services Automobile Association. (Attachments: # 1.
                                           Affidavit Anthony Rowles, # Exhibit 1, #3. Exhibit 2)(Bunt, Robert)
                                           (Entered: 11/19/2019)
              11/20/2019           jfl     NOTICE of Attorney Appearance - Pro Hac Vice by Benjamin Monnin
                                           on behalf of United Services Automobile Association. Filing fee $ 100,
                                           receipt number 0540-7536619. (Monnin, Benjamin) (Additional
                                           attachment(s) added on 11/22/2019: # 1. Sealed Attachment) (jmv,).
                                           (Entered: 11/20/2019)
              11/21/2019           fl      REDACTION to 9 Sealed Response to Motion,,, to Wells Fargo's
                                           Motion for Summary Judgment Pursuant to Section 101 by United
                                           Services Automobile Association. (Attachments: # 1. Affidavit Anthony
                                           Rowles, #2 Exhibit 1 - Public, #3. Exhibit 2 - Public, #4 Exhibit 3 -
                                           Public, #5. Exhibit 4 - Highly Confidential, # Exhibit 5 - Highly
                                           Confidential, #2 Exhibit 6 Public, # Exhibit 7 - Public, #2 Exhibit
                                           8 - Public, # 1 Exhibit 9 - Public, #11 Exhibit 10 - Public, #12
                                           Exhibit 11 - Public, # 13. Exhibit 12 - Public, #j.4 Exhibit 13 - Highly
                                           Confidential, # 15. Exhibit 14 Highly Confidential, #   j   Exhibit 15 -
                                           Highly Confidential, #          fl
                                                                       Exhibit 16 - Highly Confidential, # 1
                                           Exhibit 17 - Highly Confidential, # j Exhibit 18 - Highly
                                           Confidential, # 2 Exhibit 19 Public, #21 Exhibit 20 - Public, #22
                                           Exhibit 21 Public, #23. Exhibit 22 - Public, #24 Exhibit 23 Highly
                                           Confidential, # 5. Exhibit 24 - Highly Confidential, # 2 Exhibit 25 -
                                           Highly Confidential, #      Exhibit 26 Highly Confidential, # 2
                                           Exhibit 27 - Public, #22 Exhibit 28 - Public, # 3..Q Exhibit 29 - Public, #
                                           fl  Exhibit 30 - Public, #32 Exhibit 31 - Highly Confidential, #3.3.
                                           Exhibit 32 - Highly Confidential, #34 Text of Proposed Order)(Bunt,
                                           Robert) (Entered: 11/21/2019)
              11/21/2019           113.    FILED IN ERROR PER ATTORNEY

                                           REDACTION to 93. Sealed Response to Motion, to Exclude and/or
                                           Strike Expert Testimony Provided by Mr. Calman by United Services
                                           Automobile Association. (Attachments: #1 Affidavit Anthony Rowles,
                                           #2 Exhibit 1 - Highly Confidential, #3. Exhibit 2 - Highly
                                           Confidential, #4 Exhibit 3 - Highly Confidential, #5. Exhibit 4
                                           Highly Confidential, # Exhibit 5 - Highly Confidential, #2 Exhibit 6
                                           - Highly Confidential, #  Text of Proposed Order)(Ainsworth, Charles)
                                           Modified on 11/21/2019 (nkl,). (Entered: 11/21/2019)
              11/21/2019           11.4    REDACTION to 93. Sealed Response to Motion, to Exclude And/Or
                                           Strike Expert Testimony Provided by Mr Calman by United Services
                                           Automobile Association. (Attachments: # 1 Affidavit of Anthony
                                           Rowles, #2 Exhibit 1 Highly Confidential, #3. Exhibit 2 Highly
                                           Confidential, #4 Exhibit 3 - Highly Confidential, #5. Exhibit 4 -
                                           Highly Confidential, # Exhibit 5 - Highly Confidential, #2 Exhibit 6




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                                            -Highly Confidential, #         Text of Proposed Order)(Bunt, Robert)
                                            (Entered: 11/21/2019)
              11/21/2019                    ***FILED IN ERROR PER ATTORNEY. Document # 113,
                                            Redaction. PLEASE IGNORE.***

                                            (nkl, ) (Entered: 11/21/2019)
              11/22/20 19           115.    NOTICE by United Services Automobile Association REQUESTFOR
                                            DAILY TRANSCRIPTS AND REAL TIME REPORTING (Bunt, Robert)
                                            (Entered: 11/22/2019)
               11/22/2019           1L      SEALED MOTION DEFENDANT WELLS FARGO BANK, NA. 'S
                                            MOTIONS JNLIMJNENOS. 1-17 by Wells Fargo Bank, N.A..
                                            (Attachments: # I Affidavit Declaration of Michael A. Bittner, # 2
                                            Exhibit A, # Exhibit B, #4 Exhibit C, #5. Exhibit D, # 6 Exhibit E, #
                                            2 Exhibit F, # Exhibit G, #9 Exhibit H)(Melsheimer, Thomas)
                                            (Additional attachment(s) added on 11/25/2019: # .W Text of Proposed
                                            Order) (nkl,). (Entered: 11/22/2019)
               11/22/2019           112 SEALED MOTION JNLIMINENOS. 1- 13 by United Services
                                        Automobile Association. (Attachments: # I Exhibit 1, # Exhibit 2, #
                                        Exhibit 3, #4 Exhibit 4, #5. Exhibit 5, # Exhibit 6, #2 Exhibit 7, #
                                                                            j               jj
                                        Exhibit 8, #9 Exhibit 9, # Exhibit 10, # Exhibit 11, # j Exhibit
                                        12, #    Exhibit 13, #j4. Exhibit 14, #15. Exhibit 15, # j. Exhibit 16, #
                                        12 Exhibit 17, # j Exhibit 18, # j.9 Exhibit 19, # Q Exhibit 20, #21
                                        Exhibit 21, # 2 Text of Proposed Order)(Bunt, Robert) (Entered:
                                        11/22/2019)
               11/23/2019            118    Additional Attachments to Main Document: 112 SEALED MOTION
                                            INLIMINENOS. 1- 13.. (Attachments: #1 Affidavit Anthony Q.
                                            Rowles)(Bunt, Robert) (Entered: 11/23/2019)
               11/25/2019           112     NOTICE by Wells Fargo Bank, N.A. DEFENDANT'S NO TICE OF
                                            REQUEST FOR DAILY TRANSCRIPTS AND REAL-TIME
                                            REPORTING OF COURT PROCEEDINGS (Meisheimer, Thomas)
                                            (Entered: 11/25/2019)
               11/26/2019           J.2     REDACTION to 25. Sealed Response to Motion, Refiled Motion to
                                            Strike Portions ofthe Conte Report by United Services Automobile
                                            Association. (Attachments: # I Affidavit Anthony Q. Rowles, #2
                                            Exhibit 1 - Highly Confidential, # Exhibit 2 - Highly Confidential, #
                                            4 Exhibit 3 - Highly Confidential, #5 Exhibit 4 - Highly Confidential,
                                            # Exhibit 5 - Highly Confidential, #2 Exhibit 6 - Highly
                                            Confidential, # Exhibit 7 - Highly Confidential, #2 Exhibit 8 -
                                            Highly Confidential, # IQ Exhibit 9 Highly Confidential, #fl Exhibit
                                            10 Highly Confidential, # J Exhibit 11 - Highly Confidential, # U
                                            Exhibit 12 - Highly Confidential, #J.4 Text of Proposed Order)(Bunt,
                                            Robert) (Entered: 11/26/2019)
               11/26/2019           121.     REDACTION to 9 Sealed Response to Motion, Ref/ed Motion to




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                                           Strike And/Or Exclude The Expert Testimony of Roy Weinstein by
                                           United Services Automobile Association. (Attachments: # 1 Affidavit
                                           Anthony Q. Rowles, #2 Exhibit 1 - Highly Confidential, #3. Exhibit 2 -
                                           Highly Confidential, #4 Exhibit 3 - Highly Confidential, # Exhibit 4
                                           - Highly Confidential, # Exhibit 5 - Highly Confidential, #2. Text of
                                           Proposed Order)(Bunt, Robert) (Entered: 11/26/2019)
              11/26/2019           J.22    SEALED SUR-REPLY to Reply to Response to Motion re j2:
                                           DEFENDANT WELLS FARGO BANK, N.A.S SUR-REPLY TO
                                           USAAS MOTION FOR SUMMARY JUDGMENT THATCLAIMS 6,
                                           12, AND 18 OF THE 136 PATENT ARE NOT INVALID filed by
                                           Wells Fargo Bank, N.A.. (Meisheimer, Thomas) (Entered: 11/26/2019)

              11/26/2019           1.23.   SEALED SUR-REPLY to Reply to Response to Motion re 12:
                                           DEFENDANT WELLS FARGO BANK, N.A.S SUR-REPLY TO
                                           PLAINTIFF USAAS DAUBERT MOTION TO STRIKE PORTIONS
                                           OF THE EXPERT REPORT OF CHRISTOPHER GERARDI filed by
                                           Wells Fargo Bank, N.A.. (Attachments: # 1. Affidavit Declaration of
                                           Michael A. Bittner, #2 Exhibit A, #3. Exhibit B, #4 Exhibit C)
                                           (Meisheimer, Thomas) (Entered: 11/26/2019)
              11/26/2019           124 SEALED SUR-REPLY to Reply to Response to Motion re
                                       DEFENDANT WELLS FARGO BANK, N.A.S SUR-REPLY TO
                                       USAAS DAUBERT MOTION TO STRIKE PORTIONS OF THE
                                       EXPERT REPORT OF WILLIAM SAFFICI filed by Wells Fargo
                                       Bank, N.A.. (Attachments: # Affidavit Declaration of Michael A.
                                                                            .



                                       Bittner, #2. Exhibit A, #3. Exhibit B)(Melsheimer, Thomas) (Entered:
                                       11/26/2019)
              11/26/2019           12       SEALED SUR-REPLY to Reply to Response to Motion re        j:
                                            DEFENDANT WELLS FARGO BANK, N.A.S SUR-REPLY TO
                                            PLAINTIFF USAAS MOTION TO EXCLUDE THE TRIAL
                                            TESTIMONY OF CHARLES E. VAN HORN filed by Wells Fargo
                                            Bank, N.A.. (Attachments: # I Affidavit Declaration of Michael
                                            Bittner, # 2. Exhibit D)(Melsheimer, Thomas) (Entered: 11/26/2019)
               11/26/2019           12      SEALED SUR-REPLY to Reply to Response to Motion re              :




                                            DEFENDANT WELLS FARGO BANK, N.A.S SUR-REPLY TO
                                            PLAINTIFF USAAS DAUBERT MOTION TO STRIKE PORTIONS
                                            OF THE EXPERT REPORT OF JOHN VILLASENOR filed by Wells
                                            Fargo Bank, N.A.. (Melsheimer, Thomas) (Entered: 11/26/2019)
               11/26/2019           122     SEALED SUR-REPLY to Reply to Response to Motion re 24 SEALED
                                            MOTION DEFENDANT WELLS FARGO BANK, NA. 'S MOTION FOR
                                            SUMMARYJUDGMENT UNDER 35 USC. § 10] filed by United
                                            Services Automobile Association. (Attachments: # 1. Affidavit Anthony
                                            Q. Rowles, #2 Exhibit 1, #3. Exhibit 2, #4 Exhibit 3, # Exhibit
                                                                                                            4, #
                                            Exhibit 5, # 2 Exhibit 6)(Bunt, Robert) (Entered: 11/26/2019)
               11/26/2019           i       SEALED SUR-REPLY to Reply to Response to Motion re         3.   SEALED




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                                           MOTION Refile Motion to Exclude And/Or Strike Expert Testimony
                                           Provided by Mr Calman filed by United Services Automobile
                                           Association. (Attachments: # I Affidavit Anthony Q. Rowles, #2
                                           Exhibit 1, #3. Exhibit 2, #4 Exhibit 3, #5. Exhibit 4)(Bunt, Robert)
                                           (Entered: 11/26/2019)
             11/26/2019           12,9.    SEALED SUR-REPLY to Reply to Response to Motion re 4 SEALED
                                           MOTION Refile Motion to Strike Portions of the Conte Report filed by
                                           United Services Automobile Association. (Attachments: # I Affidavit
                                           Anthony Q. Rowles, #2 Exhibit 1)(Bunt, Robert) (Entered:
                                           11/26/2019)
             11/26/2019            jJj     SEALED SUR-REPLY to Reply to Response to Motion re 5. SEALED
                                           MOTION Refile Motion to Strike And/Or Exclude The Expert
                                           Testimony ofRoy Weinstein filed by United Services Automobile
                                                                          I
                                           Association. (Attachments: # Affidavit Anthony Q. Rowles, #2,
                                           Exhibit 1, #3 Exhibit 2, #4 Exhibit 3, #5. Supplement 4)(Bunt, Robert)
                                           (Entered: 11/26/2019)
             11/27/2019            131     SEALED RESPONSE to Motion re 100 SEALED MOTIONforLeave
                                           to Serve Appendix of William L. Saffici filed by United Services
                                           Automobile Association. (Attachments: #1 Affidavit Anthony Q.
                                           Rowles, #2 Exhibit 1, #3 Exhibit 2, #4 Exhibit 3, #5. Exhibit 4, #
                                           Exhibit 5, # Text of Proposed Order)(Bunt, Robert) (Entered:
                                           11/27/2019)
              12/02/2019           13.2,   NOTICE OF FILiNG OF OFFICIAL TRANSCRIPT of Proceedings
                                           held on 6/27/19 (Claim Construction) before Judge Roy S. Payne.
                                           Court Reporter/Transcriber: Shelly Holmes CSR, TCRR,Telephone
                                           number: (903) 923-7464 (Shel1y_Holmestxed.uscourts.gov).
                                           <P>NOTICE RE REDACTION OF TRANSCRIPTS: The parties
                                           have seven (7) days to file with the Court a Notice of Intent to
                                           Request Redaction of this transcript. If no such Notice is filed, the
                                           transcript will be made remotely electronically available to the
                                           public without redaction after 90 calendar days. The policy is
                                           located on our website at www.txed.uscourts.gov<P> Transcript may
                                           be viewed at the court public terminal or purchased through the Court
                                           Reporter/Transcriber before the deadline for Release of Transcript
                                           Restriction. After that date it may be obtained through PACER.. Motion
                                           to Redact due 12/23/20 19. Release of Transcript Restriction set for
                                           3/2/2020. (sholmes, ) (Entered: 12/02/2019)
              12/02/20 19          133     SEALED RESPONSE to Motion re 11. SEALED MOTION
                                           DEFENDANT WELLS FARGO BANK, NA. 'S MOTIONS IN LIMINE
                                           NOS. 1-17 filed by United Services Automobile Association.
                                           (Attachments: # I Affidavit Anthony Q. Rowles, #2 Exhibit 1, #3.
                                           Exhibit 2, #4 Exhibit 3, #5. Exhibit 4, # Exhibit 5, #2 Exhibit 6, #
                                                                                     fl
                                           Exhibit 7, #2 Exhibit 8, # j Exhibit 9, # Exhibit 10, #12 Exhibit
                                                                                                   j Exhibit 15, #
                                           11, #13. Exhibit 12, #14 Exhibit 13, # j.5. Exhibit 14, #




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                                             fl Exhibit 16, # j Exhibit 17, # j Exhibit 18, # 2Q Exhibit 19, #21
                                             Exhibit 20, # 22 Exhibit 21, # Exhibit 22, #24 Exhibit 23, #25.
                                             Exhibit 24, # 2 Exhibit 25, #22 Exhibit 26, # 2 Exhibit 27, #22
                                             Exhibit 28, #    Exhibit 29, # fl Exhibit 30, #   Exhibit 31, # 3.
                                                                                                           fl
                                             Exhibit 32, # 4 Exhibit 33, # 35. Exhibit 34, # 3 Exhibit 35, #
                                             Exhibit 36, # 3 Exhibit 37, #     Exhibit 38, # 4 Text of Proposed
                                             Order)(Bunt, Robert) (Entered: 12/02/2019)
               12/02/20 19           fl4     SEALED RESPONSE to Motion re 112 SEALED MOTION IN
                                            LIMINE NOS. 1- 13 filed by Wells Fargo Bank, N.A.. (Attachments: #
                                            I Affidavit Declaration of Michael A. Bittner, # 2 Exhibit A, #
                                            Exhibit B, #4 Exhibit C, #5. Exhibit D, # Exhibit E, #2 Exhibit F, #
                                              Exhibit G, #2 Exhibit H, # j Exhibit I, #11 Exhibit J, #12 Exhibit
                                            K, #   fl
                                                    Exhibit L, #14 Exhibit M, #15. Exhibit N, #  j  Exhibit 0, #12
                                            Exhibit P, # jj Text of Proposed Order)(Melsheimer, Thomas)
                                            (Entered: 12/02/20 19)
               12/02/20 19          j35 FILED IN ERROR PER ATTORNEY
                                            Proposed Pretrial Order [JOINT FINAL PRETRIAL ORDER] by United
                                            Services Automobile Association. (Attachments: # I Exhibit A -
                                            USAA's Witness List, #2 Exhibit B - USAA's Deposition
                                            Designations, # Exhibit C - USAA's Second Amended Exhibit List, #
                                            4 Exhibit D - WFB's Witness List, #5. Exhibit E WFB's Deposition
                                            Designations, # Exhibit F - WFB's Exhibit LIst, #2 Exhibit G -
                                            Proposed Jury Instructions, # Exhibit H - Proposed Verdict Form)
                                            (Bunt, Robert) Modified on 12/5/2019 (nkl,). (Entered: 12/02/2019)
               12/04/20 19          J3      ORDER REGARDING EXHIBITS. Signed by District Judge Rodney
                                            Gilstrap on 12/4/20 19. (nkl,) (Entered: 12/04/20 19)
               12/04/2019           132 NOTICE of Attorney Appearance by Katherine Anne Marcom on
                                        behalf of Wells Fargo Bank, N.A. (Marcom, Katherine) (Entered:
                                        12/04/2019)
               12/04/2019           j3      NOTICE of Attorney Appearance by Katherine K. Vidal on behalf of
                                            Wells Fargo Bank, N.A. (Vidal, Katherine) (Entered: 12/04/20 19)
               12/05/2019           139     NOTICE of Attorney Appearance by Rex Andrew Mann on behalf of
                                            Wells Fargo Bank, N.A. (Maim, Rex) (Entered: 12/05/20 19)
               12/05/2019                   ***FILED IN ERROR PER ATTORNEY. Document # 135,
                                            Proposed Pretrial Order IJOINT FINAL PRETRIAL ORDER].
                                            PLEASE IGNORE.***

                                            (nid, ) (Entered: 12/05/2019)
               12/05/2019           j4      SEALED REPLY to Response to Motion re jj        SEALED MOTION
                                           for Leave to Serve Appendix of William L. Saffici filed by Wells Fargo
                                            Bank, N.A.. (Meisheimer, Thomas) (Entered: 12/05/2019)




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              12/06/20 19           141     Proposed Pretrial Order by United Services Automobile Association.
                                            (Attachments: # Exhibit A -USAA's Witness List, # 2 Exhibit B
                                                                  .j


                                            USAXs Deposition Designations, # Exhibit C - USAA's Exhibit List,
                                            #4 Exhibit D WFB's Witness List, # Exhibit E - WFB's Deposition
                                            Designations, # Exhibit F - WFB's Exhibit List, # Exhibit G
                                            Proposed Jury Instructions, # Exhibit H - Proposed Verdict Form)
                                            (Bunt, Robert) (Entered: 12/06/20 19)
              12/09/20 19           i4      NOTICE by United Services Automobile Association DISCLOSURE
                                            NARROWING CLAIMS FOR PURPOSES OF TRIAL (Bunt, Robert)
                                            (Entered: 12/09/2019)
              12/10/2019            14      REDACTION to               j
                                                                   SEALED MOTIONfor Leave to Serve Appendix
                                            of William L. Saffici by Wells Fargo Bank, N.A.. (Attachments: # I
                                            Affidavit, #2 Exhibit A, #3. Exhibit B, #4 Text of Proposed Order)
                                            (Meisheimer, Thomas) (Entered: 12/10/2019)
              12/10/20 19           144     REDACTION to        Sealed Reply to Response to Motion by Wells
                                            Fargo Bank, N.A.. (Meisheimer, Thomas) (Entered: 12/10/20 19)
              12/10/20 19           145.    REDACTION to .91 Sealed Response to Motion, by Wells Fargo Bank,
                                            N.A.. (Attachments: #j Affidavit, #2 Exhibit A, #3. Exhibit B, #4
                                            Exhibit C, #5. Exhibit D, # Exhibit E, #1 Exhibit F, # Exhibit G, #
                                                                                       fl
                                            2 Exhibit H, # j Exhibit I, # U Exhibit J, #  Exhibit K, #13. Exhibit
                                            L, # j.4 Text of Proposed Order)(Melsheimer, Thomas) (Entered:
                                            12/10/2019)
              12/10/2019            j.4     REDACTION to 123. Sealed Sur-Reply to Reply to Response to
                                            Motion, by Wells Fargo Bank, N.A.. (Attachments: #1 Affidavit, #2
                                            Exhibit A, #3. Exhibit B, #4 Exhibit C)(Melsheimer, Thomas)
                                            (Entered: 12/10/2019)
              12/10/2019            1.41    REDACTION to 9 Sealed Response to Motion, by Wells Fargo Bank,
                                            N.A.. (Attachments: # I Affidavit, #2 Exhibit A, #3. Exhibit B, #4
                                            Text of Proposed Order)(Melsheimer, Thomas) (Entered: 12/10/2019)
              12/10/2019            j4      REDACTION to 124 Sealed Sur-Reply to Reply to Response to
                                            Motion, by Wells Fargo Bank, N.A.. (Attachments: #1 Affidavit, #2
                                            Exhibit A, # 3. Exhibit B)(Melsheimer, Thomas) (Entered: 12/10/20 19)
              12/10/2019            149 REDACTION to 9 Sealed Response to Motion, by Wells Fargo Bank,
                                        N.A.. (Attachments: #1 Affidavit, #2 Exhibit A, #3. Exhibit B, #4
                                        Exhibit C, # 5. Text of Proposed Order)(Melsheimer, Thomas) (Entered:
                                        12/10/2019)
              12/10/2019            j.5     REDACTION to 125. Sealed Sur-Reply to Reply to Response to
                                            Motion, by Wells Fargo Bank, N.A.. (Attachments: #1 Affidavit, #2
                                            Exhibit D)(Melsheimer, Thomas) (Entered: 12/10/2019)
              12/10/2019            151     REDACTION to        Sealed Response to Motion, by Wells Fargo Bank,
                                            N.A.. (Attachments: # Affidavit, #2 Exhibit A, #3. Exhibit B, #4
                                                                           .1.




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                                             Exhibit C, #        Text of Proposed Order)(Melsheimer, Thomas) (Entered:
                                             12/10/20 19)
                12/10/2019           j.      REDACTION to J.2. Sealed Sur-Reply to Reply to Response to Motion
                                             by Wells Fargo Bank, N.A.. (Meisheimer, Thomas) (Entered:
                                             12/10/2019)
               12/10/2019            i       REDACTION to 94 Sealed Response to Motion, by Wells Fargo Bank,
                                             N.A.. (Attachments: # 1 Affidavit, # Exhibit A, # Exhibit B, #4
                                             Exhibit C, # Exhibit D, # Exhibit E, # Exhibit F, # Exhibit G, #
                                             9 Exhibit H, # jQ Text of Proposed Order)(Melsheimer, Thomas)
                                             (Entered: 12/10/2019)
               12/10/20 19           j4      REDACTION to j Sealed Sur-Reply to Reply to Response to
                                             Motion, by Wells Fargo Bank, N.A.. (Meisheimer, Thomas) (Entered:
                                             12/10/2019)
               12/10/20 19           L5     REDACTION to jj Sealed Reply to Response to Motion,, by Wells
                                            Fargo Bank, N.A.. (Attachments: # .j. Affidavit, # 2 Exhibit A, #
                                            Exhibit B, #4 Exhibit C, # Exhibit D, # Exhibit E, #2. Exhibit F, #
                                             Exhibit G)(Melsheimer, Thomas) (Entered: 12/10/20 19)
               12/10/2019            j      REDACTION to 2 SEALED MOTION DEFENDANT WELLS
                                            FARGO BANK, NA. S MOTION TO EXCL UDE AND/OR STRiKE
                                            EXPERT TESTIMONY PRO VIDED B YMR. CALMAN by Wells Fargo
                                            Bank, N.A.. (Attachments: # .. Affidavit, # 2 Exhibit A, # Exhibit B,
                                            #4 Exhibit C, # 5 Exhibit D, # Exhibit E, # Exhibit F, # Exhibit
                                            G, # Exhibit H, # jQ Text of Proposed Order)(Melsheimer, Thomas)
                                            (Entered: 12/10/2019)
               12/10/2019           i       REDACTION to 84 SEALED MOTION Refile Motion to Strike
                                            Portions of the Conte Report by Wells Fargo Bank, N.A..
                                            (Attachments: # I Affidavit, # 2 Exhibit A, # Exhibit B, #4 Text of
                                            Proposed Order)(Melsheimer, Thomas) (Entered: 12/10/2019)
               12/10/2019           15      REDACTION to           j
                                                                SEALED MOTION DEFENDANT WELLS
                                            FARGO BANK, NA. S MOTION TO STRIKE AND/OR EXCL UDE THE
                                            EXPERT TESTIMONY OF ROY WEINSTEIN by Wells Fargo Bank,
                                            N.A.. (Attachments: # I Affidavit, # Exhibit A, # 3 Exhibit B, #4
                                            Text of Proposed Order)(Melsheimer, Thomas) (Entered: 12/10/2019)
               12/10/2019           jj9     REDACTION to j. Sealed Reply to Response to Motion, by Wells
                                            Fargo Bank, N.A.. (Attachments: # I Affidavit, #2 Exhibit A)
                                            (Meisheimer, Thomas) (Entered: 12/10/2019)
               12/10/20 19          j       REDACTION to           j4
                                                                 Sealed Response to Motion,, by Wells Fargo
                                            Bank, N.A.. (Attachments: # I Affidavit, #2 Exhibit A, # Exhibit B,
                                            #4 Exhibit C, # Exhibit D, # Exhibit E, # Exhibit F, # Exhibit
                                            G, # Exhibit H, # IQ Exhibit I, #     fl
                                                                                Exhibit J, #    fl
                                                                                                Exhibit K, # U
                                                                                                           fl
                                            Exhibit L, #14 Exhibit M, # j. Exhibit N, # j Exhibit 0, # Exhibit




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                                            P, #   Text of Proposed Order)(Melsheimer, Thomas) (Entered:
                                            12/10/20 19)
              12/10/20 19           ji      REDACTION to 1L SEALED MOTION DEFENDANT WELLS
                                            FARGO BANK, NA. 'S MOTIONS INLIMINE NOS. 1-17 by Wells
                                            Fargo Bank, N.A.. (Attachments: # j. Affidavit, # Exhibit A, #3.
                                                                                             ,




                                            Exhibit B, #4 Exhibit C, # Exhibit D, # Exhibit B, # j Exhibit F, #
                                              Exhibit G, #2 Exhibit H, # j Text of Proposed Order)(Melsheimer,
                                            Thomas) (Entered: 12/10/2019)
              12/10/20 19           j       REDACTION to 14 SEALED MOTION DEFENDANT WELLS
                                            FARGO BANK, NA. 'S MO TION FOR SUMMARY JUDGMENT
                                            UNDER 35 US.C. § 101 by Wells Fargo Bank, N.A.. (Attachments: #1
                                            Affidavit, # Exhibit A, #3. Exhibit B, #4 Exhibit C, # 5 Exhibit D, #
                                              Exhibit E, # Exhibit F, # Exhibit G, #2 Exhibit H, # j Text of
                                                               7.

                                            Proposed Order)(Melsheimer, Thomas) (Entered: 12/10/2019)
              12/10/20 19           jfj3.   REDACTION to j..Q7. Sealed Reply to Response to Motion by Wells
                                            Fargo Bank, N.A.. (Meisheimer, Thomas) (Entered: 12/10/2019)
              12/11/2019            ij4     FILED IN ERROR

                                            SEALED Amended Exhibit H ADDITIONAL ATTACHMENTS to
                                            Main Document: 116 SEALED MOTION DEFENDANT WELLS
                                            FARGO BANK, NA. 'S MOTIONS IN LIMINE NOS. 1-17. (Meisheimer,
                                            Thomas) Modified on 12/11/2019 (nid,). (Entered: 12/11/2019)
              12/11/2019            j       NOTICE by United Services Automobile Association re   fl
                                                                                                SEALED
                                            MOTION DEFENDANT WELLS FARGO BANK, NA. 'S MOTIONS IN
                                            LIMINE NOS. 1-17, jJJ. SEALED MOTION INLIMINE NOS. 1-13
                                            [JOINT NOTICE REGARDING MOTIONS IN LIMINE] (Bunt, Robert)
                                            (Entered: 12/11/2019)
              12/11/2019                    ***FILED IN ERROR - It is passed the timeframe to file
                                            additional attachment to docket entry 116. Please refile as a Sealed
                                            Document.. Document # 164, SEALED Amended Exhibit H
                                            ADDITIONAL ATTACHMENTS to Main Document. PLEASE
                                            IGNORE.***

                                            (nkl, ) (Entered: 12/11/2019)
              12/11/2019            j.      SEALED - DEFENDANT WELLS FARGO BANK,
                                            N.A.SAMENDED EXHIBIT H TO MOTIONS TN LIMINE NOS. 1-
                                            17ORIGINALLY FILED ON NOVEMBER 22, 2019 AND NOTED
                                            AS Dli 6 (Melsheimer, Thomas) (Entered: 12/11/2019)
              12/13/2019            112     SEALED SUR-REPLY to Reply to Response to Motion re       j
                                            SEALED MOTION for Leave to Serve Appendix of William L. Saffici
                                            filed by United Services Automobile Association. (Bunt, Robert)
                                            (Entered: 12/13/2019)




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              12/15/20 19          j       SEALED MOTION WELLS FARGO BANK'S OPPOSED MOTION TO
                                           QUASH SUBPOENA TO WILLIAM SAFFICI TO APPEAR AND
                                           TESTIFYAND REQUESTFOR FEES AND EXPENSES by Wells
                                                                              I
                                           Fargo Bank, N.A.. (Attachments: # Affidavit Declaration of Michael
                                           Bittner, # Affidavit Declaration of William L. Saffici, # Exhibit A, #
                                                          ,




                                           4 Exhibit B, # Exhibit C, # Exhibit D, #2 Exhibit E, # Text of
                                           Proposed Order)(Melsheimer, Thomas) (Entered: 12/15/2019)
              12/15/2019           169     SEALED MOTION WELLS FARGO BANK'S MOTION TO QUASH
                                           SUBPOENA TO ARMINAJAMI TO APPEAR AND TESTIFYAND
                                           REQUESTFOR FEES AND EXPENSES by Wells Fargo Bank, N.A..
                                                                 I
                                           (Attachments: # Affidavit Declaration of Michael Bittner, # 2 Exhibit
                                           A, # a Exhibit B, #4 Exhibit C, # Exhibit D, # Text of Proposed
                                           Order)(Melsheimer, Thomas) (Entered: 12/15/2019)
              12/15/2019           170     DEFICIENT DOCUMENT

                                           SEALED ADDITIONAL ATTACHMENTS to Main Document 169:
                                           SIGNED DECLARATION OF ARMIN AJAMI, FILED TO
                                           SUPPLEMENT UNSIGNED EXHIBIT D TO WELLS FARGO
                                           BANK'S MOTION TO QUASH SUBPOENA TO ARMIN AJAMI TO
                                           APPEAR AND TESTIFY AND REQUEST FOR FEES AND
                                           EXPENSES. (Meisheimer, Thomas) Modified on 12/16/2019 (nkl,).
                                           (Entered: 12/15/2019)
              12/16/2019                   NOTICE of Deficiency regarding the SEALED ADDITIONAL
                                           ATTACHMENTS to Main Document submitted document            j    does not
                                           contain a Certificate of Authorization to File Under Seal per Local Rule
                                           CV-5(a)(7)(A). Correction should be made by one business day (nkl,)
                                           (Entered: 12/16/2019)
              12/16/20 19          121     Sealed Document. SEALED SIGNED DECLARATION OF ARM1N
                                           AJAMI RELATING TO UNSIGNED EXHIBIT D TO DOCKET D169
                                           (Melsheimer, Thomas) (Entered: 12/16/2019)
              12/16/2019                   NOTICE of Hearing: Final Pretrial Conference set for 12/17/2019
                                           09:00 AM before Magistrate Judge Roy S. Payne. (bga,) (Entered:
                                           12/16/20 19)
              12/16/20 19          123 Minute Entry for proceedings held before Magistrate Judge Roy S.
                                       Payne: Initial Pretrial Conference held on 12/16/2019. (Court Reporter
                                       Gayle Wear.) (Attachments: # I Attorney Sign-In Sheet) (bga,)
                                       (Entered: 12/17/2019)
              12/17/2019                    MEMORANDUM ORDER. Signed by Magistrate Judge Roy S. Payne
                                            on 12/17/2019. (nkl, ) (Entered: 12/17/2019)
              12/17/20 19          jj4      Minute Entry for proceedings held before Magistrate Judge Roy S.
                                            Payne: Final Pretrial Conference held on 12/17/20 19. (Court Reporter
                                            Gayle Wear.) (bga, ) (Entered: 12/17/2019)




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              12/17/20 19                  NOTICE of Hearing: Final Pretrial Conference set for 12/23/20 19
                                           09:30 AM before Magistrate Judge Roy S. Payne. (bga, ) (Entered:
                                           12/17/20 19)
              12/18/2019           175     MEMORANDUM ORDER re 82 SEALED MOTION to Strike
                                           Portions of the Expert Report of John Villasenor filed by United
                                           Services Automobile Association. Signed by Magistrate Judge Roy S.
                                           Payne on 12/17/2019. (nkl,) (Entered: 12/18/2019)
              12/18/20 19          176     MEMORANDUM OPINION AND ORDER re                   SEALED MOTION
                                           Refile Motion to Exclude And/Or Strike Expert Testimony Provided by
                                           Mr Calman filed by Wells Fargo Bank, N.A., 4 Wells Fargos Motion
                                           to Strike Conte.. Signed by Magistrate Judge Roy S. Payne on
                                            12/17/2019. (nkl,) (Entered: 12/18/2019)
              12/18/2019           177     MEMORANDUM ORDER re 80 SEALED MOTION to Strike
                                           Portions of the Expert Report of William Saffici filed by United
                                           Services Automobile Association.. Signed by Magistrate Judge Roy S.
                                           Payne on 12/17/2019. (nkl,) (Entered: 12/18/2019)
              12/18/20 19          fl      MEMORANDUM ORDER re              SEALED MOTION Refile Motion to
                                           Strike And/Or Exclude The Expert Testimony of Roy Weinstein filed by
                                           Wells Fargo Bank, N.A... Signed by Magistrate Judge Roy S. Payne on
                                           12/17/2019. (nld,) (Entered: 12/18/2019)
              12/19/2019           179     MEMORANDUM ORDERre 100 SEALED MOTIONfor Leave to
                                           Serve Appendix of William L. Saffici filed by Wells Fargo Bank, N.A...
                                           Signed by Magistrate Judge Roy S. Payne on 12/19/2019. (nkl,)
                                           (Entered: 12/19/2019)
              12/19/2019           180     REPORT AND RECOMMENDATIONS re               fl
                                                                                        SEALED MOTIONfor
                                           Summary Judgment of No Invalidity filed by United Services
                                           Automobile Association.. Signed by Magistrate Judge Roy S. Payne on
                                           12/19/2019. (ch, ) (Entered: 12/19/2019)
              12/20/20 19          181     MEMORANDUM ORDER re 79 SEALED MOTION to Strike
                                           Portions of the Expert Report of Christopher Gerardi filed by United
                                           Services Automobile Association.. Signed by Magistrate Judge Roy S.
                                           Payne on 12/19/2019. (nkl, ) (Entered: 12/20/2019)
              12/20/20 19          j       REPORT AND RECOMMENDATIONS re 4 SEALED MOTION
                                           DEFENDANT WELLS FARGO BANK, NA. 'S MO TION FOR
                                           SUMMARY JUDGMENT UNDER 35 US.C. § 101 filed by Wells Fargo
                                           Bank, N.A... Signed by Magistrate Judge Roy S. Payne on 12/20/20 19.
                                           (nkl, ) (Entered: 12/20/2019)
              12/23/20 19          j       ORDER re Exhibits. Signed by Magistrate Judge Roy S. Payne on
                                           12/23/2019. (nkl,) (Entered: 12/23/2019)
              12/24/20 19          14      SEALED MOTION MOTION TO RECONSIDER RULING ON USAAS
                                           MO TION IN LIMINE NO. 12 by Wells Fargo Bank, N.A..




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                                               (Attachments: # j. Affidavit, # 2 Exhibit A, # Exhibit B, #4 Exhibit
                                                                                            3.

                                               C, # Exhibit D, # Exhibit E, # Exhibit F, # Exhibit G, #2
                                               Exhibit H, # jJ Text of Proposed Order)(Melsheimer, Thomas)
                                               (Entered: 12/24/2019)
                12/25/2019              185    ORDER deferring ruling on   j4    Sealed Motion pending expedited
                                               response brief from Plaintiff, which shall be filed no later than
                                               December 30, 2019. Signed by Magistrate Judge Roy S. Payne on
                                               12/25/20 19. (no document attached) (Payne, Roy) (Entered:
                                               12/25/2019)
                12/27/2019           J1       NOTICE OF FILING OF OFFICIAL TRANSCRIPT, Volume 1 of 2,
                                              Proceedings held on December 16, 2019, before Magistrate Judge Roy
                                              S. Payne.

                                              NOTICE RE REDACTION OF TRANSCRIPTS: The parties have
                                              seven (7) days to file with the Court a Notice of Intent to Request
                                              Redaction of this transcript. If no such Notice is filed, the
                                              transcript will be made remotely electronically available to the
                                              public without redaction after 90 calendar days. The policy is
                                              located on our website at www.txed.uscourts.gov

                                              Transcript may be viewed at the court public terminal or purchased
                                              through the Court Reporter/Transcriber before the deadline for Release
                                              of Transcript Restriction. After that date it may be obtained through
                                              PACER.. Motion to Redact due 1/17/2020. Release of Transcript
                                              Restriction set for 3/26/2020. (gwear, ) (Entered: 12/27/2019)
               12/27/2019            j        NOTICE OF FILING OF OFFICIAL TRANSCRIPT, Volume 2 of 2, of
                                              Proceedings held on December 17, 2019, before Magistrate Judge Roy
                                              S. Payne. Court Reporter: Gayle Wear, Telephone number: 2 14-872-
                                              4867.

                                              NOTICE RE REDACTION OF TRANSCRIPTS: The parties have
                                              seven (7) days to file with the Court a Notice of Intent to Request
                                              Redaction of this transcript. If no such Notice is filed, the
                                              transcript will be made remotely electronically available to the
                                              public without redaction after 90 calendar days. The policy is
                                              located on our website at www.txed.uscourts.gov

                                              Transcript may be viewed at the court public terminal or purchased
                                              through the Court Reporter/Transcriber before the deadline for Release
                                              of Transcript Restriction. After that date it may be obtained through
                                              PACER.. Motion to Redact due 1/17/2020. Release of Transcript
                                              Restriction set for 3/26/2020. (gwear, ) (Entered: 12/27/20 19)
               12/27/2019           j         ORDER ON MOTIONS TO QUASH AND MOTIONS IN LIMINE.
                                              Signed by Magistrate Judge Roy S. Payne on 12/27/20 19. (ch,)
                                              (Entered: 12/27/2019)




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              12/27/20 19          j       Exhibit List Defendant's Trial Exhibit List by Wells Fargo Bank, N.A...
                                           (Meisheimer, Thomas) (Entered: 12/27/2019)
              12/27/20 19          j.9Q    Exhibit List Plaintiff's Fifth Amended Exhibit List [Dkt. # 141] by
                                           United Services Automobile Association.. (Attachments: # 1 Exhibit A)
                                           (Bunt,_Robert)_(Entered:_12/27/2019)
              12/30/20 19          191.    NOTICE by United Services Automobile Association 1st Amended
                                           Disclosure Narrowing Claims for Purposes of Trial (Bunt, Robert)
                                           (Entered: 12/30/2019)
              12/30/2019           192.    Trial Brief - United Services Automobile Association's Request for a
                                           Jury Instruction that Wells Fargo Had Pre-Suit Knowledge of the Parent
                                           Patents to the Asserted Patents Sealed Document. (Attachments: # I
                                           Affidavit Anthony Q. Rowles, #2 Exhibit 1, # Exhibit 2, #4 Exhibit
                                           3, # Exhibit 4)(Bunt, Robert) (Entered: 12/30/20 19)
              12/30/20 19          i9.     Sealed Document OBJECTION to Dkt. 182 Report and
                                           Recommendation re Wells Fargo's Motion for Summary Judgment of
                                           Invalidity Under 35 U.S.C. Section 101 as to the '332 Patent. (Bunt,
                                           Robert) (Entered: 12/30/2019)
              12/30/20 19          124.    Sealed Document OBJECTIONS TO REPORT AND
                                           RECOMMENDATION [DKT. 180] DENYING PLAINTIFF'S
                                           MOTION FOR SUMMARY JUDGMENT THAT CLAIMS 6,12 AND
                                           18 OF THE '136 PATENT ARE NOT INVALID [DKT. 77]. (Bunt,
                                           Robert) (Entered: 12/30/20 19)
              12/30/20 19          I2.5.   Sealed Document OBJECTIONS to the Memorandum Opinion and
                                           Order [Dkt. 181] Denying-in-Part USAA's Motion to Strike Portions of
                                           the Expert Report of Christopher Gerardi [Dkt. 79]. (Bunt, Robert)
                                           (Entered: 12/30/2019)
              12/30/20 19          196     Sealed Document United Services Automobile Association's
                                           OBJECTIONS to the Memorandum Opinion and Order [Dkt. 176]
                                           Granting-in-Part Wells Fargo's Motion to Strike [Dkt. 83]. (Bunt,
                                           Robert) (Entered: 12/30/20 19)
              12/30/20 19          j9.     Sealed Document United Services Automobile Association's
                                           OBJECTIONS to Order [Dli 179] Granting Defendant's Motion for
                                           Leave to Serve Appendix of William L. Saffici [Dkt. 100]. (Bunt,
                                           Robert) (Entered: 12/30/2019)
              12/30/2019           198     Sealed Document United Services Automobile Association's
                                           OBJECTIONS to the Memorandum Opinion and Order [Dli 177]
                                           Denying Defendant's Motion to Strike Portions of the Expert Report of
                                           William Saffici [Dkt. 80]. (Bunt, Robert) (Entered: 12/30/2019)
              12/30/20 19          199     Sealed Document United Services Automobile Association's
                                           OBJECTIONS to Order [Dkt. 175] Denying Plaintiffs Motion to Strike




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                                              Portions of the Expert Report of John Villasenor [Dkt. 82]. (Bunt,
                                              Robert) (Entered: 12/30/2019)
                12/30/20 19            200    Sealed Document United Services Automobile Association's Written
                                              Offer of Proof in Support of Evidence of Copying. (Attachments: #    I
                                              Affidavit Anthony Q. Rowles, #2 Exhibit 1, # Exhibit 2, #4 Exhibit
                                              3, #5. Exhibit 4, # Exhibit 5, # 2 Exhibit 6, # Exhibit 7, #2 Exhibit
                                              8, #jQ Exhibit 9, #fl Exhibit 10, # ilExhibit 11, #    UExhibit 12, #
                                              14 Exhibit 13, # 15 Exhibit 14, # j Exhibit 15, # fl Exhibit 16, #
                                              Exhibit 17, # 12 Exhibit 18)(Bunt, Robert) (Entered: 12/30/20 19)
                                                                                                                   j
                12/30/20 19            2I     SEALED RESPONSE by Wells Fargo Bank, N.A. to j.2 Report and
                                              Recommendations, filed by Wells Fargo Bank, N.A.. (Meisheimer,
                                              Thomas) (Entered: 12/30/2019)
                12/30/20 19          202     SEALED RESPONSE re 184 SEALED MOTION TO RECONSIDER
                                             RULING ON USAA'S MOTION IN LIMINE NO. 12 filed by United
                                             Services Automobile Association. (Attachments: # 1 Affidavit Anthony
                                             Q. Rowles, #2 Exhibit 1, # Exhibit 2, #4 Exhibit 3, #5. Exhibit 4, #
                                             Exhibit 5, # 7 Exhibit 6, # Exhibit 7, #2 Exhibit 8, # jj Exhibit 9, #
                                             II Text of Proposed Order)(Bunt, Robert) (Entered: 12/30/20 19)
               12/30/20 19          203      RESPONSE to   Order on Sealed Motion,,, OBJECTIONS TO
                                             MAGISTRATE JUDGE PAYNESfiled by Wells Fargo Bank, NA..
                                             (Meisheimer, Thomas) (Entered: 12/30/2019)
               12/30/20 19             j4 RESPONSE to 1 Order on Sealed Motion,,, OBJECTIONS TO
                                          MAGISTRATE JUDGE PAYNESfi1ed by Wells Fargo Bank, NA..
                                          (Meisheimer, Thomas) (Entered: 12/30/2019)
               12/30/20 19          2Q5.     SEALED RESPONSE by Wells Fargo Bank, N.A. to
                                             OBJECTIONS TO MAGISTRATE JUDGE PAYNES RULING ON
                                                                                                     j
                                             WELLS FARGOS MOTION IN LIM1NE NO. 15 (Attachments: #1
                                             Affidavit, # 2 Exhibit A)(Melsheimer, Thomas) (Entered: 12/30/20 19)
               12/30/2019                    RESPONSE to        j
                                                           Order on Sealed Motion,,, OBJECTIONS TO
                                             MAGISTRATE JUDGE PAYNES filed by Wells Fargo Bank, N.A..
                                             (Melsheimer, Thomas) (Entered: 12/30/2019)
               12/30/20 19         2Q.2      RESPONSE to        j
                                                                Order on Sealed Motion,,, OBJECTIONS TO
                                             MAGISTRATE JUDGE PAYNESRu11ng on USAA MIL No. 5filed by
                                             Wells Fargo Bank, NA.. (Meisheimer, Thomas) (Entered: 12/30/20 19)

               12/30/20 19                   RESPONSE to        j
                                                                Order on Sealed Motion,,, OBJECTIONS TO
                                             MAGISTRATE JUDGE PAYNES Order on USAA MIL No. 7filed by
                                             Wells Fargo Bank, NA.. (Attachments: #1 Affidavit, # Exhibit A)
                                             (Meisheimer, Thomas) (Entered: 12/30/2019)
              12/30/20 19          2         RESPONSE to        j
                                                                Order on Sealed Motion,,, OBJECTIONS TO
                                             MA GISTRA TE JUD GE PA ThTESRuling on USAA MIL No. 8filed by
                                             Wells Fargo Bank, N.A.. (Melsheimer, Thomas) (Entered: 12/30/2019)




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              12/30/20 19           2JJ     RESPONSE to j Order on Sealed Motion,,, OBJECTIONS TO
                                            MAGISTRATE JUDGE PAYNES Ruling on USAA MIL No. 10 filed by
                                            Wells Fargo Bank, NA.. (Meisheimer, Thomas) (Entered: 12/30/20 19)

              12/30/20 19           211     RESPONSE to j Order on Sealed Motion,,, OBJECTIONS TO
                                            MAGISTRATE JUDGE PAIWES Ruling on USAA MIL No. 12 filed by
                                            Wells Fargo Bank, NA.. (Melsheimer, Thomas) (Entered: 12/30/20 19)

              12/31/2019            2.12    RESPONSE to Objections to Magistrate Judge Payne Decisions
                                            Regarding Exhibitsfiled by Wells Fargo Bank, NA.. (Meisheimer,
                                            Thomas) (Entered: 12/31/2019)
              12/31/2019            2U      SEALED REPLY to Response to Motion re j4 SEALED MOTION
                                            MOTION TO RECONSIDER RULING ON USAAS MOTION IN
                                            LIMINE NO. 12 filed by Wells Fargo Bank, N.A.. (Attachments: # I
                                            Affidavit, # Exhibit A, # Exhibit B)(Melsheimer, Thomas)
                                            (Entered: 12/31/2019)
              12/31/2019            214     RESPONSE to 112 Memorandum & Opinion OBJECTIONS TO
                                            MAGISTRATE JUDGE PAYNES ORDER GRANTING USAAS
                                            MO TION FOR LEAVE TO AMEND INFRINGEMENT
                                            CONTENTIONS AND DENYING PARTII(B) OF WELLS FARGOS
                                            MOTION TO STRIKE PORTIONS OF THE CONTE REPORTfi1ed by
                                            Wells Fargo Bank, NA.. (Melsheimer, Thomas) (Entered: 12/31/2019)

              0 1/02/2020           21.     ORDER finding as moot ]. Motion to Strike/Exclude the Trial
                                            Testimony of Proferred Patent Law Expert Charles E. Van Horn. Signed
                                            by District Judge Rodney Gilstrap on 12/31/2019. (nkl,) (Entered:
                                            01/02/2020)
              0 1/02/2020           21      Sealed Document United Services Automobile Association's Sur-Reply
                                            to Wells Fargo's Motion to Reconsider Ruling on USAA's Motion in
                                                                                   I
                                            Limine No.12 [Dkt 184] (Attachments: # Affidavit Anthony Rowles
                                            Declaration, #2 Exhibit 1, # Exhibit 2, #4 Exhibit 3)(Bunt, Robert)
                                                                           .3.


                                            (Entered: 01/02/2020)
              0 1/02/2020           2fl     ORDER denying j4 Sealed Motion to Reconsider Ruling on USAAs
                                            Motion in Limine No. 12. Signed by Magistrate Judge Roy S. Payne on
                                            1/2/2020. (nkl, ) (Entered: 01/02/2020)
              01/02/2020            2.JJ.   RESPONSE to jj. Memorandum & Opinion, Terminate Motions
                                            Objections to Magistrate Judge Payne Ruling on USAA Motion to
                                            Strike Portions of the Expert Report of Christopher Gerardifiled by
                                            Wells Fargo Bank, NA.. (Melsheimer, Thomas) (Entered: 0 1/02/2020)

              0 1/02/2020           21.     SEALED RESPONSE OBJECTIONS TO MAGISTRATE JUDGE
                                            PAYNES MEMORANDUM OPINION AND ORDER GRANTING-
                                            IN-PART WELLS FARGO S MOTION TO EXCLUDE AND/OR
                                            STRIKE THE EXPERT TESTIMONY PROVIDED BY MR.
                                            CALMAN by Wells Fargo Bank, N.A. to jJ. Memorandum &




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                                           Opinion,, Terminate Motions, filed by Wells Fargo Bank, N.A..
                                           (Meisheimer, Thomas) (Entered: 01/02/2020)
              01/02/2020           22Q     SEALED RESPONSE OBJECTIONS TO MAGISTRATE JUDGE
                                           PAYNES RULING ON WELLS FARGOS MOTION TO STRIKE
                                           THE EXPERT REPORT OF ROY WEINSTEINby Wells Fargo Bank,
                                           N.A. to j7 Memorandum & Opinion, Terminate Motions filed by
                                           Wells Fargo Bank, N.A.. (Meisheimer, Thomas) (Entered: 0 1/02/2020)
              01/03/2020           221.    SEALED RESPONSE TO USAAS written offer of proof in support of
                                           evidence of copying by Wells Fargo Bank, N.A. to         Sealed
                                           Document,, filed by Wells Fargo Bank, N.A.. (Attachments: # I
                                           Affidavit, # 2 Errata A, #3 Exhibit B, #4 Exhibit C, # Exhibit D, #
                                           Exhibit E, # Exhibit F, # a Exhibit G, #2 Exhibit H, # j Exhibit I, #
                                                                 fl
                                                             .




                                           II Exhibit J, #    Exhibit K, # 13. Exhibit L, #14 Exhibit M, # J
                                           Exhibit N, # j Exhibit 0, #     fl
                                                                            Exhibit P, # ia Text of Proposed Order)
                                           (Meisheimer, Thomas) (Entered: 0 1/03/2020)
              0 1/03/2020          222     SEALED RESPONSE TO USAAS REQUEST FOR a jury
                                           INSTRUCTION that WELLS FARGO had PRE-SUIT KNOWLEDGE
                                           OF THE parent patents to the asserted PATENTS by Wells Fargo Bank,
                                           N.A. to i92 Sealed Document, filed by Wells Fargo Bank, N.A..
                                           (Attachments: #1 Affidavit, #2 Exhibit A)(Melsheimer, Thomas)
                                           (Entered: 0 1/03/2020)
              0 1/04/2020           223.   WELLS FARGOS TRIAL BRIEF REGARDING PRE-SUIT
                                           DAMAGES, MARKING AND NOTICE OF THE ASSERTED
                                           PATENTS (Attachments: #j Affidavit Declaration of Michael Bittner,
                                           #2 Exhibit A, #3. Exhibit B)(Melsheimer, Thomas) (Entered:
                                           01/04/2020)
              0 1/05/2020           224     Sealed Document United Services Automobile Association's Reply In
                                            Support Of Written Offer Of Proof Of Copying [Dkt. 200]
                                            (Attachments:        #j
                                                               Affidavit Anthony Rowles Declaration, #2 Exhibit
                                            1, #3. Exhibit 2, #4 Exhibit 3, # Exhibit 4, # Exhibit 5, # Exhibit
                                            6, # a Exhibit 7, #Q Exhibit 8)(Bunt, Robert) (Entered: 01/05/2020)

              0 1/05/2020           22..    Sealed Document United Services Automobile Association's Reply In
                                            Support Of Request For Jury Instruction RE: Pre-Suit Knowledge [Dkt.
                                            192]. (Attachments: #1 Affidavit Anthony Rowles Declaration, #2
                                            Exhibit 1, #3 Exhibit 2, #4 Exhibit 3, # Exhibit 4, # Exhibit 5)
                                            (Bunt, Robert) (Entered: 0 1/05/2020)
               0 1/05/2020          22      NOTICE by United Services Automobile Association Plain4fJ's Second
                                            Amended Disclosure Narrowing Claims For Purposes Of Trial (Bunt,
                                            Robert) (Entered: 0 1/05/2020)
               0 1/05/2020          22.2    Sealed Document UNITED SERVICES AUTOMOBILE
                                            ASSOCIATION'S OPPOSITION TO WELLS FARGOS TRIAL
                                            BRIEF REGARDING PRE-SUIT DAMAGES, MARKING AND
                                            NOTICE OF THE ASSERTED PATENTS [DKT. 192]. (Attachments:




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                                            # I Affidavit
                                                        Anthony Rowles Declaration, #2. Exhibit A, #      Text of
                                            Proposed Order)(Bunt, Robert) (Entered: 01/05/2020)
              01/05/2020            22      Exhibit List [Plaintjffs Sixth Amended Exhibit List] by United Services
                                                                                        I
                                            Automobile Association.. (Attachments: # Exhibit A)(Bunt, Robert)
                                            (Entered: 01/05/2020)
              0 1/05/2020                   Sealed Document. WELLS FARGOS TRIAL BRIEF ON
                                            TESTIMONY REGARDING BENEFITS FROM THE ACCUSED
                                            SYSTEM (Attachments: # .1. Affidavit, #2. Exhibit A)(Melsheimer,
                                            Thomas) (Entered: 01/05/2020)
              0 1/05/2020           23..Q   Sealed Document. WELLS FARGOS BENCH MEMORANDUM
                                            REGARDING THE RELEVANCEOF WELLS FARGOS DEKSTOP
                                            DEPOSIT SYSTEM AND MR. BYRON CHUNS FACTUAL
                                            TESTIMONY ABOUT DESKTOP DEPOSIT PRODUCT
                                            (Attachments: # I Affidavit, #2 Exhibit A, # a Exhibit B, #4 Exhibit
                                            C, # Exhibit D, # Exhibit E, # 7 Exhibit F, # 8 Exhibit G, #
                                            Exhibit H)(Melsheimer, Thomas) (Entered: 0 1/05/2020)
              0 1/06/2020           211     Sealed Document PLAINTIFF'S RESPONSE TO WELLS FARGOS
                                            TRIAL BRIEF ON TESTIMONY REGARDING BENEFITS FROM
                                            THE ACCUSED SYSTEM 22. (Attachments: # I Affidavit Anthony
                                            Q. Rowles, #2 Exhibit 1, # a Exhibit 2, #4 Exhibit 3, # Text of
                                            Proposed Order)(Bunt, Robert) (Entered: 0 1/06/2020)
              0 1/06/2020           232     Sealed Document UNITED SERVICES AUTOMOBILE
                                            ASSOCIATIONS OPPOSITION TO WELLS FARGOS BENCH
                                            MEMORANDUM REGARDING THE RELEVANCE OF WELLS
                                            FARGOS DEKSTOP DEPOSIT SYSTEM AND MR. BYRON
                                            CHUNS FACTUAL TESTIMONY ABOUT DESKTOP DEPOSIT
                                                                                    I
                                            PRODUCT [Dkt. 230]. (Attachments: # Affidavit Anthony Q.
                                            Rowles, #2 Exhibit i, # a Exhibit 2, #4 Exhibit 3, # Exhibit 4, #
                                            Exhibit 5, # 7 Text of Proposed Order)(Bunt, Robert) (Entered:
                                            01/06/2020)
              0 1/06/2020           2       ORDER re 211 Response to Non-Motion filed by Wells Fargo Bank,
                                            N.A., 2 Response to Non-Motion filed by Wells Fargo Bank, N.A.,
                                                Response to Non-Motion filed by Wells Fargo Bank, N.A., 23
                                            Response to Non-Motion filed by Wells Fargo Bank, N.A., 2Q4
                                            Response to Non-Motion filed by Wells Fargo Bank, N.A., 21L2
                                            Response to Non-Motion filed by Wells Fargo Bank, N.A., 2I
                                            Response to Non-Motion filed by Wells Fargo Bank, N.A.,
                                            Response to Non-Motion filed by Wells Fargo Bank, N.A.,
                                            Response to Non-Motion filed by Wells Fargo Bank, N.A. Signed by
                                            District Judge Rodney Gilstrap on 0 1/06/2020. (jrg3,) (Entered:
                                            01/06/2020)
              0 1/06/2020           23A     FILED IN ERROR - DUPLICATE FILING




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                                           ORDER re 211 Response to Non-Motion filed by Wells Fargo Bank,
                                           N.A., 9 Response to Non-Motion filed by Wells Fargo Bank, N.A.,
                                           2Q4 Response to Non-Motion filed by Wells Fargo Bank, N.A., 2Q
                                           Response to Non-Motion filed by Wells Fargo Bank, N.A., 2Q4
                                           Response to Non-Motion filed by Wells Fargo Bank, N.A., 2.Q1
                                           Response to Non-Motion filed by Wells Fargo Bank, N.A., 2JJ
                                           Response to Non-Motion filed by Wells Fargo Bank, N.A., 2Q.
                                           Response to Non-Motion filed by Wells Fargo Bank, N.A.,
                                           Response to Non-Motion filed by Wells Fargo Bank, N.A.. Signed by
                                           District Judge Rodney Gilstrap on 1/6/2020. (nkl, ) Modified on
                                           1/6/2020 (nkl,). (Entered: 01/06/2020)
             01/06/2020                    ***FILED IN ERROR - DUPLICATE FILING. Document # 234,
                                           ORDER. PLEASE IGNORE.***

                                           (nkl,) (Entered: 01/06/2020)
              0 1/06/2020          21.     ORDER denying I9 Sealed Document, 214 Response to Non-Motion,
                                           filed by Wells Fargo Bank, N.A., j  Report and Recommendations,.
                                           Signed by District Judge Rodney Gilstrap on 1/6/2020. (ch, ) (Entered:
                                           01/06/2020)
              0 1/06/2020          23      ORDER denying 194 Sealed Document, ISQ Report and
                                           Recommendations. Signed by District Judge Rodney Gilstrap on
                                           1/6/2020. (ch, ) (Entered: 01/06/2020)
              0 1/06/2020          23J ORDER denying j9, Sealed Document           1I   Memorandum & Opinion,
                                           Terminate Motions,.   Signed by District Judge Rodney Gilstrap on
                                           1/6/2019. (ch, ) (Entered: 01/06/2020)
              0 1/06/2020          23..    ORDER denying 19 Sealed Document        jj Memorandum & Opinion,.
                                           Signed by District Judge Rodney Gilstrap on 1/6/2020. (ch,) (Entered:
                                           01/06/2020)
              0 1/06/2020                  ORDER denying 2fl Response to Non-Motion filed by Wells Fargo
                                           Bank, N.A.,      j
                                                         Report and Recommendations,. Signed by District
                                           Judge Rodney Gilstrap on 1/6/2019. (ch, ) (Entered: 01/06/2020)
              0 1/06/2020          24Q     ORDER denying 2.12 Response to Non-Motion filed by Wells Fargo
                                           Bank, N.A.      j Order. Signed by District Judge Rodney Gilstrap on
                                           1/6/2020. (ch, ) (Entered: 01/06/2020)
              0 1/06/2020          241     ORDER denying I9 Sealed Document        jflMemorandum & Opinion.
                                           Signed by District Judge Rodney Gilstrap on 1/6/20 19. (ch, ) (Entered:
                                           01/06/2020)
              0 1/06/2020          242     ORDER denying 191 Sealed Document, 122 Memorandum & Opinion,
                                           Terminate Motions. Signed by District Judge Rodney Gilstrap on
                                           1/6/2020. (cli, ) (Entered: 01/06/2020)
              0 1/06/2020          2.4a     ORDER denying 199 Sealed Document,      j7j Memorandum & Opinion.



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                                            Signed by District Judge Rodney Gilstrap on 1/6/2020. (ch, ) (Entered:
                                            01/06/2020)
               01/06/2020           244     ORDER TO PURCHASE JURY MEALS. Signed by District Judge
                                            Rodney Gilstrap on 1/6/20 19. (ch,) (Entered: 01/06/2020)
               01/06/2020           24.5.   ORDER re 2i Response to Non-Motion, filed by Wells Fargo Bank,
                                            N.A., 220 Response to Non-Motion, filed by Wells Fargo Bank, N.A.,
                                            .2J Response to Non-Motion, filed by Wells Fargo Bank, N.A.. Signed
                                            by District Judge Rodney Gilstrap on 1/6/2020. (nkl,) (Entered:
                                            01/06/2020)
              0 1/06/2020           252     Minute Entry for proceedings held before District Judge Rodney
                                            Gilstrap: Jury Selection and Jury Trial Day One held on 1/6/2020.
                                            (Court Reporter Shelly Holmes, CSR-TCRR.) (Attachments: # I
                                            Attorney Attendance Sheet) (jml) (Entered: 0 1/08/2020)
              0 1/07/2020           246 Sealed Document. WELLS FARGOS TRIAL BRIEF ON WRITTEN
                                        DESCRIPTION(Attachments: # .j Affidavit, # Exhibit A, #3. Exhibit
                                                                                           ,



                                        B, #4 Exhibit C, #5. Exhibit D)(Melsheimer, Thomas) (Entered:
                                        01/07/2020)
              0 1/07/2020           242     TRIAL BRIEF WELLS FARGO BANKNA. 'S TRIAL BRIEF
                                            REGARDING APPORTIONMENTby Wells Fargo Bank, N.A..
                                            (Melsheimer, Thomas) (Entered: 01/07/2020)
              0 1/07/2020           24      TRIAL BRIEF UNITED SERVICESAUTOMOBILEASSOCIATION'S
                                            BENCH MEMORANDUM REGARDING APPORTIONMENT OF
                                            DAMA GES IN LIGHT OF PRIOR ART by United Services Automobile
                                            Association. (Bunt, Robert) (Entered: 01/07/2020)
              0 1/07/2020           253.    Minute Entry for proceedings held before District Judge Rodney
                                            Gilstrap: Jury Trial Day Two held on 1/7/2020. (Court Reporter Shelly
                                            Holmes, CSR-TCRR.) (Attachments: # I Attorney Attendance Sheet)
                                            (jml) (Entered: 01/08/2020)
              0 1/08/2020           242     TRIAL BRIEF Regarding Question to Dr Conte by Wells Fargo Bank,
                                            N.A.. (Attachments: # I Exhibit A, # Exhibit B, #3. Exhibit C)
                                            (Melsheimer, Thomas) (Entered: 01/08/2020)
              01/08/2020            25Q     TRIAL BRIEF UNITED SER VICES AUTOMOBILE ASSOCIATIONS
                                            TRIAL BRIEF REGARDING WELLS FAR GOS UNTIMELY
                                            INTRODUCTION OF AN INVALIDITY THEORY BASED ON ITS
                                            A CCUSED WELLS FARGO MOBILE DEPOSIT SYSTEM by United
                                            Services Automobile Association. (Attachments: # 1 Affidavit Anthony
                                            Q. Rowles, #2 Exhibit 1, #3. Exhibit 2)(Bunt, Robert) (Entered:
                                            01/08/2020)
              0 1/08/2020           2.51    Sealed Document UNITED SERVICES AUTOMOBILE
                                            ASSOCIATIONS RESPONSE TO WELLS FARGOS TRIAL BRIEF
                                            ON WRITTEN DESCRIPTION. (Bunt, Robert) (Entered: 0 1/08/2020)




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               01/08/2020             54      Proposed Jury Instructions by United Services Automobile Association.
                                              (Bunt, Robert) (Entered: 01/08/2020)
               01/08/2020           2.        NOTICE by United Services Automobile Association re        Proposed
                                              Pretrial Order, Proposed Verdict Form (Attachments: # I Exhibit A -
                                              Proposed Verdict Form)(Bunt, Robert) (Entered: 01/08/2020)
               01/08/2020                     Minute Entry for proceedings held before District Judge Rodney
                                              Gilstrap: Jury Trial Day Three held on 1/8/2020. (Court Reporter
                                                                                              I
                                              Shelly Holmes, CSR-TCRR.) (Attachments: # Attorney Attendance
                                              Sheet) (jml) (Entered: 01/09/2020)
               0 1/09/2020                    Sealed Document. DEFENDANT WELLS FARGO BANK, N.A.S
                                              TRIAL BRIEF REQUESTING CURATIVE RELIEF (Attachments:                #1
                                              Affidavit, # Exhibit A, # Exhibit B)(Bittner, Michael) (Entered:
                                                                          .3.


                                              01/09/2020)
               0 1/09/2020          25.2      Sealed Document United Services Automobile Association's Response
                                              to Wells Bank's Request for Curative Relief. (Attachments: # I
                                              Affidavit Anthony Q. Rowles, # Exhibit 1, # Exhibit 2)(Bunt,
                                                                                              .3.


                                              Robert) (Entered: 0 1/09/2020)
               0 1/09/2020          25        DEFENDANT WELLS FARGO BANK, N.A.'S OFFER OF PROOF
                                              Sealed Document. (Attachments: # I Affidavit Declaration of Michael
                                              Bittner, # Exhibit A, #3. Exhibit B)(Melsheimer, Thomas) (Entered:
                                              01/09/2020)
              0 1/09/2020           25        Sealed Document. DEFENDANT WELLS FARGO BANK, N.A.S
                                              OFFER OF PROOF REGARDING CERTAIN EXCLUDED
                                                                                I
                                              EXHIBITS (Attachments: # Affidavit, # Exhibit A, #3. Exhibit B, #
                                              4 Exhibit C, # Exhibit D, # Exhibit E, # 2 Exhibit F, # Exhibit G,
                                              #2 Exhibit H, # j Exhibit I, #fl Exhibit J, #12 Exhibit K, #13.
                                              Exhibit L, #1.4 Exhibit M, # j Exhibit N, # I Exhibit 0, #12 Exhibit
                                              P, # 18 Exhibit Q, # 19. Exhibit R, # 2Q Exhibit S, #21 Exhibit T, #22
                                              Exhibit U, #23 Exhibit V, #24 Exhibit W, # 2.5 Exhibit X, # 2 Exhibit
                                              Y, #27 Exhibit Z, #      Exhibit AA, #    Exhibit BB, # 3. Exhibit CC,
                                              #31 Exhibit DD, # 32 Exhibit EE, #3.3. Exhibit FF, # 4 Exhibit GG, #
                                               5 Exhibit I{H)(Melsheimer, Thomas) (Entered: 0 1/09/2020)
              0 1/09/2020                l    Minute Entry for proceedings held before District Judge Rodney
                                              Gilstrap: Jury Trial Day Four held on 1/9/2020. (Court Reporter Shelly
                                              Holmes, CSR-TCRR.) (Attachments: #1 Attorney Attendance Sheet)
                                              (jml) (Entered: 01/10/2020)
              01/10/2020           262        Plaintiffs Final Trial Exhibit List. (jml) (Entered: 01/10/2020)
              0 1/10/2020                3.   JURY VERDICT. (jml) (Main Document 263 replaced on 1/14/2020)
                                              (klc,). (Entered: 01/10/2020)
              0 1/10/2020          264        Sealed Document EJNREDACTED JURY VERDICT. (jml) (Main
                                              Document 264 replaced on 1/14/2020) (klc,). (Entered: 01/10/2020)




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              01/10/2020            265     Defendant's Final Trial Exhibit List. (jml) (Entered: 01 / 10/2020)
              01/10/2020                    Minute Entry for proceedings held before District Judge Rodney
                                            Gilstrap: Jury Trial completed on 1/10/2020. (Court Reporter Shelly
                                            Holmes, CSR-TCRR.) (Attachments: # 1. Attorney Attendance Sheet)
                                            (jml) (Entered: 01/10/2020)
              01/10/2020            2.1     NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings
                                            held on 1/6/20 (Trial Transcript - Morning Session) before Judge
                                            Rodney Gilstrap. Court Reporter/Transcriber: Shelly Holmes CSR,
                                            TCRR,Telephone number: (903) 923-7464
                                            (Shelly_Holmes@txed.uscourts.gov). <P>NOTICE RE
                                            REDACTION OF TRANSCRIPTS: The parties have seven (7)
                                            days to file with the Court a Notice of Intent to Request Redaction
                                            of this transcript. If no such Notice is filed, the transcript will be
                                            made remotely electronically available to the public without
                                            redaction after 90 calendar days. The policy is located on our
                                            website at www.txed.uscourts.gov<P> Transcript may be viewed at
                                            the court public terminal or purchased through the Court
                                            Reporter/Transcriber before the deadline for Release of Transcript
                                            Restriction. After that date it may be obtained through PACER.. Motion
                                            to Redact due 1/31/2020. Release of Transcript Restriction set for
                                             4/9/2020. (sholmes, ) (Entered: 01/10/2020)
              01/10/2020                    NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings
                                            held on 1/6/20 (Trial Transcript - Afternoon Session) before Judge
                                            Rodney Gilstrap. Court Reporter/Transcriber: Shelly Holmes CSR,
                                            TCRR,Telephone number: (903) 923-7464
                                            (Shelly_Holmes@txed.uscourts.gov). <P>NOTICE RE
                                            REDACTION OF TRANSCRIPTS: The parties have seven (7)
                                            days to file with the Court a Notice of Intent to Request Redaction
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                                            Reporter/Transcriber before the deadline for Release of Transcript
                                            Restriction. After that date it may be obtained through PACER.. Motion
                                            to Redact due 1/31/2020. Release of Transcript Restriction set for
                                            4/9/2020. (sholmes, ) (Entered: 01/10/2020)
               01/10/2020           22       NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings
                                             held on 1/7/20 (Trial Transcript Morning Session) before Judge
                                             Rodney Gilstrap. Court Reporter/Transcriber: Shelly Holmes CSR,
                                             TCRR,Telephone number: (903) 923-7464
                                             (Shelly_Holmes@txed.uscourts.gov). <P>NOTICE RE
                                             REDACTION OF TRANSCRIPTS: The parties have seven (7)
                                             days to file with the Court a Notice of Intent to Request Redaction
                                             of this transcript. If no such Notice is filed, the transcript will be



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                                            made remotely electronically available to the public without
                                            redaction after 90 calendar days. The policy is located on our
                                            website at www.txed.uscourts.gov<P> Transcript may be viewed at
                                            the court public terminal or purchased through the Court
                                            Reporter/Transcriber before the deadline for Release of Transcript
                                            Restriction. After that date it may be obtained through PACER.. Motion
                                            to Redact due 1/31/2020. Release of Transcript Restriction set for
                                            4/9/2020. (sholmes, ) (Entered: 01/10/2020)
              01/10/2020            2211    NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings
                                            held on 1/7/20 (Trial Transcript Afternoon Session) before Judge
                                            Rodney Gilstrap. Court Reporter/Transcriber: Shelly Holmes CSR,
                                            TCRR,Telephone number: (903) 923-7464
                                            (Shelly_Holmes@txed.uscourts.gov). <P>NOTICE RE
                                            REDACTION OF TRANSCRIPTS: The parties have seven (7)
                                            days to file with the Court a Notice of Intent to Request Redaction
                                            of this transcript. If no such Notice is filed, the transcript will be
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                                            the court public terminal or purchased through the Court
                                            Reporter/Transcriber before the deadline for Release of Transcript
                                            Restriction. After that date it may be obtained through PACER.. Motion
                                            to Redact due 1/31/2020. Release of Transcript Restriction set for
                                            4/9/2020. (sholmes, ) (Entered: 0 1/10/2020)
              0 1/10/2020           22].    NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings
                                            held on 1/8/20 (Trial Transcript - Morning Session) before Judge
                                            Rodney Gilstrap. Court Reporter/Transcriber: Shelly Holmes CSR,
                                            TCRR,Telephone number: (903) 923-7464
                                            (Shelly_Holmes@txed.uscourts.gov). <P>NOTICE RE
                                            REDACTION OF TRANSCRIPTS: The parties have seven (7)
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                                            Reporter/Transcriber before the deadline for Release of Transcript
                                            Restriction. After that date it may be obtained through PACER.. Motion
                                            to Redact due 1/31/2020. Release of Transcript Restriction set for
                                            4/9/2020. (sholmes,) (Entered: 0 1/10/2020)
              01/10/2020            22Z     NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings
                                            held on 1/8/20 (Trial Transcript - Afternoon Session) before Judge
                                            Rodney Gilstrap. Court Reporter/Transcriber: Shelly Holmes CSR,
                                            TCRR,Telephone number: '(903) 923-7464
                                            (Shelly_Holmes@txed.uscourts.gov). <P>NOTICE RE
                                            REDACTION OF TRANSCRIPTS: The parties have seven (7)



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                                            days to file with the Court a Notice of Intent to Request Redaction
                                            of this transcript. If no such Notice is filed, the transcript will be
                                            made remotely electronically available to the public without
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                                            Restriction. After that date it may be obtained through PACER.. Motion
                                            to Redact due 1/31/2020. Release of Transcript Restriction set for
                                            4/9/2020. (sholmes, ) (Entered: 0 1/10/2020)
              0 1/10/2020           2fl     NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings
                                            held on 1/9/20 (Trial Transcript - Morning Session) before Judge
                                            Rodney Gilstrap. Court Reporter/Transcriber: Shelly Holmes CSR,
                                            TCRR,Telephone number: (903) 923-7464
                                            (Shelly_Holmestxed.uscourts.gov). <P>NOTICE RE
                                            REDACTION OF TRANSCRIPTS: The parties have seven (7)
                                            days to file with the Court a Notice of Intent to Request Redaction
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                                            website at www.txed.uscourts.gov<P> Transcript may be viewed at
                                            the court public terminal or purchased through the Court
                                            Reporter/Transcriber before the deadline for Release of Transcript
                                            Restriction. After that date it may be obtained through PACER.. Motion
                                            to Redact due 1/31/2020. Release of Transcript Restriction set for
                                            4/9/2020. (sholmes, ) (Entered: 01/10/2020)
              01/10/2020            224     NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings
                                            held on 1/9/20 (Trial Transcript Afternoon Session) before Judge
                                            Rodney Gilstrap. Court Reporter/Transcriber: Shelly Holmes CSR,
                                            TCRR,Telephone number: (903) 923-7464
                                            (ShellyHolmestxed.uscourts.gov). <P>NOTICE RE
                                            REDACTION OF TRANSCRIPTS: The parties have seven (7)
                                            days to file with the Court a Notice of Intent to Request Redaction
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                                            made remotely electronically available to the public without
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                                            the court public terminal or purchased through the Court
                                            Reporter/Transcriber before the deadline for Release of Transcript
                                            Restriction. After that date it may be obtained through PACER.. Motion
                                            to Redact due 1/31/2020. Release of Transcript Restriction set for
                                            4/9/2020. (sholmes, ) (Entered: 01/10/2020)
              0 1/10/2020           22      NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings
                                            held on 1/10/20 (Trial Transcript - Morning Session) before Judge
                                            Rodney Gilstrap. Court Reporter/Transcriber: Shelly Holmes CSR,
                                            TCRR,Telephone number: (903) 923-7464




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                                            (Shelly_Holmes@txed.uscourts.gov). <P>NOTICE RE
                                            REDACTION OF TRANSCRIPTS: The parties have seven (7)
                                            days to file with the Court a Notice of Intent to Request Redaction
                                            of this transcript. If no such Notice is filed, the transcript will be
                                            made remotely electronically available to the public without
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                                            the court public terminal or purchased through the Court
                                            Reporter/Transcriber before the deadline for Release of Transcript
                                            Restriction. After that date it may be obtained through PACER.. Motion
                                            to Redact due 1/31/2020. Release of Transcript Restriction set for
                                            4/9/2020. (sholmes,) (Entered: 01/10/2020)
              0 1/13/2020           22      FINAL JUDGMENT. Signed by District Judge Rodney Gilstrap on
                                            1/13/2020. (nkl,) (Entered: 01/13/2020)
              0 1/13/2020           222     Notice of Filing of Patent/Trademark Form (A0 120) at termination of
                                            case. AO 120 mailed to the Director of the U.S. Patent and Trademark
                                            Office. (nkl, ) (Entered: 01/13/2020)
              01/13/2020            278     SEALED Jury Note. (jml) (Entered: 01/13/2020)
               02/04/2020           222     Unopposed MOTION to Stay Execution of Judgment During the
                                            Pendancy ofPost-Judgment Motions by Wells Fargo Bank, N.A..
                                            (Attachments: # 1. Text of Proposed Order)(Hill, Jack) (Entered:
                                            02/04/2020)
               02/05/2020                   Unopposed MOTiON for Leave to File Excess Pages for Motion for
                                            Judgment as a Matter ofLaw and related briefing by Wells Fargo
                                            Bank, N.A.. (Attachments: # j.. Text of Proposed Order)(Hill, Jack)
                                            (Entered: 02/05/2020)
               02/05/2020           2BJ.    ORDER granting 229 Unopposed MOTION to Stay Execution of
                                            Judgment During the Pendancy of Post-Judgment Motions. Signed by
                                            District Judge Rodney Gilstrap on 2/5/2020. (ch, ) (Entered:
                                            02/06/2020)
               02/10/2020           2.      ORDER denying 2 Motion for Leave to File Excess Pages for
                                            Motion for Judgment as a Matter of Law and related briefing. Signed
                                            by District Judge Rodney Gilstrap on 2/8/2020. (nkl, ) Modified on
                                            2/10/2020 (nkl,). (Entered: 02/10/2020)
               02/10/2020           2       PROPOSED BILL OF COSTS filed by United Services Automobile
                                            Association. (Attachments: # 1 Exhibit A)(Bunt, Robert) (Entered:
                                            02/10/2020)
               02/10/2020           2.4     MOTION for Judgment as a Matter of Law On Nonlnfringement by
                                            Wells Fargo Bank, N.A.. (Attachments: #1 Text of Proposed Order)
                                            (Melsheimer, Thomas) (Entered: 02/10/2020)
               02/10/2020                5 SEALED MOTION FOR JUDGMENTASA MATTER OFLAWON




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                                           DAMAGES by Wells Fargo Bank, N.A.. (Attachments: #1. Affidavit, #
                                           2 Exhibit A, # Exhibit B, #4 Exhibit C, #5 Exhibit D, # Exhibit E,
                                           #2 Exhibit F, # Text of Proposed Order)(Melsheimer, Thomas)
                                           (Entered: 02/10/2020)
             02/10/2020            2       SEALED MOTION For Judgment As A Matter OfLaw OfNo Willful
                                           Infringement by Wells Fargo Bank, N.A.. (Attachments: #1 Affidavit,
                                           # Exhibit A, # Exhibit B, #4 Exhibit C, #5 Exhibit D, # 6 Exhibit
                                           E, #2 Exhibit F, # 8 Text of Proposed Order)(Melsheimer, Thomas)
                                           (Entered: 02/10/2020)
             02/10/2020            2.32    MOTION for Judgment as a Matter of Law ON WRITTEN
                                           DESCRIPTIONAND ANTICIPATION by Wells Fargo Bank, N.A..
                                           (Attachments: # I Text of Proposed Order)(Melsheimer, Thomas)
                                           (Entered: 02/10/2020)
             02/10/2020                    MOTION for Judgment as a Matter of Law UNDER 35 US.C. § 101
                                           by Wells Fargo Bank, N.A.. (Attachments: # j. Text of Proposed Order)
                                           (Meisheimer, Thomas) (Entered: 02/10/2020)
             02/10/2020            22      SEALED MOTION For New Trial by Wells Fargo Bank, N.A..
                                           (Attachments: #1 Affidavit, #2 Exhibit A, # a Exhibit B, #4 Exhibit
                                           C, #5 Exhibit D, # Exhibit E, #2 Exhibit F, # Exhibit G, #9 Text
                                           of Proposed Order)(Melsheimer, Thomas) (Entered: 02/10/2020)
             02/10/2020            29      SEALED MOTION for Award ofInterest by United Services
                                           Automobile Association. (Attachments: # I Affidavit Declaration of
                                           Anthony Q. Rowles, # Exhibit i, # a Exhibit 2, #4 Exhibit 3, #5
                                                                           .




                                           Text of Proposed Order)(Bunt, Robert) (Entered: 02/10/2020)
              02/10/2020           291 SEALED MOTION MOTION FOR ENHANCEMENT OF DAMA GES
                                       DUE TO WILLFUL INFRINGEMENT by United Services Automobile
                                       Association. (Attachments: # I Affidavit Anthony Q. Rowles, #2,
                                       Exhibit 1, # a Exhibit 2, #4 Exhibit 3, #5 Exhibit 4, # 6 Exhibit 5, #2
                                       Exhibit 6, # Exhibit 7, #9 Exhibit 8, # jJ Exhibit 9, #11 Text of
                                       Proposed Order)(Bunt, Robert) (Entered: 02/10/2020)
              02/10/2020           292.    SEALED MOTION FOR ONGOING ROYALTY by United Services
                                                                                   I
                                           Automobile Association. (Attachments: # Affidavit Anthony Q.
                                           Rowles, #2 Exhibit 1, # a Exhibit 2, #4 Exhibit 3, #5 Exhibit 4, #
                                                                                                jj
                                           Exhibit 5, #2 Exhibit 6, # Exhibit 7, #9 Exhibit 8, # Text of
                                           Proposed Order)(Bunt, Robert) (Entered: 02/10/2020)
              02/19/2020           29.     Joint MOTION for Extension of Time to File Response/Reply as to 2,9,
                                           SEALED MOTION FOR ONGOING ROYALTY, 288 MOTION for
                                           Judgment as a Matter of Law UNDER 35 US.C. § 101, 2, SEALED
                                           MOTION For Judgment As A Matter OfLaw OfNo Willful
                                           Infringement, 291 SEALED MOTION MOTION FOR
                                           ENHANCEMENT OF DAMA GES DUE TO WILLFUL
                                           INFRINGEMENT, 2, MOTION for Judgment as a Matter of Law ON
                                           WRITTEN DESCRIPTION AND ANTICIPATION, 22 SEALED




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                                           MOTION For New Trial, 2.4 MOTION for Judgment as a Matter of
                                           Law On Nonlnfringement,        SEALED MOTION FOR JUDGMENT
                                           AS A MATTER OF LAW ON DAMAGES, 29 SEALED MOTION for
                                           Award ofInterest by Wells Fargo Bank, N.A.. (Attachments: # I Text of
                                           Proposed Order)(Hill, Jack) (Entered: 02/19/2020)
              02/24/2020           294     ORDER granting 293. Motion for Extension of Time Regarding Post
                                           Judgment Briefing. Signed by District Judge Rodney Gilstrap on
                                           2/21/2020. (nkl,) (Entered: 02/24/2020)
              03/06/2020           29      Joint MOTION for Extension of Time to File regarding Post-Judgment
                                           Briefing by United Services Automobile Association. (Attachments: # I
                                           Text of Proposed Order)(Bunt, Robert) (Entered: 03/06/2020)
              03/11/2020           29      RESPONSE in Opposition re 24 MOTION for Judgment as a Matter
                                           of Law On Nonlnfringement filed by United Services Automobile
                                           Association. (Attachments: # I Text of Proposed Order)(Bunt, Robert)
                                           (Entered: 03/11/2020)
              03/11/2020           292     RESPONSE in Opposition re         SEALED MOTION For Judgment
                                           As A Matter OfLaw OfNo Willful Infringement filed by United
                                           Services Automobile Association. (Attachments: # I Text of Proposed
                                           Order)(Bunt,_Robert)_(Entered:_03/11/2020)
              03/11/2020                   SEALED Opposition to Motion for Award of Interest to Motion re
                                           SEALED MOTIONfor Award of Interest filed by Wells Fargo Bank,
                                           N.A.. (Attachments: # I Appendix A, #2 Appendix B, #3. Affidavit, #
                                           4 Exhibit A, # Text of Proposed Order)(Melsheimer, Thomas)
                                           (Entered: 03/11/2020)
              03/11/2020           292     SEALED Opposition to Plaintiffs Motion for Enhanced Damages to
                                           Motion re 291 SEALED MOTION MOTION FOR ENHANCEMENT
                                           OF DAMA GES DUE TO WILLFUL INFRINGEMENT filed by Wells
                                           Fargo Bank, N.A.. (Attachments: # I Affidavit, #2 Exhibit A, #3.
                                           Exhibit B, # 4 Text of Proposed Order)(Melsheimer, Thomas) (Entered:
                                           03/11/2020)
              03/11/2020           3jj     SEALED Opposition to USAA Motion for Ongoing Royalty to Motion
                                           re 292 SEALED MOTION FOR ONGOING ROYALTY filed by Wells
                                           Fargo Bank, N.A.. (Attachments: # I Affidavit, #2 Exhibit 1, #3.
                                           Exhibit 2, #4 Exhibit 3, # Exhibit 4, # Exhibit 5, # Z Exhibit 6, #
                                           Text of Proposed Order)(Melsheimer, Thomas) (Additional
                                           attachment(s) added on 3/12/2020: # 9 Revised Proposed Order) (nkl,).
                                           (Entered: 03/11/2020)
              03/11/2020           3.Ql    RESPONSE in Opposition re        MOTION for Judgment as a Matter
                                           of Law UNDER 35 US.C. § 101filed by United Services Automobile
                                           Association. (Attachments: # I Text of Proposed Order)(Bunt, Robert)
                                           (Entered: 03/11/2020)
              03/11/2020           3        RESPONSE in Opposition re       MOTION for Judgment as a Matter




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                                           of Law ON WRITTEN DESCRIPTION AND ANTICIPATIONfi1ed by
                                           United Services Automobile Association. (Attachments: # 1 Text of
                                           Proposed Order)(Bunt, Robert) (Entered: 03/11/2020)
              03/11/2020           303     SEALED RESPONSE to Motion re           SEALED MOTION FOR
                                           JUDGMENTASA MATTER OFLAWONDAMAGES filed by United
                                           Services Automobile Association. (Attachments: # 1 Affidavit Anthony
                                           Q. Rowles, # 2 Exhibit 1, # Exhibit 2, #4 Exhibit 3, # Exhibit 4, #
                                           Text of Proposed Order)(Bunt, Robert) (Entered: 03/11/2020)
              03/11/2020           304 SEALED RESPONSE to Motionre 289 SEALED MOTION For New
                                       Trial filed by United Services Automobile Association. (Attachments: #
                                       I Affidavit Anthony Q. Rowles, #2 Exhibit 1, # 3 Exhibit 2, #4
                                       Exhibit 3, # Exhibit 4, # Text of Proposed Order)(Bunt, Robert)
                                       (Entered: 03/11/2020)
              03/23/2020                   Joint MOTION for Extension of Time to File regarding Post-Judgment
                                           Briefing by United Services Automobile Association. (Attachments: # 1
                                           Text of Proposed Order)(Bunt, Robert) (Entered: 03/23/2020)
              03/24/2020           1Q      MOTION to Stay WELLS FARGO BANKNA.'S MOTION TO STAY
                                           EXECUTION OF THE JUDGMENT UNDER 12 U S.C. § 91 by Wells
                                           Fargo Bank, N.A.. (Attachments: # I Affidavit Declaration of
                                           Katherine A. Marcom, #2 Exhibit A, # 3 Exhibit B, #4 Exhibit C, #
                                           Text of Proposed Order)(Melsheimer, Thomas) (Entered: 03/24/2020)
              04/02/2020                   REPLY to Response to Motion re 29 SEALED MOTION FOR
                                           ONGOING ROYALTYfi1ed by United Services Automobile Association.
                                           (Attachments: # I Affidavit Anthony Q. Rowles, #2 Exhibit 9)(Bunt,
                                           Robert) (Entered: 04/02/2020)
              04/02/2020           3_Q     SEALED REPLY to Response to Motion re 291 SEALED MOTION
                                           MOTION FOR ENHANCEMENT OF DAMA GES DUE TO WILLFUL
                                           INFRINGEMENT filed by United Services Automobile Association.
                                           (Attachments: # .1. Affidavit Anthony Q. Rowles, #2 Exhibit 10)(Bunt,
                                           Robert) (Entered: 04/02/2020)
              04/02/2020           3.Q2    REPLY to Response to Motion re         SEALED MOTIONfor Award of
                                           Interest filed by United Services Automobile Association. (Attachments:
                                           #1 Affidavit Anthony Q. Rowles, #2 Exhibit 6)(Bunt, Robert)
                                           (Entered: 04/02/2020)
              04/02/2020           flQ     REPLY to Response to Motion re     MOTION for Judgment as a
                                           Matter of Law UNDER 35 US.C. § 101 filed by Wells Fargo Bank,
                                           NA.. (Melsheimer, Thomas) (Entered: 04/02/2020)
              04/02/2020            3fl    SEALED REPLY to Response to Motion re 2 SEALED MOTION
                                           FOR JUDGMENT AS A MATTER OF LAW ON DAMA GES filed by
                                           Wells Fargo Bank, N.A.. (Attachments: #1 Affidavit, #2 Exhibit A, #
                                           3 Exhibit B)(Melsheimer, Thomas) (Entered: 04/02/2020)




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             04/02/2020            3.12    REPLY to Response to Motion re     SEALED MOTION For
                                           Judgment As A Matter OfLaw OfNo Willful Infringementfiled by Wells
                                           Fargo Bank, N.A.. (Melsheimer, Thomas) (Entered: 04/02/2020)
             04/02/2020            3.i3    REPLY to Response to Motion re 24 MOTION for Judgment as a
                                           Matter of Law On Nonlnfringementfiled by Wells Fargo Bank, NA..
                                           (Meisheimer, Thomas) (Entered: 04/02/2020)
             04/02/2020            3j.4   REPLY to Response to Motion re $.7 MOTION for Judgment as a
                                          Matter of Law ON WRITTEN DESCRIPTION AND ANTICIPATION
                                          filed by Wells Fargo Bank, NA.. (Meisheimer, Thomas) (Entered:
                                          04/02/2020)
             04/02/2020            3J      REPLY to Response to Motion re 29 SEALED MOTION For New
                                           Trialfiled by Wells Fargo Bank, NA.. (Meisheimer, Thomas) (Entered:
                                           04/02/2020)
             04/07/2020            3I      RESPONSE in Opposition re 3.Q MOTION to Stay WELLS FARGO
                                           BANK NA. 'S MOTION TO STAY EXECUTION OF THE JUDGMENT
                                           UNDER 12 U S.C. § 91 filed by United Services Automobile
                                           Association. (Attachments: # I Text of Proposed Order)(Bunt, Robert)
                                           (Entered: 04/07/2020)
             04/13/2020            3fl     Joint MOTION for Extension of Time to File Sur-Replies regarding
                                           Post-Judgment Briefing by United Services Automobile Association.
                                           (Attachments: # j. Text of Proposed Order)(Bunt, Robert) (Entered:
                                           04/13/2020)
             04/14/2020            3I      ORDER granting 311 Joint MOTION for Extension of Time to File
                                           Sur-Replies regarding Post-Judgment Briefing. Signed by District
                                           Judge Rodney Gilstrap on 4/14/2020. (ch,) (Entered: 04/14/2020)
             04/15/2020            319 REPLY to Response to Motion re 3j MOTION to Stay WELLS
                                       FARGO BANK NA. 'S MOTION TO STAYEXECUTION OF THE
                                       JUDGMENT UNDER 12 US. C. § 91 [WELLS FARGO BANK NA.S
                                       REPLY IN SUPPORT OF ITS MOTION TO STAY EXECUTION OF
                                       THE JUDGMENT UNDER 12 US. C. § 9]]filed by Wells Fargo Bank,
                                       NA.. (Meisheimer, Thomas) (Entered: 04/15/2020)
              04/16/2020           32      SUR-REPLY to Reply to Response to Motion re 22Q SEALED
                                           MOTIONfor Award of Interest filed by Wells Fargo Bank, NA..
                                           (Meisheimer, Thomas) (Entered: 04/16/2020)
              04/16/2020           321     SUR-REPLY to Reply to Response to Motion re 221. SEALED
                                           MOTION MOTION FOR ENHANCEMENT OF DAMAGES DUE TO
                                           WILLFUL JNFRJNGEMENTfi1ed by Wells Fargo Bank, NA..
                                           (Melsheimer, Thomas) (Entered: 04/16/2020)
              04/16/2020           322     SUR-REPLY to Reply to Response to Motion re 29 SEALED
                                           MOTION FOR ONGOING ROYALTYfi1ed by Wells Fargo Bank, NA..
                                           (Melsheimer, Thomas) (Entered: 04/16/2020)




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             04/16/2020            32       SEALED SUR-REPLY to Reply to Response to Motion re 5
                                            SEALED MOTION FOR JUDGMENTAS A MATTER OF LA WON
                                            DAMAGES filed by United Services Automobile Association.
                                            (Attachments: #1 Affidavit Anthony Q. Rowles, #2 Exhibit 1, #
                                            Exhibit 2, #4 Exhibit 3)(Bunt, Robert) (Entered: 04/16/2020)
             04/16/2020            324      SUR-REPLY to Reply to Response to Motion re 2 MOTION for
                                            Judgment as a Matter of Law UNDER 35 US.C. § 101 filed by United
                                            Services Automobile Association. (Bunt, Robert) (Entered: 04/16/2020)
             04/16/2020            325.     SUR-REPLY to Reply to Response to Motion re 4 MOTION for
                                            Judgment as a Matter of Law On Nonlnfringementfiled by United
                                            Services Automobile Association. (Bunt, Robert) (Entered: 04/16/2020)
             04/16/2020            32       SUR-REPLY to Reply to Response to Motion re        SEALED
                                            MOTION For Judgment As A Matter OfLaw OfNo Willful
                                            Infringementfiled by United Services Automobile Association. (Bunt,
                                            Robert) (Entered: 04/16/2020)
              04/16/2020           321      SUR-REPLY to Reply to Response to Motion re 22 MOTION for
                                            Judgment as a Matter of Law ON WRITTEN DESCRIPTION AND
                                            ANTICIPATIONfi1ed by United Services Automobile Association.
                                            (Bunt, Robert) (Entered: 04/16/2020)
              04/16/2020           32       SEALED SUR-REPLY to Reply to Response to Motion re
                                            SEALED MOTION For New Trial filed by United Services
                                            Automobile Association. (Attachments: # I Affidavit Anthony Q.
                                            Rowles, # 2 Exhibit 1)(Bunt, Robert) (Entered: 04/16/2020)
              04/20/2020           322 NOTICE by Wells Fargo Bank, N.A. OF SUPPLEMENTAL
                                       AUTHORITY (Attachments: # .1. Exhibit A, #2 Exhibit B)(Melsheimer,
                                       Thomas) (Entered: 04/20/2020)
              04/22/2020           33.Q     SUR-REPLY to Reply to Response to Motion re 3 MOTION to Stay
                                            WELLS FARGO BANK NA. 'S MOTION TO STAY EXECUTION OF
                                            THE JUDGMENT UNDER 12 US.C. § 91 filed by United Services
                                            Automobile Association. (Bunt, Robert) (Entered: 04/22/2020)



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                              CLOSED,JRG3 ,JURY,MARKMANREF,PATENT/TRADEMARK,PROTECTIVE-
                                                                          ORDER, S TAYED

                                                 U.S. District Court
                                    Eastern District of TEXAS [LIVEI (Marshall)
                                  CIVIL DOCKET FOR CASE #: 2:18-cv-00245-JRG


              United Services Automobile Association v. Wells Fargo Date Filed: 06/07/2018
              Bank, N.A.                                            Date Terminated: 11/12/2019
              Assigned to: District Judge Rodney Gilstrap           Jury Demand: Both
              Cause: 35:27 1 Patent Infringement                    Nature of Suit: 830 Patent
                                                                    Jurisdiction: Federal Question
              Mediator
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              V.
              Counter Defendant
              Wells Fargo Bank, N.A.                                  represented by   Thomas M Meisheimer
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              V.
              Counter Defendant
              United Services Automobile                               represented   by   Jason G Sheasby
             Association                                                                  (See above for address)
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                                                                                          TERMINATED: 0 7/26/2019

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             Wells Fargo Bank, N.A.                                   represented by      Thomas M Melsheimer
             a national banking association                                               (See above for address)
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                                                                                        TERMINATED. 02/21/2019


              V.
              Counter Defendant
              United Services Automobile                               represented by   Jason G Sheasby
             Association                                                                (See above for address)
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             Counter Claimant
             Wells Fargo Bank, N.A.                                   represented by    Thomas M Melsheimer
             a national banking association                                             (See above for address)
                                                                                        LEAD ATTORNEY




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                                                                                       James Travis Underwood
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                                                                                       Prachi Viral Mehta
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             V.
             Counter Defendant
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             Association                                                               (See above for address)
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                                                                                       TERMINATED: 07/26/2019

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                                                                                    PRO HAG VICE
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                                                                                    ATTORNEY TO BE NOTiCED


               Date Filed              #        Docket Text
               06/07/20 18                 1    COMPLAINT against Wells Fargo Bank, N.A. (Filing fee $ 400
                                                receipt number 0540-6807332.), filed by United Services Automobile
                                                Association. (Attachments: # .1. Civil Cover Sheet, # 2 Exhibit 1, #
                                                Exhibit 2, #4 Exhibit 3, # Exhibit 4, # Exhibit 5, # Exhibit 6, #
                                                Exhibit 7)(Bunt, Robert) (Entered: 06/07/2018)
               06/07/20 18                 Z Notice of Filing of Patent/Trademark Form (AO 120). AO 120 mailed
                                                to the Director of the U.S. Patent and Trademark Office. (Bunt, Robert)
                                                (Entered: 06/07/2018)
               06/08/2018                       Case Assigned to District Judge Rodney Gilstrap. (nkl, ) (Entered:
                                                06/08/2018)
               06/08/2018                       In accordance with the provisions of 28 USC Section 636(c), you are
                                                hereby notified that a U.S. Magistrate Judge of this district court is
                                                available to conduct any or all proceedings in this case including a jury
                                                or non-jury trial and to order the entry of a final judgment. The form
                                                Consent to Proceed Before Magistrate Judge is available on our
                                                website. All signed consent forms, excluding pro se parties, should be
                                                filed electronically using the event Notice Regarding Consent to
                                                Proceed Before Magistrate Judge. (nkl,) (Entered: 06/08/2018)
              06/08/20 18                  3.   SUMMONS Issued as to Wells Fargo Bank, N.A. by and through their
                                                registered agent Corporation Service Company. (nkl, ) (Main
                                                Document 3 replaced with flattened image on 5/30/20 19) (ch,).
                                                Modified on 5/30/20 19 (ch,). (Entered: 06/08/20 18)
              06/22/2018                   4 Defendant's Unopposed First Application for Extension       of Time to
                                                Answer Complaint re Wells Fargo Bank, N.A..( Bittner, Michael)
                                                (Main Document 4 replaced with flattened image on 5/30/2019) (ch,).
                                                Modified on 5/30/20 19 (ch,). (Entered: 06/22/2018)
              06/22/2018                        Defendant's Unopposed FIRST Application for Extension of Time to
                                                Answer Complaint is granted pursuant to Local Rule CV-12 for Wells
                                                Fargo Bank, N.A. to 7/30/2018. 30 Days Granted for Deadline
                                                Extension.( ch, )_(Entered:_06/22/2018)
              06/22/2018               ,        NOTICE of Attorney Appearance by Thomas M Melsheimer on behalf
                                                of Wells Fargo Bank, N.A. (Melsheimer, Thomas) (Entered:
                                                06/22/2018)




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               06/22/2018                     NOTICE of Attorney Appearance by Michael Andrew Bittner on
                                              behalf of Wells Fargo Bank, N.A. (Bittner, Michael) (Entered:
                                              06/22/2018)
              06/22/2018                  2   NOTICE of Attorney Appearance by Matthew R McCullough on
                                              behalf of Wells Fargo Bank, N.A. (McCullough, Matthew) (Entered:
                                              06/22/2018)
              06/22/2018                      NOTICE of Attorney Appearance by Elizabeth Danielle Thompson
                                              Williams on behalf of Wells Fargo Bank, N.A. (Williams, Elizabeth
                                              Danielle) (Entered: 06/22/2018)
              06/22/2018                  9 NOTICE of Attorney Appearance by James Travis Underwood on
                                            behalf of Wells Fargo Bank, N.A. (Underwood, James) (Entered:
                                              06/22/2018)
              06/25/2018              JJ      NOTICE of Attorney Appearance - Pro Hac Vice by Jason G Sheasby
                                              on behalf of United Services Automobile Association. Filing fee $ 100,
                                              receipt number 0540-6830034. (Sheasby, Jason) (Entered: 06/25/20 18)
              06/25/20 18             II      NOTICE of Attorney Appearance - Pro Hac Vice by Benjamin W
                                              Hattenbach on behalf of United Services Automobile Association.
                                              Filing fee $ 100, receipt number 0540-6830078. (Hattenbach,
                                              Benjamin) (Entered: 06/25/2018)
              06/25/2018              j       NOTICE of Attorney Appearance - Pro Hac Vice by Anthony Q
                                              Rowles on behalf of United Services Automobile Association. Filing
                                              fee $100, receipt number 0540-6830 166. (Rowles, Anthony) (Entered:
                                              06/25/2018)
              06/29/20 18             ia      SUMMONS Returned Executed by United Services Automobile
                                              Association. Wells Fargo Bank, N.A. served on 6/8/2018, answer due
                                              7/30/2018. (Bunt, Robert) (Entered: 06/29/2018)
              07/19/2018              14      Defendant's Unopposed Second Application for Extension of Time to
                                              Answer Complaint re Wells Fargo Bank, N.A..( Bittner, Michael)
                                              (Main Document 14 replaced with flattened image on 5/30/20 19) (ch,).
                                              Modified on 5/30/2019 (ch,). (Entered: 07/19/2018)
              07/19/20 18                     Defendant's Unopposed Second Application for Extension of Time to
                                              Answer Complaint is granted pursuant to Local Rule CV-12 for Wells
                                              Fargo Bank, N.A. to 8/14/20 18. 15 Days Granted for Deadline
                                              Extension.( nkl, ) (Entered: 07/19/2018)
              08/09/2018              Jj      ORDER - Scheduling Conference set for 9/11/2018 01:30 PM before
                                              District Judge Rodney Gilstrap. Signed by District Judge Rodney
                                              Gilstrap on 8/9/2018. (ch,) (Entered: 08/10/2018)
              08/14/2018              J       Wells   Fargo Bank, NA.    ANSWER to Complaint, First
                                                                                     .1.          ,



                                              COUNTERCLAIM against Wells Fargo Bank, N.A. by Wells Fargo
                                              Bank, N.A.. (Attachments: # I. Exhibit 1, # 2 Exhibit 2, # Exhibit 3, #
                                              4 Exhibit 4, # 5 Exhibit 5, # Exhibit 6, #2 Exhibit 7, # Exhibit 8, #




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                                             9 Exhibit 9, # j Exhibit 10)(Melsheimer, Thomas) (Entered:
                                             08/14/2018)
               08/14/20 18             fl    Additional Attachments to Main Document:       j Answer to Complaint,,
                                             Counterclaim,.. (Attachments: # I Exhibit 11, # 2 Exhibit 12, #
                                             Exhibit 13, #4 Exhibit 14, #5. Exhibit 15, # Exhibit 16, # 2 Exhibit
                                             17, # 8 Exhibit 18, #9 Exhibit 19, # j.Q Exhibit 20)(Melsheimer,
                                             Thomas) (Entered: 08/14/2018)
               08/14/20 18            ia     Additional Attachments to Main Document: j Answer to Complaint,,
                                             Counterclaim,.. (Attachments: #1 Exhibit 21, # Exhibit 22, #
                                             Exhibit 23, #4 Exhibit 24, #5. Exhibit 25, # Exhibit 26, #2 Exhibit
                                             27, # 8 Exhibit 28, #2 Exhibit 29, # IQ Exhibit 30, #fl Exhibit 31, #
                                             12 Exhibit 32, #13 Exhibit 33, #14 Exhibit 34, #15. Exhibit 35)
                                             (Melsheimer, Thomas) (Entered: 08/14/2018)
               08/14/20 18            12     CORPORATE DISCLOSURE STATEMENT filed by Wells Fargo
                                             Bank, N.A. (Meisheimer, Thomas) (Entered: 08/14/2018)
               08/14/2018                   In accordance with the provisions of 28 USC Section 636(c), you are
                                            hereby notified that a U.S. Magistrate Judge of this district court is
                                            available to conduct any or all proceedings in this case including a jury
                                            or non-jury trial and to order the entry of a final judgment. The form
                                            Consent to Proceed Before Magistrate Judg is available on our
                                            website. All signed consent forms, excluding pro se parties, should be
                                            filed electronically using the event Notice Regarding Consent to
                                            Proceed Before Magistrate Judge. (nkl,) (Entered: 08/14/2018)
               08/15/2018             2     NOTICE of Readiness for Scheduling Conference by United Services
                                            Automobile Association (Bunt, Robert) (Entered: 08/15/2018)
              08/15/20 18             21    CORPORATE DISCLOSURE STATEMENT filed by United Services
                                            Automobile Association (Bunt, Robert) (Entered: 08/15/2018)
              08/20/20 18                   NOTICE of Attorney Appearance by Prachi Viral Mehta on behalf of
                                            Wells Fargo Bank, N.A. (Mehta, Prachi) (Entered: 08/20/2018)
              08/28/20 18             23    NOTICE of Discovery Disclosure by United Services Automobile
                                            Association (Notice of Compliance as to P.R. 3-1 and 3-2) (Bunt,
                                            Robert) (Entered: 08/28/2018)
              09/04/2018              24    ANSWER to .j Answer to Complaint,, Counterclaim, by United
                                            Services Automobile Association.(Bunt, Robert) (Entered: 09/04/2018)
              09/06/2018                    NOTICE of Hearing: Scheduling Conference RESET for 9/11/2018
                                            01:00 PM in Ctrm 106 (Marshall) before District Judge Rodney
                                            Gilstrap. * * * Please note that the TIME for the hearing has changed. * * *
                                            (jml) (Entered: 09/06/2018)
              09/06/2018              25.   NOTICE of Attorney Appearance by Charles Ainsworth on behalf of
                                            United Services Automobile Association (Ainsworth, Charles)
                                            (Entered: 09/06/2018)




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               09/11/2018                    Minute Entry for proceedings held before Judge Rodney Gilstrap:
                                             Scheduling Conference held on 9/11/20 18. Counsel for the parties
                                             appeared and were asked if they consented to a trial before the United
                                             States Magistrate Judge. The Court then gave Markman and Jury
                                             Selection dates; deadlines for submitting Mediator names (3 days); and
                                             deadlines for submitting Agreed Scheduling and Discovery Orders (14
                                             days). (Court Reporter Shelly Holmes, CSR-TCRR.)(jml) (Entered:
                                             09/12/2018)
               09/13/2018             2      NOTICE of Designation of Mediator, Honorable David Folsom, filed
                                             by United Services Automobile Association. (Bunt, Robert) (Entered:
                                             09/13/2018)
               09/14/2018             22     ***FILED IN ERROR PER CLERK WRONG CASE***

                                             ORDER REFERRING CASE to Mediator David Folsom, Jackson
                                             Walker, L.L.P., 6002-B Summerfield Drive, Texarkana, Texas 75503,
                                             telephone number 903-255-3251, fax number 903-255-3266, and email
                                             dfolsom@jw.com, is hereby appointed as mediator. Signed by District
                                             Judge Rodney Gilstrap on 9/14/18. (ch, ) Modified on 9/19/20 18 (ch,).
                                             (Entered: 09/14/2018)
               09/14/20 18            22     ORDER REFERRING CASE to Mediator David Folsom, Jackson
                                             Walker, L.L.P., 6002-B Summerfield Drive, Texarkana, Texas 75503,
                                             telephone number 903-255-3251, fax number 903-255-3266, and email
                                             dfolsom@jw.com, is hereby appointed as mediator. Signed by District
                                             Judge Rodney Gilstrap on 9/14/2018. (ch,) (Entered: 09/19/2018)
               09/18/20 18            2.    MOTION for Judgment on the Pleadings by Wells Fargo Bank, N.A..
                                            (Attachments: # I Exhibit A, # 2 Text of Proposed Order)(Melsheimer,
                                            Thomas) (Entered: 09/18/2018)
              09/19/20 18                   ***FILED IN ERROR. FILED IN THE WRONG CASE
                                            Document # 27, Order Appointing Mediator. PLEASE
                                            IGNORE.***

                                            (ch,   )   (Entered: 09/19/2018)
              09/22/2018              3J    MOTION Expedited Motion to Coordinate Plaintiffs Deadline to
                                            Respond to Defendant's Motion Dli No. 28 re 2 MOTION for
                                            Judgment on the Pleadings by United Services Automobile
                                            Association. (Attachments: # I Text of Proposed Order)(Bunt, Robert)
                                            (Entered: 09/22/2018)
              09/24/20 18             3j.   ORDER re       MOTION Expedited Motion to Coordinate Plaintiffs
                                            Deadline to Respond to Defendant's Motion Dkt. No. 28 re
                                            MOTION for Judgment on the Pleadings. ORDERED that Plaintiffs
                                            Response to Defendants Motion for Judgment on the Pleadings (Dkt.
                                            No. 28) is SUSPENDED until seventy-two (72) hours after the Courts
                                            order disposing of Plaintiffs Expedited Motion to Coordinate Plaintiffs




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                                            Deadline to Respond to Defendants 101 Motion (Dkt. No. 30), or until
                                            such other time as the Court may hereafter order. Barring entry of a
                                            subsequent order of the Court, the 72 hour deadline imposed above
                                            shall apply. Signed by District Judge Rodney Gilstrap on 9/24/2018.
                                            (ch, ) (Entered: 09/24/2018)
              09/25/2018              32 Joint MOTION For Entry of Docket Control Order and Discovery
                                                                                                 I
                                         Order by Wells Fargo Bank, N.A.. (Attachments: # Exhibit 1, #
                                            Exhibit 2)(Bittner, Michael) (Entered: 09/25/2018)
              09/26/2018              3..   DOCKET CONTROL ORDER granting 32 Joint MOTION For Entry
                                            of Docket Control Order and Discovery Order Pretrial Conference set
                                            for 1 0/7/2019 09:00 AM before District Judge Rodney Gilstrap.,
                                            Amended Pleadings due by 3/7/2019., Jury Selection setfor 11/4/2019
                                            09:OOAM before District Judge Rodney Gilstrap., Mediation
                                             Completion due by 6/20/2019., Markman Hearing setfor 5/23/2019
                                            01:30 PM before District Judge Rodney Gilstrap., Motions due by
                                            9/19/2019., Proposed Pretrial Order due by 9/30/2019. Signed by
                                            District Judge Rodney Gilstrap on 9/26/2018. (ch,) (Entered.
                                            09/27/2018)
              09/26/2018              j4    DISCOVERY ORDER granting 32 Joint MOTION For Entry of
                                            Docket Control Order and Discovery Order Signed by Magistrate
                                            Judge Roy S. Payne on 9/26/2018. (ch,) (Entered: 09/27/2018)
              09/28/20 18            3      NOTICE by United Services Automobile Association re 2Jj MOTION
                                            for Judgment on the Pleadings (Joint Notice Pertaining to Standing
                                            OrderRegardingMotions Under 35 US.C. § 101) (Attachments: #1
                                            Exhibit A - letter brief re 101 Motions)(Bunt, Robert) (Entered:
                                            09/28/2018)
              10/01/2018              3     RESPONSE to Motion re 3Q MOTION Expedited Motion to
                                            Coordinate Plaintiffs Deadline to Respond to Defendanfs Motion Dkt.
                                            No. 28 re   MOTION for Judgment on the Pleadings filed by Wells
                                            Fargo Bank, NA.. (Melsheimer, Thomas) (Entered: 10/01/2018)
              10/02/20 18            3      Joint MOTION For Entry of Protective Order and E-Discovery Order
                                            by Wells Fargo Bank, N.A.. (Attachments: # I Exhibit 1, # 2 Exhibit 2)
                                            (Bittner,_Michael)_(Entered:_10/02/2018)
              10/02/2018              3.    NOTICE of Discovery Disclosure by United Services Automobile
                                            Association as to Initial Disclosures, Additional Disclosures and
                                            Document Production pursuant to Paragraphs 1 and 3 of the Discovery
                                            Order (Bunt, Robert) (Entered: 10/02/2018)
              10/03/20 18             3     E-DISCOVERY AND ESI ORDER granting 31 Joint MOTION For
                                            Entry of Protective Order and E-Discovery Order. Signed by District
                                            Judge Rodney Gilstrap on 10/3/2018. (ch, ) (Entered: 10/04/2018)
              10/03/2018              4i    PROTECTIVE ORDER. Signed by District Judge Rodney Gilstrap on
                                            10/3/2018. (ch, ) (Entered: 10/04/2018)




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              10/04/2018             4j    REPLY to Response to Motion re       MOTION Expedited Motion to
                                           Coordinate Plaintiffs Deadline to Respond to Defendant's Motion Dkt.
                                           No. 28 re 2 MOTION for Judgment on the Pleadingsfiled by United
                                                                                               I
                                           Services Automobile Association. (Attachments: # Exhibit 1, # 2
                                           Exhibit 2)(Bunt, Robert) (Entered: 10/04/2018)
              10/09/2018             42     SUR-REPLY to Reply to Response to Motion re 3Q MOTION
                                            Expedited Motion to Coordinate Plaintiffs Deadline to Respond to
                                            Defendant's Motion Dkt. No. 28 re    MOTION for Judgment on the
                                            Pleadingsfiled by Wells Fargo Bank, NA.. (Melsheimer, Thomas)
                                            (Entered: 10/09/2018)
              10/16/2018             43.    ORDER denying 3j MOTION Expedited Motion to Coordinate
                                            Plaintiffs Deadline to Respond to Defendant's Motion Dkt No. 28 re
                                            28 MOTION for Judgment on the Pleadings. Signed by District Judge
                                            Rodney Gilstrap on 10/16/2018. (ch, ) (Entered: 10/16/2018)
              10/26/2018             44     SEALED RESPONSE to Motion re 2 MOTION for Judgment on the
                                            Pleadings filed by United Services Automobile Association.
                                            (Attachments: #1 Exhibit 1, #2 Exhibit 2, #3. Exhibit 3, #4 Exhibit 4,
                                            # 5 Exhibit 5, #6 Exhibit 6, #2 Exhibit 7, # Exhibit 8, #2 Exhibit 9,
                                            # 10 Exhibit 10, #fl Exhibit 11, #  fl
                                                                                 Exhibit 12, #13. Exhibit 13, #14
                                            Exhibit 14, #    j
                                                             Exhibit 15, # j Exhibit 16, #11 Exhibit 17, # 1
                                            Exhibit 18, #12 Exhibit 19, #    Exhibit 20, #21 Exhibit 21, #22
                                            Exhibit 22, # 3. Text of Proposed Order)(Bunt, Robert) (Entered:
                                            10/26/2018)
              10/29/2018             4      Unopposed MOTION for Extension of Time to File Response/Reply as
                                            to 2. MOTION for Judgment on the Pleadings to Extend Reply and
                                            Sur-Reply Deadlines by Wells Fargo Bank, N.A.. (Attachments: #1
                                            Text of Proposed Order)(Bittner, Michael) (Entered: 10/29/2018)
              10/29/20 18            4      SEALED RESPONSE to Motion re 2. MOTION for Judgment on the
                                            Pleadings (CORRECTED)filed by United Services Automobile
                                            Association. (Attachments:     #j
                                                                            Exhibit 1, #2 Exhibit 2, #3. Exhibit 3, #
                                            4 Exhibit 4, # Exhibit 5, # Exhibit 6, #2 Exhibit 7, # Exhibit 8, #
                                            2 Exhibit 9, # jQ Exhibit 10, #11 Exhibit 11, #12 Exhibit 12, # 13.
                                            Exhibit 13, #14 Exhibit 14, #15.. Exhibit 15, # j Exhibit 16, #fl
                                            Exhibit 17, #    j
                                                             Exhibit 18, #19 Exhibit 19, # 2 Exhibit 20, #21
                                            Exhibit 21, #22 Exhibit 22, # 23. Text of Proposed Order)(Bunt,
                                            Robert) (Entered: 10/29/2018)
              10/30/20 18            41 ORDER granting 4 Motion for Extension of Time to File
                                        Response/Reply re 2.ij MOTION for Judgment on the Pleadings
                                        Responses due by 11/26/2018. Signed by District Judge Rodney
                                        Gilstrap on 10/30/2018. (ch,) (Entered: 10/30/2018)
              10/31/2018                    NOTICE of Hearing: Pretrial Conference RESET for 10/2/2019 09:00
                                            AM in Ctrm 106 (Marshall) before District Judge Rodney Gilstrap.
                                            (jml) (Entered: 10/31/2018)




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                 10/31/2018             4     REDACTION to 4 Sealed Response to Motion,, by United Services
                                              Automobile Association. (Attachments: # I Exhibit 1, # Exhibit 2, #3.
                                              Exhibit 3, #4 Exhibit 4, #5. Exhibit 5, # Exhibit 6, #1 Exhibit 7, #
                                              Exhibit 8, #9 Exhibit 9, # jj Exhibit 10, # jJ. Exhibit 11, # .12 Exhibit
                                              12, #fl Exhibit 13, #14 Exhibit 14, #15. Exhibit 15, #
                                              fl                   j                                    j   Exhibit 16, #
                                                 Exhibit 17, # Exhibit 18, #19 Exhibit 19, # Exhibit 20, # .21
                                              Exhibit 21, #   Exhibit 22 [redacted in its entirety], # 23. Text of
                                              Proposed Order)(Bunt, Robert) (Entered: 10/31/2018)
                11/09/2018             49     REPLY to Response to Motion re       MOTION for Judgment on the
                                              Pleadings filed by Wells Fargo Bank, NA.. (Meisheimer, Thomas)
                                              (Entered: 11/09/2018)
                11/26/2018             5     SEALED SUR-REPLY to Reply to Response to Motion re 2.
                                             MOTION for Judgment on the Pleadings filed by United Services
                                                                                         I
                                             Automobile Association. (Attachments: # Exhibit 1, # Exhibit 2, # 3.
                                             Exhibit 3, #4 Exhibit 4, #5. Appendix)(Bunt, Robert) (Entered:
                                             11/26/2018)
                11/26/2018             51 SEALED PATENT DOCUMENT FIRST AMENDED COMPLAINT
                                          AGAINST WELLS FARGO BANK, N.A. (Attachments: #1 Exhibit 1,
                                          #2 Exhibit 2, #3. Exhibit 3, #4 Exhibit 4, #5. Exhibit 5, # Exhibit 6,
                                          # Exhibit 7, # Exhibit 8, #9 Exhibit 9, #          j
                                                                                            Exhibit 10, #11 Exhibit
                                          11, # j Exhibit 12, #11 Exhibit 13, #j.4 Exhibit 14, # .1.5. Exhibit 15, #
                                             j
                                             Exhibit 16, #         fl
                                                              Exhibit 17, # j. Exhibit 18, #19 Exhibit 19, # 2Q
                                          Exhibit 20, # 21. Exhibit 21, # 22. Exhibit 22, #23. Exhibit 23, #24
                                          Exhibit 24, # 5. Exhibit 25, # Exhibit 26, # Exhibit 27, #
                                          Exhibit 28, # 9 Exhibit 29, # 3..Q Exhibit 30)(Bunt, Robert) (Entered:
                                          11/26/2018)
               11/27/2018              5     Opposed SEALED PATENT MOTION to Compel Deposition of Peter
                                             Alexander by United Services Automobile Association. (Attachments:
                                             #1 Appendix A, #2 Text of Proposed Order)(Bunt, Robert) (Entered:
                                             11/27/2018)
               11/28/2018             5.3.   REDACTION to 5 Sealed Sur-Reply to Reply to Response to Motion,
                                             by United Services Automobile Association. (Attachments: # 1 Exhibit
                                             1 - Public, #2 Exhibit 2 - Redacted,
                                                                                  #3. Exhibit 3 - Redacted, #4
                                             Exhibit 4 - Public, #5. Appendix Redacted)(Bunt, Robert) (Entered:
                                             11/28/2018)
               11/28/2018             54 REDACTION to 5j. Sealed Patent Document,, First Amended
                                         Complaint by United Services Automobile Association. (Attachments:
                                         # 1 Exhibit 1 Public, # 2. Exhibit 2 - Public, #3. Exhibit 3 - Public, #4
                                         Exhibit 4 - Public, #5. Exhibit 5 - Public, # Exhibit 6 - Public, #1
                                         Exhibit 7 - Public, # Exhibit 8 - Public, #9 Exhibit 9 - Public, # JJ.1
                                         Exhibit 10 - Public, #fl Exhibit 11 - Public, #12. Exhibit 12 - Public, #
                                         13 Exhibit 13 - Public, #14 Exhibit 14 - Public, #15. Exhibit 15 -
                                         Public, #       j
                                                      Exhibit 16 - Public, #    fl
                                                                                Exhibit 17 Public, # j Exhibit
                                         18 - Public, #19 Exhibit 19 Public, #
                                                                          -           Exhibit 20 - Public, #21




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                                            Exhibit 21 - Redacted, #    Exhibit 22 - Public, # 3. Exhibit 23 -
                                            Public, #24 Exhibit 24 - Public, #    Exhibit 25 - Public, #    Exhibit
                                            26 - Public, #22 Exhibit 27 - Public, #2  Exhibit  28 - Public, #29
                                            Exhibit 29 - Redacted, # 3Q Exhibit 30 Public)(Bunt, Robert)
                                            (Entered: 11/28/2018)
              12/05/20 18                   Unopposed MOTION to Unseal re 2 Opposed SEALED PATENT
                                            MOTION to Compel Deposition of Peter Alexander by United Services
                                            Automobile Association. (Attachments: # I Text of Proposed Order)
                                            (Bunt, Robert) (Entered: 12/05/2018)
              12/07/2018               fi ORDER granting Motion to Unseal Plaintiffs Motion to Compel the
                                          Deposition of Peter Alexander. Signed by District Judge Rodney
                                          Gilstrap on 12/6/2018. (nkl,) (Entered: 12/07/2018)
              12/10/2018                L   Agreed MOTION to Expedite Briefing re      Opposed SEALED
                                            PATENT MOTION to Compel Deposition of Peter Alexander by
                                            United Services Automobile Association. (Attachments: # 1 Text of
                                            Proposed Order)(Bunt, Robert) (Entered: 12/10/20 18)
              12/10/2018                    Defendant Wells Fargo Bank, NA. 's Answer Affirmative Defenses, and
                                            Counterclaims to Plaintffs Amended Complaint ANSWER to
                                            Complaint, COUNTERCLAIM against United Services Automobile
                                            Association by Wells Fargo Bank, N.A.. (Attachments: # .]. Exhibit 1, #
                                            2 Exhibit 2, #3. Exhibit 3, #4 Exhibit 4, # Exhibit 5, # Exhibit 6, #
                                            I Exhibit 7, # Exhibit 8, #9 Exhibit 9, # jJ Exhibit 10, #fl Exhibit
                                            11, #12 Exhibit 12, # 13 Exhibit 13, #14 Exhibit 14, # jExhibit 15, #
                                            I Exhibit 16, #        fl
                                                                Exhibit 17, # jjj Exhibit 18, #j9 Exhibit 19, # Q
                                            Exhibit 20, #21 Exhibit 21, #2.2 Exhibit 22, #2.3. Exhibit 23, #24
                                            Exhibit 24, # 25. Exhibit 25, #    Exhibit 26, #22 Exhibit 27, # 2.
                                            Exhibit 28, #29 Exhibit 29, # 3j Exhibit 30, #fl Exhibit 31, #32
                                            Exhibit 32, #3.3. Exhibit 33, #3.4 Exhibit 34, # 3.5. Exhibit 35)
                                            (Melsheimer, Thomas) (Entered: 12/10/2018)
              12/11/2018             59     RESPONSE to Motion re 5, Opposed SEALED PATENT MOTION to
                                            Compel Deposition of Peter Alexander filed by Wells Fargo Bank, NA..
                                            (Attachments:      #j
                                                               Exhibit A, #2 Exhibit B, #3. Exhibit C, #4 Exhibit
                                            D, #5. Exhibit E, # Exhibit F, #2 Exhibit G, # Exhibit H, #9
                                            Exhibit I, #   Exhibit J)(Melsheimer, Thomas) (Entered: 12/11/2018)
              12/12/20 18                   ORDER denying 52 Agreed MOTION to Expedite Briefing re 52
                                            Opposed SEALED PATENT MOTION to Compel Deposition of Peter
                                            Alexander. Signed by District Judge Rodney Gilstrap on 12/12/2018.
                                            (ch,) (Entered: 12/12/2018)
              12/12/20 18              j. ORDER denying as moot 2 MOTION for Judgment on the Pleadings
                                          Signed by District Judge Rodney Gilstrap on 12/12/2018 (ch) (Entered:
                                            12/12/2018)
              12/13/20 18                   Joint MOTION for Leave to File Reply and Sur-Reply ID/a. No. 52] by
                                            United Services Automobile Association. (Attachments: # 1 Text of



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                                               Proposed Order)(Bunt, Robert) (Entered: 12/13/20 18)
                 12/14/20 18                  ORDER granting      Motion for Leave to File Reply and Sur-Reply
                                              regarding theMotion to Compel Deposition of Peter Alexander. Signed
                                              by District Judge Rodney Gilstrap on 12/14/20 18. (nkl,) (Entered:
                                              12/14/2018)
                 12/17/20 18              4 REPLY to Response to Motion re 52 Opposed SEALED PATENT
                                            MOTION to Compel Deposition ofPeter Alexander filed by United
                                           Services Automobile Association. (Bunt, Robert) (Entered: 12/17/2018)
                 12/21/2018              5 SUR-REPLY to Reply to Response to Motion re 52 Opposed SEALED
                                           PATENT MOTION to Compel Deposition ofPeter Alexander
                                           Defendant's Sur-Reply In Opposition to Plaintt(fs Motion to Compel
                                           Deposition ofPeterAlexanderfiled by Wells Fargo Bank, NA..
                                           (Attachments: # Exhibit K)(Melsheimer, Thomas) (Entered:
                                                                   .1.


                                           12/21/2018)
                12/24/20 18                  ANSWER to 5 Answer to Complaint,,,, Counterclaim,,, by United
                                             Services Automobile Association.(Bunt, Robert) (Entered: 12/24/2018)
                01/03/2019                   NOTICE of Hearing on Motion 52 Opposed SEALED PATENT
                                             MOTION to Compel Deposition ofPeter Alexander Motion Hearing
                                                                                                 :


                                             set for 1/10/2019 10:00 AM in Ctrm 106 (Marshall) before District
                                             Judge Rodney Gilstrap. (jml) (Entered: 01/03/2019)
               01/04/2019                    NOTICE by United Services Automobile Association re 52 Opposed
                                             SEALED PATENT MOTION to Compel Deposition ofPeter Alexander
                                             [JOINT REPORT OF PARTIES REGARDING MOTION TO COMPEL
                                             DEPOSITION OF PETER ALEXANDER] (Bunt, Robert) (Entered:
                                             01/04/2019)
               01/10/2019                    Minute Entry for proceedings held before District Judge Rodney
                                             Gilstrap: Motion Hearing held on 1/10/20 19 re 52 Opposed SEALED
                                             PATENT MOTION to Compel Deposition ofPeter Alexander filed by
                                             United Services Automobile Association. (Court Reporter Shelly
                                             Holmes, CSR-TCRR.) (Attachments: #1 Attorney Attendance Sheet)
                                             (jml) (Entered: 01/10/2019)
               01/10/2019                   PAPER TRANSCRIPT REQUEST by United Services Automobile
                                            Association for proceedings held on 01/10/20 19 motion hrg re Dkt. No.
                                            52 before Judge Gilstrap. (Bunt, Robert) (FORWARDED TO
                                            OFFICIAL COURT REPORTER, SHELLY HOLMES ON 1/10/20 19)
                                            (Entered: 01/10/2019)
               01/10/2019           3J2     AMENDED Minute Entry for proceedings held before District Judge
                                            Rodney Gilstrap: Motion Hearing held on 1/10/20 19 re 52 Opposed
                                            SEALED PATENT MOTION to Compel Deposition of Peter
                                            Alexander filed by United Services Automobile Association. (Court
                                                                                                      I
                                            Reporter Shelly Holmes, CSR-TCRR.) (Attachments: # Attorney
                                            Attendance Sheet) (jml) (Entered: 10/31/2019)




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                 01/14/20 19              2Q     NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings
                                                 held on 1/10/19 (Motion Hearing) before Judge Rodney Gilstrap. Court
                                                 Reporter/Transcriber: Shelly Holmes, CSR, TCRR,Telephone number:
                                                 (903) 923-7464 (Shelly Holmestxed.uscourts.gov). <P>NOTICE
                                                 RE REDACTION OF TRANSCRIPTS: The parties have seven (7)
                                                 business days to file with the Court a Notice of Intent to Request
                                                 Redaction of this transcript. If no such Notice is filed, the
                                                 transcript will be made remotely electronically available to the
                                                public without redaction after 90 calendar days. The policy is
                                                located on our website at www.txed.uscourts.gov<P> Transcript may
                                                be viewed at the court public terminal or purchased through the Court
                                                Reporter/Transcriber before the deadline for Release of Transcript
                                                Restriction. After that date it may be obtained through PACER.. Motion
                                                to Redact due 2/4/2019. Release of Transcript Restriction set for
                                                4/15/2019. (sholmes, ) (Entered: 01/14/2019)
                01/14/2019             fl       ORDER denying        Opposed SEALED PATENT MOTION to Compel
                                                Deposition of Peter Alexander. Signed by District Judge Rodney
                                                Gilstrap on 1/14/2019. (ch,) (Entered: 01/14/2019)
               01/24/2019              fl       Unopposed MOTION for Leave to Amend Infringement Contentions
                                                by United Services Automobile Association. (Attachments: # 1 Text of
                                                Proposed Order)(Bunt, Robert) (Entered: 01/24/2019)
               01/25/2019              23.      ORDER granting 2 Unopposed MOTION for Leave to Amend
                                                Infringement Contentions. Signed by District Judge Rodney Gilstrap on
                                                1/25/2019. (ch, ) (Entered: 01/28/2019)
               02/20/20 19             24 Unopposed MOTION to Withdraw as Attorney by Wells Fargo Bank,
                                          N.A.. (Attachments: # I Text of Proposed Order)(Melsheimer, Thomas)
                                               (Entered: 02/20/2019)
               02/21/2019                 5 ORDER granting 24 Motion to Withdraw as Attorney. Attorney Prachi
                                               Viral Mehta terminated. Signed by District Judge Rodney Gilstrap on
                                               2/21/2019. (ch, ) (Entered: 02/21/2019)
               02/28/20 19            2        Claim Construction and Prehearing Statement by United Services
                                               Automobile Associatio. (Attachments: # 1 Exhibit A (Agreed
                                               Constructions), # 2 Exhibit B (Parties' Proposed Constructions), #3.
                                               Exhibit C (USAA's Proposed Constructions and Identification of
                                               Evidence), # 4 Exhibit D (Wells Fargo's Proposed Constructions and
                                               Identification of Evidence))(Bunt, Robert) (Entered: 02/28/2019)
              03/07/20 19             fl       Deftndant Wells Fargo Bank, NA. 's AmendedAnswer, Affirmative
                                               Defenses and Counterclaims to Plainttffs Amended Complaint
                                               ANSWER to j Answer to Complaint,, Counterclaim,,
                                               COUNTERCLAIM against United Services Automobile Association
                                               by Wells Fargo Bank, N.A.. (Attachments: # .j Exhibit 1, # Exhibit 2,
                                               #3. Exhibit 3, #4 Exhibit 4, #5 Exhibit 5, # Exhibit 6,
                                                                                                       #2 Exhibit 7,
                                               # Exhibit 8, #2 Exhibit 9, # fl Exhibit 10, #11 Exhibit 11, #12




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                                             Exhibit 12, # 13 Exhibit 13, #14 Exhibit 14, #15 Exhibit 15, # 1
                                             Exhibit 16, #fl Exhibit 17, # 1 Exhibit 18, # j Exhibit 19, # 2Q
                                             Exhibit 20, # 2.1. Exhibit 21, #22 Exhibit 22, # 2 Exhibit 23, #24
                                             Exhibit 24, #25 Exhibit 25, #      Exhibit 26, #22 Exhibit 27, # 2
                                             Exhibit 28, # 2 Exhibit 29, # 3Q Exhibit 30, #11 Exhibit 31, #32
                                             Exhibit 32, # 33. Exhibit 33, #34 Exhibit 34, # 3.5 Exhibit 35)
                                             (Melsheimer, Thomas) (Entered: 03/07/2019)
               03/21/2019             7j. Amended ANSWER to 77 Answer to Counterclaim,,,,,,, by United
                                          Services Automobile Association(a Texas reciprocal inter-insurance
                                          exchange).(Bunt, Robert) (Entered: 03/21/2019)
               04/09/20 19            22     Order Referring Case for Claim Construction Purposes Only. Signed by
                                             District Judge Rodney Gilstrap on 4/9/20 19. (ch,) (Entered:
                                             04/10/2019)
               04/10/20 19                   NOTICE of Hearing:Markman Hearing RESET for 5/23/20 19 09:00
                                             AM before Magistrate Judge Roy S. Payne. (bga,) (Entered:
                                             04/10/20 19)
               04/11/20 19                   Unopposed MOTION for Extension of Time to File Technical Tutorial
                                             by Wells Fargo Bank, N.A.. (Attachments:   #j Text of Proposed Order)
                                             (Williams, Elizabeth Danielle) (Entered: 04/11/2019)
               04/11/2019               ]. OPENING CLAIM CONSTRUCTION BRIEF filed by United
                                                                                                I
                                           Services Automobile Association. (Attachments: # Exhibit 1, # 2
                                           Exhibit 2, # 3 Exhibit 3, #4 Exhibit 4, # 5 Exhibit 5, # Exhibit 6, #1
                                           Exhibit 7, # 8 Exhibit 8, #2 Exhibit 9, # j. Exhibit 10, #11 Exhibit 11,
                                           #12 Exhibit 12, #13. Exhibit 13, #14 Exhibit 14, #j5 Exhibit 15, # 1
                                           Exhibit 16, #       fl
                                                            Exhibit 17, #   j
                                                                            Exhibit 1 8)(Bunt, Robert) (Entered:
                                           04/11/2019)
               04/15/2019                    ORDER granting        Unopposed MOTION for Extension of Time to
                                             File Technical Tutorial. Signed by Magistrate Judge Roy S. Payne on
                                             4/15/2019. (cli, ) (Entered: 04/15/2019)
               04/15/20 19              3.   ORDER Appointing Technical Advisor. Signed by Magistrate Judge
                                             Roy S. Payne on 4/15/2019. (nkl, ) (Entered: 04/15/2019)
              04/25/20 19             .4     CLAIM CONSTRUCTION BRIEF filed by Wells Fargo Bank, N.A..
                                             (Attachments: # I Exhibit A, #2 Exhibit B, # Exhibit C, #4 Exhibit
                                                                                          3..


                                             D, #5 Exhibit E, # Exhibit F, #2 Exhibit G, # Exhibit H, #2
                                             Exhibit I, # j( Exhibit J, #11 Exhibit K, #12 Exhibit L, #13.. Exhibit
                                             M)(Melsheimer, Thomas) (Entered: 04/25/2019)
              05/02/2019               5 REPLY to 81 Claim Construction Brief, 84 Claim Construction Brief,
                                         filed by United Services Automobile Association. (Attachments: # I
                                         Exhibit 1, #2 Exhibit 2, #3. Exhibit 3, #4 Exhibit 4, #5 Exhibit 5, #
                                             Exhibit 6)(Bunt, Robert) (Entered: 05/02/20 19)
              05/02/20 19             86     SEALED ADDITIONAL ATTACHMENTS to Main Document: 85




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                                               Reply to Claim Construction Brief. (Attachments: # j. Exhibit 7)(Bunt,
                                               Robert) (Entered: 05/02/2019)
                05/06/2019                 2 REDACTION to 86 Sealed Additional Attachments to Main Document
                                               by United Services Automobile Association. (Attachments: # I Exhibit
                                               7 - redacted)(Bunt, Robert) (Entered: 05/06/2019)

                05/09/20 19                    Joint Claim Construction Chart by United Services Automobile
                                               Association. (Attachments: # I Exhibit A)(Bunt, Robert) (Entered:
                                               05/09/2019)
               05/15/20 19                .2   NOTICE by United Services Automobile Association ofDecision
                                               Denying Institution of Covered Business Method Patent Review
                                                                    j
                                               (Attachments: # Exhibit A)(Bunt, Robert) (Entered: 05/15/2019)
               05/16/2019              2       NOTICE of Attorney Appearance by Jack Wesley Hill on behalf of
                                               Wells Fargo Bank, N.A. (Hill, Jack) (Entered: 05/16/2019)
               05/22/2019              91 Joint MOTION Joint Motion for Extension of Time to Complete
                                          Mediation by Wells Fargo Bank, N.A.. (Attachments: # I Text of
                                          Proposed Order)(Melsheimer, Thomas) (Entered: 05/22/2019)
               05/23/20 19             92 NOTICE by United Services Automobile Association of Filing Claim
                                          Construction Presentation (Attachments: # I Exhibit A)(Bunt, Robert)
                                               (Entered: 05/23/2019)
               05/23/20 19             9.      ORDER granting 91 Joint Motion for Extension of Time to Complete
                                               Mediation. The deadline to complete mediation is extended up to and
                                               including July 30, 2019. Signed by District Judge Rodney Gilstrap on
                                               5/23/19. (ljw, ) (Entered: 05/23/2019)
               05/23/20 19             94 Minute Entry for proceedings held before Magistrate Judge Roy S.
                                          Payne: Markman Hearing held on 5/23/20 19. (Court Reporter Shelly
                                               Holmes.) (Attachments: #     I Attorney Sign-In Sheet) (bga,) (Entered:
                                               05/23/2019)
               05/29/20 19            9,       PAPER TRANSCRIPT REQUEST by United Services Automobile
                                               Association for proceedings held on 05/23/20 19 Claim Construction
                                               Hearing before Judge Payne. (Bunt, Robert) (FORWARD TO SHELLY
                                               HOLMES) Modified on 5/29/20 19 (ch,). (Main Document 95 replaced
                                               with flattened image on 5/30/20 19) (ch,). Modified on 5/30/2019 (ch,
                                               ). (Entered: 05/29/20 19)
               05/31/2019             9        NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings
                                               held on 5/23/19 (Claim Construction Hearing) before Judge Roy Payne.
                                               Court Reporter/Transcriber: Shelly Holmes, CSR, TCRR,Telephone
                                               number: (903) 923-7464 (She11y_Ho1mes@txed.uscourts.gov).
                                               <P>NOTICE RE REDACTION OF TRANSCRIPTS: The parties
                                               have seven (7) business days to file with the Court a Notice of
                                               Intent to Request Redaction of this transcript. If no such Notice is
                                               filed, the transcript will be made remotely electronically available




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                                              to the public without redaction after 90 calendar days. The policy is
                                              located on our website at www.txed.uscourts.gov<P> Transcript may
                                              be viewed at the court public terminal or purchased through the Court
                                              Reporter/Transcriber before the deadline for Release of Transcript
                                              Restriction. After that date it may be obtained through PACER.. Motion
                                              to Redact due 6/21/2019. Release of Transcript Restriction set for
                                              8/29/2019. (sholmes, ) (Entered: 05/31/2019)
                06/03/20 19                   NOTICE by United Services Automobile Association NOTICE OF
                                              DECISIONS DENYING INSTITUTION OF CO VERED BUSINESS
                                              METHOD PATENT REVIEW (Attachments: # j Exhibit A, # Exhibit
                                              B)(Bunt, Robert) (Entered: 06/03/2019)
                06/03/20 19              9    ORDER to Pay Technical Advisor. Signed by Magistrate Judge Roy S.
                                              Payne on 6/3/2019. (nkl, ) (Entered: 06/03/2019)
                06/11/2019               9   NOTICE of Attorney Appearance - Pro Hac Vice by Lisa Sharrock
                                             Glasser on behalf of United Services Automobile Association. Filing
                                             fee $ 100, receipt number 0540-7306042. (Glasser, Lisa) (Entered:
                                             06/11/2019)
               06/13/20 19           LQ2     CLAIM CONSTRUCTION MEMORANDUM OPINION AND
                                             ORDER. Signed by Magistrate Judge Roy S. Payne on 6/13/2019. (ch,
                                             ) (Entered: 06/13/20 19)

               06/13/20 19                   Joint MOTION to Amend/Correct 3 Order,,, Terminate Motions,,,
                                             Scheduling Order,, The Docket Control Order by Wells Fargo Bank,
                                             N.A.. (Attachments: # j. Text of Proposed Order)(Melsheimer, Thomas)
                                             (Entered: 06/13/2019)
               06/13/2019           j.       Joint MOTION for Extension of Time to File For Extension of the
                                             Deadline to File Dispositive Motions and Motions to Strike Expert
                                             Testimony by Wells Fargo Bank, N.A.. (Attachments: # .1. Text of
                                             Proposed Order)(Melsheimer, Thomas) (Entered: 06/13/2019)
               06/14/20 19          iQ       ***FILED IN ERROR PER ATTORNEY. PLEASE IGNORE***
                                             PARTIES P.R. 4-5(D) JOINT CLAIM CONSTRUCTION CHART by
                                             United Services Automobile Association. (Attachments: # 1 Exhibit A.
                                             Joint Claim Construction Cbart)(Bunt, Robert) Modified on 6/17/20 19
                                             (nid,). Modified on 6/18/2019 (ide,). (Entered: 06/14/2019)
               06/18/2019                    ***FILED IN ERROR. Document # 103,. PLEASE IGNORE.***
                                             Document is to be filed in correct case.

                                             (kic,) (Entered: 06/18/2019)
              06/20/20 19           fl4      Joint MOTION to Amend/Correct 3.. Order,,, Terminate Motions,,,
                                             Scheduling Order,, Docket Control Order by Wells Fargo Bank, N.A..
                                             (Attachments: # I Text of Proposed Order)(Melsheimer, Thomas)
                                             (Entered: 06/20/20 19)




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               06/21/2019           iQ5      ORDER granting 1Q4 Motion to Amend the Docket Control Order.
                                             Signed by District Judge Rodney Gilstrap on 6/21/2019. (nkl,)
                                             (Entered: 06/21/2019)
               06/25/2019           j.Q      ORDER finding as moot IQJ. Motion to Amend/Conect; finding as
                                             moot iJ2 Motion for Extension of Time to File. Signed by District
                                             Judge Rodney Gilstrap on 6/25/2019. (nkl,) (Entered: 06/25/2019)
               06/27/20 19          J..QJ.   Unopposed MOTION to Seal Document by Wells Fargo Bank, N.A..
                                             (Attachments:      #j
                                                               Text of Proposed Order)(Melsheimer, Thomas)
                                             (Entered: 06/27/2019)
               06/27/20 19          .iL      Joint SEALED MOTION to Amend the Docket Control Order by Wells
                                             Fargo Bank, N.A.. (Attachments: # I. Text of Proposed Order)
                                             (Melsheimer, Thomas) (Entered: 06/27/2019)
               06/27/2019           jj       Wells Fargo's Objections to Magistrate Judge Payne's Claim
                                             Construction Memorandum Opinion and Order (Melsheimer, Thomas)
                                             (Entered: 06/27/2019)
               06/27/20 19          iiJ      OBJECTION TO CLAIM CONSTRUCTION filed by United Services
                                             Automobile Association. (Bunt, Robert) (Entered: 06/27/2019)
               07/01/2019           iii.     ORDER granting lifl Motion to Seal Document. Signed by District
                                             Judge Rodney Gilstrap on 7/1/19. (ch,) (Entered: 07/02/20 19)
               07/01/20 19          flZ      ORDER granting jj Joint SEALED MOTION to Amend the Docket
                                             Control Pretrial Conference setfor 1 0/7/2019 09:00 AM before District
                                             Judge Rodney Gilstrap., Jury Selection setfor 11/4/2019 09:OOAM
                                             before District Judge Rodney Gilstrap., Mediation Completion due by
                                             7/30/2019., Motions due by 9/19/2019., Proposed Pretrial Order due by
                                             9/30/2019. Signed by District Judge Rodney Gilstrap on 7/1/19. (ch,)
                                             (Entered: 07/02/2019)
               07/09/20 19          fl.      ORDER Plaintiffs Objections (Dkt. No. 110) and Defendants
                                             Objections (Dkt. No. 109) are OVERRULED. The Claim Construction
                                             Memorandum and Order (Dkt. No. 100) is hereby adopted. Signed by
                                             District Judge Rodney Gilstrap on 7/9/20 19. (ch,) (Entered:
                                             07/10/2019)
              07/15/20 19           114      Unopposed MOTION For Leave to Excuse Lead Counsel from
                                             Attending Meet and Confer by Wells Fargo Bank, N.A.. (Attachments:
                                             # j Text of Proposed Order)(Williams, Elizabeth Danielle) (Entered:
                                             07/15/2019)
              07/16/20 19           fl       ORDER granting 114 Unopposed MOTION For Leave to Excuse Lead
                                             Counsel from Attending Meet and Confer. Signed by District Judge
                                             Rodney Gilstrap on 7/16/19. (ch, ) (Entered: 07/16/2019)
              07/17/20 19           fl       NOTICE by Wells Fargo Bank, N.A. re    fl   Order on Motion for
                                             Miscellaneous Relief Notice of Substitute Point of Contact (Williams,
                                             Elizabeth Danielle) (Entered: 07/17/2019)




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                07/17/2019           112     THIRD AMENDED DOCKET CONTROL ORDER - Pretrial
                                             Conference set for 10/4/20 19 09:00 AM before District Judge Rodney
                                             Gilstrap. Signed by District Judge Rodney Gilstrap on 7/17/19. (ch,)
                                             (Entered: 07/17/2019)
                07/19/2019           fl      Joint MOTION for Leave to File to Take Depositions After the
                                             Deadline to Complete Fact Discovery by Wells Fargo Bank, N.A.(a
                                             national banking association). (Attachments: # j. Text of Proposed
                                             Order)(Melsheimer, Thomas) (Entered: 07/19/2019)
               07/22/20 19           119.    Unopposed MOTION to Withdraw as Attorney as to Benjamin
                                             Hattenbach by United Services Automobile Association. (Attachments:
                                             #1 Text of Proposed Order)(Bunt, Robert) (Entered: 07/22/2019)
               07/22/2019            12Q     ORDER granting as modified fl. Joint MOTION for Leave to File to
                                             Take Depositions After the Deadline to Complete Fact Discovery.
                                             Signed by District Judge Rodney Gilstrap on 7/22/19. (ch,) (Entered:
                                             07/23/2019)
               07/26/20 19           121     ORDER granting 119. Motion to Withdraw as Attorney. Attorney
                                             Benjamin W Hattenbach terminated. Signed by District Judge Rodney
                                             Gilstrap on 7/26/2019. (ch,) (Entered: 07/29/2019)
               07/30/20 19           j       REPORT of Mediation by David Folsom. Mediation result:
                                             suspended(Folsom, David) (Entered: 07/30/2019)
               07/30/20 19           .i2.    Joint MOTION to AmendlCorrect .jfl Order, Terminate Motions,
                                             Scheduling Order by Wells Fargo Bank, N.A.. (Attachments: # I Text
                                             of Proposed Order)(Melsheimer, Thomas) (Entered: 07/30/2019)
               08/01/20 19           124     Opposed MOTION for Leave to File AmendedAnswer by Wells Fargo
                                             Bank, N.A.. (Attachments: # I Text of Proposed Order)(Melsheimer,
                                             Thomas) (Entered: 08/01/2019)
               08/01/20 19           j2.    AMENDED ANSWER to Defendant Wells Farago Bank, N.A. 's
                                            SeccondAmended Answer, Affirmative Defenses, and Counterclaims to
                                            PlaintfJ's Amended Complaint I Complaint, COUNTERCLAIM
                                                                                        ,


                                            against United Services Automobile Association by Wells Fargo Bank,
                                            N.A.. (Meisheimer, Thomas) (Entered: 08/01/2019)
               08/01/20 19          i2      FOURTH AMENDED DOCKET CONTROL ORDER granting                   j
                                            Motion to Amend/Correct. Signed by District Judge Rodney Gilstrap
                                            on 8/1/19. (ch,) (Entered: 08/01/2019)
              08/15/20 19           122     SEALED RESPONSE to Motion re 124 Opposed MOTION for Leave
                                            to File Amended Answer filed by United Services Automobile
                                            Association. (Attachments: # 1 Text of Proposed Order)(Bunt, Robert)
                                            (Entered: 08/15/2019)
              08/16/20 19           I2      Joint MOTION to Amend/Correct I2 Order on Motion to
                                            Amend/Correct Docket Control Order by United Services Automobile




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                                              Association. (Attachments: #   I Text of Proposed Order)(Bunt, Robert)
                                              (Entered: 08/16/2019)
                08/19/20 19          122      FIFTH AMENDED DOCKET CONTROL ORDER granting 12 Joint
                                              MOTION to Amend/Correct 126 Order on Motion to Amend/Correct
                                              Docket Control Order. Signed by District Judge Rodney Gilstrap on
                                              8/19/2019. (ch, ) (Entered: 08/19/2019)
               08/19/2019            J.3.    MOTION for Summary Judgment ofNo Indirect Infringement by Wells
                                             Fargo Bank, N.A.. (Attachments: # I Text of Proposed Order)
                                             (Meisheimer, Thomas) (Entered: 08/19/2019)
               08/19/2019            13j. MOTION for Summary Judgment Under 35 US.C. § 101 by Wells
                                                                                  I
                                          Fargo Bank, N.A.. (Attachments: # Affidavit, #2 Exhibit A, # a
                                          Exhibit B, #4 Exhibit C, # Exhibit D, # Exhibit E, # 7 Exhibit F, #
                                          8 Exhibit G, #2 Exhibit H, # jj Exhibit I, #
                                          (Meisheimer, Thomas) (Entered: 08/19/2019)
                                                                                            fl
                                                                                       Text of Proposed Order)

               08/19/2019            L32 SEALED MOTION To Strike or Alternatively, For Summary Judgment
                                         Regarding The Doctrine OfEquivalents by Wells Fargo Bank, N.A..
                                         (Attachments: # .1. Affidavit, #2 Exhibit A, # a Exhibit B, #4 Exhibit
                                         C, # 5 Exhibit D, # Exhibit E, # Exhibit F, # Exhibit G, #2
                                         Exhibit H, # jj Exhibit I, #11 Exhibit J, #12 Exhibit K, #1.3 Exhibit
                                         L, # 14 Text of Proposed Order)(Melsheimer, Thomas) (Entered:
                                         08/19/2019)
               08/19/2019            j33     SEALED MOTION For Partial Summary Judgment Under 35 US. C.
                                             28 7(a) by Wells Fargo Bank, N.A.. (Attachments: # I Affidavit, #2
                                             Exhibit A, # a Exhibit B, #4 Exhibit C, # Exhibit D, # Exhibit E, #
                                             1 Exhibit F, # Exhibit G, #2 Exhibit H, # j.Q. Exhibit I, #fl Exhibit J,
                                             #12 Exhibit K, #13 Text of Proposed Order)(Melsheimer, Thomas)
                                             (Entered: 08/19/2019)
               08/19/2019           U4       SEALED MOTION For Summary Judgment OfNo Willful
                                             Infringement by Wells Fargo Bank, N.A.. (Attachments: #1 Affidavit,
                                             #2 Exhibit A, #3 Exhibit B, #4 Exhibit C, # Exhibit D, # Exhibit
                                             E, # 7.. Exhibit F, # 8 Exhibit G, #9 Exhibit H, # jJ Exhibit I, # ii.
                                             Exhibit J, #12 Exhibit K, #13 Exhibit L, #j4. Exhibit M, #    j    Exhibit
                                             N, # j Exhibit 0, #        fl        j
                                                                       Exhibit P, #   Exhibit Q, #19 Exhibit R, # 2I
                                             Exhibit 5, # 21 Text of Proposed Order(Me1sheimer, Thomas)
                                             (Entered: 08/19/2019)
               08/19/20 19          115     SEALED MOTION FOR PARTIAL SUMMARY JUDGMENT by
                                            United Services Automobile Association. (Attachments: #1 Appendix
                                            Appendix A, #2 Appendix Appendix B, #3 Text of Proposed Order
                                            Proposed Order)(Bunt, Robert) (Entered: 08/19/2019)
              08/19/20 19           I3f                                          I
                                            Sealed Document. (Attachments: # Exhibit Exhibit A, # 2 Exhibit
                                            Exhibit B, #3 Exhibit Exhibit C, #4 Exhibit Exhibit D, # Exhibit
                                            Exhibit E, # Exhibit Exhibit F, # Exhibit Exhibit G, # Exhibit
                                            Exhibit H, #9 Exhibit Exhibit I, # jj Exhibit Exhibit J, #fl Exhibit



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                                                 Document      1 Filed
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                                             Exhibit K, #12 Exhibit Exhibit L, # j Exhibit Exhibit M, #14 Exhibit
                                             Exhibit N, # j Exhibit Exhibit 0, #jj  Exhibit Exhibit P, #12 Exhibit
                                             Exhibit Q)(Bunt, Robert) (Entered: 08/19/20 19)
               08/20/20 19           137    SEALED ADDITIONAL ATTACHMENTS to Main Document: 135
                                            SEALED MOTION FOR PARTIAL SUMMARY JUDGMENT.
                                            (Attachments:        #j
                                                                Affidavit Dec. Anthony Rowles, #2 Exhibit A, #
                                            Exhibit B, #4 Exhibit C, # Exhibit D, # Exhibit E, # Exhibit F, #
                                                                                                    .



                                            8 Exhibit G, # 9 Exhibit H, # 10 Exhibit I, #fl Exhibit J, #12 Exhibit
                                            K, # 13. Exhibit L, #14 Exhibit M, # j Exhibit N, # j Exhibit 0, #12
                                            Exhibit P, # j Exhibit Q)(Bunt, Robert) (Entered: 08/20/20 19)
               08/20/20 19          j3      AFFIDAVIT in Support re 132 SEALED MOTION To Strike or
                                            Alternatively, For Summary Judgment Regarding The Doctrine Of
                                            Equivalents CERTIFICATE OF CONFERENCE TO DEFENDANT
                                            WELLS FARGO BANK, NA.S MOTION TO STRIKE, OR
                                            ALTERNA TIVEL 1 FOR SUMMARY JUDGMENT REGARDING THE
                                            DOCTRINE OFEQUJ VALENTS FILED UNDER SEAL ASDOCKET
                                            132 by Wells Fargo Bank, N.A.. (Meisheimer, Thomas) (Entered:
                                            08/20/2019)
              08/22/20 19           13      REPLY to Response to Motion re 124 Opposed MOTION for Leave to
                                            File Amended Answer filed by Wells Fargo Bank, NA.. (Meisheimer,
                                            Thomas) (Entered: 08/22/20 19)
              08/22/20 19           14.Q    REDACTION to j3 SEALED MOTION FOR PARTIAL SUMMARY
                                            JUDGMENT by United Services Automobile Association.
                                            (Attachments:       #j
                                                             Appendix A - redacted, #2 Appendix B, #3. Text of
                                            Proposed Order)(Bunt, Robert) (Entered: 08/22/20 19)
              08/22/20 19           141 REDACTION to jfl Sealed Additional Attachments to Main
                                        Document, by United Services Automobile Association. (Attachments:
                                        #1 Affidavit, #2 Exhibit A, # 3 Exhibit B, #4 Exhibit C, # Exhibit D
                                        [Redacted], # Exhibit E [Redacted], #1 Exhibit F [Redacted], #
                                        Exhibit G [Redacted], # Exhibit H, # j. Exhibit I, #fl Exhibit J, #12
                                        Exhibit K, # 13 Exhibit L, #14 Exhibit M, # j. Exhibit N, # i Exhibit
                                        0 [Redacted], #fl Exhibit P [Redacted], # j Exhibit Q)(Bunt,
                                        Robert) (Entered: 08/22/2019)
              08/23/2019            142 SEALED MOTION To Exclude And/Or Strike Expert Testimony
                                        Provided by Mr Calman In His Opening And Supplemental Reports by
                                        Wells Fargo Bank, N.A.. (Attachments: #j Affidavit, #2 Exhibit A, #
                                        3. Exhibit B, #4 Exhibit C, #  Exhibit D, # Exhibit E, #2 Exhibit F,
                                        # Exhibit G, # Exhibit H, # IQ Exhibit I, #fl Exhibit J, #fl
                                        Exhibit K, # 13. Text of Proposed Order)(Melsheimer, Thomas)
                                        (Entered: 08/23/2019)
              08/23/2019            143.    SEALED MOTION To Exclude And/Or Strike Relating To The Calman
                                            Rebuttal Report by Wells Fargo Bank, N.A.. (Attachments:    #j
                                            Affidavit, #2 Exhibit A, #3. Exhibit B, #4 Exhibit C, # Exhibit D, #




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                                                                        Exhibit G, #2 Exhibit H, #
                                            6 Exhibit E, # 7 Exhibit F, #                             j
                                                                                                     Exhibit I,
                                            #fl Text of Proposed Order)(Melsheimer, Thomas) (Entered:
                                            08/23/2019)
              08/23/20 19           144     SEALED MOTION To Strike Portions Of the Conte Report by Wells
                                            Fargo Bank, N.A.. (Attachments: # j,. Affidavit, #2 Exhibit A)
                                            (Meisheimer, Thomas) (Additional attachment(s) added on 8/26/2019:
                                            #3. Text of Proposed Order) (ch,). (Entered: 08/23/20 19)

              08/23/20 19           145     SEALED MOTION To Exclude And/Or Strike Expert Testimony Of Mr
                                            Roy Weinstein by Wells Fargo Bank, N.A.. (Attachments: #1. Affidavit,
                                            #2 Exhibit A, #3. Exhibit B, #4 Exhibit C, #5 Exhibit D, # Exhibit
                                            E, # Exhibit F, # Exhibit G, #2 Exhibit H, # j Text of Proposed
                                            Order)(Melsheimer, Thomas) (Entered: 08/23/2019)
              08/23/20 19           J.4     MOTION to Exclude Testimony Trial Testimony of Proffered Patent
                                            Law Expert Charles E. Van Horn by United Services Automobile
                                            Association. (Attachments: # .1. Affidavit Anthony Rowles, #2 Exhibit
                                            1, #3. Exhibit 2, #4 Text of Proposed Order)(Bunt, Robert) (Entered:
                                            08/23/2019)
              08/23/20 19           141     FILED IN ERROR PER ATTORNEY. PLEASE IGNORESEALED
                                            PATENT MOTION to Strike Portions of Expert Repor of John
                                            Villasenor by United Services Automobile Association. (Attachments:
                                            # .1. Exhibit A, #2 Affidavit Anthony Rowles, #3. Exhibit 1, #4 Exhibit
                                            2, #5 Exhibit 3, # Exhibit 4, #1 Exhibit 5, # Exhibit 6, #2 Exhibit
                                            7, # jJ Exhibit 8, #fl Exhibit 9, #fl  Text of Proposed Order)(Bunt,
                                            Robert) Modified on 8/26/2019 (klc,). (Entered: 08/23/2019)
              08/23/20 19           j4      FILED IN ERROR PER ATTORNEY. PLEASE IGNORESEALED
                                            PATENT MOTION to Strike Portions of Expert Repor of William
                                            Saffici by United Services Automobile Association. (Attachments: # I
                                            Exhibit A, #2 Affidavit Anthony Rowles, #3. Exhibit 1, #4 Exhibit 2,
                                            #5 Exhibit 3, # Exhibit 4, #1 Exhibit 5, # Exhibit 6, # Exhibit 7,
                                            # 10 Exhibit 8, # ii Exhibit 9, # 12 Exhibit 10, #j3. Exhibit 1 la, #14
                                                                                              fl
                                            Exhibit 1 lb, # j Exhibit 1 ic, # jj Exhibit 1 ld, #                 j
                                                                                                    Exhibit lie, #
                                            Exhibit 1 lf, #19 Exhibit 1 lg, # 2Q Exhibit 1 lh, #2]. Exhibit 1 li, #22
                                            Exhibit 1 lj, #23. Exhibit ilk, #24 Exhibit 111, #25 Exhibit 1 lm, # 2
                                            Exhibit un, #22 Exhibit ilo, # 2 Exhibit lip, #29 Text of Proposed
                                            Order)(Bunt, Robert) Modified on 8/26/20 19 (klc,). (Entered:
                                            08/23/2019)
              08/23/20 19           142     FILED IN ERROR PER ATTORNEY. PLEASE
                                            IGNORE.SEALED PATENT MOTION Exclude Portions of Expert
                                            Report of Christopher Gerardi by United Services Automobile
                                            Association. (Attachments: #j Exhibit A, #2 Affidavit Anthony
                                            Rowles, #3. Exhibit 1, #4 Exhibit 2, #5 Exhibit 3, # Exhibit 4, #1
                                            Exhibit 5, # Exhibit 6, #9 Exhibit 7, # jQ Exhibit 8, #fl Exhibit 9, #
                                            j Exhibit 10, #j3. Exhibit ii, #14 Exhibit 12, #j5 Exhibit 13, # jf




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                                            Exhibit 14, #    fl
                                                             Text of Proposed Order)(Bunt, Robert) Modified on
                                            8/26/2019 (kic,). (Entered: 08/23/2019)
              08/23/20 19          l5      SEALED MOTION by United Services Automobile Association.
                                           (Attachments:       #j
                                                            Appendix Attachment A, # Text of Proposed Order
                                           Proposed Order, #3 Affidavit Rowles Declaration, #4 Exhibit 1, #5
                                           Exhibit 2, # Exhibit 3, #2 Exhibit 4, # Exhibit 5, #2 Exhibit 6, # iik
                                           Exhibit 7, #fl Exhibit 8, # 12. Exhibit 9, #13. Exhibit 10, #14 Exhibit
                                           ha, #15 Exhibit lib, # j Exhibit lie,      #fl Exhibit lid, # 18 Exhibit
                                           lie, #12 Exhibit hf, # Exhibit hg, # 21 Exhibit hlh, # Exhibit
                                            iii, #23.Exhibit lij, #24Exhibit ilk, #.5Exhibit ill, #Exhibit
                                            him, # Exhibit 1 in, # 2 Exhibit 11, #22 Exhibit 1 lp)(Bunt,
                                            Robert) (Entered: 08/23/2019)
              08/23/20 19          151 SEALED MOTION by United Services Automobile Association.
                                       (Attachments: #j Appendix Attachment A, # 2 Text of Proposed Order
                                       Proposed Order, #3. Affidavit Rowles Declaration, #4 Exhibit 1, #5
                                       Exhibit 2, # Exhibit 3, #2 Exhibit 4, # Exhibit 5, #2 Exhibit 6, # 1
                                       Exhibit 7, # 11 Exhibit 8, # j Exhibit 9, # 13. Exhibit 10, #14 Exhibit
                                                                           j         fl
                                       ii, #15 Exhibit 12, # Exhibit 13, # Exhibit 14)(Bunt, Robert)
                                       (Entered: 08/23/2019)
              08/23/20 19                  SEALED PATENT MOTION by United Services Automobile
                                           Association. (Attachments: #1 Appendix Attachment A, #2 Text of
                                           Proposed Order Proposed Order, #3. Affidavit Rowles Declaration, #4
                                           Exhibit 1, #5 Exhibit 2, # Exhibit 3, #2 Exhibit 4, # Exhibit 5, #2
                                           Exhibit 6, # 10 Exhibit 7, #fl Exhibit 8, #12 Exhibit 9)(Bunt, Robert)
                                           (Entered: 08/23/20 19)
              08/26/20 19                  ***FILED IN ERROR. Document # 147, 148, 149,. PLEASE
                                           IGNORE.***

                                            (kic, ) (Entered: 08/26/2019)
              08/28/20 19          J53.    SUR-REPLY to Reply to Response to Motion re 124 Opposed
                                           MOTION for Leave to File Amended Answer filed by United Services
                                           Automobile Association. (Bunt, Robert) (Entered: 08/28/20 19)
              09/02/20 19           154    SEALED RESPONSE to Motion re 134 SEALED MOTION For
                                           Summary Judgment OfNo Willful Infringement filed by United
                                           Services Automobile Association. (Attachments: #1 Affidavit Anthony
                                           Rowles, #2 Exhibit 1, #3. Exhibit 2, #4 Exhibit 3, #5 Exhibit 4, #
                                           Exhibit 5, #2 Exhibit 6, # Exhibit 7, #2 Exhibit 8, # jJ Exhibit 9, #
                                           II Exhibit 10, #12 Exhibit 11, #13. Exhibit 12, #14 Exhibit 13, #15.
                                                             j
                                           Exhibit 14, # Exhibit 15,           #jj
                                                                            Exhibit 16, # j Exhibit 17, #12
                                           Exhibit 18, # 2 Text of Proposed Order)(Bunt, Robert) (Entered:
                                           09/02/2019)
              09/02/20 19           155     SEALED RESPONSE to Motion re 130 MOTION for Summary
                                            Judgment of No Indirect Infringement filed by United Services




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                                              Automobile Association. (Attachments: #1 Affidavit Anthony Rowles,
                                              #2 Exhibit 1, # Exhibit 2, #4 Exhibit 3, # Exhibit 4, # Exhibit 5,
                                              #2 Exhibit 6, # Exhibit 7, #9 Exhibit 8, # IQ Exhibit 9, #fl Exhibit
                                               10, # fl
                                                      Exhibit 11, # 13. Exhibit 12, #14 Text of Proposed Order)
                                              (Bunt, Robert) (Entered: 09/02/20 19)
                09/02/20 19          jj       SEALED RESPONSE to Motion re j3.3. SEALED MOTION For
                                              Partial Summary Judgment Under 35 US. C. 28 7(a) filed by United
                                              Services Automobile Association. (Attachments: # I Affidavit Anthony
                                              Rowles, # Exhibit 1, #3. Exhibit 2, #4 Exhibit 3, # Exhibit 4, #
                                              Exhibit 5, #2 Exhibit 6, # Exhibit 7, #9 Exhibit 8, # j....Q Text of
                                              Proposed Order)(Bunt, Robert) (Entered: 09/02/20 19)
               09/02/20 19           j7.     SEALED RESPONSE to Motion re 132 SEALED MOTION To Strike
                                             or Alternatively, For Summary Judgment Regarding The Doctrine Of
                                             Equivalents filed by United Services Automobile Association.
                                             (Attachments: #j Affidavit Anthony Rowles, # Exhibit 1, #3. Exhibit
                                             2, #4 Exhibit 3, # 5 Exhibit 4, # Exhibit 5, # 7Exhibit 6, # Exhibit
                                             7, #9 Exhibit 8, # 10 Exhibit 9, #11 Exhibit 10, #   fl
                                                                                                   Exhibit 11, # U
                                             Exhibit 12, #14 Exhibit 13, # j Exhibit 14, #   j  Exhibit 15, #jj.
                                             Exhibit 16, # 18 Exhibit 17, #12 Exhibit 18, # 2Q Exhibit 19, #21 Text
                                             of Proposed Order)(Bunt, Robert) (Entered: 09/02/20 19)
               09/02/20 19           158     SEALED RESPONSE to Motion re 131 MOTION for Summary
                                             Judgment Under 35 US.C. § 10] filed by United Services Automobile
                                             Association. (Attachments:     #j
                                                                             Affidavit Anthony Rowles, #2 Exhibit
                                             1, #3. Exhibit 2, #4 Exhibit 3, # Exhibit 4, # Exhibit 5, #1 Exhibit
                                             6, # Exhibit 7, #9 Exhibit 8, # IQ Exhibit 9,  #jj  Exhibit 10, #12
                                             Exhibit 11, #13. Exhibit 12, #14 Exhibit 13, # j   Exhibit 14, # 1
                                             Exhibit 15, #12 Exhibit 16, # j Exhibit 17, #19 Exhibit 18, # 2
                                             Exhibit 19, #21 Exhibit 20, #    Exhibit 21, # 23. Exhibit 22, #24
                                             Exhibit 23, #     Exhibit 24, #  Exhibit 25, # 22. Exhibit 26, # 2.
                                             Exhibit 27, #29 Exhibit 28, # 3 Exhibit 29, #31 Exhibit 30, #32
                                             Exhibit 31, #33. Text of Proposed Order)(Bunt, Robert) (Entered:
                                             09/02/2019)
               09/06/20 19           159    REDACTION to .j.5 Sealed Response to Motion, by United Services
                                            Automobile Association. (Attachments:    #j  Affidavit A Choung
                                            Public, #2 Exhibit 1 - highly confidential, #3. Exhibit 2 - highly
                                            confidential, #4 Exhibit 3 highly confidential, # Exhibit 4 - highly
                                            confidential, # Exhibit 5 - highly confidential, #2 Exhibit 6 - highly
                                            confidential, # 8 Exhibit 7 - higihy confidential, #2 Exhibit 8 - highly
                                            confidential, # j. Text of Proposed Order public)(Bunt, Robert)
                                            (Entered: 09/06/2019)
              09/06/20 19           IQ      REDACTION to            j
                                                                  Sealed Response to Motion, by United Services
                                            Automobile Association. (Attachments: # I Affidavit A Choung -
                                            Public, #2 Exhibit 1 - highly confidential, #3. Exhibit 2 - highly
                                            confidential, #4 Exhibit 3 highly confidential, # Exhibit 4 highly




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                                             confidential, # Exhibit 5 - highly confidential, # Z Exhibit 6 - highly
                                             confidential, # Exhibit 7 - higihy confidential, # Exhibit 8 - highly
                                             confidential, # .LQ Exhibit 9 highly confidential, #11 Exhibit 10 -
                                             highly confidential, #12 Exhibit 11 - highly confidential, # 13. Exhibit
                                             12 - highly confidential, #14 Text of Proposed Order Public)(Bunt,
                                             Robert) (Entered: 09/06/20 19)
               09/06/2019                    NOTICE of Hearing: Pretrial Conference RESET for 10/17/2019 09:00
                                             AM in Ctrm 106 (Marshall) before District Judge Rodney Gilstrap.
                                             (jml) (Entered: 09/06/20 19)
               09/06/20 19           j.j.    REDACTION to            j4
                                                                    Sealed Response to Motion,, by United Services
                                             Automobile Association. (Attachments: #1 Affidavit Anthony Rowles
                                             - Public, #   Exhibit 1 - highly confidential, #3 Exhibit 2 Public, #4
                                             Exhibit 3 - highly confidential, # 5. Exhibit 4 - highly confidential, #
                                             Exhibit 5 highly confidential, #2 Exhibit 6 - highly confidential, #
                                             Exhibit 7 - higlhy confidential, # Exhibit 8 - highly confidential, # j
                                             Exhibit 9 - highly confidential, # fl  Exhibit 10 - highly confidential, #
                                             il Exhibit 11 - highly confidential, #13 Exhibit 12 - highly
                                             confidential, #14 Exhibit 13 highly confidential, #   j    Exhibit 14
                                             highly confidential, #         j
                                                                        Exhibit 15 - highly confidential, #12 Exhibit
                                             16 - highly confidential, #13 Exhibit 17 - highly confidential, #19
                                             Exhibit 18 - Public, # 2Q Text of Proposed Order Public)(Bunt, Robert)
                                             (Entered: 09/06/2019)
               09/06/20 19           1      REDACTION to .L Sealed Response to Motion,,, by United Services
                                            Automobile Association. (Attachments: # 1 Affidavit Anthony Rowles
                                            - Public, #  Exhibit 1 - highly confidential, #3 Exhibit 2 - highly
                                            confidential, #4 Exhibit 3 - Public, # Exhibit 4 - Public, # Exhibit 5
                                            - highly confidential, #2 Exhibit 6 - highly confidential, #   Exhibit 7 -

                                            Public,    #fl
                                                                                                       fl
                                            Public, #9 Exhibit 8 - Public, # jj Exhibit 9 Public, # Exhibit 10 -
                                                         Exhibit 11 - Public, #j.3 Exhibit 12 - Public, #14 Exhibit
                                            13 Public, # j Exhibit 14 - highly confidential, # j Exhibit 15 -
                                            highly confidential,        #fl
                                                                       Exhibit 16 highly confidential, #13 Exhibit
                                            17 - highly confidential, # j9. Exhibit 18 - Public, #    Exhibit 19 -
                                            Public, #21 Exhibit 20 - Public, #      Exhibit 21 - Public, # .3. Exhibit
                                            22 - highly confidential, #24 Exhibit 23 - Public, # 25. Exhibit 24 -
                                            Public, #    Exhibit 25 - Public, #21 Exhibit 26 - Public, #       Exhibit
                                            27 highly confidential, #29 Exhibit 28 highly confidential, # 31i
                                            Exhibit 29 - highly confidential, # fl  Exhibit 30 - highly confidential, #
                                            3 Exhibit 31 - highly confidential, #33 Text of Proposed Order
                                            Public)(Bunt, Robert) (Entered: 09/06/2019)
              09/06/20 19           j3      REDACTION to 151 Sealed Response to Motion,, by United Services
                                            Automobile Association. (Attachments:     #j   Affidavit Anthony Rowles
                                            - Public, #   Exhibit 1 - highly confidential, #3 Exhibit 2 - highly
                                                            ,




                                            confidential, #4 Exhibit 3 highly confidential, #5. Exhibit 4 - highly
                                            confidential, # Exhibit 5 - highly confidential, #1 Exhibit 6 highly
                                            confidential, # Exhibit 7 - higlhy confidential, #9 Exhibit 8 - highly




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                                             confidential, # jJ Exhibit 9 - highly confidential, # U Exhibit 10 -
                                             highly confidential, #17 Exhibit 11 highly confidential, # j Exhibit
                                             12 - highly confidential, #14 Exhibit 13 highly confidential, #15
                                             Exhibit 14 Public, # j Exhibit 15 - Public, #17 Exhibit 16 - Public, #
                                             j Exhibit 17 Public, #19 Exhibit 18 - highly confidential, # 2L
                                             Exhibit 19 - Public, #21 Text of Proposed Order Public)(Bunt, Robert)
                                             (Entered: 09/06/2019)
               09/06/20 19           14      SEALED RESPONSE to Motion re 142 SEALED MOTION To
                                             Exclude And/Or Strike Expert Testimony Provided by Mr Ca/man In
                                             His Opening And Supplemental Reports filed by United Services
                                             Automobile Association. (Attachments: # I Exhibit 1, # Exhibit 2, # a
                                                                                                     ,


                                             Exhibit 3, #4 Exhibit 4, #5 Exhibit 5, # Exhibit 6, # Exhibit 7, #
                                             Exhibit 8a, #9 Exhibit 8b, # IQ Exhibit 9, #11 Exhibit 10, #17 Exhibit
                                             11, #13. Exhibit 12, #14 Exhibit 13, #15 Exhibit 14, # I Exhibit 15, #
                                             17 Exhibit 16, # j Text of Proposed Order)(Bunt, Robert) (Entered:
                                             09/06/2019)
               09/06/20 19           Ij5     RESPONSE to Motion re i4 MOTION to Exclude Testimony Trial
                                             Testimony of Proffered Patent Law Expert Charles E. Van Horn flied by
                                             Wells Fargo Bank, N.A.. (Attachments: #j Affidavit, #2 Exhibit A, #3.
                                             Exhibit B, # 4 Text of Proposed Order)(Melsheimer, Thomas) (Entered:
                                             09/06/2019)
               09/06/20 19           166     SEALED RESPONSE to Motion re 143 SEALED MOTION To
                                             Exclude And/Or Strike Relating To The Caiman Rebuttal Report filed
                                             by United Services Automobile Association. (Attachments:    #j Exhibit
                                             1, #2 Exhibit 2, #3. Exhibit 3, #4 Exhibit 4, #5 Exhibit 5, # Exhibit
                                             6, #1 Exhibit 7, # Exhibit 8, #9 Exhibit 9, # j Exhibit lOa, #fl
                                             Exhibit lOb, #17 Exhibit lOc, # j3. Exhibit lOd, #j4 Exhibit 11, #15
                                             Exhibit 12, # j Exhibit 13, #17 Exhibit 14, # j   Exhibit 15, #j9
                                             Exhibit 16, # Q Text of Proposed Order)(Bunt, Robert) (Entered:
                                             09/06/2019)
               09/06/20 19          j5       SEALED RESPONSE to Motion re j5 SEALED PATENT MOTION
                                             filed by Wells Fargo Bank, N.A.. (Attachments: #1 Affidavit, #2
                                             Exhibit A, #3. Exhibit B, #4 Exhibit C, #5 Text of Proposed Order)
                                             (Melsheimer, Thomas) (Entered: 09/06/2019)
               09/06/2019           j        SEALED RESPONSE to Motion re 151 SEALED MOTION filed by
                                                                                     I
                                             Wells Fargo Bank, N.A.. (Attachments: # Affidavit, #2 Exhibit A, #
                                             3. Exhibit B, #4 Exhibit C, #5 Text of Proposed Order)(Melsheimer,
                                             Thomas) (Entered: 09/06/2019)
               09/06/20 19          I2      SEALED RESPONSE to Motion re 144 SEALED MOTION To Strike
                                            Portions Of the Conte Report filed by United Services Automobile
                                            Association. (Attachments: # I Exhibit 1, # 2 Text of Proposed Order)
                                            (Bunt, Robert) (Entered: 09/06/20 19)
              09/06/20 19           170      SEALED RESPONSE to Motion re 145 SEALED MOTION              To




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                                           Exclude And/Or Strike Expert Testimony OfMr Roy Weinstein filed by
                                           United Services Automobile Association. (Attachments: # 1 Exhibit 1,
                                           #2 Exhibit 2, #3. Exhibit 3, #4 Exhibit 4, #5. Exhibit 5, # Exhibit 6,
                                           #7 Exhibit 7, # Exhibit 8, #2 Exhibit 9, # j.Q Exhibit 10, #fl Exhibit
                                           11, # .i.2 Exhibit 12, #13. Exhibit 13, #j4 Exhibit 14, #15. Exhibit 15, #
                                           16 Exhibit 16, # 17 Exhibit 17, # j Exhibit 18, #12 Exhibit 19, # 2
                                           Exhibit 20, #21 Exhibit 21, # 2 Exhibit 22, # 3. Exhibit 23, #24 Text
                                           of Proposed Order)(Bunt, Robert) (Entered: 09/06/2019)
              09/06/2019            171     SEALED RESPONSE to Motion re         fl   SEALED MOTION FOR
                                           PARTIAL SUMMARY JUDGMENT filed by Wells Fargo Bank, N.A..
                                            (Attachments: #1 Affidavit, #2 Exhibit A, #3. Errata B, #4 Text of
                                            Proposed Order)(Melsheimer, Thomas) (Entered: 09/06/2019)
              09/06/2019           fl2      SEALED RESPONSE to Motion re ISL.Q SEALED MOTION filed by
                                            Wells Fargo Bank, N.A.. (Attachments: #1 Affidavit, #2 Exhibit A, #
                                            3 Exhibit B, #4 Exhibit C, #5. Exhibit D, # Exhibit E, #2 Exhibit F,
                                               Exhibit G, #9 Exhibit H, # j( Exhibit I, # U Exhibit J,  #i
                                            Exhibit K, # U Exhibit L, #14 Exhibit M, #15. Exhibit N, # j Text of
                                            Proposed Order)(Melsheimer, Thomas) (Entered: 09/06/20 19)
              09/10/20 19           173. REDACTION to jj4 Sealed Response to Motion,, to Strike Portions           of
                                            Expert Report of Matthew Calman by United Services Automobile
                                            Association. (Attachments: #j Exhibit 1 - highly confidential, #2
                                            Exhibit 2 - highly confidential, #3. Exhibit 3 highly confidential, #4
                                            Exhibit 4 - highly confidential, #5. Exhibit 5 - highly confidential, #
                                            Exhibit 6 - highly confidential, #2 Exhibit 7 - highly confidential, #
                                            Exhibit 8a - Public, #2 Exhibit 8b - Public, # jQ Exhibit 9 - highly
                                            confidential, #fl Exhibit 10 - highly confidential, #12, Exhibit 11 -
                                            Public, # j3. Exhibit 12 - highly confidential, #j4 Exhibit 13 - highly
                                            confidential, #j5. Exhibit 14 - highly confidential, # j Exhibit 15 -
                                            highly confidential, #17 Exhibit 16 highly confidential, #   j   Text of
                                            Proposed Order Public)(Bunt, Robert) (Entered: 09/10/2019)
              09/10/20 19           174     REDACTION to j Sealed Response to Motion,, To Exclude And/Or
                                            Strike Relating To The Calman Rebuttal Report by United Services
                                            Automobile Association. (Attachments: #3. Exhibit 1 - highly
                                            confidential, #2 Exhibit 2 - highly confidential, #3. Exhibit 3 highly
                                            confidential, #4 Exhibit 4 - highly confidential, #5. Exhibit 5 - highly
                                            confidential, # Exhibit 6 - highly confidential, #2 Exhibit 7 - highly
                                            confidential, # Exhibit 8 - highly confidential, #9 Exhibit 9 - highly
                                            confidential, # jQ Exhibit lOa - highly confidential, # U Exhibit lOb -
                                            highly confidential, #3.2, Exhibit lOc highly confidential, # 13. Exhibit
                                            1 Od - highly confidential, #14 Exhibit 11  highly confidential, #3.5.
                                            Exhibit 12 - highly confidential, # j Exhibit 13 - highly confidential, #
                                            11 Exhibit 14 highly confidential, # jj Exhibit 15 - highly
                                            confidential, #19 Exhibit 16 highly confidential, # 2 Text of
                                            Proposed Order Public)(Bunt, Robert) (Entered: 09/10/20 19)




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              09/10/20 19           11      REDACTION to 12 Sealed Response to Motion to Strike Portions Of
                                            the Conte Report by United Services Automobile Association.
                                            (Attachments: # .1. Exhibit 1 highly confidential, #2 Text of Proposed
                                            Order Public)(Bunt, Robert) (Entered: 09/10/2019)
              09/10/20 19           j7      REDACTION to j7 Sealed Response to Motion,, To Exclude And/Or
                                            Strike Expert Testimony OfMr. Roy Weinstein by United Services
                                            Automobile Association. (Attachments: # I Exhibit 1 - highly
                                            confidential, #2 Exhibit 2 - highly confidential, #3. Exhibit 3 - highly
                                            confidential, #4 Exhibit 4 - highly confidential, # Exhibit 5 - highly
                                            confidential, # Exhibit 6 - highly confidential, #7 Exhibit 7 highly
                                            confidential, # Exhibit 8 - highly confidential, # Exhibit 9 highly
                                            confidential, # jj Exhibit 10 highly confidential, #   U  Exhibit 11
                                            highly confidential, #          fl
                                                                      Exhibit 12 - highly confidential, # 13. Exhibit
                                            13 - highly confidential, #14 Exhibit 14 - highly confidential, #  I.
                                            Exhibit 15 - highly confidential, #
                                                                    confidential,
                                                                                 j  Exhibit 16 - highly confidential, #
                                                                                    j Exhibit 18 - highly
                                            17 Exhibit  17   highly               #
                                            confidential, # j9 Exhibit 19 highly confidential, #      Exhibit 20
                                            highly confidential, #21 Exhibit 21 - highly confidential, # 2 Exhibit
                                            22 - highly confidential, # 23. Exhibit 23 - highly confidential, #24 Text
                                            of Proposed Order Public)(Bunt, Robert) (Entered: 09/10/2019)
              09/11/2019            jfl     REPLY to Response to Motion re .L3J. MOTION for Summary
                                            Judgment Under 35 US.C. § 101 filed by Wells Fargo Bank, NA..
                                            (Melsheimer, Thomas) (Entered: 09/11/2019)
              09/11/2019            j7.     SEALED REPLY to Response to Motion re 132 SEALED MOTION To
                                            Strike or Alternatively, For Summary Judgment Regarding The
                                            Doctrine OfEquivalents filed by Wells Fargo Bank, N.A..
                                            (Attachments: # 1 Affidavit, # 2 Exhibit A)(Melsheimer, Thomas)
                                            (Entered: 09/11/2019)
              09/11/20 19           122 SEALED REPLY to Response to Motion re U.Q MOTION for
                                        Summary Judgment ofNo Indirect Infringement filed by Wells Fargo
                                        Bank, N.A.. (Attachments: #1 Affidavit, #2 Exhibit A)(Melsheimer,
                                        Thomas) (Entered: 09/11/2019)
              09/11/2019            J       SEALED REPLY to Response to Motion re 133. SEALED MOTION
                                            For Partial Summary Judgment Under 35 US. C. 287(a) filed by
                                            Wells Fargo Bank, N.A.. (Melsheimer, Thomas) (Entered: 09/11/2019)
              09/11/2019                    SEALED REPLY to Response to Motion re 142 SEALED MOTION To
                                            Exclude And/Or Strike Expert Testimony Provided by Mr. Calman In
                                            His Opening And Supplemental Reports filed by Wells Fargo Bank,
                                            N.A.. (Melsheimer, Thomas) (Entered: 09/11/2019)
              09/11/2019            3J3.2   SEALED REPLY to Response to Motion re 143. SEALED MOTION To
                                            Exclude And/Or Strike Relating To The Calman Rebuttal Report filed
                                            by Wells Fargo Bank, N.A.. (Attachments: #1 Affidavit, #2 Exhibit A)
                                            (Meisheimer, Thomas) (Entered: 09/11/2019)




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                  09/11/2019              j.3. SEALED REPLY to Response to Motion re 14 SEALED MOTION To
                                                Exclude And/Or Strike Expert Testimony OfMr Roy Weinstein filed
                                                                                                                by
                                                                                         j
                                                Wells Fargo Bank, N.A.. (Attachments: # Affidavit, # Exhibit I)
                                                (Meisheimer, Thomas) (Entered: 09/11/2019)
                                                                                                    2

                 09/11/2019              j4    SEALED REPLY to Response to Motion re 13.4 SEALED MOTION
                                                For Summary Judgment Of No   Willful Infringement filed by Wells
                                               Fargo Bank, N.A.. (Attachments: # I Affidavit, #2 Exhibit T, #3.
                                               Exhibit U)(Melsheimer, Thomas) (Entered: 09/11/2019)
                 09/11/2019           j        SEALED REPLY to Response to Motion re j SEALED MOTION
                                               TO STRIKE PORTIONS OF THE EXPERT REPORT OF
                                               CHRISTOPHER GERARDI filed by United Services Automobile
                                               Association. (Attachments: # I Exhibit 1, #2 Exhibit 2)(Bunt, Robert)
                                               (Entered: 09/11/2019)
                09/11/2019                     SEALED REPLY to Response to Motion re ifi SEALED MOTION
                                               TO STRIKE PORTIONS OFTHE EXPERT REPORT OF
                                                                                                     WILLIAM
                                               SAFFICI filed by United Services Automobile Association. (Bunt,
                                               Robert) (Entered: 09/11/2019)
                09/11/2019           JJI       SEALED REPLY to Response to Motion re 12 SEALED PATENT
                                               MOTION TO STRIKE PORTIONS OF THE EXPERT REPORT OF
                                               JOHN VILLASENOR filed by United Services Automobile
                                              Association. (Bunt, Robert) (Entered: 09/11/2019)
                09/11/2019           j.        SEALED REPLY to Response to Motion re 14 MOTION to Exclude
                                              Testimony Trial Testimony of Proffered Patent Law Expert Charles E.
                                              Van Horn filed by United Services Automobile Association.
                                              (Attachments: # j. Exhibit 1, #2 Exhibit 2, #3. Exhibit 3, #4 Exhibit 4,
                                                  Exhibit 5)(Bunt, Robert) (Entered: 09/11/2019)
               09/11/2019            1        SEALED REPLY to Response to Motion re            SEALED MOTION
                                              FOR PARTIAL SUMMARY JUDGMENT filed by United Services
                                               Automobile Association. (Attachments: # j. Exhibit 1, # Exhibit 2, #3.
                                               Exhibit 3, #4 Exhibit 4, # 5 Exhibit 5, # Exhibit 6, # Z Exhibit 7, #
                                              Exhibit 8, #2 Exhibit 9, # jQ Exhibit 10, # Exhibit 11, #
                                                                                         U                j Exhibit
                                               12, #13. Exhibit 13, #j4 Exhibit 14, #j. Exhibit 15, #j
                                              fl                   j                                     Exhibit 16, #
                                                  Exhibit 17, # Exhibit l8)(Bunt, Robert) (Entered: 09/11/2019)
               09/12/20 19          j.9       NOTICE of Attorney Appearance - Pro Hac Vice by Andrew J.
                                              Strabone on behalf of United Services Automobile Association. Filing
                                              fee $ 100, receipt number 0540-7433296. (Strabone, Andrew)
                                                                                                            (Entered:
                                              09/12/20 19)
               09/12/20 19          191       NOTICE by United Services Automobile Association OfActivity In
                                              Related Inter Partes Review Proceedings (Attachments: # I Exhibit 1)
                                              (Bunt, Robert) (Entered: 09/12/2019)
               09/16/20 19          12      REDACTION to J Sealed Reply to Response to Motion to Strike
                                            Portions ofThe Expert Report of William Saffici by United Services




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                                             Automobile Association. (Bunt, Robert) (Entered: 09/16/20 19)
               09/16/2019            123.    REDACTION to J1 Sealed Reply to Response to Motion TO STRIKE
                                             FOR TIONS OF THE EXPERT REPORT OF JOHN VILLASENOR by
                                             United Services Automobile Association. (Bunt, Robert) (Entered:
                                             09/16/2019)
               09/16/20 19           194 REDACTION to                j
                                                               Sealed Reply to Response to Motion TO STRIKE
                                         FOR TIONS OF THE EXPERT REPORT OF CHRISTOPHER
                                         GERARDIby United Services Automobile Association. (Attachments:
                                         #1 Exhibit 1 - highly confidential, #2 Exhibit 2 - highly confidential)
                                         (Bunt, Robert) (Entered: 09/16/2019)
               09/16/20 19           19      REDACTION to 12 Sealed Reply to Response to Motion, SEALED
                                             MOTION FOR PARTIAL SUMMARYJUDGMENTby United Services
                                             Automobile Association. (Attachments: # I Exhibit 1 - highly
                                             confidential, #2 Exhibit 2 highly confidential, #3 Exhibit 3 - highly
                                                                            -

                                             confidential, #4 Exhibit 4 highly confidential, # Exhibit 5 - highly
                                                                            -

                                             confidential, # Exhibit 6 highly confidential, #2 Exhibit 7 - highly
                                                                            -

                                             confidential, # Exhibit 8 - highly confidential, #2 Exhibit 9 - highly
                                             confidential, # jj. Exhibit 10 - Public, # fl Exhibit 11 - highly
                                             confidential, #     j
                                                                 Exhibit 12 - highly confidential, #13. Exhibit 13 -
                                             highly confidential, #14 Exhibit 14 highly confidential, # j Exhibit
                                              15 highly confidential, #      Exhibit 16 - highly confidential, #11
                                                                            j.

                                             Exhibit 17 - highly confidential, # j Exhibit 18 - highly confidential)
                                             (Bunt, Robert) (Entered: 09/16/2019)
               09/16/20 19          j9       REDACTION to j.. Sealed Reply to Response to Motion, to Exclude
                                             Testimony Trial Testimony ofProffered Patent Law Expert Charles E.
                                             Van Horn by United Services Automobile Association. (Attachments: #
                                            I  Exhibit 1 - Public, #2 Exhibit 2 Public, #3 Exhibit 3 - highly
                                             confidential, #4 Exhibit 4 - highly confidential, # Exhibit 5 highly
                                             confidential)(Bunt, Robert) (Entered: 09/16/20 19)
              09/16/20 19           121     SUR-REPLY to Reply to Response to Motion re j.4 MOTION to
                                            Exclude Testimony Trial Testimony of Proffered Patent Law Expert
                                            Charles E. Van Horn flied by Wells Fargo Bank, NA.. (Meisheimer,
                                            Thomas) (Entered: 09/16/2019)
              09/16/20 19           19      Defendant Well's SEALED SUR-REPLY to Reply to Response to
                                            Motion re j, SEALED PATENT MOTION filed by Wells Fargo
                                            Bank, N.A.. (Melsheimer, Thomas) (Entered: 09/16/2019)
              09/16/20 19           192     Defendant Wells SEALED SUR-REPLY to Reply to Response to
                                            Motion re     SEALED MOTION filed by Wells Fargo Bank, N.A..
                                            (Melsheimer, Thomas) (Entered: 09/16/2019)
              09/16/20 19           2X      Defendant Wells' SEALED SUR-REPLY to Reply to Response to
                                            Motion re 1Q SEALED MOTION filed by Wells Fargo Bank, N.A..
                                            (Attachments: # I Affidavit, #2 Exhibit A, #3. Exhibit B)(Melsheimer,
                                            Thomas) (Entered: 09/16/2019)




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                09/16/20 19              j. SEALED SUR-REPLY to Reply to Response to Motion re fl.
                                            SEALED MOTION FOR PARTIAL SUMMARY JUDGMENT filed by
                                            Wells Fargo Bank, N.A.. (Attachments: # I Affidavit, #2 Exhibit D)
                                              (Meisheimer, Thomas) (Entered: 09/16/2019)
                09/16/20 19           22      SEALED SUR-REPLY to Reply to Response to Motion re 142.
                                              SEALED MOTION To Exclude And/Or Strike Expert Testimony
                                              Provided by Mr. Calman In His Opening And Supplemental Reports
                                              filed by United Services Automobile Association. (Attachments: #1
                                              Affidavit Anthony Rowles, #2 Exhibit 1, #3. Exhibit 2)(Bunt, Robert)
                                              (Entered: 09/16/2019)
                09/16/20 19           23. SEALED SUR-REPLY to Reply to Response to Motion re 143.
                                             SEALED MOTION To Exclude And/Or Strike Relating Th The Calman
                                             Rebuttal Report filed by United Services Automobile Association.
                                             (Attachments: # Affidavit Anthony Rowles, #2 Exhibit 1, #3. Exhibit
                                             2, #4 Exhibit 3, # Exhibit 4, # Exhibit 5, #2 Exhibit 6, # Exhibit
                                             7, # Exhibit 8)(Bunt, Robert) (Entered: 09/16/20 19)
               09/16/20 19           24      SEALED SUR-REPLY to Reply to Response to Motion re 14
                                             SEALED MOTION To Exclude And/Or Strike Expert Testimony Of Mr
                                             Roy Weinstein filed by United Services Automobile Association.
                                                                   I
                                             (Attachments: # Affidavit Anthony Rowles, #2 Exhibit 1, #3. Exhibit
                                             2, #4 Exhibit 3, # Exhibit 4, # Exhibit 5)(Bunt, Robert) (Entered:
                                             09/16/2019)
               09/16/20 19                   SEALED SUR-REPLY to Reply to Response to Motion re 13].
                                             MOTION for Summary Judgment Under 35 U.S.C. § 101 filed by
                                             United Services Automobile Association. (Bunt, Robert) (Entered:
                                             09/16/2019)
               09/16/2019            2       ***BEFICIENT DOCUMETN***

                                             SEALED SUR-REPLY to Reply to Response to Motion re 113
                                             SEALED MOTION For Partial Summary Judgment Under 35 US. C.
                                             28 7(a) filed by United Services Automobile Association. (Attachments:
                                             #j Affidavit of Michael Bueche)(Bunt, Robert) Modified on 9/17/20 19
                                             (ch,). (Entered: 09/16/2019)
               09/16/20 19               2 SEALED SUR-REPLY to Reply to Response to Motion re 134
                                           SEALED MOTION For Summary Judgment Of No Willful
                                           Infringement filed by United Services Automobile Association.
                                           (Attachments: #j Affidavit Anthony Rowles, #2 Exhibit 1)(Bunt,
                                             Robert) (Entered: 09/16/20 19)
               09/16/20 19          2       SEALED SUR-REPLY to Reply to Response to Motion re 132
                                            SEALED MOTION To Strike or Alternatively, For Summary Judgment
                                            Regarding The Doctrine OfEquivalents filed by United Services
                                            Automobile Association. (Attachments: # I Affidavit Anthony Rowles,
                                            #2 Exhibit 1)(Bunt, Robert) (Entered: 09/16/20 19)



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                09/16/2019            209      ***DEFJCIENT DOCUMENT** *

                                              SEALED SUR-REPLY to Reply to Response to Motion re
                                              MOTION for Summary Judgment of No indirect infringement filed by
                                              United Services Automobile Association. (Attachments: # I Affidavit
                                              Anthony Rowles, #2 Exhibit 1, # Exhibit 2)(Bunt, Robert) Modified
                                              on 9/17/2019 (ch,). (Entered: 09/16/2019)
                09/17/20 19                   NOTICE of Deficiency regarding the 206 submitted NO
                                              CERTIFICATE OF AUTHORIZTION TO FILE UNDER SEAL AND
                                              WRONG EVENT. Correction should be made by one business day (ch,
                                              ) (Entered: 09/17/20 19)


                09/17/20 19           2i      SEALED SUR-REPLY to Reply to Response to Motion re 13.3.
                                              SEALED MOTION For Partial Summwiy Judgment Under 35 US. C.'
                                              28 7(a) filed by United Services Automobile Association. (Attachments:
                                              #1 Affidavit Michael Bueche)(Bunt, Robert) (Entered: 09/17/2019)
                09/17/2019                   NOTICE of Deficiency regarding the 209 submitted NO
                                             CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL.
                                             Correction should be made by one business day (ch,) (Entered:
                                             09/17/2019)
               09/17/2019            211     SEALED SUR-REPLY to Reply to Response to Motion re j3Q
                                             MOTION for Summary Judgment ofNo Indirect Infringement [replaces
                                             Dkt. 209] filed by United Services Automobile Association.
                                             (Attachments: # Affidavit Anthony Rowles, #2 Exhibit 1, #3. Exhibit
                                                                   .j,.



                                             2)(Bunt, Robert) (Entered: 09/17/2019)
               09/19/2019            212 SEALED MOTION WELLS FARGO BANK, N.A.SMOTJONSJN
                                         LJMINE NOS. 116 by Wells Fargo Bank, N.A.. (Attachments: #1
                                         Affidavit, #2 Exhibit A, #3. Exhibit B, #4 Exhibit C, #5. Exhibit D)
                                         (Meisheimer, Thomas) (Entered: 09/19/2019)
               09/19/2019            213.    Opposed SEALED MOTION in Limine Nos. 1-16 by United Services
                                                                                      I
                                             Automobile Association. (Attachments: # Affidavit Anthony Rowles,
                                             #2 Exhibit 1, #3. Exhibit 2, #4 Exhibit 3, #5. Exhibit 4, # Exhibit 5,
                                             # Exhibit 6, # Exhibit 7, # Exhibit 8, #     j  Exhibit 9, #fl Exhibit
                                             10, # j Exhibit 11, # j3. Exhibit 12, #14 Exhibit 13, #15 Exhibit 14, #
                                             .th Exhibit 15, #  Exhibit 16, # j Exhibit 17, # j Exhibit 18, # 2
                                                                   fl
                                             Exhibit 19, #21 Exhibit 20, #22 Exhibit 21, # 3. Exhibit 22, #24
                                             Exhibit 23, # 5 Text of Proposed Order)(Bunt, Robert) (Entered:
                                             09/19/2019)
               09/23/20 19            j4 NOTICE of Attorney Appearance - Pro Hac Vice by Benjamin Moimin
                                         on behalf of United Services Automobile Association. Filing fee $ 100,
                                         receipt number 0540-7446742. (Monnin, Benjamin) (Additional
                                                                                 I
                                         attachment(s) added on 9/23/2019: # Sealed Attachment) (jmv,).
                                         (Entered: 09/23/2019)




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                09/23/20 19          21      NOTICE by United Services Automobile Association OF REQUEST
                                             FOR DAILY TRANSGRIP TSAND REAL TIME REPORTING (Bunt,
                                             Robert) (Entered: 09/23/2019)
                09/23/2019           2J      NOTICE by Wells Fargo Bank, N.A. of Requestfor Daily Transcripts
                                             and Real-Time Reporting of Court Proceedings (Meisheimer, Thomas)
                                             (Entered: 09/23/2019)
                09/24/20 19          2.fl    REDACTION to 22 Sealed Sur-Reply to Reply to Response to
                                             Motion, to Exclude and/or Strike Expert Testimony Provided by Mr
                                             Calman in His Opening and Supplemental Reports by United Services
                                             Automobile Association. (Attachments: # 1. Affidavit Anthony Rowles,
                                             #2 Exhibit 1 - Highly Confidential, # a Exhibit 2- Highly
                                             Confidential)(Bunt, Robert) (Entered: 09/24/2019)
               09/24/20 19           21      REDACTION to 2 Sealed Sur-Reply to Reply to Response to
                                             Motion, to Exclude and/or Strike Relating to the Calman Rebuttal
                                             Report by United Services Automobile Association. (Attachments: # 1
                                             Affidavit Anthony Rowles, #2 Exhibit 1 - Highly Confidential, #
                                             Exhibit 2 - Public, #4 Exhibit 3 - Highly Confidential, # Exhibit 4 -
                                             Highly Confidential, # Exhibit 5 - Highly Confidential, #1 Exhibit 6
                                              Highly Confidential, # Exhibit 7 Highly Confidential, # Exhibit
                                             8 Highly Confidential)(Bunt, Robert) (Entered: 09/24/2019)

               09/24/2019            212     REDACTION to 2Q4 Sealed Sur-Reply to Reply to Response to
                                             Motion, to Strike Portions of the Expert Report ofRoy Weinstein by
                                             United Services Automobile Association. (Attachments: # 1 Affidavit
                                             Anthony Rowles, #2 Exhibit 1 - Highly Confidential, # a Exhibit 2
                                             Public, #4 Exhibit 3 - Highly Confidential, # Exhibit 4 - Highly
                                             Confidential, # Exhibit 5 - Highly Confidential)(Bunt, Robert)
                                             (Entered: 09/24/2019)
               09/24/20 19                  REDACTION to 2jQ Sealed Sur-Reply to Reply to Response to Motion
                                            for Partial Summary Judgment Under 35 US. C. Section 28 7(a) by
                                            United Services Automobile Association. (Attachments: # 1 Exhibit 1 -
                                            Highly Confidential)(Bunt, Robert) (Entered: 09/24/20 19)
               09/24/2019           221     REDACTION to 2 Sealed Sur-Reply to Reply to Response to
                                            Motion,for Summary Judgment ofNo Willful Infringement by United
                                            Services Automobile Association. (Attachments: # I Affidavit Anthony
                                            Rowles, #2 Exhibit 1 - Highly Confidential)(Bunt, Robert) (Entered:
                                            09/24/2019)
              09/24/20 19                   REDACTION to          Sealed Sur-Reply to Reply to Response to
                                            Motion, To Strike or Alternatively, For Summary Judgment Regarding
                                            The Doctrine OfEquivalents by United Services Automobile
                                            Association. (Attachments: # .1. Affidavit Anthony Rowles, #2 Exhibit
                                            1 - Highly Confidential)(Bunt, Robert) (Entered: 09/24/20 19)


              09/24/20 19           22.3.   REDACTION to 211 Sealed Sur-Reply to Reply to Response to
                                            Motion,for Summary Judgment ofNo Indirect Infringement by United



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                                              Services Automobile Association. (Attachments: # I Affidavit Anthony
                                              Rowles, #2 Exhibit 1 - Highly Confidential, #3. Exhibit 2 - Highly
                                              Confidential)(Bunt, Robert) (Entered: 09/24/2019)
                09/25/20 19          224 REDACTION to 213. Opposed SEALED MOTION in Limine Nos. 1-
                                         16 by United Services Automobile Association. (Attachments: # I
                                         Affidavit Anthony Rowles, #2 Exhibit 1 Highly Confidential, #3.
                                         Exhibit 2 - Highly Confidential, #4 Exhibit 3 - Highly Confidential, #
                                         5 Exhibit 4 Highly Confidential, # Exhibit 5 Highly Confidential,
                                         #2 Exhibit 6 Highly Confidential, # Exhibit 7 - Highly
                                         Confidential, # Exhibit 8 - Highly Confidential, # j Exhibit 9 -
                                         Highly Confidential, #fl Exhibit 10 - Highly Confidential, #12
                                         Exhibit 11 - Highly Confidential, #13. Exhibit 12 - Highly
                                         Confidential, #j4 Exhibit 13 Highly Confidential, # 1 Exhibit 14 -
                                         Highly Confidential, #             j
                                                                   Exhibit 15 - Highly Confidential, #12
                                         Exhibit 16 -. Highly Confidential, #       j
                                                                                Exhibit 17 - Highly
                                         Confidential, # j Exhibit 18 Highly Confidential, # Exhibit 19 -
                                         Highly Confidential, #21 Exhibit 20 - Public, #     Exhibit 21 Highly
                                         Confidential, # 3. Exhibit 22 - Highly Confidential, #24 Exhibit 23 -
                                         Highly Confidential, #    Text of Proposed Order Public)(Bunt,
                                                                            2.,5.

                                         Robert) (Entered: 09/25/20 19)
               09/26/2019                    NOTICE of Hearing: Jury Selection RESET for 10/31/2019 09:00 AM
                                             in Ctrm 106 (Marshall) before District Judge Rodney Gilstrap. (jml)
                                             (Entered: 09/26/20 19)
               09/30/20 19           22..    SEALED RESPONSE to Motion re 212 SEALED MOTION WELLS
                                             FARGO BANK, NA.SMOTIONSINLJMINE NOS. 116 filed by United
                                                                                               I
                                             Services Automobile Association. (Attachments: # Affidavit Anthony
                                             Rowles, #2 Exhibit 1, #3. Exhibit 2, #4 Exhibit 3, # Exhibit 4, #
                                             Exhibit 5, #2 Exhibit 6, # Exhibit 7, # Exhibit 8, # j.j Exhibit 9, #
                                             jj. Exhibit 10, #12 Exhibit 11, # j.3. Exhibit 12, #14 Exhibit 13, # 1.

                                                               j
                                             Exhibit 14, # Exhibit 15, # jj Exhibit 16, # jj3. Exhibit 17, # j9
                                             Exhibit 18, #    Exhibit 19, #21 Exhibit 20, # Exhibit 21, #23.
                                             Exhibit 22, #24 Exhibit 23, # 2 Exhibit 24, # 2 Exhibit 25, #22
                                             Exhibit 26, #    Exhibit 27, #    Exhibit 28, # 3 Exhibit 29, # 3J Text
                                             of Proposed Order)(Bunt, Robert) (Entered: 09/30/2019)
               09/30/20 19          22       NOTICE by United Services Automobile Association Proposed Verdict
                                             Form (Attachments: # .1. Exhibit A)(Bunt, Robert) (Entered:
                                             09/30/2019)
               09/30/20 19          221      Proposed Jury Instructions by United Services Automobile Association.
                                             (Bunt, Robert) (Entered: 09/30/2019)
               09/30/20 19          22..     ***FILED IN ERROR***

                                            SEALED MOTION DEFENDANT WELLS FARGO BANK, NA. S
                                            RESPONSE TO USAAS MOTIONS INLJMINE NOS. 1-16 by Wells
                                            Fargo Bank, N.A.. (Attachments: # I Affidavit, #2 Exhibit A, #3.




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                                              Exhibit B, #4 Exhibit C, # Exhibit D, # Exhibit E, # Exhibit F)
                                              (Meisheimer, Thomas) Modified on 10/1/20 19 (ch,). (Entered:
                                              09/30/2019)
                09/30/20 19           222     Proposed Pretrial Order by United Services Automobile Association.
                                              (Attachments: # Exhibit A - Plaintiffs Witness List, #2 Exhibit B -
                                                                    .



                                              Plaintiff s Deposition Designations, # Exhibit C - Plaintiffs Trial
                                              Exhibit List, #4 Exhibit D - Defendant's Witness List, # Exhibit E -
                                              Defendant's Deposition Designations, # Exhibit F - Defendant's Trial
                                              Exhibit List)(Bunt, Robert) (Entered: 09/30/20 19)
                10/01/20 19                   ***FILED IN ERROR. FILED UNDER WRONG EVENT
                                              Document # 228, SEALED MOTION. PLEASE IGNORE.***

                                              (ch,) (Entered: 10/01/2019)
                10/01/20 19          23      SEALED RESPONSE to Motion re 2.L. Opposed SEALED MOTION
                                             in Limine Nos. 1-16 filed by Wells Fargo Bank, N.A.. (Attachments: #
                                             1 Affidavit, #2 Exhibit A, # Exhibit B, #4 Exhibit C, # Exhibit D,
                                             #6 Exhibit E, #7 Exhibit F)(Melsheimer, Thomas) (Entered:
                                             10/01/20 19)
                10/03/20 19          211     NOTICE by United Services Automobile Association DiSCLOSURE
                                             NARROWING CLAIMS FOR PURPOSES OF TRIAL (Bunt, Robert)
                                             (Entered: 10/03/2019)
                10/07/20 19                  NOTICE by United Services Automobile Association re       Proposed
                                             Pretrial Order, PLAINTIFF'S SECOND AMENDED TRIAL EXHIBIT
                                             LIST (Attachments: #j Exhibit A)(Bunt, Robert) (Entered: 10/07/20 19)
               10/09/20 19           2.3.a   Opposed MOTION to Quash Subpoena to William Saffici to Appear
                                             and Testfy by Wells Fargo Bank, N.A.. (Attachments: # Exhibit A, #
                                                                                                   I
                                             2 Affidavit of William L. Saffici, # Text of Proposed Order)
                                             (Melsheimer, Thomas) (Entered: 10/09/2019)
               10/09/20 19                   NOTICE of Hearing: Jury Selection and Jury Trial RESET for
                                             10/30/2019 09:00 AM in Ctrm 106 (Marshall) before District Judge
                                             Rodney Gilstrap. am!) (Entered: 10/09/20 19)
               10/10/20 19           .34     NOTICE by United Services Automobile Association re 222 Proposed
                                             Pretrial Order, PLAINTIFF'S THIRD AMENDED TRIAL EXHIBIT
                                             LIST (Attachments: #1 Exhibit A)(Bunt, Robert) (Entered: 10/10/20 19)
               10/14/20 19                   NOTICE by United Services Automobile Association re 212 SEALED
                                             MOTION WELLS FARGO BANK, NA.SMOTIONSINLIMINENOS.
                                             116,     Opposed SEALED MOTION in Limine Nos. 1-16 [JOINT
                                             NOTICE REGARDING MOTIONS iN LIMINE] (Bunt, Robert)
                                             (Entered: 10/14/2019)
               10/15/2019           23.      REDACTION to 122 Sealed Response to Motion, Response to Plaintiff
                                             USAA 's Motion to Strike Portions ofthe Expert Report of Christopher




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                                            Gerardi by Wells Fargo Bank, N.A.. (Attachments: #3. Affidavit, #
                                            Exhibit A, # 3 Exhibit B, #4 Exhibit C, #5 Exhibit D, # Exhibit E, #
                                            1 Exhibit F, # Exhibit G, # Exhibit H, # jj Exhibit I, #11 Exhibit J,
                                            #12 Exhibit K, #13. Exhibit L, #3.4 Exhibit M, #15 Exhibit N)
                                            (Meisheimer, Thomas) (Entered: 10/15/2019)
              10/15/20 19           23..    REDACTION to 2Q3 Sealed Sur-Reply to Reply to Response to Motion
                                            Sur-Reply to Plaintff USAA Daubert Motion to Strike Portions of the
                                            Expert Report of Christopher Gerardi by Wells Fargo Bank, N.A..
                                            (Attachments: #3. Affidavit, #2 Exhibit A, #3. Exhibit B)(Melsheimer,
                                            Thomas) (Entered: 10/15/2019)
              10/15/2019            23.     REDACTION to j. Sealed Response to Motion Response to Plaintiff
                                            USAA 's Daubert Motion to Strike Portions of the Expert Report of
                                            William Saffici by Wells Fargo Bank, N.A.. (Attachments: #3.
                                            Affidavit, #2 Exhibit A, #3. Errata B, #4 Exhibit C, #5 Text of
                                            Proposed Order)(Melsheimer, Thomas) (Entered: 10/15/2019)
              10/15/20 19           23      REDACTION to j Sealed Sur-Reply to Reply to Response to Motion
                                            Sur-Reply to Plaintiff USAA 's Daubert Motion to Strike Portions of the
                                            Expert Report of William Saffici by Wells Fargo Bank, N.A..
                                            (Meisheimer, Thomas) (Entered: 10/15/2019)
              10/15/20 19           24      REDACTION to           j
                                                                  Sealed Response to Motion Response to Plaintiff
                                            USAA 's Daubert Motion to Strike Portions of the Expert Report of John
                                            Villasenor by Wells Fargo Bank, N.A.. (Attachments: #3. Affidavit, #2
                                            Exhibit A, #3. Exhibit B, #4 Exhibit C, #5 Text of Proposed Order)
                                            (Meisheimer, Thomas) (Entered: 10/15/2019)
              10/15/20 19           243.    REDACTION to j9.. Sealed Sur-Reply to Reply to Response to Motion
                                            Sur-Reply to Plaintiff USAA 's Daubert Motion to Strike Portions of the
                                            Expert Report ofJohn Villasenor by Wells Fargo Bank, N.A..
                                            (Meisheimer, Thomas) (Entered: 10/15/2019)
              10/15/2019            242     REDACTION to         Sealed Response to Motion, Response to USAA
                                            Motions in Limine Nos. 1-16 by Wells Fargo Bank, N.A.. (Attachments:
                                            #3. Affidavit, #2 Exhibit A, #3. Exhibit B, #4 Exhibit C, #5 Exhibit
                                            D, # Exhibit E, # Exhibit F)(Melsheimer, Thomas) (Entered:
                                            10/15/2019)
              10/15/20 19           243.    REDACTION to jjj. Sealed Response to Motion Opposition to
                                            PlaintfJ's Motion for Summary Judgment that Deposit Mo bile
                                            Practices the '571 and '090 Patents by Wells Fargo Bank, N.A..
                                            (Attachments: # I Affidavit, #2 Exhibit A, #3. Errata B, #4 Text of
                                            Proposed Order)(Melsheimer, Thomas) (Entered: 10/15/2019)
              10/15/20 19           244     REDACTION to 2!J. Sealed Sur-Reply to Reply to Response to Motion
                                            Sur-Reply in Support of its Opposition to Plaintffs Motion for
                                            Summary Judgment That Deposit(djmobile Practices the '571 and '090
                                            Patents by Wells Fargo Bank, N.A.. (Melsheimer, Thomas) (Entered:
                                            10/15/2019)




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              10/15/20 19          245      Additional Attachments to Main Document: 244 Redacted Document,..
                                            (Attachments: # I Affidavit, # 2 Exhibit D)(Melsheimer, Thomas)
                                            (Entered: 10/15/2019)
              10/15/2019           24      REDACTION to 142 SEALED MOTION To Exclude And/Or Strike
                                           Expert Testimony Provided by Mr. Calman In His Opening And
                                           Supplemental Reports by Wells Fargo Bank, N.A.. (Attachments: # I
                                           Affidavit, # Exhibit A, # Exhibit B, #4 Exhibit C, #5 Exhibit D, #
                                           6 Exhibit E, #1 Exhibit F, # Exhibit G, # Exhibit H, # I Exhibit I,
                                           #fl Exhibit J, #12 Exhibit K, # U  Text of Proposed Order)
                                           (Meisheimer,  Thomas)  (Entered: 10/15/2019)
              10/15/2019           241      REDACTION to           iJ.
                                                                  Sealed Reply to Response to Motion to Exclude
                                            and/or Strike Expert Testimony Provided by mr. Calman in his Opening
                                            and Supplemental Reports by Wells Fargo Bank, N.A.. (Meisheimer,
                                            Thomas) (Entered: 10/15/2019)
              10/15/20 19          24      NOTICE of Attorney Appearance by Michael Brett Johnson on behalf
                                           of Wells Fargo Bank, N.A. (Johnson, Michael) (Entered: 10/15/20 19)
              10/15/20 19           249 REDACTION to 144 SEALED MOTION To Strike Portions Of the
                                        Conte Report by Wells Fargo Bank, N.A.. (Attachments: # I Affidavit,
                                        # 2 Exhibit A)(Melsheimer, Thomas) (Entered: 10/15/2019)

              10/15/20 19           250 REDACTION to 143 SEALED MOTION To Exclude And/Or Strike
                                        Relating To The Calman Rebuttal Report by Wells Fargo Bank, N.A..
                                        (Attachments: # I Exhibit A, #2 Exhibit B, # Exhibit C, #4 Exhibit
                                                                                        3.

                                        D, #5 Exhibit B, #6 Exhibit F, #2 Exhibit G, # Exhibit H, #
                                        Exhibit I, # jj Text of Proposed Order)(Melsheimer, Thomas)
                                        (Entered: 10/15/2019)
              10/15/20 19           251     REDACTION to 145 SEALED MOTION To Exclude And/Or Strike
                                            Expert Testimony OfMr. Roy Weinstein by Wells Fargo Bank, N.A..
                                            (Attachments: # .. Affidavit, #2 Exhibit A, # Exhibit B, #4 Exhibit
                                            C, #5 Exhibit D, # Exhibit E, #2 Exhibit F, # Exhibit G, #
                                            Exhibit H, # 1 Text of Proposed Order)(Melsheimer, Thomas)
                                            (Entered: 10/15/2019)
              10/15/20 19           22      REDACTION to 1 Sealed Reply to Response to Motion to Exclude
                                            and/or Strike Expert Testimony of Mr Roy Weinstein by Wells Fargo
                                            Bank, N.A.. (Attachments: # I Affidavit, #2 Exhibit I)(Melsheimer,
                                            Thomas) (Entered: 10/15/2019)
              10/15/20 19           25      REDACTION to 212 SEALED MOTION WELLS FARGO BANK,
                                            N.A .S MO TIONS IN LIMINE NOS. 116 by Wells Fargo Bank, N.A..
                                            (Attachments: # I Affidavit, #2 Exhibit A, # Exhibit B, #4 Exhibit
                                            C, # 5 Exhibit D)(Melsheimer, Thomas) (Entered: 10/15/2019)
              10/15/2019            2.4     REDACTION to           fl
                                                              SEALED MOTION To Strike or Alternatively,
                                            For Summary Judgment Regarding The Doctrine OfEquivalents by




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                                             Wells Fargo Bank, N.A.. (Attachments:         #j
                                                                                        Affidavit, #2 Exhibit A, #
                                               Exhibit B, #4 Exhibit C, # Exhibit D, # Exhibit E, # 7 Exhibit F,
                                             # 8 Exhibit G, #9 Exhibit H, # j Exhibit I, #11 Exhibit J, #12
                                             Exhibit K, #     U
                                                             Exhibit L, #14 Text of Proposed Order)(Melsheimer,
                                             Thomas) (Entered: 10/15/2019)
               10/15/20 19          25      REDACTION to 12 Sealed Reply to Response to Motion, in Support
                                            of its Motion to Strike, or Alternatively, for Summary Judgment
                                            Regarding The Doctrine ofEquivalents by Wells Fargo Bank, N.A..
                                            (Melsheimer, Thomas) (Entered: 10/15/2019)
               10/15/2019           2       REDACTION to             W
                                                                 SEALED MOTION For Partial Summary
                                            Judgment Under 35 US. C. 28 7(a) by Wells Fargo Bank, N.A..
                                            (Attachments: #1 Affidavit, #2 Exhibit A, # Exhibit B, #4 Exhibit
                                            C, # Exhibit D, # Exhibit E, # Exhibit F, # Exhibit G, #9
                                            Exhibit H, # 10 Exhibit I, #11 Exhibit J, #12 Exhibit K, #UText of
                                            Proposed Order)(Melsheimer, Thomas) (Entered: 10/15/2019)
               10/15/20 19          Z17 REDACTION to                j
                                                               Sealed Reply to Response to Motion in Support
                                        of its Motion for Partial Summary Judgment Under 35 US.C. 287(a)
                                        by Wells Fargo Bank, N.A.. (Melsheimer, Thomas) (Entered:
                                        10/15/2019)
               10/15/20 19          2       REDACTION to LZ9 Sealed Reply to Response to Motion in Support
                                            of its Motion for Summary Judgment of No Indirect Infringement by
                                            Wells Fargo Bank, N.A.. (Attachments: #1 Affidavit, #2 Exhibit A)
                                            (Melsheimer, Thomas) (Entered: 10/15/2019)
               10/15/2019                   REDACTION to j3.4 SEALED MOTION For Summary Judgment Of
                                            No Willful Infringement by Wells Fargo Bank, N.A.. (Attachments: #1
                                            Affidavit, #2 Exhibit A, # Exhibit B, #4 Exhibit C, # Exhibit D, #
                                                                            .3.


                                              Exhibit E, # Exhibit F, # Exhibit G, #9 Exhibit H, #   j  Exhibit I,
                                            #  flExhibit J, # J2 Exhibit K, #          U
                                                                                Exhibit L, #14 Exhibit M, # i.
                                            Exhibit N, # 16 Exhibit 0, #
                                            R, #
                                                                                  fl
                                                                             Exhibit P, #       j
                                                                                           Exhibit Q, #19 Exhibit
                                                    Exhibit S)(Melsheimer, Thomas) (Entered: 10/15/2019)
               10/15/20 19                  REDACTION to j4 Sealed Reply to Response to Motion in Support
                                            of its Motion for Summary Judgment of No Willful Infringement by
                                            Wells Fargo Bank, N.A.. (Attachments: #1 Affidavit, #2 Exhibit T, #
                                            Exhibit U)(Melsheimer, Thomas) (Entered: 10/15/2019)
               10/16/20 19                  SEALED RESPONSE to Motion re             Opposed MOTION to Quash
                                            Subpoena to William Saffici to Appear and Tes4fy filed by United
                                            Services Automobile Association. (Attachments: # I Exhibit A, # 2
                                            Exhibit B, # 3 Exhibit C, #4 Exhibit D, # Exhibit E, # Exhibit F, #
                                                                                                      fl
                                            I Exhibit G, # Exhibit H, #9 Exhibit I, # jJ Exhibit J, # Text of
                                            Proposed Order)(Bunt, Robert) (Entered: 10/16/2019)
               10/16/2019                   NOTICE of Hearing: Pretrial Conference RESET for 10/17/2019 10:00
                                            AM in Ctrm 106 (Marshall) before District Judge Rodney Gilstrap.




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                                            ***please note that the TIME for the hearing has changed.***(jml)
                                            (Entered: 10/16/2019)
              10/17/2019                    NOTICE of Hearing: Final Pretrial Conference set for 10/18/2019
                                            09:00 AM in Ctrm 106 (Marshall) before District Judge Rodney
                                            Gilstrap._(jmI)_(Entered:_10/17/2019)
              10/17/20 19           2J      Minute Entry for proceedings held before District Judge Rodney
                                            Gilstrap: Initial Pretrial Conference held on 10/17/2019. (Court
                                            Reporter Shelly Holmes, CSR-TCRR.) (Attachments: # I Attorney
                                            Attendance Sheet) (jml) (Entered: 10/25/20 19)
              10/17/20 19           29      AMENDED Minute Entry for proceedings held before District Judge
                                            Rodney Gilstrap: Initial Pretrial Conference held on 10/17/2019. (Court
                                            Reporter Shelly Holmes, CSR-TCRR.) (Attachments: # .1. Attorney
                                            Attendance Sheet)(jmI) (Entered: 10/31/2019)
              10/18/2019            2       NOTICE of Attorney Appearance - Pro Hac Vice by Craig I. Varnen on
                                            behalf of United Services Automobile Association. Filing fee $ 100,
                                            receipt number 0540-7485395. (Varnen, Craig) (Entered: 10/18/2019)
              10/18/2019                    NOTICE of Hearing: Pretrial Conference set for 10/21/2019 09:00 AM
                                            in Ctrm 106 (Marshall) before District Judge Rodney Gilstrap. (jml)
                                            (Entered: 10/18/2019)
              10/18/20 19           22k.    Minute Entry for proceedings held before District Judge Rodney
                                            Gilstrap: Interim Pretrial Conference held on 10/18/20 19. (Court
                                            Reporter Shelly Holmes, CSR-TCRR.) (Attachments: # .1. Attorney
                                            Attendance Sheet) (jml) (Entered: 10/25/20 19)
              10/18/2019            29      AMENDED Minute Entry for proceedings held before District Judge
                                            Rodney Gilstrap: Interim Pretrial Conference held on 10/18/2019.
                                            (Court Reporter Shelly Holmes, CSR-TCRR.) (Attachments: # I
                                            Attorney Attendance Sheet) (jml) (Entered: 10/31/2019)
              10/20/2019                    NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings
                                            held on 10/17/19 (Pretrial Hearing) before Judge Rodney Gilstrap.
                                            Court Reporter/Transcriber: Shelly Holmes, CSR, TCRR,Telephone
                                            number: (903) 923-7464 (She1ly_Holmes@txed.uscourts.gov).
                                            <P>NOTICE RE REDACTION OF TRANSCRIPTS: The parties
                                            have seven (7) days to file with the Court a Notice of Intent to
                                            Request Redaction of this transcript. If no such Notice is filed, the
                                            transcript will be made remotely electronically available to the
                                            public without redaction after 90 calendar days. The policy is
                                            located on our website at www.txed.uscourts.gov<P> Transcript may
                                            be viewed at the court public terminal or purchased through the Court
                                            Reporter/Transcriber before the deadline for Release of Transcript
                                            Restriction. After that date it may be obtained through PACER.. Motion
                                            to Redact due 11 / 11/2019. Release of Transcript Restriction set for
                                            1/20/2020. (sholmes, ) (Entered: 10/20/2019)




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               10/21/2019           264     ***FILEDINEJROR***

                                            TRIAL BRIEF [Plaintffs Written Offer ofProof in Support of
                                            Evidence of Copying] by United Services Automobile Association.
                                            (Attachments: #1 Exhibit 1, #2 Exhibit 2, #3. Exhibit 3, #4 Exhibit 4,
                                            # Exhibit 5, # Exhibit 6, #2 Exhibit 7, # Exhibit 8, #2 Exhibit 9,
                                            # jQ Exhibit 10, #fl Exhibit 11, #12 Text of Proposed Order)(Bunt,
                                            Robert) Modified on 10/21/2019 (ch,). (Entered: 10/21/2019)
               10/21/2019                   ***FILEDINEPJOR***

                                            Sealed Document Plaintiffs Written Proof In Support of Evidence of
                                            Copying. (Attachments:         #j
                                                                         Exhibit 1, #2 Exhibit 2, #3. Exhibit 3, #4
                                            Exhibit 4, # 5 Exhibit 5, # Exhibit 6, #2 Exhibit 7, # Exhibit 8, #9
                                            Exhibit 9, #    j
                                                            Exhibit 10, #fl Exhibit 11, #12 Text of Proposed
                                            Order)(Bunt, Robert) Modified on 10/21/2019 (ch,). (Entered:
                                            10/21/2019)
               10/21/2019                   NOTICE of Attorney Appearance - Pro Hac Vice by Katherine
                                            Marcom on behalf of Wells Fargo Bank, N.A.. Filing fee $ 100, receipt
                                            number 0540-7485922. (Marcom, Katherine) (Entered: 10/21/2019)
               10/21/2019                   ***FILED IN ERROR. PER ATTORNEY Document # 264, Trial
                                            Brief. PLEASE IGNORE.***

                                            (ch, ) (Entered: 10/21/2019)
               10/21/2019           267     Sealed Document United Services Automobile Association's Written
                                            Offer of Proof in Support of Evidence of Copying. (Attachments: #1
                                            Exhibit 1, #2 Exhibit 2, #3. Exhibit 3, #4 Exhibit 4, # Exhibit 5, #
                                            Exhibit 6, #2 Exhibit 7, # Exhibit 8, #9 Exhibit 9, # jj Exhibit 10, #
                                            II Exhibit 11,      #fl
                                                                Text of Proposed Order)(Bunt, Robert) (Entered:
                                            10/2 1/20 19)
              10/21/2019                    ***FILED IN ERROR. PER ATTORNEY Document                 #   265, Sealed
                                            Document. PLEASE IGNORE.***

                                            (ch,) (Entered: 10/21/2019)
              10/21/2019            2       NOTICE by United Services Automobile Association re 211. Notice
                                            (Other) [PlaintfJ's Amended Disclosure Narrowing Claims for
                                            Purposes of Trial] (Bunt, Robert) (Entered: 10/21/2019)
              10/21/2019            222 Minute Entry for proceedings held before District Judge Rodney
                                        Gilstrap: Pretrial Conference held on 10/21/2019. (Court Reporter
                                        Shelly Holmes, CSR-TCRR.) (Attachments: #1 Attorney Attendance
                                        Sheet) (jml) (Entered: 10/25/2019)
              10/21/2019            299     AMENDED Minute Entry for proceedings held before District Judge
                                            Rodney Gilstrap: Pretrial Conference held on 10/21/2019. (Court




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                                            Reporter Shelly Holmes, CSR-TCRR.) (Attachments: # .1. Attorney
                                            Attendance Sheet) (jmI) (Entered: 10/3 1/2019)
               10/23/20 19              9 REDACTION to .j. Sealed Response to Motion, [Opposition to
                                          Motion to Quash Subpoena to William Saffici to Appear and Testfy by
                                          United Services Automobile Association. (Attachments: # j. Exhibit A -
                                          Public, #2 Exhibit B - Highly Confidential, # Exhibit C - Highly
                                          Confidential, #4 Exhibit D - Highly Confidential, # Exhibit E -
                                          Highly Confidential, # Exhibit F - Highly Confidential, #2 Exhibit G
                                          - Public, # 8 Exhibit H - Public, #9 Exhibit I Public, # j. Exhibit J -
                                          Public, # 11 Text of Proposed Order Public)(Bunt, Robert) (Entered:
                                             10/23/2019)
               10/23/2019           22L     REDACTION to 22 Sealed Document, Written Offer of Proofin
                                            Support ofEvidence of Copying by United Services Automobile
                                            Association. (Attachments: # j. Exhibit 1 - Highly Confidential, # 2
                                            Exhibit 2 - Highly Confidential, # a Exhibit 3 Highly Confidential, #
                                            4 Exhibit 4 - Highly Confidential, # Exhibit 5 - Highly Confidential,
                                            # Exhibit 6 - Highly Confidential, #2 Exhibit 7 - Highly
                                            Confidential, # Exhibit 8 - Highly Confidential, #9 Exhibit 9 -
                                            Highly Confidential, # j Exhibit 10 Highly Confidential, #fl
                                            Exhibit 11 - Highly Confidential, # J Text of Proposed Order Public)
                                            (Bunt, Robert) (Entered: 10/23/2019)
               10/23/2019            Jj.    NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings
                                            held on 10/18/19 (Pretrial Hearing) before Judge Rodney Gilstrap.
                                            Court Reporter/Transcriber: Shelly Holmes, CSR, TCRR,Telephone
                                            number: (903) 923-7464 (Shelly_Holmes@txed.uscourts.gov).
                                            <P>NOTICE RE REDACTION OF TRANSCRIPTS: The parties
                                            have seven (7) days to file with the Court a Notice of Intent to
                                            Request Redaction of this transcript. If no such Notice is filed, the
                                            transcript will be made remotely electronically available to the
                                            public without redaction after 90 calendar days. The policy is
                                            located on our website at www.txed.uscourts.gov<P> Transcript may
                                            be viewed at the court public terminal or purchased through the Court
                                            Reporter/Transcriber before the deadline for Release of Transcript
                                            Restriction. After that date it may be obtained through PACER.. Motion
                                            to Redact due 11/13/2019. Release of Transcript Restriction set for
                                             1/21/2020. (sholmes, ) (Entered: 10/23/2019)
              10/23/2019           222      NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings
                                            held on 10/21/19 (Pretrial Hearing) before Judge Rodney Gilstrap.
                                            Court Reporter/Transcriber: Shelly Holmes, CSR, TCRR,Telephone
                                            number: (903) 923-7464 (She1ly_Ho1mestxed.uscourts.gov).
                                            <P>NOTICE RE REDACTION OF TRANSCRIPTS: The parties
                                            have seven (7) days to file with the Court a Notice of Intent to
                                            Request Redaction of this transcript. If no such Notice is filed, the
                                            transcript will be made remotely electronically available to the
                                            public without redaction after 90 calendar days. The policy is




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                                            located on our website at www.txed.uscourts.gov<P> Transcript may
                                            be viewed at the court public terminal or purchased through the Court
                                            Reporter/Transcriber before the deadline for Release of Transcript
                                            Restriction. After that date it may be obtained through PACER.. Motion
                                            to Redact due 11/13/2019. Release of Transcript Restriction set for
                                            1/21/2020. (sholmes,           )   (Entered: 10/23/2019)
               10/24/20 19          223.    SEALED RESPONSE by Wells Fargo Bank, N.A. to USAA's Written
                                            Offer of Proof In Support of Evidence of Copying [D267] Sealed
                                            Document, filed by Wells Fargo Bank, N.A.. (Attachments: # I
                                            Affidavit, #2 Exhibit A, # Exhibit B, #4 Exhibit C, # Exhibit D, #
                                             Exhibit E, # Exhibit F, # Text of Proposed Order)(Melsheimer,
                                            Thomas) (Entered: 10/24/20 19)
              10/24/2019            224     NOTICE by Wells Fargo Bank, N.A. Joint Notice ofParties'
                                            Agreement Regarding Outstanding Exhibit Objections (Meisheimer,
                                            Thomas) (Entered: 10/24/2019)
              10/25/20 19                   NOTICE of Hearing: Pretrial Conference set for 10/28/20 19 03:30 PM
                                            in Ctrm 106 (Marshall) before District Judge Rodney Gilstrap. (jml)
                                            (Entered: 10/25/2019)
              10/25/20 19           22      NOTICE by Wells Fargo Bank, N.A. re 223. Response to Non-Motion,
                                            NOTICE OF CORRECTION REGARDING WELLS FARGOS
                                            RESPONSE TO USAAS OFFER OF PROOF REGARDING COPYING
                                            (E CF No. 273) (Meisheimer, Thomas) (Entered: 10/25/20 19)
              10/27/20 19           222     TRIAL BRIEF Defendant Wells Fargo Bank, NA. Notice of Position
                                            That The Jury Should Not Be Instructed On Clear And Convincing
                                            Evidence by Wells Fargo Bank, N.A.. (Attachments: # I Exhibit A)
                                            (Meisheimer, Thomas) (Entered: 10/27/2019)
              10/27/20 19           280     Sealed Document PLAINTIFF'S REQUEST FOR INSTRUCTION
                                            REGARDiNG DEFENDANT WELLS FARGO BANK N.A.S
                                            ACTUAL PRE-SUIT KNOWLEDGE OF THE PATENTS-IN-SUIT.
                                            (Attachments: # j. Affidavit Anthony Rowles, #2 Exhibit 1, #3. Exhibit
                                            2)(Bunt, Robert) (Entered: 10/27/2019)
              10/27/20 19           21. NOTICE by United Services Automobile Association re 2          Notice
                                            (Other) SECOND AMENDED DISCLOSURE NARROWING CLAIMS
                                            FOR PURPOSES OF TRIAL (Bunt, Robert) (Entered: 10/27/20 19)
              10/28/2019            282 RESPONSE to 279 Trial Brief PLAINTIFF'S RESPONSE TO WELLS
                                        FARGOS NOTICE OF POSITION THAT THE JURY SHOULD NOT
                                        BE INSTR UCTED ON CLEAR AND CONVINCING EVIDENCE filed
                                        by United Services Automobile Association. (Bunt, Robert) (Entered:
                                        10/28/2019)
              10/28/20 19           2.3.    MEMORANDUM OPINION AND ORDER. Signed by District Judge
                                            Rodney Gilstrap on 10/28/2019. (ch, ) (Entered: 10/28/2019)




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               10/28/20 19          24        Minute Entry for proceedings held before District Judge Rodney
                                              Gilstrap: Final Pretrial Conference held on 10/28/20 19. (Court Reporter
                                              Shelly Holmes, CSR-TCRR.) (Attachments: # .1. Attorney Attendance
                                              Sheet)_(jml)_(Entered: 10/28/20 19)
               10/28/20 19          3Q        AMENDED Minute Entry for proceedings held before District Judge
                                              Rodney Gilstrap: Final Pretrial Conference held on 10/28/20 19. (Court
                                              Reporter Shelly Holmes, CSR-TCRR.) (Attachments: # I Attorney
                                              Attendance Sheet) (jml) (Entered: 10/31/2019)
              10/29/20 19                     Second Amended 22 Witness List by United Services Automobile
                                              Association. (Bunt, Robert) (Entered: 10/29/2019)
              10/29/20 19                     Admitted Exhibits List by United Services Automobile Association..
                                              (Bunt,_Robert)_(Entered: 10/29/20 19)
               10/29/20 19                    AMENDED TRIAL WITNESS LIST Witness List by Wells Fargo
                                              Bank, N.A.. (Melsheimer, Thomas) (Entered: 10/29/2019)
               10/29/20 19                    Exhibit List DEFENDANT'S TRIAL EXHIBIT LIST by Wells Fargo
                                              Bank, N.A... (Melsheimer, Thomas) (Entered: 10/29/2019)
              10/29/20 19           2         SEALED RESPONSE by Wells Fargo Bank, N.A. to 2Q Sealed
                                              Document filed by Wells Fargo Bank, N.A.. (Attachments: # .1. Exhibit
                                              A, #2 Exhibit B, # Exhibit C, #4 Exhibit D)(Melsheimer, Thomas)
                                              (Entered: 10/29/2019)
              10/29/2019                      NOTICE OF FILiNG OF OFFICIAL TRANSCRIPT of Proceedings
                                              held on 10/28/19 (Pretrial Hearing) before Judge Rodney Gilstrap.
                                              Court Reporter/Transcriber: Shelly Holmes, CSR, TCRR,Telephone
                                              number: (903) 923-7464 (Shel1y_Holmes@txed.uscourts.gov).
                                              <P>NOTICE RE REDACTION OF TRANSCRIPTS: The parties
                                              have seven (7) days to file with the Court a Notice of Intent to
                                              Request Redaction of this transcript. If no such Notice is filed, the
                                              transcript will be made remotely electronically available to the
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                                              be viewed at the court public terminal or purchased through the Court
                                              Reporter/Transcriber before the deadline for Release of Transcript
                                              Restriction. After that date it may be obtained through PACER.. Motion
                                              to Redact due 11 / 19/2019. Release of Transcript Restriction set for
                                              1/27/2020. (sholmes,          )   (Entered: 10/29/2019)
               10/29/20 19              9j.   NOTICE by United Services Automobile Association re 2J. Notice
                                              (Other), 23.1 Notice (Other), Notice (Other) [PLAINTIFF'S THIRD
                                              AMENDED DISCLOSURE NARRO WING CLAIMS FOR PURPOSES
                                              OF TRIAL] (Bunt, Robert) (Entered: 10/29/20 19)
               10/30/20 19              92    ORDER REGARDING EXHIBITS. Signed by District Judge Rodney
                                              Gilstrap on 10/30/2019. (ch,) (Entered: 10/30/2019)




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              10/30/20 19          293.     ORDER TO PURCHASE JURY MEALS. Signed by District Judge
                                            Rodney Gilstrap on 10/30/2019. (ch, ) (Entered: 10/30/2019)
              10/30/20 19          294      ORDER ON PRETRIAL MOTIONS AND MOTIONS IN LIMINE.
                                            Signed by District Judge Rodney Gilstrap on 10/30/20 19. (ch,)
                                            (Entered: 10/30/2019)
              10/30/20 19          29      Minute Entry for proceedings held before District Judge Rodney
                                           Gilstrap: Jury Selection and Jury Trial held on 10/30/20 19. (Court
                                           Reporter Shelly Holmes, CSR-TCRR.) (Attachments: # I. Attorney
                                           Attendance Sheet) (jml) (Entered: 10/31/2019)
              10/30/20 19          3.Qj.   AMENDED Minute Entry for proceedings held before District Judge
                                           Rodney Gilstrap: Jury Selection and Jury Trial held on 10/30/20 19.
                                           (Court Reporter Shelly Holmes, CSR-TCRR.) (Attachments: # .1.
                                           Attorney Attendance Sheet) (jml) (Entered: 10/31/2019)
              10/31/2019           295     Sealed Document BENCH MEMORANDUM CONCERNING MITEK
                                           WITNESS ANDREW WOOD. (Attachments: # 1 Exhibit 1, #2
                                           Exhibit 2, # 3 Exhibit 3, #4 Exhibit 4)(Bunt, Robert) (Entered:
                                            10/3 1/20 19)

              10/31/2019           3       Minute Entry for proceedings held before District Judge Rodney
                                           Gilstrap: Jury Trial Day 2 held on 10/31/2019. (Court Reporter Shelly
                                           Holmes, CSR-TCRR.) (Attachments: # I Attorney Attendance Sheet)
                                           (jml) (Entered: 11/01/2019)
              11/01/20 19          1Q4     Minute Entry for proceedings held before District Judge Rodney
                                           Gilstrap: Jury Trial Day 3 held on 11/1/2019. (Court Reporter Shelly
                                           Holmes, CSR-TCRR.) (Attachments: # I Attorney Attendance Sheet)
                                           (jml) Modified on 11/4/2019 (jml,). (Entered: 11/01/2019)
              11/01/20 19          3.Q     Proposed Jury Instructions by United Services Automobile Association.
                                           (Bunt, Robert) (Entered: 11/01/2019)
              11/01/2019                   NOTICE by United Services Automobile Association re       Proposed
                                           Pretrial Order, 2 Notice (Other) Proposed Verdict Form [First
                                           Amended] (Attachments: # I Exhibit A - First Amended Proposed
                                           Verdict Form)(Bunt, Robert) (Entered: 11/01/2019)
              11/02/2019           102     SEALED MOTION WELLS FARGO BANK'S MOTION TO QUASH
                                           SUBPOENA TO ARMINAJAMI TO APPEAR AND TESTIFYby Wells
                                           Fargo Bank, N.A.. (Attachments: # I Affidavit Declaration of Michael
                                           Bittner, #2 Text of Proposed Order, # Exhibit A, #4 Exhibit B, #
                                           Exhibit C, # Exhibit D, #2 Exhibit E, # Exhibit F, #2 Exhibit G, #
                                           10 Exhibit H, # 11 Exhibit I)(Melsheimer, Thomas) (Entered:
                                           11/02/20 19)
              11/03/20 19          308     SEALED RESPONSE to Motion re 307 SEALED MOTION WELLS
                                           FARGO BANK'S MOTION TO QUASH SUBPOENA TO ARMIN
                                           AJAMI TO APPEAR AND TESTIFY filed by United Services




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                                            Automobile Association. (Attachments: # I Affidavit of Robert C.
                                            Bunt, # Exhibit 1, # Exhibit 2, #4 Exhibit 3, #5. Exhibit 4, #
                                            Exhibit 5, #2 Exhibit 6, # Exhibit 7, # Exhibit 8, # E2 Exhibit 9, #
                                            U Text of Proposed Order)(Bunt, Robert) (Entered: 11/03/2019)
               11/03/2019           3j9 Supplemental SEALED MOTION to Quash Subpoena by Wells Fargo
                                            Bank, N.A.. (Attachments: # I. Affidavit, # Exhibit F, #   Exhibit G)
                                            (Meisheimer, Thomas) (Entered: 11/03/2019)
               11/03/2019            JJ     Sealed Document Plaintiffs Notice of Filing Trial Demonstratives.
                                            (Attachments: # I Exhibit A, # 2 Exhibit B, # Exhibit C, #4 Exhibit
                                            D, # 5. Exhibit E)(Bunt, Robert) (Entered: 11/03/2019)
               11/03/2019            fl     ORDER granting IQI MOTION TO QUASH SUBPOENA TO
                                            ARMIN AJAMI TO APPEAR AND TESTIFY. Signed by District
                                            Judge Rodney Gilstrap on 11/03/2019. (jrg3, ) (Entered: 11/03/2019)
               11/03/2019           11      SEALED MOTION Trial BriefRegarding USAA Opening the Door
                                            to Evidence Relating to Other Banks by Wells Fargo Bank, N.A..
                                            (Attachments: # I Affidavit, # Exhibit A, # Exhibit B, #4 Exhibit
                                            C, #5. Exhibit D, # Exhibit E, #2 Text of Proposed Order)
                                            (Meisheimer, Thomas) (Entered: 11/03/2019)
               11/04/2019           313     SEALED RESPONSE to Motion re 312 SEALED MOTION Trial
                                            BriefRegarding USAA 's Opening the Door to Evidence Relating to
                                            Other Banks filed by United Services Automobile Association.
                                            (Attachments: # .j. Affidavit Andrew J. Strabone, # Exhibit 1, #
                                            Exhibit 2, #4 Exhibit 3, #5. Exhibit 4, # Exhibit 5, #2 Exhibit 6, #
                                            Exhibit 7, # Exhibit 8, # jj Text of Proposed Order)(Bunt, Robert)
                                            (Entered: 11/04/2019)
              11/04/2019            112 Minute Entiy for proceedings held before District Judge Rodney
                                        Gilstrap: Jury Trial Day 4 held on 11/4/2019. (Court Reporter Shelly
                                        Holmes, CSR-TCRR) (Attachments: # I Attorney Attendance Sheet)
                                        (jml) (Entered: 11/05/2019)
              11/05/2019             j4    TRIAL BRIEF [BENCH MEMORANDUM REQUESTING
                                           CORRECTIVE JURYINSTR UCTION REGARDING TESTIMONY OF
                                           DR. VILLASENOR CONTRARY TO THE COURT'S CLAIM
                                           CONSTRUCTION] by United Services Automobile Association. (Bunt,
                                           Robert) (Entered: 11/05/2019)
              11/05/2019           fl5. Sealed Document. (Attachments: # I Affidavit, # Exhibit DTX-005. 1,
                                            #3 Exhibit DTX-005.2, #4 Exhibit DTX-006, #5. Exhibit DTX-007, #
                                            6 Exhibit DTX-008, #2 Exhibit DTX-009, #   Exhibit DTX-010, #
                                            Exhibit DTX-013, # I Exhibit DTX-014, #11 Exhibit DTX-015, #12.
                                            Exhibit DTX-016, # U Exhibit DTX-017, #1.4 Exhibit DTX-020, #15.
                                            Exhibit DTX-021, # j Exhibit DTX-022, #12 Exhibit DTX-023, #       I
                                            Exhibit DTX-024, # j. Exhibit DTX-025, # 2i Exhibit DTX-026, #21
                                            Exhibit DTX-027, #22 Exhibit DTX-032, #     Exhibit DTX-034, #24
                                            Exhibit DTX-035, # 2.5 Exhibit DTX-036, #   Exhibit DTX-037, #22



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                                            Exhibit DTX-043, # 2. Exhibit DTX-045, #      Exhibit DTX-047, # 3
                                            Exhibit DTX-052, #31 Exhibit DTX-059, # 3. Exhibit DTX-060, # 3
                                            Exhibit DTX-073, # 3.4 Exhibit DTX-086, # 3.5 Exhibit DTX-087, # 3
                                            Exhibit DTX-088, #             fl
                                                                   Exhibit DTX-089, # 3. Exhibit DTX-090, #32
                                            Exhibit DTX-091, # 4Q Exhibit DTX-131, #41 Exhibit DTX-132, #42
                                            Exhibit DTX-133, #43.. Exhibit DTX-134, #44 Exhibit DTX-162, #45
                                            Exhibit DTX-219, # 4 Exhibit DTX-221, #42 Exhibit DTX-222, # 4..
                                            Exhibit DTX-223, # 4 Exhibit DTX-224, # 5 Exhibit DTX-270, # 5j
                                            Exhibit DTX-283, # 5 Exhibit DTX-284, # 53. Exhibit DTX-286, #54
                                            Exhibit DTX-287, # 5 Exhibit DTX-288, # 5 Exhibit DTX-330, # 5
                                            Exhibit DTX-336, # 5 Exhibit DTX-385, #52 Exhibit DTX-490, # (jQ
                                            Exhibit DTX-523, # j. Exhibit DTX-524, # 2 Exhibit DTX-525, # 3.
                                            Exhibit DTX-526, # .4 Exhibit DTX-529, # 5 Exhibit DTX-532, #
                                            Exhibit DTX-535, #     Exhibit DTX-538, #     Exhibit DTX-543, # 9
                                            Exhibit DTX-592, # IQ. Exhibit DTX-593, #21 Exhibit DTX-594, #22
                                            Exhibit DTX-597, # 23. Exhibit DTX-598, #24 Exhibit DTX-599, # 25.
                                            Exhibit DTX-604)(Melsheimer, Thomas) (Entered: 11/05/2019)
               11/05/2019           3.i     RESPONSE to USAA Requesting Corrective Jury Instruction
                                            Regarding Testimony of Dr. Villasenorfiled by Wells Fargo Bank, NA..
                                            (Meisheimer, Thomas) (Entered: 11/05/2019)
               11/05/2019           fl      Minute Entry for proceedings held before District Judge Rodney
                                            Gilstrap: Jury Trial Day 5 held on 11/5/2019. (Court Reporter Shelly
                                                                                     I
                                            Holmes, CSR-TCRR.) (Attachments: # Attorney Attendance Sheet)
                                            (jml) Modified on 11/6/2019 (jml,). (Entered: 11/06/2019)
               11/06/20 19          3.19    Minute Entry for proceedings held before District Judge Rodney
                                            Gilstrap: Jury Trial Day 6 completed on 11/6/2019. (Court Reporter
                                            Shelly Holmes, CSR-TCRR.) (Attachments: # I Attorney Attendance
                                            Sheet) (jml) (Entered: 11/06/2019)
               11/06/2019           320     Plaintiffs Final Trial Exhibit List. (jml) (Entered: 11/06/2019)
               11/06/2019           321     Defendant's Final Trial Exhibit List. (jml) (Entered: 11/06/2019)
               11/06/2019           3.22    JURY VERDICT. (jml) (Entered: 11/06/2019)
               11/06/2019           323     Sealed Document - Unredacted Jury Verdict. (jml) (Entered:
                                            11/06/20 19)
               11/06/2019           324 SEALED Jury Notes. (jml) (Entered: 11/06/2019)
              11/07/2019            325.    Sealed Document PLAINTIFF'S NOTICE OF FILING TRIAL
                                            DEMONSTRATIIVES. (Attachments: #1 Exhibit A)(Bunt, Robert)
                                            (Entered: 11/07/2019)
              11/07/20 19           32      NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings
                                            held on 10/30/19 (Trial Transcript - Morning Session) before Judge
                                            Rodney Gilstrap. Court Reporter/Transcriber: Shelly Holmes, CSR,
                                            TCRR,Telephone number: (903) 923-7464




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                                             (Shelly_Holmestxed.uscourts.gov). <P>NOTICE RE
                                             REDACTION OF TRANSCRIPTS: The parties have seven (7)
                                             days to file with the Court a Notice of Intent to Request Redaction
                                             of this transcript. If no such Notice is filed, the transcript will be
                                             made remotely electronically available to the public without
                                             redaction after 90 calendar days. The policy is located on our
                                             website at www.txed.uscourts.gov<P> Transcript may be viewed at
                                             the court public terminal or purchased through the Court
                                             Reporter/Transcriber before the deadline for Release of Transcript
                                             Restriction. After that date it may be obtained through PACER.. Motion
                                             to Redact due 11/28/20 19. Release of Transcript Restriction set for
                                             2/5/2020. (sholmes, ) (Entered: 11/07/2019)
               11/07/2019            321 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings
                                         held on 10/30/19 (Trial Transcript - Afternoon Session) before Judge
                                         Rodney Gilstrap. Court Reporter/Transcriber: Shelly Holmes, CSR,
                                          TCRR,Telephone number: (903) 923-7464
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               11/07/2019           32       NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings
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               11/07/2019           32      NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings
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                                            Rodney Gilstrap. Court Reporter/Transcriber: Shelly Holmes, CSR,
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              11/07/2019            33      NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings
                                            held on 11/1/19 (Trial Transcript - Morning Session) before Judge
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                                            (Shelly_Holmestxed.uscourts.gov). <P>NOTICE RE
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              11/07/2019             3j     NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings
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                                            TCRR,Telephone number: (903) 923-7464
                                            (Shelly_Holmestxed.uscourts.gov). <P>NOTICE RE
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              11/07/2019           332     NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings
                                           held on 11/4/19 (Trial Transcript - Afternoon Session) before Judge
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                                       TCRR,Telephone number: (903) 923-7464
                                       (Shelly_Holmes@txed.uscourts.gov). <P>NOTICE RE
                                       REDACTION OF TRANSCRIPTS: The parties have seven (7)
                                       days to file with the Court a Notice of Intent to Request Redaction
                                       of this transcript. If no such Notice is filed, the transcript will be
                                           made remotely electronically available to the public without
                                           redaction after 90 calendar days. The policy is located on our
                                           website at www.txed.uscourts.gov<P> Transcript may be viewed at
                                           the court public terminal or purchased through the Court
                                           Reporter/Transcriber before the deadline for Release of Transcript
                                           Restriction. After that date it may be obtained through PACER.. Motion




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                                            to Redact due 11/28/2019. Release of Transcript Restriction set for
                                            2/5/2020. (sholmes, ) (Entered: 11/07/2019)
               11/07/2019           33      NOTICE OF FILiNG OF OFFICIAL TRANSCRIPT of Proceedings
                                            held on 11/6/19 (Trial Transcript - Morning Session) before Judge
                                            Rodney Gilstrap. Court Reporter/Transcriber: Shelly Holmes, CSR,
                                            TCRR,Telephone number: (903) 923-7464
                                            (Shelly_Holmestxed.uscourts.gov). <P>NOTICE RE
                                            REDACTION OF TRANSCRIPTS: The parties have seven (7)
                                            days to file with the Court a Notice of Intent to Request Redaction
                                            of this transcript. If no such Notice is filed, the transcript will be
                                            made remotely electronically available to the public without
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                                            website at www.txed.uscourts.govczP> Transcript may be viewed at
                                            the court public terminal or purchased through the Court
                                            Reporter/Transcriber before the deadline for Release of Transcript
                                            Restriction. After that date it may be obtained through PACER.. Motion
                                            to Redact due 11/28/20 19. Release of Transcript Restriction set for
                                            2/5/2020. (sholmes, ) (Entered: 11/07/2019)
               11/12/2019           33      FINAL JUDGMENT. Signed by District Judge Rodney Gilstrap on
                                            11/12/2019. (ch, ) (Entered: 11/12/2019)
               11/12/20 19          3.31    Notice of Filing of Patent/Trademark Form (AO 120) at termination of
                                            case. AO 120 mailed to the Director of the U.S. Patent and Trademark
                                            Office. (ch,) (Entered: 11/12/2019)
               11/12/20 19          33      FINAL JUDGMENT. Signed by District Judge Rodney Gilstrap on
                                            11/12/20109. (ch, ) (Entered: 11/13/2019)
              11/26/2019            33      PROPOSED BILL OF COSTS filed by United Services Automobile
                                            Association. (Attachments: # .1. Exhibit A)(Bunt, Robert) (Entered:
                                            11/26/2019)
              12/03/20 19           3..4    Unopposed MOTION to Stay Execution of Judgment During Pendency
                                            of Post-Judgment Motions by Wells Fargo Bank, N.A.. (Attachments: #
                                            I Text of Proposed Order)(Hill, Jack) (Entered: 12/03/2019)
              12/04/20 19           3.4j    ORDER granting 34 Unopposed MOTION to Stay Execution of
                                            Judgment During Pendency of Post-Judgment Motions. Signed by
                                            District Judge Rodney Gilstrap on 12/4/20 19. (ch, ) (Entered:
                                            12/04/2019)
              12/04/2019            34      NOTICE of Attorney Appearance by Katherine K. Vidal on behalf of
                                            Wells Fargo Bank, N.A. (Vidal, Katherine) (Entered: 12/04/2019)
              12/10/20 19           343.    Unopposed MOTION for Leave to File Excess Pages for its combined
                                            Motion for Judgment as a Matter of Law and related briefing by Wells
                                            Fargo Bank, N.A.. (Attachments: # I Text of Proposed Order)(Hill,
                                            Jack) (Entered: 12/10/2019)




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               12/10/2019            344     Opposed SEALED MOTIONfor Enhancement ofDamages Due to
                                             Willful Infringement by United Services Automobile Association.
                                             (Attachments: #1 Affidavit Anthony Q. Rowles, #2 Exhibit 1, #
                                             Exhibit 2, #4 Exhibit 3, # Exhibit 4, # Exhibit 5, # Exhibit 6, #
                                             Exhibit 7, #2 Exhibit 8, # jJ Text of Proposed Order)(Bunt, Robert)
                                             (Entered: 12/10/2019)
               12/10/2019            3.4     Opposed SEALED MOTIONfor Ongoing Royalty by United Services
                                             Automobile Association. (Attachments: #1 Affidavit Anthony Q.
                                             Rowles, #2 Exhibit 1, # Exhibit 2, #4 Exhibit 3, # Exhibit 4, #
                                             Exhibit 5, # 7 Exhibit 6, # Exhibit 7, #2 Exhibit 8, # j Exhibit 9, #
                                             IIText of Proposed Order)(Bunt, Robert) (Entered: 12/10/20 19)
               12/10/20 19           34      Opposed MOTION for Award of Pre- and Post-Judgment Interest by
                                             United Services Automobile Association. (Attachments: # 1 Affidavit
                                             M. Chaparro, #2 Exhibit A, # a Exhibit B, #4 Exhibit C, # Exhibit
                                             D, #6 Appendix 1, # Text of Proposed Order)(Bunt, Robert)
                                             (Entered: 12/10/2019)
               12/10/2019            342.    SEALED MOTION FOR JUDGMENTASA MATTER OFLAWby
                                                                                         I
                                             Wells Fargo Bank, N.A.. (Attachments: # Declaration of Michael A.
                                             Bittner, #2 Exhibit A, #3 Exhibit B, #4 Exhibit C, # Exhibit D, #
                                             Exhibit E, # Exhibit F, # Exhibit G, #9 Text of Proposed Order
                                             Granting Wells Fargo Bank's Motion for Judgment as a Matter of Law)
                                             (Meisheimer, Thomas) (Entered: 12/10/2019)
               12/10/2019           34       SEALED MOTION FOR NEW TRIAL by Wells Fargo Bank, N.A..
                                             (Attachments: # I Text of Proposed Order)(Melsheimer, Thomas)
                                             (Entered: 12/10/2019)
               12/12/2019           349     MOTION for Extension of Time to File [JOINT MO TION FOR
                                            EXTENSIONREGARDING POST-TRIAL BRIEFING] by United
                                            Services Automobile Association. (Attachments: # .. Text of Proposed
                                            Order)(Bunt, Robert) (Entered: 12/12/2019)
               12/12/2019           350      ***FILEDINEffl(OR***

                                            MOTION to Approve Consent Judgment MOTION to Stay Execution
                                                                                     ,


                                            of the Judgment Under § 91 by Wells Fargo Bank, N.A.. (Attachments:
                                            # .1. Affidavit, #2 Exhibit A, # a Exhibit B, #4 Exhibit C, # Text of
                                            Proposed Order)(Melsheimer, Thomas) Modified on 12/12/20 19 (ch,).
                                            (Entered: 12/12/2019)
               12/12/20 19                  ***FILED IN ERROR. PER ATTORNEY Document # 350,
                                            Motion to Approve Consent Judgment and Motion To Stay.
                                            PLEASE IGNORE.***

                                            (ch, ) (Entered: 12/12/2019)
              12/12/2019            3J.     MOTION to Stay Execution of the Judgment Under 12 US. C. § 91 by
                                            Wells Fargo Bank, N.A.. (Attachments: # I Affidavit, #2 Exhibit A, #




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                                             Exhibit B, #4 Exhibit C, #5. Text of Proposed Order)(Melsheimer,
                                            Thomas) (Entered: 12/12/2019)
              12/21/2019            152     Unopposed MOTION for Extension of Time to File Response/Reply
                                            Regarding Briefing on Motion to Stay Execution ofJudgment (Dkt. No.
                                            351) by United Services Automobile Association. (Attachments: # I
                                            Text of Proposed Order)(Bunt, Robert) (Entered: 12/21/2019)
              12/23/20 19           3.5     NOTICE by Wells Fargo Bank, N.A. NOTICE OFACTIVITYIN
                                            RELATED INTER PAR TES REVIEW PROCEEDINGS (Attachments: #
                                            1 Affidavit Declaration of Michael Bittner, # Exhibit A)(Melsheimer,
                                                                                          ,




                                            Thomas) (Entered: 12/23/2019)
              0 1/15/2020           354     ORDER granting 352 Motion for Extension of Time to File
                                            Response/Reply re 15j. MOTION to Stay Execution of the Judgment
                                            Under 12 US.C. § 91 Responses due by 1/21/2020 Replies due by
                                            1/28/2020.. Signed by District Judge Rodney Gilstrap on 1/15/2020.
                                            (ch,) (Entered: 01/16/2020)
              01/21/2020            355     SEALED RESPONSE DEFENDANT WELLS FARGO BANK,
                                            N.A.SOPPOSITION TO PLAiNTIFF UNITED SERVICES
                                            AUTOMOBILE ASSOCIATIONS MOTION FOR ENHANCED
                                            DAMAGES to Motion re 3.44 Opposed SEALED MOTIONfor
                                            Enhancement of Damages Due to Willful Infringement filed by Wells
                                                                                I
                                            Fargo Bank, N.A.. (Attachments: # Affidavit, #2 Exhibit A, #3.
                                            Exhibit B, #4 Exhibit C, #5. Exhibit D, # Exhibit E, # Exhibit F, #
                                             Exhibit G, #2 Exhibit H, # jJ Exhibit I,  #fl   Exhibit J, # j Exhibit
                                            K, # 13. Exhibit L, #j.4 Exhibit M, #15. Text of Proposed Order)
                                            (Melsheimer, Thomas) (Entered: 01/21/2020)
              01/21/2020            35      SEALED RESPONSE DEFENDANT WELLS FARGO BANK, N.A.S
                                            OPPOSITION TO MOTION FOR AWARD OF PRE- AND POST-
                                            JUDGMENT INTERESTto Motion re 34.. Opposed MOTION for
                                            Award of Pre- and Post-Judgment Interest filed by Wells Fargo Bank,
                                            N.A.. (Attachments: # I Appendix A, #2 Appendix B, #3. Affidavit, #
                                            4 Exhibit A, #5. Text of Proposed Order)(Melsheimer, Thomas)
                                            (Entered: 01/21/2020)
              01/21/2020            3.51    SEALED RESPONSE WELLS FARGOS BRIEF IN OPPOSITION
                                            TO UNITED SERVICES AUTOMOBILE ASSOCIATIONS MOTION
                                            FOR ONGOING ROYALTY to Motion re 345. Opposed SEALED
                                            MOTIONfor Ongoing Royalty filed by Wells Fargo Bank, N.A..
                                            (Attachments: # I Affidavit, #2 Exhibit A, #3. Exhibit B, #4 Exhibit
                                            C, # 5. Text of Proposed Order)(Melsheimer, Thomas) (Entered:
                                            01/21/2020)
              01/21/2020            358     SEALED RESPONSE to Motion re 341 SEALED MOTION FOR
                                            JUDGMENTASA MATTER OF LA W filed by United Services
                                            Automobile Association. (Attachments: #1. Affidavit Anthony Q.
                                            Rowles, #2 Exhibit 1, #3. Exhibit 2, #4 Exhibit 3, #5. Exhibit 4, #




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                                            Exhibit 5, # 7 Exhibit 6, # Exhibit 7, #2 Exhibit 8, # j.Q. Exhibit 9, #
                                            11 Exhibit 10, #      fl
                                                                Exhibit 11, # j Exhibit 12, #14 Exhibit 13, # 1
                                            Text of Proposed Order)(Bunt, Robert) (Entered: 01/21/2020)
              01/21/2020            359     SEALED RESPONSE to Motion re 348 SEALED MOTION FOR
                                            NEW TRIAL filed by United Services Automobile Association.
                                            (Attachments: # Affidavit Anthony Q. Rowles, # Exhibit 1, # 3
                                            Exhibit 2, #4 Exhibit 3, # Exhibit 4, # Exhibit 5, # .7. Exhibit 6, #
                                            Text of Proposed Order)(Bunt, Robert) Modified on 1/22/2020 (ch,).
                                            (Entered: 01/21/2020)
              01/21/2020                    RESPONSE in Opposition re 3..5j. MOTION to Stay Execution of the
                                            Judgment Under 12 US.C. § 91 filed by United Services Automobile
                                            Association. (Attachments: #j Text of Proposed Order)(Bunt, Robert)
                                            (Entered: 01/21/2020)
              0 1/22/2020                   ***DISREGARf******FILED IN ERROR. FILED IN THE
                                            WRONG CASE Document # 359, SEALED RESPONSE to Motion
                                            re 34 SEALED MOTION FOR NEW TRIAL. PLEASE
                                            IGNORE.***

                                            (ch, ) Modified on 1/22/2020 (ch,). (Entered: 01/22/2020)
              0 1/22/2020                   NOTICE FROM CLERK - re 352 Sealed Response to Motion
                                            DISREGARD THE FILED IN ERROR (ch, ) (Entered: 0 1/22/2020)
              0 1/27/2020                   Agreed MOTION for Extension of Time to File Response/Reply as to
                                            34 Opposed SEALED MOTIONfor Ongoing Royalty, 3.4.4 Opposed
                                            SEALED MOTIONfor Enhancement of Damages Due to Willful
                                            Infringement, 34 SEALED MOTION FOR NEW TRIAL, 3jL
                                            MOTION to Stay Execution of the Judgment Under 12 US.C. § 91,
                                            34 Opposed MOTION for Award of Pre- and Post-Judgment Interest,
                                            342 SEALED MOTION FOR JUDGMENTASA MATTER OF LA Wby
                                            Wells Fargo Bank, N.A.. (Attachments: # I Text of Proposed Order)
                                            (Hill, Jack) (Entered: 01/27/2020)
              0 1/28/2020           3       ORDER granting 31 Motion for Extension of Time to File
                                            Response/Reply re 34. Opposed SEALED MOTIONf0r Ongoing
                                            Royalty, 34 SEALED MOTION FOR NEW TRIAL, j1 MOTION to
                                            Stay Execution of the Judgment Under 12 US. C. § 91,344 Opposed
                                            SEALED MOTIONfor Enhancement of Damages Due to Willful
                                            Infringement, 342 SEALED MOTION FOR JUDGMENTASA
                                            MATTER OF LAW, 34 Opposed MOTION for Award of Pre- and
                                            Post-Judgment Interest Replies due by 1/30/2020.. Signed by District
                                            Judge Rodney Gilstrap on 1/28/2020. (ch, ) (Entered: 0 1/28/2020)
              0 1/30/2020           3       RESPONSE in Support re 3.J. MOTION to Stay Execution of the
                                            Judgment Under 12 US.C. §91 WELLSFARGOBANKN.A.'SREPLY
                                            IN SUPPORT OF ITS MOTION TO STAY EXECUTION OF THE




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                                             JUDGMENT UNDER 12 US.C. § 91 flied by Wells Fargo Bank, NA..
                                             (Meisheimer, Thomas) (Entered: 01/30/2020)

               01/30/2020            34      WELLS FARGO'S REPLY IN SUPPORT OF ITS MOTION FOR A
                                             NEW TRIAL (D348) filed by Wells Fargo Bank, N.A.. (Attachments: #
                                             1 Affidavit Declaration of Michael Bittner, # Exhibit A)(Melsheimer,
                                                                                           ,



                                             Thomas)_(Entered: 0 1/30/2020)

               0 1/30/2020           35 SEALED REPLY to Response to Motion re      4i WELLS FARGO'S
                                             REPLY IN SUPPORT OF ITS MOTION FOR JUDGMENT AS A
                                             MATTER OF LAW filed by Wells Fargo Bank, N.A.. (Meisheimer,
                                             Thomas) (Entered: 0 1/30/2020)
               01/30/2020                    SEALED REPLY to Response to Motion re 4.4 Opposed SEALED
                                             MOTIONfor Enhancement of Damages Due to Willful Infringement
                                             filed by United Services Automobile Association. (Attachments: # 1.
                                             Affidavit Anthony Rowles Declaration, # Exhibit 1, # Exhibit 2, #4
                                                                                       ,




                                             Exhibit 3, # 5 Exhibit 4, # Exhibit 5)(Bunt, Robert) (Entered:
                                             01/30/2020)
               0 1/30/2020           3       SEALED REPLY to Response to Motion re            Opposed SEALED
                                             MOTIONfor Ongoing Royalty filed by United Services Automobile
                                             Association. (Attachments: # .1. Affidavit Anthony Rowles Declaration,
                                             # 2 Exhibit 1, # Exhibit 2)(Bunt, Robert) (Entered: 0 1/30/2020)
                                                                   ,




               0 1/30/2020           3      REPLY to Response to Motion re 34 Opposed MOTION for Award of
                                            Pre- and Post-Judgment Interestflled by United Services Automobile
                                            Association. (Bunt, Robert) (Entered: 01/30/2020)
               02/04/2020           j        ORDER granting 3.4. Motion for Leave to File Excess Pages; granting
                                              49 Motion for Extension of Time to File. Signed by District Judge
                                             Rodney Gilstrap on 2/4/2020. (ch,) (Entered: 02/04/2020)

              02/04/2020            3jj     Agreed MOTION for Extension of Time to File Response/Reply as to
                                            i4 Opposed SEALED MOTION for Ongoing Royalty,                Opposed
                                             SEALED MOTIONfor Enhancement of Damages Due to Willful
                                            Infringement,      SEALED MOTION FOR NEW TRIAL, 3i
                                            MOTION to Stay Execution of the Judgment Under 12 U.S. C. § 91,
                                                 Opposed MOTION for Award of Pre- and Post-Judgment Interest,
                                            3A2 SEALED MOTION FOR JUDGMENTASA MATTER OF LA W
                                            (regarding post-judgment motion sur-replies) by Wells Fargo Bank,
                                            N.A.. (Attachments: # I. Text of Proposed Order)(Hill, Jack) (Entered:
                                            02/04/2020)
              02/20/2020            flj     SUR-REPLY to Reply to Response to Motion re 34 Opposed
                                            MOTION for Award of Pre- and Post-Judgment Interest DEFENDANT
                                            WELLS FARGO BANK, NA.SSUR-.REPLYTOMOTIONBYUSAA
                                            FOR A WARD OF PRE- AND POST-JUDGMENT INTERESTJI1ed by
                                            Wells Fargo Bank, N.A.. (Meisheimer, Thomas) (Entered: 02/20/2020)

              02/20/2020            3       DEFENDANT WELLS FARGO BANK, N.A.S SUR-REPLY IN



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                                              OPPOSITION TO PLAINTIFF UNITED SERVICES AUTOMOBILE
                                              ASSOCIATIONS MOTION FOR ENHANCED DAMAGES [re
                                              Docket 344] filed by Wells Fargo Bank, N.A.. (Meisheimer, Thomas)
                                              (Entered: 02/20/2020)
              02/20/2020            3fl       WELLS FARGOS SURREPLY BRIEF IN OPPOSITION TO UNITED
                                              SERVICES AUTOMOBILE ASSOCIATIONS MOTION FOR
                                              ONGOING ROYALTY [re Docket 345] filed by Wells Fargo Bank,
                                              N.A.. (Meisheimer, Thomas) (Entered: 02/20/2020)
              02/20/2020            3_74      SEALED SUR-REPLY to Reply to Response to Motion re 342
                                              SEALED MOTION FOR JUDGMENTASA MATTER OF LA W filed
                                              by United Services Automobile Association. (Attachments: # I
                                              Affidavit Anthony Q. Rowles, #2 Exhibit l)(Bunt, Robert) (Entered:
                                              02/20/2020)
              02/20/2020            3.15.     SUR-REPLY to Reply to Response to Motion re 3j. MOTION to Stay
                                              Execution of the Judgment Under 12 US.C. § 91 filed by United
                                              Services Automobile Association. (Bunt, Robert) (Entered: 02/20/2020)
              02/20/2020            32        SEALED SUR-REPLY to Reply to Response to Motion re 34
                                              SEALED MOTION FOR NEW TRIAL filed by United Services
                                              Automobile Association. (Attachments: # I Affidavit Anthony Q.
                                              Rowles, # 2 Exhibit 1)(Bunt, Robert) (Entered: 02/20/2020)
              04/20/2020            3fl       NOTICE by Wells Fargo Bank, N.A. OF SUPPLEMENTAL
                                              AUTHORITY (Attachments: # j. Exhibit A, #2 Exhibit B)(Melsheimer,
                                              Thomas) (Entered: 04/20/2020)
              09/14/2020            32        ORDER granting 3.2 Motion for Extension of Time to File
                                              Response/Reply. Signed by District Judge Rodney Gilstrap on
                                              9/14/2020. (ch, ) (Entered: 09/15/2020)
              09/22/2020            32.       ORDER granting 3j. MOTION to Stay Execution of the Judgment
                                              Under 12 U.S.C. § 91. Signed by District Judge Rodney Gilstrap on
                                              9/22/2020. (ch, ) (Entered: 09/23/2020)



                                   ii                       PACER Service Center                             II




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          EXHIBIT                            7
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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION
UNITED SERVICES AUTOMOBILE
ASSOCIATION
a Texas reciprocal inter-insurance exchange,

                Plaintiff,
                                                    Civil Action No. 2:1 8-CV-366
        v.
                                                    JURY TRIAL DEMANDED
WELLS FARGO BANK, N.A.,
a national banking association,

                Defendant.




                                     PROTECTIVE ORDER

        Plaintiff United States Automobile Association ("Plaintiff") and Defendant Wells Fargo
Bank, N.A. ("Defendant") anticipate that documents, testimony, or information containing or

reflecting confidential, proprietary, trade secret, and/or commercially sensitive information
are likely to be disclosed or produced during the course of discovery, initial disclosures, and

supplemental disclosures in this case and request that the Court enter this Order setting forth
the conditions for treating, obtaining, and using such information.
       Pursuant to Rule 26(c) of the Federal Rules of Civil Procedure, the Court finds good
cause for the following Agreed Protective Order Regarding the Disclosure and Use of

Discovery Materials ("Order" or "Protective Order").
1.     PURPOSES AND LIMITATIONS
       (a)     Protected Material designated under the terms of this Protective Order shall be

used by a Receiving Party solely for this case, and shall not be used directly or indirectly for any

other purpose whatsoever.
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         (b)        The Parties acknowledge that this Order does not confer blanket protections on all

disclosures during discovery, or in the course of making initial or supplemental disclosures under

Rule 26(a). Designations under this Order shall be made with care and shall not be made absent

a good faith belief that the designated material satisfies the criteria set forth below.     If it comes to
a Producing Party's attention that designated material does not qualify for protection at all, or

does not qualify for the level of protection initially asserted, the Producing Party must promptly

notify all other Parties that it is withdrawing or changing the designation.
2.       DEFENITIONS

         (a)        "Discovery Material" means all items or information, including from any non-
party, regardless of the medium or maimer generated, stored, or maintained (including, among

other things, testimony, transcripts, or tangible things) that are produced, disclosed, or generated

in connection with discovery or Rule 26(a) disclosures in this case.

         (b)        "Outside Counsel" means (i) outside counsel who appear on the pleadings as

counsel for a Party and (ii) partners, associates, and staff of such counsel to whom it is

reasonably necessary to disclose the information for this litigation.

         (c)        "Patents-in-suit" means U.S. Patent Nos.   8,392,332, 8,708,227, 9,224,136, 10,013,605,


and   10,013,681,   and any other patent asserted in this action, as well as any related patents, patent

applications, provisional patent applications, continuations, and/or divisionals.

         (d)        "Party" means any party to this case, including all of its officers, directors,

employees, consultants, retained experts, and outside counsel and their support staffs.

         (e)        "Producing Party" means any Party or non-party that discloses or produces any
Discovery Material in this case.

         (f)        "Protected Material" means any Discovery Material that is designated as

"CONFIDENTIAL,"               "CONFIDENTIAL          -    ATTORNEYS'             EYES      ONLY,"       or
"CONFIDENTIAL - OUTSIDE ATTORNEYS' EYES ONLY SOURCE CODE," as provided

for in this Order. Protected Material shall not include: (i) advertising materials that have been




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actually published or publicly disseminated; and (ii) materials that show on their face they have

been disseminated to the public.

        (g)     "Receiving Party" means any Party who receives Discovery Material from a
Producing Party.
        (h)     "Source Code" means computer code, scripts, assembly, binaries, object code,

source code listings and descriptions of source code, object code listings and descriptions of

object code, and Hardware Description Language (HDL) or Register Transfer Level (RTL) files

that describe the hardware design of any ASIC or other chip.

3.      COMPUTATION OF TIME
        The computation of any period of time prescribed or allowed by this Order shall be

governed by the provisions for computing time set forth in Federal Rules of Civil Procedure 6
and any related Local Rules.

4.      SCOPE
        (a)    The protections conferred by this Order cover not only Discovery Material

governed by this Order as addressed herein, but also any information copied or extracted

therefrom, as well as all copies, excerpts, summaries, or compilations thereof, plus testimony,

conversations, or presentations by Parties or their counsel in court or in other settings that might

reveal Protected Material.

        (b)    Nothing in this Protective Order shall prevent or restrict a Producing Party's own
disclosure or use of its own Protected Material for any purpose, and nothing in this Order shall

preclude any Producing Party from showing its Protected Material to an individual who prepared
the Protected Material.

       (c)     Nothing in this Order shall be construed to prejudice any Party's right to use any
Protected Material in court or in any court filing with the consent of the Producing Party or by
order of the Court.




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        (d)     This Order is without prejudice to the right of any Party to seek further or

additional protection of any Discovery Material or to modify this Order in any way, including,

without limitation, an order that certain matter not be produced at all.
5.      DURATION
        Even after the termination of this case, the confidentiality obligations imposed by this

Order shall remain in effect until a Producing Party agrees otherwise in writing or a court order

otherwise directs.
6.      ACCESS TO AND USE OF PROTECTED MATERIAL
        (a)     Basic Principles. All Protected Material shall be used solely for this case or any

related appellate proceeding, and not for any other purpose whatsoever, including without
limitation any other litigation, patent prosecution or acquisition, patent reexamination or reissue

proceedings, or any business or competitive purpose or function. Protected Material shall not be

distributed, disclosed or made available to anyone except as expressly provided in this Order.

        (b)    Patent Prosecution Bar. Absent the written consent of the Producing Party, any

person who receives one or more items designated "CONFIDENTIAL                ATTORNEYS' EYES
ONLY" or "CONFIDENTIAL               ATTORNEYS' EYES ONLY                  SOURCE CODE" by the
opposing party shall not be involved, directly or indirectly, in any of the following activities: (i)
advising on, consulting on, preparing, prosecuting, drafting, editing, and/or amending of patent

applications, specifications, claims, and/or responses to office actions, or otherwise affecting the

scope of claims in patents or patent applications relating to the functionality, operation, and

design of any check processing methods or systems (generally or as described in any patent in
suit), before any foreign or domestic agency, including the United States Patent and Trademark

Office; and (ii) the acquisition of patents (including patent applications), or the rights to any such

patents or patent applications with the right to sublicense, relating to check processing methods
or systems.    These prohibitions are not intended to and shall not preclude counsel from

participating in post-grant proceedings initiated by a Party, as long as the counsel does not

participate in claim amendments.            These prohibitions shall begin when access to

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"CONFIDENTIAL           ATTORNEYS' EYES ONLY" or "CONFIDENTIAL                        ATTORNEYS'
EYES ONLY          SOURCE CODE" materials are first received by the affected individual, and
shall end two (2) years after the final resolution of this action, including all appeals.

           (c)   Secure Storage, No Export. Protected Material must be stored and maintained by

a Receiving Party at a location in the United States and in a secure manner that ensures that

access is limited to the persons authorized under this Order.           To ensure compliance with
applicable United States Export Administration Regulations, Protected Material may not be

exported outside the United States or released to any foreign national (even if within the United

States).

           (d)   Legal Advice Based on Protected Material. Nothing in this Protective Order shall

be construed to prevent counsel from advising their clients with respect to this case based in

whole or in part upon Protected Materials, provided counsel does not disclose the Protected

Material itself except as provided in this Order.
           (e)   Limitations. Nothing in this Order shall restrict in any way a Producing Party's

use or disclosure of its own Protected Material. Nothing in this Order shall restrict in any way

the use or disclosure of Discovery Material by a Receiving Party: (i) that is or has become

publicly known through no fault of the Receiving Party; (ii) that is lawfully acquired by or
known to the Receiving Party independent of the Producing Party; (iii) previously produced,

disclosed and/or provided by the Producing Party to the Receiving Party or a non-party without
an obligation of confidentiality and not by inadvertence or mistake; (iv) with the consent of the

Producing Party; or (v) pursuant to order of the Court.

7.     DESIGNATING PROTECTED MATERIAL
       (a)       Available Designations. Any Producing Party may designate Discovery Material
with any of the following designations, provided that it meets the requirements for such

designations as provided for herein: "CONFIDENTIAL," "CONFIDENTIAL - ATTORNEYS'

EYES ONLY," or "CONFIDENTIAL                OUTSIDE ATTORNEYS' EYES ONLY - SOURCE
CODE."


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       (b)     Written Discovery and Documents and Tangible Things.             Written discovery,

documents (which include "electronically stored information," as that phrase is used in Federal

Rule of Procedure 34 and this Court's related E-Discovery Order), and tangible things that meet

the requirements for the confidentiality designations listed in Paragraph 7(a) may be so

designated by placing the appropriate designation on every page of the written material prior to

production. For digital files being produced, the Producing Party may mark each viewable page

or image with the appropriate designation, and mark the medium, container, andlor

communication in which the digital files were contained. In the event that original documents

are produced for inspection, the original documents shall be presumed "CONFIDENTIAL

ATTORNEYS' EYES ONLY" during the inspection and re-designated, as appropriate during the
copying process.

       (c)     Native Files.    Where electronic files and documents are produced in native

electronic format, such electronic files and documents shall be designated for protection under

this Order by appending to the file names or designators information indicating whether the file

contains     "CONFIDENTIAL," "CONFIDENTIAL                   ATTORNEYS' EYES ONLY," or

"CONFIDENTIAL - OUTSIDE ATTORNEYS' EYES ONLY - SOURCE CODE," material, or

shall use any other reasonable method for so designating Protected Materials produced in

electronic format. When electronic files or documents are printed for use at deposition, in a court

proceeding, or for provision in printed form to an expert or consultant pre-approved pursuant to

Paragraph 12 below, the party printing the electronic files or documents shall affix a legend to

the printed document corresponding to the designation of the Designating Party and including

the production number and designation associated with the native file.

       (d)     Depositions and Testimony.         Parties or testifying persons or entities may

designate depositions and other testimony with the appropriate designation by indicating on the

record at the time the testimony is given or by sending written notice of how portions of the

transcript of the testimony is designated within thirty (30) days of receipt of the transcript of the

testimony. If no indication on the record is made, all information disclosed during a deposition


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shall be deemed "CONFIDENTIAL              ATTORNEYS' BYES ONLY" until the time within
which it may be appropriately designated as provided for herein has passed. If a party does not

designate within thirty (30) days of receipt of the transcription, it shall be deemed non-

confidential. Any Protected Material that is used in the taking of a deposition shall remain

subject to the provisions of this Protective Order, along with the transcript pages of the deposition

testimony dealing with such Protected Material.        In such cases the court reporter shall be
informed of this Protective Order and shall be required to operate in a manner consistent with
this Protective Order. In the event the deposition is videotaped, the original and all copies of the

videotape shall be marked by the video technician to indicate that the contents of the videotape

are subject to this Protective Order, substantially along the lines of "This videotape contains

confidential testimony used in this case and is not to be viewed or the contents thereof to be
displayed or revealed except pursuant to the terms of the operative Protective Order in this
matter or pursuant to written stipulation of the parties." Counsel for any Producing Party
shall have the right to exclude from oral depositions, other than the deponent, deponent's
counsel, the reporter and videographer (if any), any person who is not authorized by this
Protective Order to receive or access Protected Material based on the designation of such
Protected Material.     Such right of exclusion shall be applicable only during periods of
examination or testimony regarding such Protected Material.
8.     DISCOVERY MATERIAL DESIGNATED AS "CONFIDENTIAL"
       (a)     A Producing Party may designate Discovery Material as "CONFIDENTIAL" if it

contains or reflects confidential, proprietary, and/or commercially sensitive information.

       (b)     Unless otherwise ordered by the Court, Discovery Material designated as

"CONFIDENTIAL" may be disclosed only to the following:
               (i)     The Receiving Party's Outside Counsel, such counsel's immediate
paralegals and staff, and any copying or clerical litigation support services working at the

direction of such counsel, paralegals, and staff




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                (ii)    Not more than one (1) corporate representative of the Receiving Party who
is an officer or employee   of the Receiving Party, who may be, but need not be, in-house course!
for the Receiving Party to whom disclosure is reasonably necessary for this case, provided that:

(a) such person has agreed to be bound by the provisions of the Protective Order by signing a

copy of Exhibit A; and (b) no unresolved objections to such disclosure exist after proper
notice has been given to all Parties as set forth in Paragraph 12 below;
                (iii)   Not more than three (3) in-house counsel of the Receiving Party, as well
as their immediate paralegals and staff to whom disclosure is reasonably necessary for this case,

provided that: (a) each such person has agreed to be bound by the provisions of the Protective

Order by signing a copy of Exhibit A; and (b) no unresolved objections to such disclosure
exist after proper notice has been given to all Parties as set forth in Paragraph 12 below;
                (iv)    Any outside expert or consultant retained by the Receiving Party to assist
in this action, including their employees, provided that disclosure is only to the extent necessary

to perform such work; and provided that: (a) such expert or consultant has agreed to be bound

by the provisions of the Protective Order by signing a copy of Exhibit A; (b) such expert or
consultant is not a current officer, director, or employee of a Party or of a competitor of a Party,

nor anticipated at the time of retention to become an officer, director or employee of a Party or of
a competitor of a Party; (c) such expert or consultant accesses the materials in the United States

only, and does not transport them to or access them from any foreign jurisdiction; and (d) no

unresolved objections to such disclosure exist after proper notice has been given to all Parties as

set forth in Paragraph 12 below;

               (v)      Court reporters, stenographers and videographers retained to record
testimony taken in this action;

               (vi)     The Court, jury, and court personnel;

               (vii)    Graphics, translation, design, and/or trial consulting personnel, having
first agreed to be bound by the provisions of the Protective Order by signing a copy of
Exhibit A;
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                  (viii)   Mock jurors who have signed an undertaking or agreement agreeing not to

publicly disclose Protected Material and to keep any information concerning Protected Material

confidential;
                 (ix)      Any mediator who is assigned to hear this matter, and his or her staff,

subject to their agreement to maintain confidentiality to the same degree as required by this

Protective Order;

                 (x)       In any CBM or other post-grant proceeding so long as the same

protections set forth herein apply to said proceeding; and

                 (xi)      Any other person with the prior written consent of the Producing Party.

9.        DISCOVERY           MATERIAL          DESIGNATED          AS      "CONFIDENTIAL
          ATTORNEYS' EYES ONLY"
          (a)    A Producing Party may designate Discovery Material as "CONFIDENTIAL

ATTORNEYS' EYES ONLY" if it contains or reflects information that is extremely confidential

and/or sensitive in nature and the Producing Party reasonably believes that the disclosure of such

Discovery Material is likely to cause economic harm or significant competitive disadvantage to

the Producing Party. The Parties agree that the following information, if non-public, shall be

presumed to merit the "CONFIDENTIAL               ATTORNEYS' EYES ONLY" designation: trade
secrets, pricing information, financial data, sales information, sales or marketing forecasts or

plans, business plans, sales or marketing strategy, product development information, engineering

documents, testing documents, employee information, and other non-public information of

similar competitive and business sensitivity.

          (b)    Unless otherwise ordered by the Court, Discovery Material designated as

"CONFIDENTIAL              ATTORNEYS' EYES ONLY" may be disclosed only to:

                 (i)       The Receiving Party's Outside Counsel, provided that such Outside

Counsel is not involved in competitive decision-making, as defined by US.             Steel   v.   United

States,   730 F.2d 1465, 1468 n.3 (Fed. Cir. 1984), on behalf of a Party or a competitor of a Party,
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 and such Outside Counsel's immediate paralegals and staff, and any copying or clerical litigation

 support services working at the direction of such counsel, paralegals, and staff;

                (ii)    Not more than three (3) in-house counsel of the Receiving Party, as well
as their immediate paralegals and staff to whom disclosure is reasonably necessary for this case,

provided that: (a) each such person has agreed to be bound by the provisions of the Protective

Order by signing a copy of Exhibit A; and (b) no unresolved objections to such disclosure
exist after proper notice has been given to all Parties as set forth in Paragraph 12 below;
                (iii)   Any outside expert or consultant retained by the Receiving Party to assist
in this action, including their employees, provided that disclosure is only to the extent necessary

to perform such work; and provided that: (a) such expert or consultant has agreed to be bound

by the provisions of the Protective Order by signing a copy of Exhibit A; (b) such expert or

consultant is not a current officer, director, or employee of a Party or of a competitor of a Party,

nor anticipated at the time of retention to become an officer, director, or employee of a Party or
of a competitor of a Party; (c) such expert or consultant is not involved in competitive decision-
making, as defined by US.     Steel   v.   United States, 730   F.2d 1465, 1468 n.3 (Fed. Cir. 1984), on
behalf of a Party or a competitor of a Party; (d) such expert or consultant accesses the materials
in the United States only, and does not transport them to or access them from any

foreign jurisdiction; and (e) no unresolved objections to such disclosure exist after proper notice

has been given to all Parties as set forth in Paragraph 12 below;

               (iv)     Court reporters, stenographers and videographers retained to record

testimony taken in this action;

               (v)      The Court, jury, and court personnel;

               (vi)     Graphics, translation, design, and/or trial consulting personnel, having
first agreed to be bound by the provisions of the Protective Order by signing a copy of
Exhibit A;




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                     (vii)    Mock jurors who have signed an undertaking or agreement agreeing not to
publicly disclose Protected Material and to keep any information concerning Protected Material
 confidential;

                     (viii)   Any mediator who is assigned to hear this matter, and his or her staff,
 subject to their agreement to maintain confidentiality to the same degree as required by this

Protective Order;

                    (ix)      In any CBM or other post-grant proceeding so long as the same

protections set forth herein apply to said proceeding; and

                    (x)       Any other person with the prior written consent of the Producing Party.
10.     DISCOVERY MATERIAL DESIGNATED AS "CONFIDENTIAL                                          OUTSIDE
        ATTORNEYS' EYES ONLY - SOURCE CODE"
        (a)         To the extent production of Source Code becomes necessary to the prosecution or

defense of the case, a Producing Party may designate Source Code as "CONFIDENTIAL

OUTSIDE ATTORNEYS' EYES ONLY - SOURCE CODE" if it comprises or includes

confidential, proprietary, and/or trade secret Source Code.

        (b)         Nothing in this Order shall be construed as a representation or admission that
Source Code is properly discoverable in this action, or to obligate any Party to produce any

Source Code.

       (c)          Unless otherwise ordered by the Court, Discovery Material designated as

"CONFIDENTIAL                 OUTSIDE ATTORNEYS' EYES ONLY                   SOURCE CODE" shall be
subject to the provisions set forth in Paragraph           11   below, and may be disclosed, subject to
Paragraph     11   below, solely to:

                    (i)       The Receiving Party's Outside Counsel, provided that such Outside

Counsel is not involved in competitive decision-making, as defined by US.               Steel   v.   United

States, 730 F.2d 1465, 1468 n.3 (Fed. Cir. 1984), on behalf of a Party or a competitor of a Party,

and such Outside Counsel's immediate paralegals and staff, and any copying or clerical litigation

support services working at the direction of such counsel, paralegals, and staff


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                   (ii)   Any outside expert or consultant retained by the Receiving Party to assist
in this action, provided that disclosure is only to the extent necessary to perform such work; and

provided that: (a) such expert or consultant has agreed to be bound by the provisions of the

Protective Order by signing a copy of Exhibit A; (b) such expert or consultant is not a current

officer, director, or employee of a Party or of a competitor of a Party, nor anticipated at the time

of retention to become an officer, director or employee of a Party or of a competitor of a Party;
(c) such expert or consultant is not involved in competitive decision-making, as defined by US.

Steel   v.   United States,   730 F.2d 1465, 1468 n.3 (Fed. Cir. 1984), on behalf of a Party or a

competitor of a Party; and (d) no unresolved objections to such disclosure exist after proper

notice has been given to all Parties as set forth in Paragraph 12 below;
                  (iii)   Court reporters, stenographers and videographers retained to record
testimony taken in this action;

                  (iv)    The Court, jury, and court personnel;

                  (v)     Any mediator who is assigned to hear this matter, and his or her staff,
subject to their agreement to maintain confidentiality to the same degree as required by this

Protective Order; and

                  (vi)    Any other person with the prior written consent of the Producing Party.
11.      DISCLOSURE AND REVIEW OF SOURCE CODE
         (a)      Any Source Code that is produced by a party shall be made available for

inspection in electronic format at an office of its outside counsel, or any other location mutually
agreed by the Parties. The Receiving Party shall make reasonable efforts to restrict its requests

for such access to the Source Code to normal business hours, which for purposes of this paragraph

shall be 8:00 a.m. through 6:00 p.m. However, upon reasonable notice from the Receiving Party,

the Producing Party shall make reasonable efforts to accommodate the Receiving Party's request

for access to the Source Code outside of normal business hours. The Parties agree to cooperate in

good faith such that maintaining the Producing Party's Source Code material at the offices of its




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 outside counsel shall not unreasonably hinder the Receiving Party's ability to efficiently and

 effectively conduct the prosecution or defense of this Action.

        (b)     Prior to the first inspection of any requested Source Code, the Receiving Party
 shall provide seven (7) days notice of the first day on which it wishes to inspect the Source Code.

The Receiving Party shall provide three (3) days notice prior to the first day of any additional

inspection.

        (c)     Source Code that is designated "CONFIDENTIAL            OUTSIDE ATTORNEYS'
EYES ONLY - SOURCE CODE" shall be produced for inspection and review subject to the

following provisions, unless otherwise agreed by the Producing Party:
               (i)     All Source Code shall be made available by the Producing Party to the
Receiving Party's outside counsel andlor experts in a secure room on secured computers without
Internet access or network access to other computers and on which all access ports have been

disabled (except for one printer port), as necessary and appropriate to prevent and protect against

any unauthorized copying, transmission, removal or other transfer of any Source Code outside or

away from the computer on which the Source Code is provided for inspection (the "Source Code

Computer" in the "Source Code Review Room"). The Producing Party shall initially make
Source Code available on two Source Code Computers.               Upon seven (7) days notice the
Producing Party shall provision the Source Code Computers with tools for reading the Source

Code reasonably requested by the Reviewing Party.         The Reviewing Party shall provide the
license for the review tools, and either (a) a CD or DVD containing such licensed software

tool(s), or (b) instructions to download or otherwise obtain such licenses software tool(s)

pursuant to the Reviewing Party's license.

               (ii)   The Producing Party shall provide the receiving Party with information

explaining how to start, log on to, and operate the stand-alone computer(s) in order to access the
produced Source Code material on the Source Code Computers;




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                (iii)    The Producing Party will produce Source Code material in computer
 searchable format (or in the format in which the Source Code material is kept in the ordianrly

 course of business) on the Source Code Computers as described above;

                (iv)    Access     to     material     designated   CONFIDENTIAL         OUTSIDE
 ATTORNEYS' EYES ONLY - SOURCE CODE shall be limited to outside counsel and outside

 consultants or experts' (i.e., not existing employees or affiliates of a Party or an affiliate of a

Party) retained for the purpose of this litigation and approved to access such materials pursuant to

Section 12 below. A receiving Party may include excerpts of Source Code material in a

pleading, exhibit, expert report, discovery document, deposition transcript, other Court document,

provided that the Source Code documents are appropriately marked under this Order, restricted
to those who are entitled to have access to them as specified herein, and, if filed with the Court,

filed under seal in accordance with the Court's rules, procedures and orders;

               (v)      To the extent portions of Source Code material are quoted in a

Source Code document, either (1) the entire Source Code document will be stamped and treated as

CONFIDENTIAL            OUTSIDE ATTORNEYS' EYES ONLY - SOURCE CODE or (2) those
pages containing quoted Source Code material will be separately stamped and treated

as CONFIDENTIAL          OUTSIDE ATTORNEYS' EYES ONLY - SOURCE CODE;
               (vi)     Except as set forth in paragraph 11 (c)(viii) below, no electronic copies of
Source Code Material shall be made without prior written consent of the producing Party, except

as necessary to create documents which, pursuant to the Court's rules, procedures and order,

must be filed or served electronically;

               (vii)    The receiving Party shall be permitted to make a reasonable number of
printouts and photocopies of Source Code material, all of which shall be designated and clearly


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         For the purposes of this paragraph, an outside consultant or expert is defined to include
the outside consultant's or expert's direct reports and other support personnel, such that the
disclosure to a consultant or expert who employs others within his or her firm to help in his or
her analysis shall count as a disclosure to a single consultant or expert.


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 labeled "CONFIDENTIAL             OUTSIDE ATTORNEYS' EYES ONLY - SOURCE CODE," and
 the receiving Party shall maintain a log of all such files that are printed or photocopied;

                 (viii)    Should such printouts or photocopies be transferred back to electronic
 media, such media shall be labeled "CONFIDENTIAL                      OUTSIDE ATTORNEYS' EYES
 ONLY - SOURCE CODE" and shall continue to be treated as such;

                 (ix)      If the receiving Party's outside counsel, consultants, or experts obtain
printouts or photocopies of Source Code material, the receiving Party shall ensure that such
outside counsel, consultants, or experts keep the printouts or photocopies in a secured locked

area in the offices of such outside counsel, consultants, or expert. The receiving Party may also

temporarily keep the printouts or photocopies at: (i) the Court for any proceedings(s) relating to

the Source Code material, for the dates associated with the proceeding(s); (ii) the sites where any

deposition(s) relating to the Source Code material are taken, for the dates associated with the

deposition(s); and (iii) any intermediate location reasonably necessary to transport the printouts or
photocopies   (e.g.,   a hotel prior to a Court proceeding or deposition);

                (x)        A producing Party's Source Code material may only be transported by the
receiving Party at the direction of a person authorized under paragraph       11 (c)(iv)   above to another
person authorized under paragraph       11 (c)(iv)   above, on paper or removable electronic media that
is encrypted or otherwise password protected         (e.g.,   a DVD, CD-ROM, or flash memory "stick")
via hand carry, Federal Express or other similarly reliable courier. Source Code material may
not be transported or transmitted electronically over a network of any kind, including a LAN, an
intranet, or the Internet. Source Code material may only be transported electronically for the

purpose of Court proceeding(s) or deposition(s) as set forth in paragraph       11 (c)(ix)   above and is at
all times subject to the transport restrictions set forth herein. But, for those purposes only, the

Source Code materials may be loaded onto a stand-alone computer;

                (xi)      The Producing Party may visually monitor the activities of the Receiving
Party's representatives during any Source Code review, but only to ensure that no unauthorized




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 electronic records of the Source Code and no information concerning the Source Code are being

 created or transmitted in any way;

               (xii)   The Producing Party shall make available a laser printer with

commercially reasonable printing speeds for on-site printing during inspection of the Source
Code and with pre-Bates numbered paper that is pre-designated "CONFIDENTIAL             OUTSIDE
ATTORNEYS' EYES ONLY                  SOURCE CODE". The Receiving Party may print limited
portions of the Source Code that the Receiving Party has determined to be directly relevant to its

claims or defenses after reviewing such portions of code on-site in the first instance. Any printed

portion that consists of more than fifty (50) pages of a continuous block of Source Code shall be

presumed to be excessive, and the burden shall be on the Receiving Party to demonstrate the

need for such a printed copy. The Receiving Party shall not print Source Code in order to review

blocks of Source Code elsewhere in the first instance, i.e., as an alternative to reviewing that

Source Code electronically on the Source Code Computer, as the Parties acknowledge and agree

that the purpose of the protections herein would be frustrated by printing portions of code for

review and analysis elsewhere, and that printing is permitted only when necessary to facilitate

the preparation of the Receiving Party's claims or defenses in this matter. Upon printing any

such portions of Source Code, the printed pages shall be collected by the Producing Party.

Within one (1) day, the Producing Party shall provide one copy set of such pages to the Receiving

Party and inform the Receiving Party whether it objects that the printed portions are excessive

andlor not done for a permitted purpose. If the Producing Party objects to the scope of the

printed Source Code, the Parties shall meet and confer within 2 business days following

notification of an objection.   If, after meeting and conferring, the Producing Party and the

Receiving Party cannot resolve the objection, the Receiving Party shall be entitled to seek a Court
resolution of whether the printed Source Code in question is narrowly tailored and was printed for

a permitted purpose. Unless otherwise stated above with regard to consecutive pages, the burden

shall be on the Producing Party to demonstrate that such printed portions are more than is




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reasonably necessary for a permitted purpose. The printed pages shall constitute part of the

 Source Code produced by the Producing Party in this action.

                (xiii)    All persons who will review a Producing Party's Source Code on behalf of
a Receiving Party, including members      of a Receiving Party's outside law firm, shall be identified
in writing to the Producing Party at least five (5) days in advance of the first time that such

person reviews such Source Code.           Such identification shall be in addition to any other
disclosure required under this Order. All persons viewing Source Code shall sign on each day
they view Source Code a log that will include the names of persons who enter the locked room to
view the Source Code and when they enter and depart. The Producing Party shall be entitled to a
copy of the log upon one (1) day's advance notice to the Receiving Party.

                (xiv)    Unless otherwise agreed in advance by the Parties in writing, following
each day on which inspection is done under this Order, the Receiving Party's outside counsel

andlor experts shall remove all notes, documents, and all other materials from the Source Code

Review Room. The Producing Party shall not be responsible for any items left in the room

following each inspection session, and the Receiving Party shall have no expectation of

confidentiality for any items left in the room following each inspection session without a
prior agreement to that effect. Proper identification of all authorized persons shall be provided
prior to any access to the secure room or the computer containing Source Code.                Proper
identification requires showing, at a minimum, a photo identification card sanctioned by the
government of any State of the United States, by the government of the United States, or by the

nation state of the authorized person's current citizenship. Access to the secure room or the

Source Code Computer may be denied, at the discretion of the supplier, to any individual who

fails to provide proper identification.

               (xv)      Other than as provided above, the Receiving Party will not copy, remove,
or otherwise transfer any Source Code from the Source Code Computer including, without
limitation, copying, removing, or transferring the Source Code onto any recordable media or




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recordable device. The Receiving Party will not transmit any Source Code in any way from the

Producing Party's facilities or the offices of its outside counsel of record.
12.     NOTICE OF DISCLOSURE
        (a)     Prior to disclosing any Protected Material to any person described in Paragraphs
8(b)(ii), 8(b)(iii)8(b)(ii), 8(b)(iv), 9(b)(ii), 9(b)(iii), or 10(c)(ii) (referenced below as "Person"),

the Party seeking to disclose such information shall provide the Producing Party with written

notice that includes:

                (i)      the name of the Person;

                (ii)     an up-to-date curriculum vitae of the Person;

                (iii)   the present employer and title of the Person;

                (iv)    an identification of all of the Person's past and current employment and

consulting relationships, including direct relationships and relationships through entities owned

or controlled by the Person, including but not limited to an identification of any individual or

entity with or for whom the person is employed or to whom the person provides consulting

services relating to the design, development, operation, or patenting of computer and mobile

operating systems, or relating to the acquisition of intellectual property assets relating to

computer and mobile operating systems;

                (v)     an identification of all pending patent applications on which the Person is

named as an inventor, in which the Person has any ownership interest, or as to which the Person

has had or anticipates in the future any involvement in advising on, consulting on, preparing,

prosecuting, drafting, editing, amending, or otherwise affecting the scope of the claims; and

                (vi)    a list    of the cases in which the Person has testified at deposition or trial
within the last five (5) years.

                (vii)   within ten (10) days of disclosure the receiving Party in writing that it
objects to disclosure of Protected Material to the consultant or expert. The Parties agree to

promptly confer and use good faith to resolve any such objection. If the Parties are unable to

resolve any objection, the objecting Party may file a motion with the Court within fifteen (15)


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 days of the notice, or within such other time as the Parties may agree, seeking a protective order

 with respect to the proposed disclosure. The objecting Party shall have the burden of proving the

need for a protective order. No disclosure shall occur until all such objections are resolved by

 agreement or Court order

        (b)     Prior to receiving any Protected Material under this Order, the Person must
execute a copy of the "Agreement to Be Bound by Protective Order" (Exhibit A hereto) and

serve it on all Parties.

13.     CHALLENGING DESIGNATIONS OF PROTECTED MATERIAL
        (a)     A Party shall not be obligated to challenge the propriety of any designation of
Discovery Material under this Order at the time the designation is made, and a failure to do so

shall not preclude a subsequent challenge thereto.

        (b)     Any challenge to a designation of Discovery Material under this Order shall be

written, shall be served on outside counsel for the Producing Party, shall particularly identify the

documents or information that the Receiving Party contends should be differently designated,

and shall state the grounds for the objection. Thereafter, further protection of such material shall

be resolved in accordance with the following procedures:

                (i)        The objecting Party shall have the burden of conferring either in person, in

writing, or by telephone with the Producing Party claiming protection (as well as any other

interested party) in a good faith effort to resolve the dispute. The Producing Party shall have the

burden ofjustifymg the disputed designation;

                (ii)       Failing agreement, the Receiving Party may bring a motion to the Court
for a ruling that the Discovery Material in question is not entitled to the status and protection of

the Producing Party's designation.        The Parties' entry into this Order shall not preclude or
prejudice either Party from arguing for or against any designation, establish any presumption that

a particular designation is valid, or alter the burden of proof that would otherwise apply in a

dispute over discovery or disclosure of information;




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                (iii)   Notwithstanding any challenge to a designation, the Discovery Material in
 question shall continue to be treated as designated under this Order until one of the following

 occurs: (a) the Party who designated the Discovery Material in question withdraws such

 designation in writing; or (b) the Court rules that the Discovery Material in question is not
 entitled to the designation.
 14.    SUBPOENAS OR COURT ORDERS
        If at any time Protected Material is subpoenaed by any court, arbitral, administrative, or
legislative body, the Party to whom the subpoena or other request is directed shall immediately

give prompt written notice thereof to every Party who has produced such Discovery Material and

to its counsel and shall provide each such Party with an opportunity to move for a protective

order regarding the production of Protected Materials implicated by the subpoena.
15.     FILING PROTECTED MATERIAL
        (a)    Absent written permission from the Producing Party or a court Order secured after
appropriate notice to all interested persons, a Receiving Party may not file or disclose in the

public record any Protected Material.

        (b)    Any Party is authorized under Local Rule 79-5 and the section on "Sealed
Documents" in the Court's Standing Order for Civil Cases to file under seal with the Court any

brief, document or materials that are designated as Protected Material under this Order.

However, nothing in this section shall in any way limit or detract from this Order's requirements

as to Source Code.

16.    UNINTENTIONAL DISCLOSURE OF PRIVILEGED MATERIAL
       (a)     The production (including the production of ESI in a litigation as part of a mass

production) by a Party of Discovery Material subject to the attorney-client privilege, work-
product protection, or any other applicable privilege or protection will not waive the applicable

privilege and/or protection if a request for return of such produced Discovery Material is made

promptly after the Producing Party's discovery of the same.




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         (b)    If the Producing Party notifies the Receiving Party that privileged materials
 (hereinafter referred to as the "Identified Materials" have been produced, each Receiving Party
 shall immediately return such Protected Material or Discovery Material and all copies to the

 Producing Party or destroy them, at the request of the producing party, except for any pages

 containing privileged markings by the Receiving Party which shall instead be destroyed and

 certified as such by the Receiving Party to the Producing Party.     (c)    The contents of the
 Identified Materials shall not be disclosed to anyone who was not already aware of the contents

 of them before the notice was made.
        (c)     If any receiving party is in receipt of a document from a producing party which
the receiving party has reason to believe is privileged, the receiving party shall in good faith take

reasonable steps to promptly notify the producing party of the production of that document so

that the producing party may make a determination of whether it wishes to have the documents

returned or destroyed pursuant to this Stipulated Protective Order.
        (d)     The party returning the Identified Materials may move the Court for an order

compelling production of some or all of the material returned or destroyed, but the basis for such

a motion may not be the fact or circumstances   of the production
17.     INADVERTENT FAILURE TO DESIGNATE PROPERLY
        (a)    The inadvertent failure by a Producing Party to designate Discovery Material as

Protected Material with one of the designations provided for under this Order shall not waive any

such designation provided that the Producing Party notifies all Receiving Parties that such

Discovery Material is protected under one of the categories of this Order within fourteen (14)

days of the Producing Party learning of the inadvertent failure to designate. The Producing Party

shall reproduce the Protected Material with the correct confidentiality designation within seven

(7) days upon its notification to the Receiving Parties. Upon receiving the Protected Material

with the correct confidentiality designation, the Receiving Parties shall return or securely

destroy, at the Producing Party's option, all Discovery Material that was not designated properly.




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         (b)    A Receiving Party shall not be in breach of this Order for any use of such

 Discovery Material before the Receiving Party receives such notice that such Discovery Material

 is protected under one   of the categories of this Order, unless an objectively reasonable person
 would have realized that the Discovery Material should have been appropriately designated with
 a confidentiality designation under this Order. Once a Receiving Party has received notification

 of the correct confidentiality designation for the Protected Material with the correct
 confidentiality designation, the Receiving Party shall treat such Discovery Material (subject to the

 exception in Paragraph 17(c) below) at the appropriately designated level pursuant to the terms of

 this Order.

        (c)     Notwithstanding the above, a subsequent designation of "CONFIDENTIAL,"

"CONFIDENTIAL           ATTORNEYS' EYES ONLY" or "CONFIDENTIAL                      ATTORNEYS'
EYES ONLY         SOURCE CODE" shall apply on a going forward basis and shall not disqualify
anyone who reviewed "CONFIDENTIAL," "CONFIDENTIAL                           ATTORNEYS' EYES
ONLY" or "CONFIDENTIAL               ATTORNEYS' EYES ONLY              SOURCE CODE" materials
while the materials were not marked "CONFIDENTIAL               ATTORNEYS' EYES ONLY" or
"CONFIDENTIAL          ATTORNEYS' EYES ONLY               SOURCE CODE" from engaging in the
activities set forth in Paragraph 6(b).

18.     INADVERTENT DISCLOSURE NOT AUTHORIZED BY ORDER
        (a)    In the event of a disclosure of any Discovery Material pursuant to this Order to

any person or persons not authorized to receive such disclosure under this Protective Order, the

Party responsible for having made such disclosure, and each Party with knowledge thereof, shall

immediately notify counsel for the Producing Party whose Discovery Material has been

disclosed and provide to such counsel all known relevant information concerning the nature and

circumstances of the disclosure. The responsible disclosing Party shall also promptly take all

reasonable measures to retrieve the improperly disclosed Discovery Material and to ensure that
no further or greater unauthorized disclosure and/or use thereof is made




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         (b)    Unauthorized or inadvertent disclosure does not change the status of Discovery
 Material or waive the right to hold the disclosed document or information as Protected.

 19.     FINAL DISPOSITION
         (a)    Not later than ninety (90) days after the Final Disposition of this case, each Party
 shall return all Discovery Material of a Producing Party to the respective outside counsel of the

 Producing Party or destroy such Material, at the option of the Producing Party. For purposes of

 this Order, "Final Disposition" occurs after an order, mandate, or dismissal finally terminating

 the above-captioned action with prejudice, including all appeals.

        (b)     All Parties that have received any such Discovery Material shall certify in writing
 that all such materials have been returned to the respective outside counsel of the Producing

Party or destroyed. Notwithstanding the provisions for return of Discovery Material, outside

counsel may retain one set of pleadings, correspondence and attorney and consultant work

product (but not document productions) for archival purposes, but must return any pleadings,

correspondence, and consultant work product that contain Source Code.
20.     MISCELLANEOUS
        (a)    Right to Further Relief. Nothing in this Order abridges the right of any person to
seek its modification by the Court in the future. By stipulating to this Order, the Parties do not

waive the right to argue that certain material may require additional or different confidentiality

protections than those set forth herein.

       (b)     Termination of Matter and Retention of Jurisdiction. The Parties agree that the
terms of this Protective Order shall survive and remain in effect after the Final Determination of

the above-captioned matter. The Court shall retain jurisdiction after Final Determination of this

matter to hear and resolve any disputes arising out of this Protective Order.

       (c)     Successors. This Order shall be binding upon the Parties hereto, their attorneys,
and their successors,      executors,      personal   representatives,   administrators,   heirs, legal
representatives, assigns, subsidiaries, divisions, employees, agents, retained consultants and

experts, and any persons or organizations over which they have direct control.


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         (d)      Right to Assert Other Objections. By stipulating to the entry of this Protective
 Order, no Party waives any right it otherwise would have to object to disclosing or
                                                                                     producing
 any information or item. Similarly, no Party waives any right to object on any ground
                                                                                       to use in
 evidence of any of the material covered by this Protective Order. This Order shall not
                                                                                        constitute
 a waiver     of the right of any Party to claim in this action or otherwise that any Discovery
 Material, or any portion thereof, is privileged or otherwise non-discoverable, or is not
                                                                                          admissible
 in evidence in this action or any other proceeding.

        (e)       Burdens of Proof. Notwithstanding anything to the contrary above, nothing in
 this Protective Order shall be construed to change the burdens of proof or legal
                                                                                  standards
applicable in disputes regarding whether particular Discovery Material is confidential, which
level of confidentiality is appropriate, whether disclosure should be restricted, and if
                                                                                         so, what
restrictions should apply.
        (f)   Modification by Court. This Order is subject to further court order based upon
public policy or other considerations, and the Court may modify this Order sua
                                                                                sponte in the

interests of justice. The United States District Court for Eastern District of Texas is
                                                                                        responsible
for the interpretation and enforcement of this Order. All disputes concerning Protected
                                                                                          Material,
however designated, produced under the protection of this Order shall be resolved by the
                                                                                         United
States District Court for the Eastern District of Texas.

       (g)       Discovery Rules Remain Unchanged. Nothing herein shall alter or change in any
way the discovery provisions of the Federal Rules of Civil Procedure, the Local Rules for
                                                                                               the
Eastern District of Texas, or the Court's own orders. Identification of any individual
                                                                                       pursuant to
this Protective Order does not make that individual available for deposition or any other
                                                                                          form of
discovery outside of the restrictions and procedures of the Federal Rules of Civil Procedure, the
Local Rules for the Eastern District of Texas, or the Court's own orders.




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       So Ordered         this
       Dec   13,   2018




                                        UNITED STAT   DISTRICT JUDGE




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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION
UNITED SERVICES AUTOMOBILE                     )
ASSOCIATION
a Texas reciprocal inter-insurance exchange,

              Plaintiff,

       V.
                                                   Civil Action No. 2:16-CV-366
                                                   JURY TRTAL DEMANDED
WELLS FARGO BANK, N.A.,
a national banking association,
                                               )
               Defendant.                      )




                               EXHIBIT A
            UNDERTAKING OF EXPERTS, CONSULTANTS, DESIGNATED
                 REPRESENTATIVES, AND/OR THIRD PARTIES
                     REGARDING PROTECTIVE ORDER

       I,                                                              ,   declare that:

1.     My address is

      My current employer is

      My current occupation is


2.    I have received a copy of the Protective Order in this Litigation. I have carefully read

      and understand the provisions of the Protective Order.


3.    I will comply with all of the provisions of the Protective Order. I will hold in confidence,

      will not disclose to anyone not qualified under the Protective Order, and will use only for

      purposes of this Litigation any information designated as "CONFIDENTIAL,"

      "CONFIDENTIAL ATTORNEYS' EYES ONLY," or "CONFIDENTIAL                                OUTSIDE

      ATTORNEYS' EYES ONLY - SOURCE CODE" that is disclosed to me.
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4.     Promptly upon termination of this Litigation, I will return all documents and things

       designated as "CONFIDENTIAL," "CONFIDENTIAL - ATTORNEYS' EYES ONLY,"

       or "CONFIDENTIAL           OUTSIDE ATTORNEYS' EYES ONLY                 -    SOURCE CODE"

       that came into my possession, and all documents and things that I have prepared relating

       thereto, to the outside counsel for the Party by whom I am employed.


5.     I hereby submit to the jurisdiction    of this Court for the purpose of enforcement of the

       Protective Order in this Litigation.


6.     I declare under penalty of perjury that the foregoing is true and correct.



Signature


Date




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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION




 UNITED SERVICES AUTOMOBILE
 ASSOCIATION, a Texas reciprocal inter-
 insurance exchange,

                 Plaintiff,                  CIVIL ACTION NO. 2:18-CV-366-JRG

                                             JURY TRIAL DEMANDED

 WELLS FARGO BANK, N.A.,                     FILED UNDER SEAL
 a national banking association,

                 Defendant.




                 UNITED SERVICES AUTOMOBILE ASSOCIATION'S
        OPPOSITION TO DEFENDANT WELLS FARGO BANK, N.A.'S MOTION TO
                 STRIKE PORTIONS OF THE WEINSTEIN REPORT




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 I.         ARGUMENT
            A.      Mr. Weinstein's Discussion of Profits Attributable to Avoidance of Specialized
                    Equipment is Proper
            As part of his damages analysis, Mr. Weinstein properly addresses Georgia-Pacific factors 9,

 10, and 13, which consider "the utility and advantages     of the patent property over the old modes or

 devices, if any, that had been used for working out similar results," (Factor 9) "the nature of the

 patented invention, the character of the commercial embodiment of it as owned and produced by

 the licensor; and the benefits to those who have used the invention," (Factor 10) and "the portion of

 the realizable profit that should be credited to the invention" (Factor 13). Georgia_Pacific Corp.    v.   U.S.

 P/ywood Corp., 318 F. Supp. 1116, 1120 (S.D.N.Y.1 970).     In his analysis, Mr. Weinstein considers

 what would be the cost to Wells Fargo of implementing a non-infringing alternative, in this case the

 use of specialized scanners in lieu of general-purpose devices. Ex. I (Weinstein Report) ¶J 114-116.

           It is blackletter law that the cost (including the commercial impact) of a non-infringing

 alternative is a proper measure of damages: "[t]he hypothetical-negotiation approach to calculating

 reasonable-royalty damages 'attempts to ascertain the royalty upon which the parties would have

 agreed had they successfully negotiated an agreement just before infringement began." See Prism

 Techs.   LLC v. Sprint Spectrum LP., 849 F.3d 1360, 1375-76 (Fed. Cir. 2017) (quoting Lucent Techs., 580

 F.3d at 1324). "[I]hat requirement for valuing the patented technology can be met if the patentee

 adequately shows that the defendant's infringement allowed it to avoid taking a different, more

 costly course of action."     Id. at 1376. (emphasis added). "A price for a hypothetical license may

appropriately be based on consideration of the 'costs and availability of non-infringing alternatives'

and the potential infringer's 'cost savings." Id.

           For example, in Prism, the patentee's principal damages evidence was based on estimated

costs that the infringer avoided by infringing. Id at 1375. "A trial, [the patentee] presented evidence

that a reasonable royalty would reflect [the infringer's] wiffingness, in a hypothetical negotiation, to



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 pay an amount calculated by reference to the costs that [the infringer], in order to provide its

 customers the kind of service it wanted to offer them, would have incurred if it had chosen

 not to infringe."     Id.   The court determined that it was appropriate for the damages calculations to

 be based on these figures. Id.

            Additionally, in Hanson v. Alpine Valleji SkiArea, Inc., 718 F.2d 1075, 1080 (Fed. Cir. 1983),

 the Federal Circuit concluded that the magistrate correctly based the reasonable royalty rate on the

 "estimated cost savings resulting from the use of the [patentee's] method instead of the

 compressed air method of making snow, calculated on the basis of savings of $75 per machine

 multiplied by the snowmaking capacity of the machine times the number of years used." Id.

 (emphasis added).

            Wells Fargo raises three challenges to Mr. Weinstein's non-infringing alternative analysis.

 First, Wells Fargo asserts that the analysis violates the market value rule. This is incorrect on its

 face. Mr. Weinstein does not attribute 100% of the profits and benefits of MRDC to the patents in

 suit. Instead, he is analyzing what the cost would be to Wells Fargo          of switching to the non-

 infringing alternative. In specific, he calculates that



                                             Ex.   1   at ¶ 116. The fact that the use of the non-infringing

 alternative of specialized scanners would be catastrophic to Wells Fargo's profits from its MRDC

 customers may be a very bad fact, but it does not violate the entire market value rule.

            Second, Wells Fargo argues that the analysis is improper because it 'assumes' that only three

 percent of MRDC customers would remain with Well Fargo if it had to only offer the non-

 infringing alternative. This is a challenge to the factual basis for Mr. Weinstein's report, which is a

 proper subject for cross-examination. Mr. Weinstein engages in a direct comparison between

 Deposit@Home, USAA's scanner-based check deposit system, and Deposit@Mobile, the



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 application for mobile phones. As Mr. Weinstein makes clear,

                                                                                         "   Ex.1,J1l6.
 This information is based on deposition testimony of Charles Oakes, internal USAA documents,

 news articles, and conversations with Matthew Calman. Id. Based on these data, he estimates that

 Wells Fargo would lose

                     The analysis is consistent with the fact that the non-infringing alternative would

 require the purchase of extremely expensive speciali2ed check-scanning devices, which USAA's

 experts observe cost hundreds of dollars. Ex. 2 (Calman Report) at ¶ 405.The analysis also directly

 accords with Wells Fargo's own internal analysis. Wells Fargo concluded that because it its

 extraordinary cost, Wells Fargo's system which relied on specialized scanners was simply not viable:




 Ex. 3 (Ajami Depo.), 34:2-9.




Id. at 34:13-35:2.




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 Id. at 35:19-36:2.

            Third, Wells Fargo that the cost to Wells Fargo of using specialized scanners is somehow

 not relevant because Mr. Weinstein does not base his final damages calculation on this number. Not

 So. Wells Fargo's damages expert attempts to minimize the benefits        of check deposit using a
 general-purpose device, arguing that



                                                                                                    " Ex. 4

 (Gerardi Report) at ¶ 132. Mr. Weinstein's analysis of the profits Wells Fargo would lose by

 foregoing the patented invention and using the "old modes" (including Wells Fargo's Desktop

 Deposit) with a dedicated check scanning device directly responds to the notion that "using a phone

 versus a scanner" is an insubstantial difference.

            The Weinstein Report does not use the entire market value of either Wells Fargo's checking

account product or MRDC as the royalty base. Instead, the report uses as a royalty base the

apportioned contribution of the patents-in-suit to the value of MRDC as a whole. Ex. 1, ¶ 186.

Specifically, Mr. Weinstein calculates the value of MRDC to Wells Fargo based on the quantifiable

benefits attributable to fraud prevention and MRDC as an alternative to ATM deposits. Id., ¶ 185.

The report then apportions this number based on the contribution of the patents-in-suit to the value

of MDRC, a factor derived from a detailed technical analysis by the technologist who built Bank of

America's MRDC system. Id., Ex. 2 ¶J 342-427. The report then concludes that in a hypothetical

negotiation Wells Fargo would claim

                  Exl,1J186.
           The law plainly allows an expert to use the total value of the infringing product as a starting

point in an apportionment analysis. For example, in Ericsson, the Federal Circuit affirmed the district

court's admission of expert testimony that started with the whole product price but properly




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 apportioned down to the "market value of the contribution of the asserted patents to the end

 products." Ericsson Inc.               v.   D-Link Sjs., Inc., No. 6:10-CV-473, 2013 WL 4046225, at *15 (RD. Tex.

 Aug. 6, 2013), aj'din relevantpart, 773 F.3d 1201 (Fed. Cir. 2014). Similarly, in Carnegie Mellon

 Universi        v.   Mariell Technology Group, No. 09-CV-290 (Civil), 2012 WL 3679564, at *4 (W.D. Pa. Aug.

 24, 2012), the Court found plaintiff's expert "has not applied the entire market value rule simply by

 referencing [defendant's] total operating profit on a per unit-basis. Instead she has used the average

 operating profit as a starting point for her apportionment analysis."                    See also   PACT XPP Techs., AG

 u.   Xilinx, Inc., No.          2:07CV-563RSP, 2012 WL 1666390, at *2 (E.D. Tex. May 11, 2012) (finding

 that although the plaintiffs expert started with the whole product price, the expert "apportioned the

 average sales prices of the accused products to account for the contribution of the unpatented

 features to the accused products' value, and therefore did not invoke the entire market value rule");

 Finjan, Inc.         v.   Blue Coat 5jis., Inc.,   No. 13-CV-03999-BLF, 2015 WL 4129193, at *4 (N.D. Cal. June 8,

 2015) (noting that "total revenues for the accused products.                  . .   is relevant and probative   if properly

 apportioned" and permitting patentee to use such revenues "as a starting point for a properly

 apportioned royalty base."). As the court explained in Carnegie Mellon, "an apportionment analysis

 needs to start somewhere, and simply starting with the total operating profit does not inherently

 invoke the entire market value rule." Carnegie Mellon, 2012 WL 3679564, at *4

            Powellv. Home Depot US.A., Inc., 663 F.3d 1221, 1240 (Fed. Cir. 2011) is on point.                    In that

 case the patent covered a saw guard. The expert was allowed to testify to the jury regarding the per

 unit cost of replacing the saw that was used with the infringing guard ("8,500 per unit"), and the per

 year amounts Home Depot paid for saw injuries. Id. at 1239, 1240. ("when considering the amount

 of a use-based reasonable royalty 'adequate to compensate for the infringement,' a jury may consider

not only the benefit to the patentee in licensing the technology, but also the value of the benefit

 conferred to the infringer by use of the patented technology"). Simply put, the benefits of the saw



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 enabled with the guard were the starting point presented to the jury. See also Ergotron, Inc.        v.



 Rubbermaid Commercial Prods., LLC, No. 10-2010 ADM/JJG, 2012 WL 3733578, at *13 (D. Minn.

 Aug. 28, 2012) ("It is not improper for an expert to consider profits of an infringer, rather, it is

 endorsed.");    Zjigo Corp. v. Wji/eo Corp., 79    F.3d 1563, 1571-72 (Fed. Cir. 1996) (ruling that existence of

 non-infringing device is a factor to consider in determining royalty that would result from

 hypothetical negotiation). The fact that Mr. Weinstein ultimately did not include these profits as a

 part of his damages calculation goes to the testimony's weight, not its admissibility, and thus is

 properly addressed in cross-examination, rather than through a Daubert motion.

            The cases cited by Wells Fargo in support of its motion are inapposite. In LaserDjinamics, the

 Federal Circuit concluded that the plaintiff's expert "unquestionably advanced an entire market

 value rule theory" when he brought a 6% royalty rate on an entire laptop down to a 2% royalty rate

 for just the accused disk drive using a method that "appear[edl to have been plucked out of thin

 air." LaserDjinamics, Inc.   v.   uanta Comput. Inc., 694 F.3d 51, 68-69 (Fed. Cir. 2012). The court

 therefore did not have occasion to address an appropriate starting point for an apportionment

 analysis, given that the expert did not properly apportion the royalty base at all, but instead applied

 an entire market value rule theory.

            In Content Guard Holdings, Inc.   v.   Amaon.com, Inc., the expert was instructed not to testify to

 the total revenue or total profits of the defendants (Apple, Google, I-ivawei, HTC, Motorola, and

 Samsung). The court said nothing about the expert testifying about the profits specifically

 attributable to the accused infringing products. No. 2:1 3-CV-1 11 2-JRG, 2015 WL 11089749, at *4

 (RD. Tex. Aug. 6, 2015).

            In Persona/Audio, the accused functionality was the ability to download playlists from iTunes

 onto an iPod. The court rejected the argument that an expert "improperly relied on the entire

 market value rule by 'testif[ying] as one of the checks in his analysis that his damages number would



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  be 3 percent of the total iPod profits." Persona/Audio, LLC v. AJple, Inc., No. 9:09CV1 11, 2011 WL

  13135065, at *24 (RD. Tex. Aug. 19, 2011) ("The court does not find that Mr. Nawrocki's

  statement that he apportioned approximately ninety-seven percent of Apple's per unit profit to

 Apple and three percent to the patented features 'skewed the damages horizon' for the jury or taints

  the jury's damages award.") That the court did not allow the expert to testify as to all profits from

 the iPod is not relevant here. Mr. Weinstein does not intend to testify as to all profits attributable to

 Wells Fargo checking accounts, or even to the Wells Fargo mobile app. Mr. Weinstein's calculations

 as to the value    of MRDC are already apportioned to exclude general profits from checking accounts

 and the mobile app. His discussion of the profits attributable to consumer avoidance of specialized

 technology relates only to the value of MRDC, and thus are more akin to the profits related directly

 to iTunes in the Persona/Audio case.

             Because Mr. Weinstein's discussion of Wells Fargo's profits attributable to the avoidance of

 specialized devices is relevant, not an improper entire market value analysis, and supported by the

 independent sources properly considered by Mr. Weinstein, the motion to strike should be denied.

             B.     Mr. Weinstein's Reliance on Mr. Calman's Apportionment Model is Proper

             Wells Fargo asks the Court to strike paragraphs from Mr. Weinstein's report incorporating by

 reference portions of the opening expert report of Mr. Calman, a USAA banking industry expert who

 opined on certain issues relating to infringement and damages. Mot., at 5. Wells Fargo does not argue

 that Mr. Weinstein's reliance on Mr. Calman's opinions is improper in any way, but rather simply

 cross-references its arguments in its separate motion to strike portions of Mr. Calman's report (lDkt.

 75). USAA incorporates by reference its opposition to Wells Fargo's motion to strike Mr. Calman's

 opening report, which is being filed at the same time as this brief.




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                 C.     Mr. Weinstein's Discussion of Wells Fargo's CBM Petitions is Proper

                 Wells Fargo objects to any discussion of the CBM denials involving the patents in suit.

  USAA only intends to introduce the CBM denials if Wells Fargo opens the door. There are two

  areas of concern. First, if Wells Fargo argues that art or arguments that were before the PTAB in

  the CBM proceedings were not before the PTO. And, second, if Wells Fargo argues that others in

  the community questioned the validity of USAA's patents.

              If Wells Fargo argues that others in the community questioned the patentability of the

  technology USAA offered, it will open the door to USAA presenting evidence of the CBM review.

 In particular, Mr. Gerardi notes in his report that



                                           4 (Gerardi Report), ¶ 69.

             In his report, Mr. Weinstein references the CBM petitions in order to place in context the

 USAA's efforts to license the patents-in-suit. Specifically, USAA offered



 Weinstein Report at ¶ 55, n. 101. Mr. Weinstein explains that publicly available statistics show the

 PTAB institutes CBM reviews a majority of the time and that the vast majority of patents are

 completely invalidated in CBM trials. Id. He also cites the testimony of Nathan McKinley, who was

 personally involved in USAA's licensing program and testified that the



                                       Ex. 5 (McKinley Depo.), 105:4-106:9. Wells Fargo cannot have it

 both ways. If it wants to rely on random hearsay comments from third parties that are not even

 specially directed to the patents in suit, USAA should have the right to put those discussions in

 context.




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  II.            CONCLUSION
                 For the foregoing reasons, the Court should deny Defendant's motion to exclude the opinions

  and testimony of USAA's expert Roy Weinstein.



 DATED: November 12, 2019                             Respectfully submitted,

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                                      CERTIFICATE OF SERVICE
            I hereby certify that on November 12, 2019 I caused a copy of the foregoing document to

 be served by electronic mail on Defendant's counsel of record.

                                                           /s/ Benjamin Manin-Monnin
                                                           Benjamin Man2in-Monnin




                 CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL

            The undersigned hereby certifies that, under L.R. CV-5(a) (7) (B), the foregoing document is

 filed under seal pursuant to the Court's Protective Order entered in this matter (Dkt. No. 34).

                                                           /s/ Robert C. Bunt




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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION



    UNITED SERVICES AUTOMOBILE               §
    ASSOCIATION, a Texas reciprocal inter-   §
    insurance exchange,                      §
                                             §
                     Plaintiff,              §   CIVIL ACTION NO. 2:1 8-CV-366-JRG
                                             §
                v.                           §   JURY TRIAL DEMANDED
                                             §
    WELLS FARGO BANK, N.A.,                  §   FILED UNDER SEAL
    a national banking association,          §
                                             §
                     Defendant.              §




         UNITED SERVICES AUTOMOBILE ASSOCIATION'S OPPOSITION TO
      DEFENDANT WELLS FARGO BANK. N.A.'S MOTION TO EXCLUDE AND/OR
            STRIKE EXPERT TESTIMONY PROVIDED BY MR. CALMAN




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     I.          INTRODUCTION
                Wells Fargo's Daubert motion asks the Court to weigh facts in lieu ofajury. Mr.

     Calman used Wells Fargo's own data regarding actual fraud losses prevented during the

     period of Wells Fargo's infringement and apportioned those fraud losses down to the

     specific contributions of the asserted patents. His apportionment is based on a detailed

     technical analysis of fraud prevention and the patented techniques as compared to numerous

     potential alternatives, as well as admissions from Wells Fargo's corporate representatives

    that Wells Fargo relies almost entirely on the patented techniques to prevent fraud losses

    from the Wells Fargo MRDC system. While Wells Fargo may not like the result of Mr.

    Calman's analyses, its criticisms go entirely to the weight of the testimony and do not justify

    keeping Mr. Calman's opinions from the jury.

    II.         ARGUMENT
               A.     Apportionment

               Wells Fargo first argues that Mr. Calman fails to take into account

                                                                 Mot. at 3. Wells claims that "Mr.

    Newman identified viable non-infringing alternatives to fraud-reduction and fraud-prevention

    features discussed by Mr. Calman in his report." Id. Mr. Newman did no such thing. As

    discussed in more detail in USAA's Motion to Strike the Expert Report of John Villasenor,

    Dkt. No. 82, "[tb be an acceptable non-infringing substitute, the substitute 'must be available

    or on the market at the time of infringement.'" LaserDynamics, No. 2:06-C V-348, 2011 WL

    197869, at *3 (E.D. Tex. Jan 20, 2011) (quoting Grain Processing Corp.    v. Am.   Maize-Prods.

    Co., 185 F.3d 1341, 1350 (Fed. Cir. 1999)). Mr. Newman provided testimony regarding

                                                                        Ex. 2 (Newman Depo.) at

    147:11-14, 147:18-24 151:9-13, 152:17-25, 153:19-154:6, 157:21-23, 159:7-10, 164:13-14,



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     169:9-11. He provided no analysis whatsoever as to whether other systems such as the system

     designed by Wells Fargo could accept this modification. To the contrary, he identified the

     modification                                                   ." Id. at 157:25-158:3. Nor has

     Wells Fargo's own expert opined that Wells Fargo

                                                           See, Ex. 5 (Villasenor Report) at ¶J 192-

     201; Ex. 4 (Gerardi Report) atJ1J 90-92.

               Even assuming arguendo the option discussed by Mr. Newman is a non-infringing

     alternative, that would not provide a basis to strike this portion of Mr. Calman's report. There

    is no "requirement that a patentee value every potential non-infringing alternative in order for

    its damages testimony to be admissible." Apple Inc. v. Motorola, Inc., 757 F.3d 1286, 1325

    (Fed. Cir. 2014), overruled on other grounds by Williamson v. Citrix Online, LLC, 792 F.3d

     1339 (Fed. Cir. 2015). Mr. Calman's apportionment analysis is appropriate, as he devotes a

    section of his report to analyzing numerous potential non-infringing alternatives. The fact

    that he did not identify the specific alleged alternatives Wells Fargo identifies in its motion at

    most goes to the weight of Mr. Calman's testimony.

               Wells argues that Mr. Calman



                                                          and that if Mr. Calman had taken Mr.

    Newman's testimony into account, that opinion would be different. Mot. At 4. This is an

    argument that goes to weight. But it is also based on an incorrect premise. First, it is accurate

    that Wells Fargo's corporate representative could not identify any non-infringing alternatives.

    Second, the relevant analysis for non-infringing alternatives is whether Wells Fargo (the

    accused infringer) had a viable non-infringing alternative it could implement. There is no

    evidence that USAA's corporate representative Mr.         Newmanan engineer working on

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    USAA's back-end servershas any knowledge of Wells Fargo's systems, capabilities, or

    what would be a commercially acceptable alternative for Wells Fargo. See Mentor Graphics

    Corp.      v.   EVE-USA, Inc., 851 F.3d 1275, 1288 (Fed. Cir. 2017) (juryproperly foundthere were

    no available non-infringing alternatives where the only acceptable alternatives were either

    patentee's product or an infringing product).

                Wells Fargo's second argument, that Mr. Calman

                                             and thus his opinions violate the entire market value rule, is

    also incorrect. Mot. at 4. First, Mr. Calman's apportionment analysis properly begins with

    Wells Fargo MRDC product and "estimate[s] what portion of the value of that product is

    attributable to the patented technology." Virnetx, Inc.            v.   Cisco Systems, Inc., 767 F.3d 1308,

    1327 (Fed. Cir. 2014). Mr. Calman never attributes 100%                     of the value of Wells Fargo's
    MRDC product to the asserted patents. To the contrary, Mr. Calman specifically identifies

    each of technological fraud prevention features covered by the patent claims, and only

    apportions for the incremental value of those particular features in Wells Fargo's accused

    product. Ex.        1,   (Calman Report) ¶ 407 (describing patented features, e.g., duplicate detection,

    amount verification, and endorsement checking);              ¶IJ   421, 425. Thus, Mr. Calman did not

    calculate "a percentage of the entire value of [Wells Fargo's accused product]," but instead

    focused on the "patent practicing [feature]." Virnetx, 767 F.3d at 1329.

               Wells Fargo's complaint appears to be that, once Mr. Calman apportioned down to the

    specific duplicate check-detection technique claimed by the asserted patents, he attributed all

    of the value of that feature to the asserted patents. See Mot. at 4



                                                  But this is precisely what an apportionment analysis is

    supposed to do: factor out the unpatented features and focus on the specific contributions of


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     the asserted patents. Once Mr. Calman apportioned down to the specific duplicate detection

    techniques implemented in the accused products, no further apportionment was required

    because, as Mr. Calman explained in his report,

                                                                               ." Ex. 1, ¶ 425 (emphasis added).' This

    is proper apportionment analysis.

               Wells Fargo's third argument, that Mr. Calman improperly applied a "rule of thumb"

    in his analysis, also mischaracterizes Mr. Calman's opinions. After apportioning fraud losses

    resulting from duplicate check deposits, Mr. Calman considers the "non-duplicate" losses

    attributable to the patented techniques. Ex.                 1,   ¶ 425. Mr. Calman ultimately concludes that at

    least



                                                                                ." Id. In support   of his opinion, Mr.

    Calman cites data from Wells Fargo showing that '-40% of MRDC deposits over the period

    of 2017-2018 failed MICR or amount checks, both of which are expressly recited in the

    patents.       See, e.g.,   '681 cl.   1   ("confirming that a deposit can go forward after optical character

    recognition (OCR) is performed on the check, the optical character recognition (OCR)

    determining an amount of the check, comparing the determined amount to an amount

    indicated by the user, and reading a Magnetic Ink Character Recognition (MICR) line of the

    check"); cl. 10 ("The system of claim                   1,   wherein the confirming occurs after duplicate

    detection is performed on the check"); '605 ci.                   1   ("confirming that the deposit can go forward

    after performing an optical character recognition on the check, the optical character



              Wells Fargo also repeats its prior argument that Mr. Calman did not take certain
               1


    alleged non-infringing alternatives into account in his analysis. As discussed directly above,
    there is no evidence that those alternatives exists or were available at any time, and no
    evidence that Wells Fargo could implement those alternatives in its accused product.

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     recognition including determining an amount of the check, comparing the determined amount

     to an amount entered by the user into the portable device, and reading a MICR line of the

     check"); '227 ci.   1   ("determine whether there is an error in said deposit of said check, by

    validating a routing number associated with said check, determining whether said check was

    previously deposited, and comparing said amount of said check to an amount determined by

    performing OCR on said image"); '136 ci.            1    ("perform optical character recognition on the

    check image to determine a routing number for the check image; validate the routing number

    for the check image"). Mr. Calman also relies on the testimony from Wells Fargo's corporate

    representative, Mr. Darpally, that




                id. Indeed, Mr. Calman noted that it was impossible to perform this type of fraud

    check without the patent. Ex.     1,   ¶ 409. Simply put, the fraud protection in this category is all
    connected to the patents in suit. This would support claiming 100% of the other fraud loses

    to the patent. But Mr. Calman does not do this. He attributes value to the EWS services.

    Ex. 1, ¶ 410. His ultimate conclusion on apportiomnent of these non-duplicate losses is not

    "plucked from thin" air as Wells Fargo would suggest, but based on the data and analysis

    provided in Mr. Calman's report, as he states:



                                                   Id. at If 425.

              Mr. Calman never purports to apply any sort of "rule of thumb" or generally-applicable

    principle that 25% is a fair apportionment. As noted above, Mr. Calman clearly explains that

    the basis for his 25% conclusion is the facts of this case, including Wells Fargo's data and




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     30(b)(6) testimony. If Wells Fargo believes the evidence does not adequately support Mr.

     Calman's ultimate opinion it can test that analysis on cross-examination.

                   B.      Technology Background (Paragraphs 5496)2

                   Paragraphs 5 6-96 give an explanation on the technological environment in which the

    inventions occurred, and the unique challenges facing mobile remote deposit capture

    (MRDC). This information explains why the invention is important and valuable, relevant to

    damages, and a technological solution, relevant to Section 101. For example, Mr. Calman

    discusses the digitization of the check deposit process:




    Ex. 1, ¶ 57. This is directly relevant to Mr. Cahnan's damages discussion of alternatives in

    the market involving specialized capture devices. E.g., Ex. 1, ¶J 403-407



                        Moreover, Wells Fargo's own witnesses give an identical type of background

    analysis. Ex. 6 (Saffici Report) at ¶IJ 38-54; Ex. 4 (Gerardi Report) at ¶J 46-64.

               C.          USAA Asserted Patents    USAA Background (Paragraphs 97-114)

               Paragraphs 97-114 give a background on USAA and the asserted patents at issue in

    this case. Wells Fargo does not identify anything prejudicial or irrelevant in these paragraphs.




               2
             Wells Fargo asks this Court to indiscriminately strike paragraphs 54-156-103
    paragraphsof     Mr. Calman's report wholesale, characterizing all of it as a "narrative
    rehashing." Mot. at 6. Paragraphs 54 through 156 cannot simply be lumped together in that
    fashion, as those paragraphs cover very different topics and are directly relevant to Mr.
    Calman's opinion as a whole in different ways.


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     A jury is entitled to hear about USAA's background and Mr. Calman's organization of

     information, all of which is rigorously cited, will speed up this process.

               D.      History of Remote Check Deposit at USAA (Paragraphs 115-127)

               Paragraphs 115.- 127 are directly relevant to the development of MRDC in the banking

     industry. This analysis is relevant to establishing that USAA was a technology leader in

     MDRC, and was dramatically ahead of the industry, which goes to damages. Mr. Calman is

     uniquely qualified to render this type of opinion because he built Bank of America's first

     MRDC system.

               E.      USAA's Interactions with Mitek (Paragraphs 128-131)

               Paragraphs 128-131 provide foundation for when Mitek (Wells Fargo's software

     provider) first presented a working MRDC systemMr. Calman places it in 2011 based on a

     comparison of deposition testimony and public statements by Mitek. Ex. 1, ¶ 130. It is a

     technical opinion, and it shows that the industry was far behind USAA, which is highly

     relevant to damages and directly responsive to Wells Fargo's repeated argument that it did not

     need USAA's technology because it had Mitek.

               F.     Mitek Litigation/Fiserv (Paragraphs 132-133)

               Paragraphs 132-133 are directly relevant to this case for multiple reasons. First, in the

    related -245 litigation, Wells Fargo repeatedly pointed the finger at Mitek throughout trial,

     including as early as in its opening statement, and through calling Mitek's corporate

    representative in its case-in-chief. Mr. Calman's discussion of Mitek is directly relevant to

    Mitek's role in this litigation. But unlike the -245 case, Wells Fargo has not dropped its

    equitable estoppel defense in this case yet. That defense is expressly premised on the 2012

    USAA/Mitek litigation discussed at Paragraph 132.                 Further, Fiserv's request for




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     indemnification as to USAA's patents is circumstantial evidence that Wells Fargo was aware

     of USAA's patents.

               G.     Background of Asserted Patents (Paragraphs 134-156)

               Paragraphs 134-156 provide a detailed technical explanation of the inventions, as well

     as the problems that inventions were designed to address. Mr. Calman is a technical expert,

     and this technical discussion is appropriate. His opinions go to damages (e.g., the value of

     the technology), the invention story, and Section 101 if Wells Fargo chooses to try the        issue.3


               H.     Wells Fargo's Conduct (Paragraphs 322-329)

               The question of whether a defendant had knowledge of the patents in suit is directly

     relevant to willfulness. VirnetXlnc.    v.   Apple Inc., 324 F. Supp. 3d 836, 859 (E.D. Tex. 2017)

     ("culpability for willfulness is 'measured against the knowledge of the actor at the time of the

     challenged conduct") (quoting Halo Elecs., Inc.         v.   Pulse Elecs., Inc., 136 S. Ct. 1923, 1933

    (2016)); Motiva Patents, LLC     v.   Sony Corp., No. 918CVOO179JRGKFG, 2019 WL 4737051

    (E.D. Tex. Sept. 27, 2019) (patentee's allegations that competitor had knowledge of patent, in

    the form of willful blindness, were sufficient to state claim for willful infringement). The

    paragraphs challenged provide substantial evidence of willful blindness.

               Paragraph 323: Mr. Calman notes that the




              This Court recognized in Case 1 that much of the evidence in Paragraphs 56-156 is
    directly relevant to the question of patentability for Section 101 Step 2, and thus "if the Step
    2 question from the Alice analysis gets to the jury, I'm going to allow this testimony to be
    presented." Ex. 3, (10-19-19 Pretrial Conference Transcript) 31:6-13. At a minimum, the
    Court should carry its decision on this section of Mr. Calman's report until it resolves the
    Section 101 issue.

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               Paragraphs 324-326: Wells Fargo is attempting a selective waiver by relying on a

     patent search that occurred in 2010, without disclosing any subsequent investigation. Mr.

     Calman assesses the quality of this investigation. If the selective waiver is admitted by the

     Court, USAA should have the right to respond.

               Paragraphs 327-328. In the first case, Wells Fargo argued that it had no idea how it

     systems worked and therefore should not be held liable for willfulness because it relied on

     Mitek. These paragraphs go to the issue of whether it was reasonable to rely on Mitek.

               I.     Adaptation of Dr. Conte's Analysis (Paragraphs 170-321)

               Wells Fargo bizarrely includes this section, and the next two sections, of their motion

     under their heading

                                                       But the Court never excluded that testimony in

     the -245 case:




    Ex. 3 (10-17-19 Pretrial Conference Transcript) at 64:6-16.

               The same holds true here. Mr. Calman independently




                    Ex. 1,   ¶   170. The technical analysis in paragraphs 171-321 is written by Mr.

    Calman and not copied verbatim from Dr. Conte's report. Similarly, with respect to

    infringement, Mr. Calman explains that he has


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                                                                       Ex. 1, ¶ 321.

               Hunt   v.   McNeil Consumer Healthcare, 297 F.R.D. 268 (E.D. La. 2014) is inapposite

     here. In Hunt, the court noted that the "crucial issue is whether [the expert] independently

     evaluated or verified the opinions upon which be relies," and excluded the report because the

     expert admitted that "the majority of his report was copied verbatim from other reports" and

     he "did not read most of the material cited in the opinions nor verify the data referenced

     therein." Id., at 275. None of these concerns exist with respect to Mr. Calman's report.

               J.      References to PTAB Proceedings, Unasserted Patents, and USAAIMItek

                       Litigation (Paragraphs 134 and 137; 330-341; 128-133)

               The sections of Mr. Calman's report discussing PTAB proceedings (in particular,

     CBM petitions), Wells Fargo and Mitek patents that are not employed in the accused system

     and prior USAA/Mitek litigation are similar to those in Mr. Calman's report in Case     1.    In

    Case 1, this Court recognized that Wells Fargo's motion to strike "really has a limine flavor

    to it," and thus denied the motion to strike. Ex. 3 at 80:1-5 (denying the motion to strike

    discussion of CBM proceedings; id. at 81:2-10 (denying the motion to strike discussion of

    unasserted patents); id. at 81:11-14 (in light of parties' agreement at the pretrial conference,

    granting the motion to strike two paragraphs of Mr. Calman's discussion of USAA/Mitek

    litigation, but denying the motion to strike other related paragraphs).

               As to the CBM proceedings and the Mitek litigation,   if Wells Fargo opens the door
    to these topics, USAA will need to respond. For example, with respect to CBM

    proceedings, Wells Fargo's expert Mr. Gerardi notes in his report that certain third-party

    financial institutions

                                                                   Ex. 4 (Gerardi Report), ¶ 69.


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     USAA should have the right to put those discussions in context, in particular by noting that

     those public comments were made before the PTAB in CBM rulings.

               As to Mr. Calman's analysis of Wells Fargo's patent, this issue will of necessity be

     inserted into the case. Wells Fargo intends to present this patent family as prior art and thus

     a non-infringing alternative. As a result, Mr. Calman's analysis that Wells Fargo does not

     and cannot use this prior art is highly relevant to damages. Ex.     1   atJJ 33 1-340.

               For that reason, these portions of his report should not be struck.

               K.      Comparison between Deposit@Mobile and Wells Fargo's Product

                       (Paragraphs 129 and 348-355)

               In the -245 case, the Court denied Wells Fargo's motion to strike Mr. Calman's

     comparison of Deposit@Mobile and Wells Fargo's product. Ex. 3, 83:4-19. In doing so, the

     Court set a limine ruling that USAA would need to approach the bench before introducing this

     comparison, so that the Court could give a jury instruction that such a comparison could not

     be considered by the jury in determining infringement. Id. The Court should do the same

    here. Akamai Techs., Inc.    v.   Cable & Wireless Internet Servs., Inc., 344 F.3d 1186, 1196 (Fed.

     Cir. 2003) (copying is objective evidence of non-obviousness); Wyers v. Master Lock Co.,

     616 F.3d 1231, 1246 (Fed. Cir. 2010) (evidence of the similarity between the patentee's

    commercial embodiment of the patent and the accused product is evidence of copying); Read

     Corp. v. Portec, Inc., 970 F.2d 816 (Fed. Cir. 1992) (copying of a commercial embodiment is

    also relevant to the willfulness inquiry).

    III.       CONCLUSION
               For these reasons, the Court should deny Wells Fargo's motion to strike the testimony

    of Mr. Calman.




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     DATED: November 12, 2019             Respectftilly submitted,

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               I hereby certify that on November 12, 2019 I caused a copy of the foregoing

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                                                           Is! Benjamin Manzin-Monnin
                                                           Benjamin Manzin-Monnin




                  CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL
               The undersigned hereby certifies that, under L.R. CV-5(a)(7)(B), the foregoing

     document is filed under seal pursuant to the Court's Protective Order entered in this matter

     (Dkt. No. 34).

                                                           Is/Robert C. Bunt




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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION



    UNITED SERVICES AUTOMOBILE               §
    ASSOCIATION, a Texas reciprocal inter-   §
    insurance exchange,                      §
                                             §
                  Plaintiff,                 §   CIVIL ACTION NO. 2:1 8-CV-366-JRG
                                             §
             v.                              §   JURY TRIAL DEMANDED
                                             §
    WELLS FARGO BANK, N.A.,                  §   FILED UNDER SEAL
    a national banking association,          §
                                             §
                  Defendant.                 §




                UNITED SERVICES AUTOMOBILE ASSOCIATION'S
       OPPOSITION TO DEFENDANT WELLS FARGO BANK. N.A.'S MOTION TO
                  STRIKE PORTIONS OF THE CONTE REPORT




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    I.          ARGUMENT
               A.        Dr. Conte's Incorporation of Portions of Mr. Calman's Report

               Wells Fargo first asks the Court to strike paragraphs from Dr. Conte's report

    incorporating by reference portions of the opening expert report of Mr. Calman, a USAA

    banking industry expert who opined on certain issues relating to infringement and damages.

    Mot., at 2. Wells Fargo does not argue that Dr. Conte's reliance on Mr. Calman's opinions is

    improper in any way, but rather simply cross-references its arguments in its separate motion

    to strike portions of Mr. Calman's report (Dkt. 75). USAA incorporates by reference its

    opposition to Wells Fargo's motion to strike Mr. Calman's opening report, which is being

    filed at the same time as this brief.

               B.       Dr. Conte's Doctrine of Equivalents Opinions

               Wells Fargo asserts that Dr. Conte's opinions on DOE with respect to claim elements

    1   [d], 8 [f], and 15 [dl   of the '332 patent should be struck because although USAA' s DOE theory

   was disclosed in USAA's Fourth Amended Infringement Contentionswhich were served

   prior to the exchange of expert reportsWells opposes USAA's motion to amend those

   contentions and asserts they are inoperative. Wells further argues that USAA's DOE theory

   was not disclosed in USAA's Third Amended Infringement Contentions. Neither argument

   holds water.

               USAA served its Fourth Amended Infringement Contentions, which included revised

   DOE theories, on September 12, 2019. This amendment was necessary because Wells Fargo

   produced the wrong version            of source code for the accused product. It was   not until August

   13, 2019 (almost one year after the filing         of this case) that Wells Fargo produced the correct

   source code. When it did, it did not simply re-produce a corrected version of a single

   component of the source code: it produced an entirely new version of source code for iOS

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    3.7.1 (the version Wells Fargo purports it is currently using), which had never been produced

    to USAA. Ex. 2 (Aug. 13, 2019 email from Danielle Williams to USAA counsel stating that

    "Mitek has now produced the correct iOS 3.7.1 source code.").1

              USAA sent its consultant to review the source code on August 21. Ex. 7 (Aug. 20,

    2019 email from Benjamin Monnin to Wells Fargo counsel). USAA served Wells with its

    amended infringement contentions on September 12, 2019. Ex. 8. On that same day, Wells

    requested a redline showing the changes from the previous infringement contentions. Ex. 9.

    On September 15, USAA's counsel explained that USAA had added



                          and sent Wells Fargo track changes from the previous contentions. Exs.

    10 and 11.      In particular, USAA added further explanations of its pre-existing DOE

    contentions as to elements in the '332 patent. However, the pre-existing infringement

    contentions already included DOE analysis for the "log file" limitation at issue here.   See Ex.

    12, at 40 (highlighted paragraph).

              Wells Fargo does not argue that Dr. Conte's DOE opinions are not disclosed in the

    Fourth Amended Infringement Contentions for which USAA has moved for leave to amend.

    Those contentions were indisputably disclosed to Wells Fargo before expert reports were

    served and were necessary as a result of Wells Fargo's deficient source code production, so

    there is no prejudice to Wells Fargo resulting from Dr. Conte's DOE analysis.



             This is the fourth time USAA has had to amend its infringement contentions, because
              1


    Wells Fargo has repeatedly produced deficient source code throughout this litigation. See,
    e.g., Ex. 3 (Jan. 22, 2019 letter from Tony Rowles to Wells Fargo counsel regarding

    deficiencies in source code production); Ex. 4 (Feb. 4, 2019 letter from Tony Rowles to Wells
    Fargo counsel regarding deficiencies in source code production); Ex. 5 (Aug. 20, 2019 letter
    from Benjamin Mormin to Wells Fargo counsel regarding deficiencies in source code
    production); Ex. 6 (Aug. 27, 2019 email from Benjamin Monnin to Wells Fargo counsel
    regarding deficiencies in source code production).

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    Rather, Wells only argues that USAA is attempting to "circumvent its disclosure

    requirements." Mot. at 3. This is not a fair or temperate allegation. The delay in the service

    of the contentions was a result of a mistake made by Wells Fargo. There is no prejudice to

    Wells Fargo. Wells Fargo took technical depositions after the service of the amended

    contentions.

              Second, even setting aside USAA's Fourth Amended Infringement Contentions,

    USAA had already provided proper notice of its DOE theories in its Third Amended

    Infringement Contentions.     USAA's contentions for the '332 patent and Dr. Conte's

    infringement analysis both point to the identical process of generating a log file that includes



                                                            as infringing. Ex. 12 (USAA's Third

   Am. Claim Chart for the '332 patent), at 40, 55, 59 (emphasis added); Ex.      1   (Conte Report)

   at ¶ 799




             The Third Amended Infringement Contentions provide a full function, way, result

   analysis taking the position that the string of data providing the "make, model and operating

   system" is equivalent to providing information on the device used to capture:




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             Dr. Conte presents the same equivalents opinion:




    Ex. 1, ¶J 799, 860, 909 (emphasis added).

    II.      CONCLUSION
             For these reasons, the Court should deny Wells Fargo's motion to strike the expert

    report of Dr. Conte.



    DATED: November 12, 2019                              Respectfully submitted,

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    (Dkt. No. 34).

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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

WAPP TECH LIMITED PARTNERSHIP                      §
and WAPP TECH CORP.                                §
                                                   § W.D. Texas No. :_
V.
                                                   §
                                                   §   Original Number: 4: 18-cv-00501-ALM
WELLS FARGO, N.A.                                  §

     USAA'S OBJECTIONS TO TILE REQUESTS FOR PRODUCTION ATTACHED TO
                    THE SUBPOENA OF SEPTEMBER 10, 2020

        United Services Automobile Association ("USAA") files the following objections to the

Requests for Production attached to the Subpoena served on or about September 10, 2020.



                                                   Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       A true and correct copy of the foregoing was served on the following counsel by

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                           OBJECTIONS TO SPECIFIC REQUESTS

REQUEST FOR PRODUCTION NO.!:

Any and all expert reports filed and/or served by and/or on behalf of Plaintiff and Defendant in
the cases United Services Automobile Association v. Wells Fargo Bank, NA., 2:18-cv-00366-JRG
and/or United Services Automobile Association v. Wells Fargo Bank, NA., 2:1 8-cv-00245-JRG
filed in the Eastern District of Texas (Marshall).

RESPONSE

        USAA objects, as the Request overly broad and unduly burdensome, in that the discovery

is unparticularized and fails to identify the information sought with reasonable specificity, but

instead, it asks for all expert reports filed or served in the Prior Lawsuits.

       USAA further objects, in that the information sought exceeds the bounds of discovery

permitted under Federal Rule of Civil Procedure 26, as it has no relevance to the claims and

defenses raised by WAPP. This is particularly true of the expert reports of USAA in the Prior

Lawsuits, as they dealt with different patents than the ones at issue in this case.

       USAA further objects that the Subpoena seeks expert reports from Wells Fargo, a party

to WAPP's suit. The Subpoena unduly burdens USAA by requiring it to produce Wells Fargo's

own documents when those documents are equally available from Wells Fargo.

       USAA further objects that the Subpoena seeks expert reports "filed" in the Prior

Lawsuits. Such expert reports, if filed, would be publically available if not placed under seal. It

is unduly burdensome to make USAA produce documents that are publically available, or,       if the
documents are under seal, to request that USAA break the seal.

       USAA further objects that the Request seeks information subject to a protective order

issued by the Eastern District of Texas.          USAA further objects that the Request seeks

information subject to the work product and trade secrets privileges.
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REQUEST FOR PRODUCTION NO.2:

Any and all documents relied upon and/or referenced in or otherwise related to expert reports
filed and/or served by and/or on behalf of Plaintiff and Defendant in the cases United Services
Automobile Association v. Wells Fargo Bank, NA., 2:1 8-cv-00366-JRG and/or United Services
Automobile Association v. Wells Fargo Bank, N.A., 2:18-cv-00245-JRG.

RESPONSE

        USAA objects, as the Request does not define what is meant by "otherwise related" to

expert reports. USAA further objects, as the Request overly broad and unduly burdensome, in

that the discovery is unparticularized and fails to identifr the information sought with reasonable

specificity, but instead, it asks for documents relating to expert reports filed or served in the Prior

Lawsuits.

        USAA further objects, in that the information sought exceeds the bounds of discovery

permitted under Federal Rule of Civil Procedure 26, as it has no relevance to the claims and

defenses raised by WAPP in its lawsuit.

       USAA further objects that the Subpoena seeks documents relating to expert reports from

Wells Fargo, a party to WAPP's suit. The Subpoena unduly burdens USAA by requiring it to

produce Wells Fargo's own documents when those documents are equally available from Wells

Fargo, a party to WAPP's litigation.

       USAA further objects that the Request seeks information subject to a protective order

issued by the Eastern District of Texas.         USAA further objects that the Request seeks

information subject to the work product and trade secrets privileges.
          Case 5:20-mc-01134-DAE Document 1 Filed 09/23/20 Page 329 of 332



 REQUEST FOR PRODUCTION NO.3:

All transcripts and documents, including demonstrative exhibits, used and/or referred to by any
expert witness in any deposition and/or trial testimony or used during the cross-examination of
any expert witness in the cases United Services Automobile Association v. Wells Fargo Bank,
N.A., 2:18-cv-00366-JRG and/or United Services Automobile Association v. Wells Fargo Bank,
N.A., 2:1 8-cv-00245-JRG.

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        USAA objects, as the Request overly broad and unduly burdensome, in that the discovery

is unparticularized and fails to identify the information sought with reasonable specificity, but

instead, it asks for all expert deposition and trial testimony from the Prior Lawsuits.

        USAA further objects, in that the information sought exceeds the bounds of discovery

permitted under Federal Rule of Civil Procedure 26, as it has no relevance to the claims and

defenses raised by WAPP in its lawsuit.

        USAA further objects that the Subpoena seeks depositions from Wells Fargo, a party to

WAPP's suit. The Subpoena unduly burdens USAA by requiring it to produce Wells Fargo's

own documents when those documents are equally available from Wells Fargo.

       USAA further objects that the Subpoena seeks testimony from the Prior Lawsuits. Such

expert reports, if filed, would be publically available if not placed under seal. It is unduly

burdensome to make USAA produce documents that are publically available, or, if the

documents are under seal, to request that USAA break the seal.

       USAA further objects that the Request seeks information subject to a protective order

issued by the Eastern District of Texas.        USAA further objects that the Request seeks

information subject to the work product and trade secrets privileges.
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REQUEST FOR PRODUCTION NO.4:

 All transcripts of the court's jury instructions and the verdict forms filled out and returned by the
jury in the cases United Services Automobile Association v. Wells Fargo Bank, NA., 2:18-cv-
 00366-JRG and/or United Services Automobile Association v. Wells Fargo Bank, NA., 2:18-cv-
00245-JRG.

RESPONSE

       USAA objects that the Subpoena seeks transcripts and forms filed in the Prior Lawsuits.

Such transcripts or forms, if filed, would be publically available if not placed under seal. It is

unduly burdensome to make USAA produce documents that are publically available, or, if the

documents are under seal, to request that USAA break the seal.
           Case 5:20-mc-01134-DAE Document 1 Filed 09/23/20 Page 331 of 332




REQUEST FOR PRODUCTION NO.5:

Any and all motions to exclude or limit any expert's testimony in whole or in part, including
supporting briefs, documents, and opposition and responsive pleadings filed in the cases United
Services Automobile Association v. Wells Fargo Bank, NA., 2:1 8-cv-00366-JRG and/or United
Services Automobile Association v. Wells Fargo Bank, NA., 2:1 8-cv-00245-JRG.

RESPONSE

        USAA objects, as the Request overly broad and unduly burdensome, in that the discovery

is unparticularized and fails to identif' the information sought with reasonable specificity, but

instead, it asks for all motions concerning experts filed or served in the Prior Lawsuits.

        USAA further objects, in that the information sought exceeds the bounds of discovery

permitted under Federal Rule of Civil Procedure 26, as it has no relevance to the claims and

defenses raised by WAPP.

        USAA further objects that the Subpoena seeks motions filed in the Prior Lawsuits. Such

motions, if filed, would be publically available if not placed under seal. It is unduly burdensome

to make USAA produce documents that are publically available, or, if the documents are under

seal, to request that USAA break the seal. USAA further objects that the Request seeks

information subject to the trade secrets privileges.

                                                       Respectfully submitted,

                                                       LIND0w STEPHENS       TREAT LLP




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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIVISION

WAPP TECH LIMITED PARTNERSHIP                   §
and WAPP TECH CORP.                             §
                                                § W.D. Texas No.:__________________
V.
                                                §
                                                §   Original Number: 4:18-cv-00501-ALM
WELLS FARGO, N.A.                               §

            ORDER ON USAA'S MOTION TO QUASH AND OBJECTIONS

      On this date came to be considered USAA's motion to quash.             After careful

consideration, the Court finds the motion is well-taken and QUASHES the subpoena issued to

USAA on September 10, 2020.

SIGNED and ENTERED this          of                  ,   2020.



                                                UNITED STATES DISTRICT JUDGE




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